      Case 20-1978, Document 69, 12/14/2020, 2993537, Page1 of 206




              20-1978
          United   States Court
          Zilniteb iptate Court of
                                of Appeals
                                   RppeaU
                                  for the
                                 for

                       Second Circuit
                       ipeconb Circuit

               SHLOMO YEHUDA RECHNITZ,
                                 Petitioner-Counter-Defendant-Appellee,
                             – v. –
                                  -
        EPHRAIM KUTNER and JONATHAN KUTNER,
                              Respondents-Cross-Defendants-Appellants,
               GREYSTONE FUNDING CORP.,
      Respondent-Third-Party-Pliantiff-Cross-Claimant-Counter-Claimant,
      Respondent-Third-Party-Pliant    Cross-Claimant-Counter-Claimant,
  CLARITY CAPITAL PARTNERS, LLC, HARBORVIEW CAPITAL
                       PARTNERS, LLC
                                                 Third-Party-Defendants.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NEW YORK


                         JOINT APPENDIX
                         VOLUME I (A1-200)

   ANDREW J. L
   ANDREW    LEVANDER
               EVANDER                      MICHAEL H. M
                                            MICHAEL        CGINLEY
                                                        MCGINLEY
   DECHERT LLP
   DECIIERT                                 DECHERT LLP
                                            DECIIERT
   Three Bryant Park                        Cira Centre
   1095 Avenue of the Americas              2929 Arch Street
   New York, NY 10036                       Philadelphia, PA 19104
   212-698-3500                             215-994-4000
          for Respondents
Attorneysfor  Respondents-Appellants
                         Appellants Ephraim Kutner and Jonathan Kutner
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                                          FOR CASE         1:20-cv-01607-KAM-VMS
                                                        #: 1:20-cv-01607-KAM-VMS


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             Kutner et
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 Petitioner
 Petitioner
 Shlomo Yehuda
 Shlomo Yehuda Rechnitz
               Rechnitz                                               represented by
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                                                                                            Tobias Schwalb
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                                                                                     Email: eschwalb@koffskyschwalb.com
                                                                                     Email: eschwalb@koffskyschwalb.com
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 Respondent
 Respondent
 Ephraim Kutner
 Ephraim Kutner                                                       represented by
                                                                      represented by Matthew
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                                                                                     516-328-2300
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                                                                                     Fax: 516-328-6638
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                                                                                     Email: mdidora@abramslaw.com
                                                                                     Email:  mdidora@abramslaw.com
                                                                                     ATTORNEY TO
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 Respondent
 Respondent
 Jonathan Kutner
 Jonathan Kutner                                                      represented by
                                                                      represented by Matthew
                                                                                     Matthew Didora
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                                                                                     (See above for address)
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 Respondent
 Respondent
 Greystone Funding
 Greystone         Corp.
           Funding Corp.                                              represented by
                                                                      represented by Yehuda
                                                                                     Yehuda David
                                                                                             David Scharf
                                                                                                   Scharf
                                                                                     Morrison Cohen
                                                                                     Morrison Cohen LLP
                                                                                                    LLP
                                                                                     909 Third
                                                                                     909 Third Avenue
                                                                                               Avenue
                                                                                     New York,
                                                                                     New  York, NY
                                                                                                NY 10022
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                                                                                     212-735-8600
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                                                                                           Email: dscharf@morrisoncohen.com
                                                                                           Email: dscharf@morrisoncohen.com
                                                                                           LEAD ATTORNEY
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                                                                                           Jay R.
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                                                                                           212-735-8600
                                                                                           212-735-8600
                                                                                           Fax: 212-735-8708
                                                                                           Fax: 212-735-8708
                                                                                           Email: jspeyer@morrisoncohen.com
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                                                                                           ATTORNEY TO
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                                                                                           Joaquin Javier
                                                                                           Joaquin  Javier Ezcurra
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                                                                                           909 Third
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                                                                                           Email: jezcurra@morrisoncohen.com
                                                                                           ATTORNEY TO
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 ThirdParty Plaintiff
 ThirdParty Plaintiff
 Greystone Funding
 Greystone         Corp.
           Funding Corp.                                              represented by
                                                                      represented by Yehuda
                                                                                     Yehuda David
                                                                                             David Scharf
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 V.
 V.
 ThirdParty Defendant
 ThirdParty Defendant
 Clarity Capital
 Clarity Capital Partners LLC
                 Partners LLC

 ThirdParty Defendant
 ThirdParty Defendant
 Harborview Capital
 Harborview Capital Partners, LLC
                    Partners, LLC

 Cross Claimant
 Cross Claimant
 Greystone Funding
 Greystone         Corp.
           Funding Corp.                                              represented by
                                                                      represented by Yehuda
                                                                                     Yehuda David
                                                                                             David Scharf
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                                                                                           Joaquin Javier
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 V.
 V.
 Cross Defendant
 Cross Defendant
 Jonathan Kutner
 Jonathan Kutner                                                      represented by
                                                                      represented by Matthew
                                                                                     Matthew Didora
                                                                                              Didora
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 Cross Defendant
 Cross Defendant
 Ephraim Kutner
 Ephraim Kutner                                                       represented by
                                                                      represented by Matthew
                                                                                     Matthew Didora
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 Counter Claimant
 Counter Claimant
 Greystone Funding
 Greystone         Corp.
           Funding Corp.                                              represented by
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 V.
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 Counter Defendant
 Counter Defendant
 Shlomo Yehuda
 Shlomo Yehuda Rechnitz
               Rechnitz                                               represented by
                                                                      represented by Efrem
                                                                                     Efrem Tobias
                                                                                            Tobias Schwalb
                                                                                                    Schwalb
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  Date Filed
  Date Filed            ##   Docket Text
                             Docket Text
  03/30/2020
  03/30/2020             1 PETITION
                           PETITION re:re: Arbitration
                                           Arbitration Award
                                                       Award ,, filed
                                                                filed by
                                                                      by Shlomo
                                                                         Shlomo Yehuda
                                                                                 Yehuda Rechnitz.
                                                                                         Rechnitz. (Attachments:
                                                                                                   (Attachments: ## 11
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                                               (Davis, Kimberly)
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  03/30/2020                 The case
                             The case of
                                      of Rechnitz
                                         Rechnitz v.v. Kutner,  has been
                                                       Kutner, has  been opened
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                                                                                  in the
                                                                                     the Eastern
                                                                                         Eastern District
                                                                                                  District of
                                                                                                           of New
                                                                                                              New York.
                                                                                                                    York.
                             The case
                             The case number
                                      number isis 20-cv-1607.
                                                  20-cv-1607.
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                         4 In accordance
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                                                                   Federal Rules
                                                                            Rules ofof Civil
                                                                                       Civil Procedure
                                                                                              Procedure and
                                                                                                         and Local
                                                                                                              Local Rule
                                                                                                                     Rule 73.1,
                                                                                                                            73.1,
                           the parties
                           the parties are
                                       are notified
                                            notified that
                                                     that if
                                                          if all
                                                             all parties
                                                                 parties consent
                                                                         consent aa United
                                                                                     United States   magistrate judge
                                                                                              States magistrate  judge of
                                                                                                                        of this
                                                                                                                            this
                           court is
                           court is available
                                    available to
                                               to conduct   all proceedings
                                                  conduct all   proceedings in    this civil
                                                                              in this  civil action
                                                                                             action including
                                                                                                    including aa (jury
                                                                                                                 (jury or
                                                                                                                       or
                           nonjury) trial
                           nonjury)  trial and
                                           and to
                                                to order
                                                   order the
                                                         the entry
                                                              entry of
                                                                    of aa final
                                                                          final judgment.
                                                                                judgment. Attached
                                                                                             Attached to
                                                                                                       to the
                                                                                                          the Notice
                                                                                                              Notice is
                                                                                                                      is aa blank
                                                                                                                            blank
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                             3/11
                        Case 20-1978, Document 69, 12/14/2020, 2993537, Page10 of 206
                                                                          A-4
                                                                          A-4
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             copy of
                             copy  of the
                                      the consent
                                          consent form   that should
                                                    form that should be
                                                                     be filled
                                                                        filled out,
                                                                               out, signed
                                                                                    signed and
                                                                                           and filed
                                                                                               filed electronically
                                                                                                     electronically only
                                                                                                                     only if
                                                                                                                           if
                             all parties
                             all parties wish
                                         wish to
                                              to consent.
                                                  consent. The  form may
                                                           The form  may also
                                                                           also be
                                                                                be accessed
                                                                                   accessed at
                                                                                            at the
                                                                                               the following
                                                                                                   following link:
                                                                                                              link:
                             http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You
                             http://www.uscourts.gov/uscourts/FormsAndFees/Forms/A0085.pdf.             You may   withhold
                                                                                                             may withhold
                             your consent
                             your   consent without
                                            without adverse
                                                       adverse substantive
                                                                substantive consequences.
                                                                              consequences. Do
                                                                                             Do NOT
                                                                                                  NOT return    or file
                                                                                                        return or        the
                                                                                                                    file the
                             consent unless
                             consent   unless all  parties have
                                              all parties        signed the
                                                           have signed  the consent.   (Davis, Kimberly)
                                                                             consent. (Davis,  Kimberly) (Entered:
                                                                                                           (Entered:
                             03/30/2020)
                             03/30/2020)
  03/30/2020
  03/30/2020             55 This
                            This attorney
                                 attorney case
                                          case opening
                                                opening filing
                                                        filing has been checked
                                                               has been checked for
                                                                                 for quality control. See
                                                                                     quality control. See the
                                                                                                          the attachment
                                                                                                              attachment
                            for corrections
                            for corrections that
                                            that were
                                                 were made,
                                                      made, if  any. (Davis,
                                                             if any. (Davis, Kimberly)
                                                                             Kimberly) (Entered:
                                                                                       (Entered: 03/30/2020)
                                                                                                  03/30/2020)
  03/30/2020
  03/30/2020             66 Summons
                            Summons Issued
                                     Issued as as to
                                                  to Greystone
                                                     Greystone Funding
                                                                Funding Corp.,
                                                                        Corp., Ephraim
                                                                               Ephraim Kutner,
                                                                                       Kutner, Jonathan
                                                                                               Jonathan Kutner.
                                                                                                        Kutner.
                            (Attachments: ## 11 Summons,
                            (Attachments:       Summons, # # 22 Summons) (Davis, Kimberly)
                                                                Summons) (Davis, Kimberly) (Entered:
                                                                                           (Entered: 03/30/2020)
                                                                                                     03/30/2020)
  03/31/2020
  03/31/2020                 CIVIL CASE
                             CIVIL  CASE FILING
                                           FILING FEE:
                                                   FEE: $
                                                        $ 400,
                                                          400, receipt
                                                               receipt number ANYEDC-12613527 (Schwalb,
                                                                       number ANYEDC-12613527 (Schwalb, Efrem)
                                                                                                        Efrem)
                             (Entered: 03/31/2020)
                             (Entered: 03/31/2020)
  03/31/2020
  03/31/2020                 ORDER. The
                             ORDER.          Court hereby
                                         The Court  hereby schedules
                                                           schedules aa telephonic
                                                                        telephonic hearing
                                                                                     hearing on
                                                                                              on 2
                                                                                                 2 Plaintiffs
                                                                                                   Plaintiff's ex
                                                                                                               ex parte
                                                                                                                  parte Motion
                                                                                                                         Motion
                             for an
                             for an Order
                                    Order ofof Attachment
                                               Attachment on
                                                           on Tuesday,   March 31,
                                                               Tuesday, March     31, 2020
                                                                                      2020 at
                                                                                           at 3:30
                                                                                              3:30 p.m.
                                                                                                   p.m. The    parties shall
                                                                                                        The parties    shall
                             dial-in to
                             dial-in to aa conference
                                           conference call with the
                                                      call with the court
                                                                    court at
                                                                          at 11 (888)
                                                                                (888) 684-8852   and enter
                                                                                       684-8852 and  enter the
                                                                                                            the following
                                                                                                                following
                             code: 1312089.
                             code:  1312089. Ordered
                                               Ordered by
                                                        by Judge
                                                           Judge Kiyo
                                                                  Kiyo A.
                                                                        A. Matsumoto
                                                                            Matsumoto on on 3/31/2020.
                                                                                            3/31/2020. (Ammari,
                                                                                                        (Ammari, Kamil)
                                                                                                                     Kamil)
                             (Entered: 03/31/2020)
                             (Entered:   03/31/2020)
  03/31/2020
  03/31/2020             77 NOTICE
                            NOTICE of  of Appearance
                                          Appearance by
                                                      by Yehuda
                                                         Yehuda David
                                                                 David Scharf
                                                                       Scharf on
                                                                               on behalf
                                                                                  behalf of
                                                                                         of Greystone
                                                                                            Greystone Funding
                                                                                                      Funding Corp.
                                                                                                              Corp.
                            (aty to
                            (aty to be
                                    be noticed)
                                       noticed) (Scharf,
                                                (Scharf, Yehuda)
                                                         Yehuda) (Entered:
                                                                 (Entered: 03/31/2020)
                                                                           03/31/2020)
  03/31/2020
  03/31/2020             8 NOTICE
                         8 NOTICE of of Appearance
                                        Appearance by
                                                    by Jay
                                                       Jay R.
                                                            R. Speyer
                                                               Speyer on
                                                                      on behalf
                                                                         behalf of
                                                                                of Greystone
                                                                                   Greystone Funding
                                                                                             Funding Corp.
                                                                                                     Corp. (aty
                                                                                                           (aty to
                                                                                                                to be
                                                                                                                   be
                           noticed) (Speyer,
                           noticed) (Speyer, Jay)
                                             Jay) (Entered:
                                                  (Entered: 03/31/2020)
                                                            03/31/2020)
  03/31/2020
  03/31/2020             9 NOTICE
                         9 NOTICE of  of Appearance
                                         Appearance by
                                                    by Joaquin
                                                         Joaquin Javier
                                                                 Javier Ezcurra
                                                                        Ezcurra on
                                                                                on behalf
                                                                                   behalf of
                                                                                          of Greystone
                                                                                             Greystone Funding
                                                                                                       Funding Corp.
                                                                                                               Corp.
                           (aty to
                           (aty to be
                                   be noticed)
                                      noticed) (Ezcurra,
                                               (Ezcurra, Joaquin)
                                                          Joaquin) (Entered:
                                                                   (Entered: 03/31/2020)
                                                                             03/31/2020)
  03/31/2020
  03/31/2020           10 ORDER
                       10 ORDER granting
                                    granting 22 Motion
                                                Motion for   Order to
                                                        for Order   to Show
                                                                       Show Cause.
                                                                             Cause. Show
                                                                                    Show Cause
                                                                                           Cause Hearing
                                                                                                  Hearing set
                                                                                                            set for
                                                                                                                for
                          4/7/2020 at
                          4/7/2020  at 11:00  AM before
                                       11:00 AM    before Judge
                                                           Judge Kiyo
                                                                  Kiyo A.
                                                                        A. Matsumoto.
                                                                           Matsumoto. The
                                                                                        The parties
                                                                                             parties shall
                                                                                                     shall dial
                                                                                                           dial into aa
                                                                                                                into
                          conference call
                          conference  call with
                                           with the
                                                 the court  by dialing
                                                     court by  dialing 888-684-8852
                                                                       888-684-8852 and
                                                                                      and entering
                                                                                          entering the
                                                                                                    the following   access
                                                                                                        following access
                          code: 1312089.
                          code:  1312089. Show     Cause Response
                                           Show Cause    Response due due by
                                                                          by 4/3/2020.
                                                                             4/3/2020. See
                                                                                       See attached
                                                                                           attached order
                                                                                                      order for
                                                                                                            for further
                                                                                                                further
                          details. Ordered
                          details. Ordered by
                                           by Judge
                                                Judge Kiyo
                                                      Kiyo A.A. Matsumoto
                                                                Matsumoto on on 3/31/2020.
                                                                                3/31/2020. (Ammari,
                                                                                            (Ammari, Kamil)
                                                                                                        Kamil) (Entered:
                                                                                                                 (Entered:
                          03/31/2020)
                          03/31/2020)
  03/31/2020
  03/31/2020           11 First MOTION
                       11 First MOTION to
                                        to Amend/Correct/Supplement
                                           Amend/Correct/Supplement 10 10 Order
                                                                          Order onon Motion
                                                                                     Motion for Order to
                                                                                            for Order to Show
                                                                                                         Show
                          Cause, by
                          Cause, by Shlomo Yehuda Rechnitz.
                                    Shlomo Yehuda  Rechnitz. (Attachments:
                                                             (Attachments: ## 11 Proposed
                                                                                 Proposed Order Exhibit 1, ## 22
                                                                                          Order Exhibit  1,
                          Exhibit Mishcon
                          Exhibit Mishcon Order)
                                          Order) (Schwalb,
                                                 (Schwalb, Efrem)
                                                           Efrem) (Entered:
                                                                   (Entered: 03/31/2020)
                                                                             03/31/2020)
  04/01/2020
  04/01/2020           12 ORDER
                       12 ORDER granting
                                  granting 11 Motion to
                                           11 Motion  to Amend/Correct/Supplement.
                                                         Amend/Correct/Supplement. See      attached Amended
                                                                                        See attached  Amended Order
                                                                                                                Order
                          to Show
                          to      Cause for
                             Show Cause      Attachment in
                                         for Attachment  in Aid
                                                            Aid of
                                                                of Arbitration
                                                                   Arbitration for
                                                                               for further
                                                                                   further details.
                                                                                           details. Ordered
                                                                                                    Ordered by
                                                                                                            by Judge
                                                                                                               Judge
                          Kiyo A.
                          Kiyo A. Matsumoto
                                  Matsumoto onon 4/1/2020.
                                                 4/1/2020. (Ammari,
                                                            (Ammari, Kamil)
                                                                      Kamil) (Entered:
                                                                              (Entered: 04/01/2020)
                                                                                         04/01/2020)
  04/01/2020
  04/01/2020                 MINUTE ENTRY
                             MINUTE      ENTRY &    & ORDER
                                                       ORDER for     Telephonic Hearing
                                                                 for Telephonic  Hearing held
                                                                                           held before
                                                                                                before Judge
                                                                                                       Judge Kiyo
                                                                                                              Kiyo A.
                                                                                                                    A.
                             Matsumoto      on March   31,  2020. Appearances:   Efrem   Tobias  Schwalb,  Esq., for
                             Matsumoto on March 31, 2020. Appearances: Efrem Tobias Schwalb, Esq., for Petitioner;   Petitioner;
                             Yehuda David
                             Yehuda  David Scharf,      Esq., and
                                               Scharf, Esq.,  and Jay
                                                                   Jay R.
                                                                        R. Speyer, Esq., for
                                                                           Speyer, Esq.,     Respondents. The
                                                                                         for Respondents.  The court   heard
                                                                                                                court heard
                             argument on
                             argument    on 22 Petitioner's
                                               Petitioner's Ex
                                                             Ex Parte
                                                                Parte Motion
                                                                       Motion for  Order to
                                                                               for Order  to Show  Cause. For
                                                                                             Show Cause.   For the
                                                                                                               the reasons
                                                                                                                   reasons
                             stated on
                             stated on the
                                        the record
                                             record and
                                                     and in
                                                          in 10 the court's
                                                             10 the court's Order
                                                                            Order dated
                                                                                   dated March
                                                                                          March 31,
                                                                                                 31, 2020,
                                                                                                     2020, the
                                                                                                           the court  granted
                                                                                                               court granted
                             Petitioner's motion.
                             Petitioner's  motion. Petitioner
                                                     Petitioner shall
                                                                shall move
                                                                       move by
                                                                             by April
                                                                                April 7, 2020 at
                                                                                      7, 2020  at 11:00 a.m. for
                                                                                                  11:00 a.m.     an order
                                                                                                             for an  order
                             confirming the
                             confirming    the order
                                               order of
                                                      of attachment.
                                                         attachment. Respondents
                                                                       Respondents shall
                                                                                     shall show
                                                                                           show cause
                                                                                                 cause in writing by
                                                                                                       in writing by April
                                                                                                                      April 3,
                                                                                                                             3,
                             2020 why
                             2020  why thethe relief sought by
                                              relief sought  by Petitioner
                                                                 Petitioner should
                                                                            should not
                                                                                    not be
                                                                                        be granted.
                                                                                           granted. (Court
                                                                                                    (Court Reporter:
                                                                                                           Reporter: Holly
                                                                                                                       Holly
                             Driscoll.) (Ammari,
                             Driscoll.)  (Ammari, Kamil)
                                                     Kamil) (Entered:
                                                              (Entered: 04/01/2020)
                                                                         04/01/2020)
  04/01/2020
  04/01/2020           13 CERTIFICATE OF
                       0 CERTIFICATE    OF SERVICE
                                           SERVICE byby Shlomo  Yehuda Rechnitz
                                                        Shlomo Yehuda  Rechnitz of
                                                                                of Order to Show
                                                                                   Order to Show Cause and
                                                                                                 Cause and
                          Supporting Documents
                          Supporting Documents on
                                               on Defendants/Respondents
                                                  Defendants/Respondents (Schwalb,
                                                                         (Schwalb, Efrem)
                                                                                   Efrem) (Entered:
                                                                                          (Entered:
                          04/01/2020)
                          04/01/2020)
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                         4/11
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                                                                          A-5
                                                                          A-5
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

  04/03/2020
  04/03/2020           14 Second
                       14 Second MOTION
                                  MOTION forfor Extension
                                                Extension of
                                                          of Time
                                                             Time to
                                                                   to File
                                                                      File Documents
                                                                           Documents by
                                                                                     by Ephraim
                                                                                        Ephraim Kutner,
                                                                                                Kutner, Jonathan
                                                                                                        Jonathan
                          Kutner. (Didora,
                          Kutner. (Didora, Matthew)
                                           Matthew) (Entered:
                                                     (Entered: 04/03/2020)
                                                               04/03/2020)
  04/03/2020
  04/03/2020                 ORDER granting
                             ORDER granting in part and
                                            in part and denying
                                                        denying in part 14
                                                                in part 14 request
                                                                           request for
                                                                                   for extension of time.
                                                                                       extension of time.

                             The court
                             The  court DENIES
                                         DENIES Plaintiffs
                                                      Plaintiff's request
                                                                   request forfor an
                                                                                   an extension
                                                                                       extension ofof time
                                                                                                       time toto file
                                                                                                                 file aa motion
                                                                                                                          motion to
                                                                                                                                  to confirm
                                                                                                                                     confirm
                             the order
                             the order of
                                        of attachment
                                            attachment entered
                                                           entered by by the
                                                                           the court.
                                                                               court. As As Plaintiffs
                                                                                            Plaintiff's counsel
                                                                                                         counsel acknowledged
                                                                                                                    acknowledged at    at the
                                                                                                                                           the ex
                                                                                                                                               ex
                             parte hearing
                             parte  hearing held
                                              held onon March
                                                         March 31,31, 2020,
                                                                       2020, Plaintiff
                                                                                Plaintiff remains
                                                                                           remains responsible
                                                                                                      responsible for      ensuring that
                                                                                                                      for ensuring    that his
                                                                                                                                            his
                             requests for
                             requests       relief comply
                                       for relief   comply withwith all
                                                                     all relevant
                                                                         relevant authority.
                                                                                      authority. New
                                                                                                  New York
                                                                                                         York Civil
                                                                                                                 Civil Practice
                                                                                                                         Practice Law
                                                                                                                                  Law and and
                             Rules §§ 6211(b)
                             Rules                provides specific
                                      6211(b) provides        specific timetables
                                                                         timetables underunder which
                                                                                                which aa party
                                                                                                          party receiving
                                                                                                                  receiving an an ex  parte
                                                                                                                                   ex parte
                             order of
                             order  of attachment
                                       attachment must must move
                                                              move forfor anan order
                                                                               order confirming
                                                                                       confirming said
                                                                                                     said order
                                                                                                           order ofof attachment.
                                                                                                                       attachment. SeeSee
                             CPLR §§ 6211(b)
                             CPLR      6211(b) ("[A]n
                                                  ("[A]n order
                                                            order ofof attachment
                                                                       attachment granted
                                                                                        granted without
                                                                                                 without notice
                                                                                                           notice shall
                                                                                                                     shall provide
                                                                                                                            provide that
                                                                                                                                      that
                             within aa period
                             within    period not
                                                not toto exceed
                                                         exceed five
                                                                   five days     after levy,
                                                                         days after           the plaintiff
                                                                                        levy, the plaintiff shall    move, on
                                                                                                              shall move,    on such
                                                                                                                                 such notice
                                                                                                                                        notice
                             as the
                             as the court   shall direct
                                    court shall    direct to
                                                           to the
                                                               the defendant,
                                                                   defendant, the  the garnishee,
                                                                                        garnishee, if
                                                                                                    if any,
                                                                                                        any, and
                                                                                                              and the
                                                                                                                   the sheriff,
                                                                                                                         sheriff, for  an order
                                                                                                                                  for an   order
                             confirming    the  order   of attachment.");       Voice   Commc'ns,    Inc.  v.  Bello,
                             confirming the order of attachment."); Voice Commc'ns, Inc. v. Bello, 813 N.Y.S.2d 295,    813  N.Y.S.2d     295,
                             297 (Sup.
                             297  (Sup. Ct.
                                         Ct. 2006).     Accordingly, by
                                              2006). Accordingly,         by April
                                                                              April 6, 6, 2020,
                                                                                          2020, Plaintiff
                                                                                                 Plaintiff shall
                                                                                                             shall either
                                                                                                                    either (1)
                                                                                                                            (1) move
                                                                                                                                move for for
                             confirmation of
                             confirmation    of the
                                                 the ex   parte order
                                                      ex parte   order ofof attachment,
                                                                              attachment, or or (2)
                                                                                                (2) explain
                                                                                                    explain the the legal   basis as
                                                                                                                    legal basis   as to
                                                                                                                                      to how
                                                                                                                                          how
                             Plaintiff's April
                             Plaintiffs  April 1,1, 2020
                                                    2020 service
                                                            service ofof the
                                                                          the order
                                                                               order toto show
                                                                                          show cause,     supporting documentation,
                                                                                                 cause, supporting        documentation,
                             complaint, and
                             complaint,   and memorandum
                                                memorandum of      of law
                                                                       law onon Defendants
                                                                                  Defendants satisfied
                                                                                                satisfied the
                                                                                                            the requirements
                                                                                                                 requirements of  of CPLR
                                                                                                                                      CPLR §   §
                             6211(b) or,
                             6211(b)   or, alternatively,
                                           alternatively, thethe legal   basis as
                                                                  legal basis     as to
                                                                                     to why
                                                                                         why Plaintiff
                                                                                              Plaintiff is
                                                                                                         is entitled
                                                                                                            entitled to to additional
                                                                                                                           additional time.
                                                                                                                                        time.

                             The court,
                             The court, however,
                                         however, GRANTS
                                                   GRANTS Defendants'
                                                               Defendants' request
                                                                             request for   an extension
                                                                                       for an             of time.
                                                                                               extension of  time. By
                                                                                                                   By April
                                                                                                                       April 21,
                                                                                                                              21,
                             2020, Defendants
                             2020, Defendants shall
                                                 shall show
                                                       show cause   why the
                                                             cause why   the relief
                                                                              relief sought
                                                                                     sought byby petitioner
                                                                                                 petitioner should
                                                                                                             should not
                                                                                                                    not be
                                                                                                                         be
                             granted and
                             granted  and submit
                                          submit any
                                                  any opposition
                                                       opposition to
                                                                   to Plaintiffs
                                                                      Plaintiff's motion
                                                                                   motion toto confirm
                                                                                               confirm the
                                                                                                        the previously
                                                                                                            previously entered
                                                                                                                        entered
                             order of
                             order of attachment.
                                      attachment. To   allow the
                                                   To allow   the court time to
                                                                  court time   to review
                                                                                  review Defendants'
                                                                                          Defendants' motion
                                                                                                         motion papers,
                                                                                                                papers, the
                                                                                                                          the
                             court hereby  adjourns  the  Show  Cause   Hearing
                             court hereby adjourns the Show Cause Hearing          currently
                                                                                   currently  scheduled  for  April 7, 2020
                                                                                              scheduled for April 7, 2020 at at
                             11:00 a.m.
                             11:00 a.m. until
                                         until Friday,
                                               Friday, April
                                                       April 24,
                                                             24, 2020
                                                                  2020 at
                                                                        at 11:00
                                                                           11:00 a.m.
                                                                                   a.m. Ordered
                                                                                        Ordered byby Judge
                                                                                                      Judge Kiyo
                                                                                                             Kiyo A.
                                                                                                                   A.
                             Matsumoto on
                             Matsumoto    on 4/3/2020.
                                             4/3/2020. (Ammari,
                                                         (Ammari, Kamil)
                                                                    Kamil) (Entered:
                                                                            (Entered: 04/03/2020)
                                                                                         04/03/2020)
  04/06/2020
  04/06/2020           15 MOTION
                       15 MOTION for     Extension of
                                     for Extension of Time to File
                                                      Time to File Motion
                                                                   Motion to
                                                                          to Confirm Attachment by
                                                                             Confirm Attachment by Shlomo
                                                                                                   Shlomo Yehuda
                                                                                                          Yehuda
                          Rechnitz. (Schwalb,
                          Rechnitz. (Schwalb, Efrem)
                                               Efrem) (Entered:
                                                       (Entered: 04/06/2020)
                                                                 04/06/2020)
  04/06/2020
  04/06/2020                 ORDER denying
                             ORDER     denying 15
                                                15 Motion
                                                    Motion for  Extension of
                                                            for Extension    of Time  to File.
                                                                                Time to  File. Petitioner
                                                                                               Petitioner represents
                                                                                                          represents that
                                                                                                                     that it
                                                                                                                           it "is
                                                                                                                              "is
                             doing its best and is intending  to file its motion  to confirm   by April
                             doing its best and is intending to file its motion to confirm by April 6,  6, 2020,"
                                                                                                           2020," and
                                                                                                                  and  its
                                                                                                                       its
                             motion for
                             motion      an extension
                                     for an            of time
                                            extension of  time to
                                                                to do
                                                                   do so
                                                                       so is respectfully denied.
                                                                          is respectfully denied. Ordered
                                                                                                   Ordered byby Judge
                                                                                                                Judge Kiyo
                                                                                                                       Kiyo A. A.
                             Matsumoto on
                             Matsumoto    on 4/6/2020.
                                             4/6/2020. (Ammari,
                                                        (Ammari, Kamil)
                                                                    Kamil) (Entered:
                                                                             (Entered: 04/06/2020)
                                                                                        04/06/2020)
  04/06/2020
  04/06/2020           16 MOTION
                       16 MOTION for     Permanent Injunction
                                     for Permanent   Injunction to to Confirm  Order of
                                                                      Confirm Order    of Attachment
                                                                                          Attachment in   Aid of
                                                                                                      in Aid   of Arbitration
                                                                                                                  Arbitration
                          by Shlomo
                          by  Shlomo Yehuda
                                      Yehuda Rechnitz.
                                               Rechnitz. (Attachments:
                                                           (Attachments: ## 11 Declaration
                                                                                Declaration Rechnitz
                                                                                             Rechnitz Declaration,
                                                                                                       Declaration, ## 22
                          Exhibit Exhibit
                          Exhibit Exhibit A
                                          A --
                                             -- Petition,
                                                Petition, ## 33 Exhibit
                                                                Exhibit Exhibit
                                                                        Exhibit BB -- Bechoffer
                                                                                      Bechoffer Letter,
                                                                                                Letter, ## 44 Exhibit
                                                                                                              Exhibit Exhibit
                                                                                                                      Exhibit
                          C - March  9 Response,   # 5 Exhibit
                          C - March 9 Response, # 5 Exhibit       Exhibit
                                                                  Exhibit D
                                                                          D  -
                                                                             - Mezzanine
                                                                               Mezzanine   Award,
                                                                                           Award, #
                                                                                                  #  6
                                                                                                     6  Memorandum
                                                                                                        Memorandum       in
                                                                                                                         in
                          Support Memo
                          Support Memo of of Law
                                             Law in   Support of
                                                  in Support     of Motion
                                                                    Motion to
                                                                            to Confirm
                                                                               Confirm Attachment)
                                                                                          Attachment) (Schwalb,
                                                                                                       (Schwalb, Efrem)
                                                                                                                    Efrem)
                          (Entered: 04/06/2020)
                          (Entered: 04/06/2020)
  04/13/2020
  04/13/2020           17 Surety
                       17 Surety Bond
                                 Bond per
                                      per Attachment
                                          Attachment Order
                                                      Order BOND
                                                            BOND in   the amount
                                                                   in the amount of
                                                                                 of $$ 10,000
                                                                                       10,000 posted
                                                                                              posted by
                                                                                                     by Shlomo
                                                                                                        Shlomo
                          Yehuda Rechnitz
                          Yehuda  Rechnitz (Schwalb,
                                           (Schwalb, Efrem)
                                                     Efrem) (Entered:
                                                            (Entered: 04/13/2020)
                                                                      04/13/2020)
  04/14/2020
  04/14/2020           18 Letter
                       18 Letter to Justice Matsumoto
                                 to Justice Matsumoto by
                                                      by Ephraim
                                                         Ephraim Kutner,
                                                                 Kutner, Jonathan
                                                                         Jonathan Kutner
                                                                                  Kutner (Didora,
                                                                                         (Didora, Matthew)
                                                                                                  Matthew)
                          (Entered:  04/14/2020)
                          (Entered: 04/14/2020)
  04/15/2020
  04/15/2020                 ORDER granting
                             ORDER    granting 18  Letter Motion
                                                18 Letter Motion for
                                                                 for Extension
                                                                      Extension ofof Time. Respondents are
                                                                                     Time. Respondents  are hereby
                                                                                                            hereby granted
                                                                                                                    granted
                             until April
                             until April 21,
                                         21, 2020 to respond
                                             2020 to respond to
                                                             to petitioner's
                                                                petitioner's petition
                                                                             petition seeking
                                                                                      seeking to
                                                                                              to confirm an arbitration
                                                                                                 confirm an arbitration
                             award. Ordered
                             award. Ordered byby Judge
                                                 Judge Kiyo
                                                        Kiyo A.
                                                             A. Matsumoto
                                                                Matsumoto on  on 4/15/2020.
                                                                                 4/15/2020. (Amman,
                                                                                            (Ammari, Kamil)
                                                                                                       Kamil) (Entered:
                                                                                                               (Entered:
                             04/15/2020)
                             04/15/2020)
  04/20/2020
  04/20/2020                 ORDER TO
                             ORDER   TO SHOW    CAUSE: Show
                                         SHOW CAUSE:           Cause Hearing
                                                        Show Cause    Hearing set
                                                                                set for
                                                                                     for 4/24/2020
                                                                                         4/24/2020 at
                                                                                                   at 11:00 a.m. before
                                                                                                      11:00 a.m. before
                             Judge Kiyo
                             Judge Kiyo A.
                                        A. Matsumoto.
                                           Matsumoto. The parties shall
                                                      The parties shall dial
                                                                        dial into
                                                                             into aa conference
                                                                                     conference call
                                                                                                call with
                                                                                                     with the
                                                                                                          the court by
                                                                                                              court by
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                                         5/11
                        Case 20-1978, Document 69, 12/14/2020, 2993537, Page12 of 206
                                                                          A-6
                                                                          A-6
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             dialing 888-684-8852
                             dialing 888-684-8852 and
                                                  and entering the following
                                                      entering the following access
                                                                             access code:
                                                                                    code: 1312089.Ordered
                                                                                          1312089.Ordered byby Judge
                                                                                                               Judge
                             Kiyo A.
                             Kiyo  A. Matsumoto
                                      Matsumoto on
                                                on 4/20/2020.
                                                   4/20/2020. (Williams-Jackson,
                                                               (Williams-Jackson, Sandra)
                                                                                  Sandra) (Entered:
                                                                                           (Entered: 04/20/2020)
                                                                                                     04/20/2020)
  04/21/2020
  04/21/2020           19 Letter
                       19 Letter MOTION
                                 MOTION for    Extension of
                                           for Extension of Time to File
                                                            Time to File All
                                                                         All Deadlines
                                                                             Deadlines by
                                                                                       by Ephraim
                                                                                          Ephraim Kutner,
                                                                                                  Kutner, Jonathan
                                                                                                          Jonathan
                          Kutner. (Didora,
                          Kutner. (Didora, Matthew)
                                           Matthew) (Entered:
                                                     (Entered: 04/21/2020)
                                                               04/21/2020)
  04/22/2020
  04/22/2020                 ORDER. The
                             ORDER.      The court
                                             court isis in receipt of
                                                        in receipt  of the
                                                                       the Kutner
                                                                            Kutner defendants'
                                                                                    defendants' request
                                                                                                   request (doc.
                                                                                                            (doc. 19),
                                                                                                                   19), filed at 8:52
                                                                                                                        filed at  8:52
                             pm on
                             pm  on April
                                     April 21,  2020, seeking
                                            21, 2020,    seeking aa thirty-day
                                                                     thirty-day extension
                                                                                extension ofof their
                                                                                                their response    (due on
                                                                                                      response (due    on April
                                                                                                                           April 21,
                                                                                                                                   21,
                             2020) to,
                             2020)  to, and
                                        and aa hearing
                                               hearing (scheduled
                                                          (scheduled for    April 24,
                                                                        for April 24, 2020   at 11:00
                                                                                       2020 at  11:00 a.m.)
                                                                                                        a.m.) regarding,
                                                                                                               regarding, the
                                                                                                                            the
                             plaintiff's motion
                             plaintiffs  motion toto confirm
                                                     confirm thethe arbitration
                                                                    arbitration award
                                                                                award andand attachment.
                                                                                             attachment. The       Kutner defendants
                                                                                                             The Kutner    defendants
                             are advised
                             are advised that
                                           that this
                                                this court   will grant
                                                      court will  grant the
                                                                         the adjournment
                                                                             adjournment on on the
                                                                                                 the condition   that they
                                                                                                     condition that   they will
                                                                                                                             will not
                                                                                                                                  not
                             object or
                             object or raise
                                        raise any
                                              any defense
                                                   defense that
                                                              that the
                                                                   the extension
                                                                        extension of
                                                                                   of the
                                                                                       the dates
                                                                                           dates for  their opposing
                                                                                                  for their  opposing submission
                                                                                                                        submission
                             and the
                             and  the hearing   warrants denial
                                      hearing warrants              of the
                                                            denial of  the plaintiffs
                                                                           plaintiff's motions,
                                                                                       motions, oror vacatur
                                                                                                     vacatur ofof the
                                                                                                                  the Attachment.
                                                                                                                      Attachment.

                             The Kutner
                             The  Kutner defendants
                                            defendants are are ORDERED
                                                               ORDERED to      to advise
                                                                                  advise thethe court  by 1:30
                                                                                                 court by  1:30 p.m.
                                                                                                                p.m. today,
                                                                                                                      today, April
                                                                                                                             April 22,
                                                                                                                                    22,
                             2020, that
                             2020,  that the
                                          the foregoing     condition is
                                               foregoing condition          acceptable and
                                                                         is acceptable    and agreed
                                                                                                agreed to.
                                                                                                        to. The  Kutner defendants
                                                                                                            The Kutner                are
                                                                                                                         defendants are
                             advised that
                             advised   that if  they fail
                                            if they   fail to
                                                           to advise
                                                              advise the
                                                                       the court   by 1:30
                                                                            court by  1:30 p.m.
                                                                                              p.m. today,
                                                                                                    today, they
                                                                                                            they shall
                                                                                                                 shall immediately
                                                                                                                       immediately file
                                                                                                                                      file
                             their opposition
                             their                submission no
                                   opposition submission         no later
                                                                     later than
                                                                           than 2:30   p.m. today
                                                                                 2:30 p.m.     today (or
                                                                                                      (or they
                                                                                                          they will
                                                                                                               will be
                                                                                                                    be deemed
                                                                                                                        deemed toto have
                                                                                                                                    have
                             waived their
                             waived   their right
                                             right to
                                                    to oppose)
                                                       oppose) andand shall
                                                                        shall be
                                                                              be prepared
                                                                                  prepared to  to proceed
                                                                                                  proceed with
                                                                                                            with the
                                                                                                                 the currently
                                                                                                                     currently scheduled
                                                                                                                                scheduled
                             hearing on
                             hearing  on April
                                           April 24,
                                                   24, 2020.
                                                       2020. OnOn the
                                                                    the other
                                                                         other hand,
                                                                                hand, if  the Kutner
                                                                                       if the   Kutner defendants
                                                                                                        defendants advise
                                                                                                                     advise the
                                                                                                                             the court  by
                                                                                                                                 court by
                             1:30 p.m.
                             1:30  p.m. today
                                         today that
                                                  that the
                                                       the foregoing
                                                            foregoing condition
                                                                         condition is   acceptable, the
                                                                                     is acceptable,    the court  will grant
                                                                                                            court will grant the
                                                                                                                             the Kutner
                                                                                                                                 Kutner
                             defendants' request
                             defendants'   request forfor aa thirty-day
                                                             thirty-day adjournment
                                                                          adjournment to   to file
                                                                                              file their
                                                                                                   their opposition,
                                                                                                         opposition, which
                                                                                                                       which will
                                                                                                                              will be
                                                                                                                                   be due
                                                                                                                                       due
                             on or
                             on  or before
                                    before May
                                             May 22,22, 2020,
                                                        2020, and
                                                                and will
                                                                      will adjourn
                                                                            adjourn the
                                                                                     the hearing.
                                                                                           hearing. The    parties shall
                                                                                                      The parties  shall promptly
                                                                                                                         promptly inform
                                                                                                                                    inform
                             the court
                             the        whether they
                                 court whether      they intend
                                                          intend toto present
                                                                      present testimony
                                                                                testimony at  at said
                                                                                                 said hearing.
                                                                                                      hearing. Ordered
                                                                                                                Ordered byby Judge
                                                                                                                             Judge Kiyo
                                                                                                                                     Kiyo
                             A. Matsumoto
                             A. Matsumoto on    on 4/22/2020.
                                                    4/22/2020. (Amman,
                                                                  (Ammari, Kamil)
                                                                                Kamil) (Entered:
                                                                                         (Entered: 04/22/2020)
                                                                                                      04/22/2020)
  04/22/2020
  04/22/2020           20 Letter
                       20 Letter to Justice Matsumoto
                                 to Justice Matsumoto by
                                                      by Ephraim
                                                         Ephraim Kutner,
                                                                 Kutner, Jonathan
                                                                         Jonathan Kutner
                                                                                  Kutner (Didora,
                                                                                         (Didora, Matthew)
                                                                                                  Matthew)
                          (Entered: 04/22/2020)
                          (Entered:  04/22/2020)
  04/22/2020
  04/22/2020           21 Corporate
                       21 Corporate Disclosure
                                    Disclosure Statement by Greystone
                                               Statement by Greystone Funding
                                                                      Funding Corp.
                                                                              Corp. identifying
                                                                                    identifying Corporate
                                                                                                Corporate Parent
                                                                                                           Parent
                          Greystone Select
                          Greystone        Holdings LLC
                                    Select Holdings LLC for
                                                         for Greystone
                                                             Greystone Funding
                                                                       Funding Corp..
                                                                               Corp.. (Speyer,
                                                                                      (Speyer, Jay)
                                                                                               Jay) (Entered:
                                                                                                    (Entered:
                          04/22/2020)
                          04/22/2020)
  04/22/2020
  04/22/2020           22 ANSWER
                       22 ANSWER toto Complaint
                                      Complaint ,, THIRD    PARTY COMPLAINT
                                                    THIRD PARTY     COMPLAINT against
                                                                                 against Clarity
                                                                                         Clarity Capital
                                                                                                 Capital Partners
                                                                                                         Partners
                          LLC, Harborview
                          LLC, Harborview Capital
                                            Capital Partners,
                                                    Partners, LLC,
                                                              LLC, CROSSCLAIM
                                                                   CROSSCLAIM against
                                                                                 against Jonathan
                                                                                         Jonathan Kutner,
                                                                                                   Kutner,
                          Ephraim Kutner,
                          Ephraim Kutner, COUNTERCLAIM
                                           COUNTERCLAIM againstagainst Shlomo
                                                                       Shlomo Yehuda
                                                                              Yehuda Rechnitz
                                                                                     Rechnitz by
                                                                                               by Greystone
                                                                                                  Greystone
                          Funding Corp..
                          Funding Corp.. (Scharf,
                                         (Scharf, Yehuda)
                                                  Yehuda) (Entered:
                                                           (Entered: 04/22/2020)
                                                                     04/22/2020)
  04/22/2020
  04/22/2020           23 Proposed
                       23 Proposed Summons.
                                   Summons. ReRe 22
                                                 22 Answer
                                                    Answer to
                                                           to Complaint„
                                                              Complaint,, Third Party Complaint„
                                                                          Third Party Complaint,, Crossclaim„
                                                                                                  Crossclaim,,
                          Counterclaim, by
                          Counterclaim, by Greystone
                                           Greystone Funding
                                                     Funding Corp.
                                                             Corp. (Scharf,
                                                                   (Scharf, Yehuda)
                                                                            Yehuda) (Entered:
                                                                                    (Entered: 04/22/2020)
                                                                                              04/22/2020)
  04/22/2020
  04/22/2020           24 Proposed
                       24 Proposed Summons.
                                   Summons. ReRe 22
                                                 22 Answer
                                                    Answer to
                                                           to Complaint„
                                                              Complaint,, Third Party Complaint„
                                                                          Third Party Complaint,, Crossclaim„
                                                                                                  Crossclaim,,
                          Counterclaim, by
                          Counterclaim, by Greystone
                                           Greystone Funding
                                                     Funding Corp.
                                                             Corp. (Scharf,
                                                                   (Scharf, Yehuda)
                                                                            Yehuda) (Entered:
                                                                                    (Entered: 04/22/2020)
                                                                                              04/22/2020)
  04/22/2020
  04/22/2020           25 MOTION
                       25 MOTION for      Interpleader Deposit
                                     for Interpleader  Deposit (28
                                                               (28 U.S.C.
                                                                   U.S.C. Section
                                                                           Section 1335)
                                                                                    1335) byby Greystone
                                                                                               Greystone Funding
                                                                                                         Funding Corp..
                                                                                                                   Corp..
                          (Attachments: ## 11 Declaration
                          (Attachments:        Declaration of
                                                           of Y.
                                                              Y. David
                                                                 David Scharf  Concerning Greystone's
                                                                        Scharf Concerning    Greystone's Attorneys'
                                                                                                         Attorneys' Fees
                                                                                                                    Fees
                          and Costs,
                          and Costs, ## 22 Memorandum
                                           Memorandum in  in Support
                                                             Support in
                                                                     in Support  of Its
                                                                        Support of  Its Interpleader Motion, ## 33
                                                                                        Interpleader Motion,
                          Proposed Order
                          Proposed Order Authorizing
                                            Authorizing Interpleader  Deposit) (Scharf,
                                                         Interpleader Deposit)  (Scharf, Yehuda)
                                                                                          Yehuda) (Entered:
                                                                                                   (Entered: 04/22/2020)
                                                                                                             04/22/2020)
  04/23/2020
  04/23/2020                 SCHEDULING ORDER:
                             SCHEDULING         ORDER: In   In light of 20
                                                               light of 20 the
                                                                            the Kutner
                                                                                 Kutner Defendants'
                                                                                          Defendants' letter  dated April
                                                                                                       letter dated  April 22,  2020,
                                                                                                                           22, 2020,
                             the request  for a thirty-day   extension   of all deadlines   is hereby GRANTED.
                             the request for a thirty-day extension of all deadlines is hereby GRANTED. Accordingly: Accordingly:
                             (1) by
                             (1) by May
                                    May 22,22, 2020,
                                               2020, Defendants
                                                      Defendants shall
                                                                     shall file their opposition
                                                                           file their  opposition papers;
                                                                                                   papers; and
                                                                                                           and (2)
                                                                                                                (2) on
                                                                                                                    on May
                                                                                                                        May 26,
                                                                                                                              26,
                             2020 at
                             2020  at 11:00
                                       11:00 a.m.,
                                             a.m., the
                                                    the parties
                                                         parties shall
                                                                 shall appear
                                                                       appear for
                                                                                for aa Show   Cause Hearing
                                                                                       Show Cause    Hearing before
                                                                                                               before the
                                                                                                                      the Court.
                                                                                                                           Court.
                             Unless the
                             Unless   the parties
                                          parties notify
                                                   notify the
                                                          the Court
                                                               Court no
                                                                      no later  than two
                                                                          later than  two weeks
                                                                                           weeks prior
                                                                                                  prior to
                                                                                                        to the
                                                                                                           the hearing  that they
                                                                                                                hearing that  they
                             intend to
                             intend  to present
                                        present live
                                                 live witnesses
                                                      witnesses and
                                                                  and that
                                                                       that an
                                                                             an in-court  hearing will
                                                                                in-court hearing   will be
                                                                                                        be necessary
                                                                                                            necessary to
                                                                                                                       to resolution
                                                                                                                          resolution
                             of the
                             of the instant motions, the
                                    instant motions,    the hearing
                                                            hearing will
                                                                      will proceed
                                                                           proceed telephonically.
                                                                                      telephonically. The  parties shall
                                                                                                      The parties   shall dial
                                                                                                                          dial into
                                                                                                                               into aa
                             conference call
                             conference   call with
                                               with the
                                                     the court   by dialing
                                                          court by  dialing 888-684-8852
                                                                             888-684-8852 and  and entering
                                                                                                   entering the
                                                                                                             the following   access
                                                                                                                 following access

https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                                  6/11
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                                                                          A-7
                                                                          A-7
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             code: 1312089.
                             code: 1312089. Ordered
                                            Ordered by
                                                    by Judge
                                                       Judge Kiyo
                                                             Kiyo A.
                                                                  A. Matsumoto
                                                                     Matsumoto onon 4/23/2020.
                                                                                    4/23/2020. (Ammari,
                                                                                               (Ammari, Kamil)
                                                                                                        Kamil)
                             Modified on
                             Modified on 4/23/2020
                                         4/23/2020 (Williams-Jackson,
                                                   (Williams-Jackson, Sandra).
                                                                      Sandra). (Entered:
                                                                               (Entered: 04/23/2020)
                                                                                         04/23/2020)
  04/29/2020
  04/29/2020           26 MOTION
                       26  MOTION to  to Compel
                                         Compel by
                                                by Shlomo     Yehuda Rechnitz.
                                                   Shlomo Yehuda      Rechnitz. (Attachments:
                                                                                 (Attachments: ## 11 Exhibit
                                                                                                     Exhibit Agreement,
                                                                                                             Agreement,
                          ## 2
                             2 Exhibit
                               Exhibit Response
                                       Response emails,
                                                emails, ## 33 Exhibit
                                                              Exhibit Letter
                                                                      Letter to
                                                                             to advise
                                                                                advise borrowers)
                                                                                       borrowers) (Schwalb,
                                                                                                    (Schwalb, Efrem)
                                                                                                              Efrem)
                           (Entered: 04/29/2020)
                          (Entered:  04/29/2020)
  04/30/2020
  04/30/2020           27 Letter
                       27 Letter to Hon. Vera
                                 to Hon.      M. Scanlon
                                         Vera M  Scanlon by
                                                         by Ephraim
                                                            Ephraim Kutner,
                                                                    Kutner, Jonathan
                                                                            Jonathan Kutner
                                                                                     Kutner (Didora,
                                                                                            (Didora, Matthew)
                                                                                                     Matthew)
                          (Entered: 04/30/2020)
                          (Entered:  04/30/2020)
  04/30/2020
  04/30/2020                 ORDER re
                             ORDER      re 26
                                           26 MOTION
                                               MOTION to    to Compel.
                                                               Compel. The     Kutner defendants
                                                                         The Kutner    defendants are
                                                                                                    are ORDERED
                                                                                                          ORDERED TO   TO SHOW
                                                                                                                          SHOW
                             CAUSE via
                             CAUSE      via ECF,
                                             ECF, no
                                                   no later
                                                       later than
                                                             than 12:00  pm on
                                                                  12:00 pm    on May
                                                                                 May 1,1, 2020,
                                                                                          2020, why
                                                                                                  why the
                                                                                                        the court
                                                                                                             court should
                                                                                                                   should not
                                                                                                                          not order
                                                                                                                              order
                             the Kutner
                             the Kutner defendants
                                          defendants to  to advise
                                                            advise mezzanine
                                                                   mezzanine borrowers
                                                                                borrowers by by letter,  attached as
                                                                                                letter, attached   as Exhibit
                                                                                                                      Exhibit C
                                                                                                                              C to
                                                                                                                                 to
                             the plaintiffs
                             the plaintiffs 4/29/20
                                              4/29/20 letter  (doc. 26),
                                                       letter (doc. 26), of
                                                                         of the
                                                                             the parties
                                                                                 parties stipulation
                                                                                         stipulation to
                                                                                                      to make
                                                                                                          make payments
                                                                                                                 payments to
                                                                                                                           to the
                                                                                                                              the
                             plaintiff, as
                             plaintiff, as set
                                            set forth
                                                forth in
                                                      in Exhibit
                                                          Exhibit A
                                                                  A to
                                                                     to the
                                                                        the plaintiffs
                                                                            plaintiffs 4/29/20
                                                                                       4/29/20 letter.   No extensions
                                                                                                 letter. No   extensions of
                                                                                                                         of this
                                                                                                                            this
                             ORDER TO
                             ORDER      TO SHOW       CAUSE will
                                             SHOW CAUSE         will be
                                                                      be granted.
                                                                         granted. Ordered
                                                                                   Ordered byby Judge
                                                                                                 Judge Kiyo
                                                                                                          Kiyo A.
                                                                                                                A. Matsumoto
                                                                                                                   Matsumoto on on
                             4/30/2020. (Williams-Jackson,
                             4/30/2020.    (Williams-Jackson, Sandra)
                                                                  Sandra) (Entered:
                                                                            (Entered: 04/30/2020)
                                                                                       04/30/2020)
  05/01/2020
  05/01/2020           28 DECLARATION
                       28  DECLARATION of  of Ephram
                                               Ephram Kutner
                                                        Kutner by
                                                               by Ephraim
                                                                  Ephraim Kutner,
                                                                          Kutner, Jonathan
                                                                                   Jonathan Kutner
                                                                                            Kutner (Attachments:
                                                                                                   (Attachments: ##
                          11 03-16-20 Rechnitz Letter)
                             03-16-20 Rechnitz Letter) (Didora,
                                                       (Didora, Matthew)
                                                                Matthew) (Entered:
                                                                         (Entered: 05/01/2020)
                                                                                    05/01/2020)
  05/01/2020
  05/01/2020           29 AFFIDAVIT/DECLARATION
                       29 AFFIDAVIT/DECLARATION in          Support re
                                                        in Support  re 26
                                                                       26 MOTION
                                                                          MOTION to  to Compel
                                                                                        Compel in Response to
                                                                                               in Response to
                          Declaration of
                          Declaration of Ephriam
                                         Ephriam Kutner
                                                 Kutner filed
                                                         filed May
                                                               May 1,
                                                                   1, 2020
                                                                       2020 filed by Shlomo
                                                                            filed by Shlomo Yehuda
                                                                                            Yehuda Rechnitz.
                                                                                                    Rechnitz.
                          (Schwalb, Efrem)
                          (Schwalb, Efrem) (Entered:
                                           (Entered: 05/01/2020)
                                                     05/01/2020)
  05/01/2020
  05/01/2020                 The court
                             The  court has
                                         has reviewed
                                              reviewed thethe submissions
                                                              submissions of of the
                                                                                the plaintiff
                                                                                    plaintiff and
                                                                                              and the
                                                                                                   the Kutner
                                                                                                        Kutner defendants
                                                                                                                  defendants
                             regarding plaintiffs
                             regarding   plaintiff's motion
                                                     motion 26 26 to
                                                                   to compel
                                                                      compel the
                                                                              the Kutner
                                                                                  Kutner defendants
                                                                                            defendants toto notify
                                                                                                            notify Mezzanine
                                                                                                                     Mezzanine
                             Borrowers of
                             Borrowers    of the
                                             the terms
                                                  terms ofof their
                                                             their agreement
                                                                    agreement with
                                                                               with the
                                                                                     the Plaintiff
                                                                                          Plaintiff (doc.
                                                                                                    (doc. 26-29).The
                                                                                                           26-29).The courtcourt hereby
                                                                                                                                  hereby
                             grants 26
                             grants 26 Plaintiffs
                                        Plaintiff's Motion
                                                     Motion to to Compel
                                                                  Compel the
                                                                           the Kutner
                                                                               Kutner defendants
                                                                                        defendants to to serve
                                                                                                         serve Mezzanine
                                                                                                                 Mezzanine
                             Borrowers with
                             Borrowers    with the
                                                the Notice,
                                                     Notice, attached
                                                               attached as
                                                                         as Exhibit
                                                                            Exhibit C
                                                                                    C to
                                                                                       to plaintiffs
                                                                                           plaintiff's motion,
                                                                                                       motion, regarding
                                                                                                                 regarding the the
                             parties' agreements,
                             parties' agreements, as as confirmed
                                                         confirmed in    emails between
                                                                      in emails  between the
                                                                                           the plaintiff
                                                                                               plaintiff and
                                                                                                          and the
                                                                                                               the Kutner
                                                                                                                     Kutner
                             defendants, attached
                             defendants,   attached asas Exhibits
                                                          Exhibits A A and
                                                                       and BB (docs.
                                                                              (docs. 26-1,
                                                                                      26-1, 26-2).
                                                                                             26-2). The   Kutner defendants
                                                                                                     The Kutner      defendants areare
                             ORDERED to
                             ORDERED       to serve
                                               serve the
                                                      the Mezzanine
                                                           Mezzanine Borrowers
                                                                        Borrowers with
                                                                                    with the
                                                                                           the Notice,
                                                                                               Notice, and
                                                                                                        and file
                                                                                                              file aa declaration
                                                                                                                      declaration ofof
                             service, no
                             service,  no later
                                          later than
                                                than 5:00    p.m. on
                                                       5:00 p.m.    on May
                                                                       May 4,
                                                                            4, 2020.
                                                                               2020. If  the Kutner
                                                                                      If the Kutner defendants
                                                                                                       defendants fail     to comply,
                                                                                                                      fail to comply,
                             the plaintiff
                             the plaintiff may
                                           may serve
                                                 serve the
                                                         the Mezzanine
                                                              Mezzanine Borrowers
                                                                           Borrowers with
                                                                                       with aa copy
                                                                                               copy ofof this
                                                                                                         this Order
                                                                                                               Order andand the
                                                                                                                             the Notice,
                                                                                                                                 Notice,
                             and  the Kutner   defendants     may   be subject to sanctions.Ordered     by
                             and the Kutner defendants may be subject to sanctions.Ordered by Judge Kiyo A. Judge    Kiyo    A.
                             Matsumoto on
                             Matsumoto     on 5/1/2020.    (Matsumoto, Kiyo)
                                               5/1/2020. (Matsumoto,       Kiyo) (Entered:
                                                                                  (Entered: 05/01/2020)
                                                                                              05/01/2020)
  05/01/2020
  05/01/2020                 ORDER deferring
                             ORDER       deferring ruling
                                                     ruling on
                                                            on 25
                                                                25 Greystone     Funding's Motion
                                                                    Greystone Funding's        Motion for
                                                                                                        for Interpleader   Deposit (28
                                                                                                            Interpleader Deposit     (28
                             U.S.C. Section
                             U.S.C.    Section 1335).
                                                1335). Greystone
                                                         Greystone failed
                                                                      failed to
                                                                              to comply
                                                                                 comply withwith the
                                                                                                  the court's
                                                                                                      court's motion
                                                                                                               motion practices
                                                                                                                       practices byby first
                                                                                                                                       first
                             seeking aa pre-motion
                             seeking      pre-motion conference.
                                                        conference. Moreover,
                                                                       Moreover, despite
                                                                                     despite Second     Circuit caselaw,
                                                                                              Second Circuit     caselaw, Greystone
                                                                                                                           Greystone
                             failed to
                             failed  to provide
                                         provide contemporaneous
                                                   contemporaneous time  time records
                                                                               records and
                                                                                         and biographies
                                                                                              biographies in in support
                                                                                                                support of
                                                                                                                         of its motion
                                                                                                                            its motion
                             for attorneys
                             for  attorneys fees,    which appear
                                             fees, which    appear toto be
                                                                         be quite
                                                                            quite high
                                                                                   high for   attorneys litigating
                                                                                          for attorneys  litigating in this district.
                                                                                                                    in this  district.
                             Greystone shall
                             Greystone     shall provide
                                                  provide supporting
                                                           supporting contemporaneous
                                                                          contemporaneous time  time records
                                                                                                      records that
                                                                                                               that disclose
                                                                                                                    disclose the
                                                                                                                              the
                             services rendered
                             services   rendered andand the
                                                         the billing
                                                             billing rates  and brief
                                                                      rates and  brief biographies
                                                                                         biographies for   all attorneys
                                                                                                       for all attorneys for   whom it
                                                                                                                          for whom      it
                             seeks to
                             seeks   to recover
                                        recover fees    no later
                                                  fees no  later than
                                                                 than May
                                                                        May 8,8, 2020.
                                                                                 2020. Given
                                                                                         Given Greystone's
                                                                                                  Greystone's unique
                                                                                                                unique position
                                                                                                                        position in   this
                                                                                                                                   in this
                             litigation, the
                             litigation,  the court
                                              court will
                                                      will overlook
                                                           overlook thethe failure  to seek
                                                                           failure to   seek aa pre-motion
                                                                                                pre-motion conference
                                                                                                              conference and
                                                                                                                           and orders
                                                                                                                                orders
                             that  the  plaintiff and  Kutner   defendants    respond    to the  Greystone    motion
                             that the plaintiff and Kutner defendants respond to the Greystone motion no later than   no  later than May
                                                                                                                                       May
                             15, 2020.
                             15,  2020. The    court encourages
                                          The court   encourages thethe parties
                                                                          parties to
                                                                                  to resolve
                                                                                      resolve the
                                                                                               the Greystone     motion before
                                                                                                    Greystone motion     before the
                                                                                                                                  the
                             further expenditure
                             further   expenditure of of fees by the
                                                         fees by  the parties.
                                                                       parties. Ordered
                                                                                 Ordered by by Judge
                                                                                                Judge Kiyo
                                                                                                       Kiyo A.A. Matsumoto
                                                                                                                  Matsumoto on  on
                             5/1/2020.    (Matsumoto, Kiyo)
                             5/1/2020. (Matsumoto,         Kiyo) (Entered:
                                                                  (Entered: 05/01/2020)
                                                                              05/01/2020)
  05/04/2020
  05/04/2020           30 DECLARATION
                       30  DECLARATION of    of Marilyn
                                                Marilyn Tirado by Ephraim
                                                        Tirado by  Ephraim Kutner,
                                                                           Kutner, Jonathan
                                                                                   Jonathan Kutner
                                                                                            Kutner (Attachments:
                                                                                                   (Attachments: ##
                          11 Exhibit)
                             Exhibit) (Didora,
                                      (Didora, Matthew)
                                               Matthew) (Entered:
                                                         (Entered: 05/04/2020)
                                                                   05/04/2020)
  05/08/2020
  05/08/2020           31 AFFIDAVIT/DECLARATION
                       31 AFFIDAVIT/DECLARATION in        Support re
                                                       in Support re 25
                                                                     25 MOTION
                                                                        MOTION for
                                                                                 for Interpleader Deposit (28
                                                                                     Interpleader Deposit (28
                          U.S.C. Section
                          U.S.C. Section 1335)
                                         1335) Supplemental
                                               Supplemental Declaration
                                                            Declaration Concerning
                                                                        Concerning Greystone's  Attorney's Fees
                                                                                   Greystone's Attorney's  Fees

https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                                   7/11
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                                                                          A-8
                                                                          A-8
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             and Costs
                             and       filed by
                                 Costs filed   by Greystone
                                                  Greystone Funding
                                                            Funding Corp..
                                                                     Corp.. (Attachments:
                                                                            (Attachments: ## 11 Exhibit
                                                                                                Exhibit A-Attorney
                                                                                                        A-Attorney
                             Information, ## 22 Exhibit
                             Information,       Exhibit B-Invoices)
                                                        B-Invoices) (Speyer,
                                                                    (Speyer, Jay)
                                                                             Jay) (Entered:
                                                                                  (Entered: 05/08/2020)
                                                                                            05/08/2020)
  05/08/2020
  05/08/2020           32 SUMMONS
                       32 SUMMONS Returned
                                       Returned Executed
                                                Executed by
                                                          by Greystone
                                                             Greystone Funding
                                                                        Funding Corp..
                                                                                 Corp.. Clarity
                                                                                        Clarity Capital
                                                                                                Capital Partners
                                                                                                        Partners
                          LLC served
                          LLC  served on
                                      on 5/1/2020, answer due
                                         5/1/2020, answer due 5/22/2020;  Harborview Capital
                                                               5/22/2020; Harborview   Capital Partners,
                                                                                               Partners, LLC
                                                                                                         LLC served
                                                                                                              served
                          on 5/1/2020,
                          on           answer due
                             5/1/2020, answer due 5/22/2020.  (Speyer, Jay)
                                                   5/22/2020. (Speyer, Jay) (Entered:
                                                                            (Entered: 05/08/2020)
                                                                                      05/08/2020)
  05/15/2020
  05/15/2020           33 MEMORANDUM
                       33 MEMORANDUM in        in Opposition
                                                  Opposition re
                                                             re 25
                                                                25 MOTION
                                                                    MOTION for     Interpleader Deposit
                                                                              for Interpleader   Deposit (28
                                                                                                         (28 U.S.C.
                                                                                                             U.S.C.
                          Section 1335)
                          Section        filed by
                                  1335) filed  by Clarity
                                                  Clarity Capital
                                                           Capital Partners
                                                                   Partners LLC,
                                                                            LLC, Harborview
                                                                                   Harborview Capital
                                                                                               Capital Partners,
                                                                                                       Partners, LLC,
                                                                                                                   LLC,
                          Ephraim Kutner,
                          Ephraim  Kutner, Jonathan
                                            Jonathan Kutner.
                                                      Kutner. (Attachments:
                                                               (Attachments: ## 11 Declaration
                                                                                   Declaration of
                                                                                                of Matthew
                                                                                                   Matthew F.
                                                                                                            F. Didora
                                                                                                               Didora in
                                                                                                                      in
                          Opposition to
                          Opposition  to Greystone
                                         Greystone Funding
                                                    Funding Corp.'s
                                                              Corp.'s Request
                                                                      Request for   Attorney's Fees
                                                                               for Attorney's  Fees and
                                                                                                    and Costs,
                                                                                                         Costs, ## 22
                          Exhibit 1)
                          Exhibit 1) (Didora,
                                     (Didora, Matthew)
                                               Matthew) (Entered:
                                                          (Entered: 05/15/2020)
                                                                    05/15/2020)
  05/15/2020
  05/15/2020           34 AFFIDAVIT/DECLARATION
                       34 AFFIDAVIT/DECLARATION in         Support re
                                                        in Support re 25
                                                                      25 MOTION
                                                                         MOTION for
                                                                                  for Interpleader Deposit (28
                                                                                      Interpleader Deposit (28
                          U.S.C. Section
                          U.S.C. Section 1335)
                                         1335) of
                                               of Efrem
                                                  Efrem Schwalb
                                                        Schwalb filed
                                                                filed by
                                                                      by Shlomo
                                                                         Shlomo Yehuda
                                                                                Yehuda Rechnitz.
                                                                                         Rechnitz. (Schwalb,
                                                                                                   (Schwalb,
                          Efrem) (Entered:
                          Efrem) (Entered: 05/15/2020)
                                           05/15/2020)
  05/17/2020
  05/17/2020           35 AFFIDAVIT/DECLARATION
                       35 AFFIDAVIT/DECLARATION in                Support re
                                                               in Support  re 25
                                                                               25 MOTION
                                                                                  MOTION for for Interpleader    Deposit (28
                                                                                                 Interpleader Deposit    (28
                          U.S.C. Section
                          U.S.C. Section 1335)
                                            1335) of
                                                   of Efrem
                                                      Efrem Schwalb
                                                              Schwalb attaching
                                                                        attaching missing
                                                                                   missing exhibits   filed by
                                                                                            exhibits filed   by Shlomo
                                                                                                                Shlomo Yehuda
                                                                                                                         Yehuda
                          Rechnitz. (Attachments:
                          Rechnitz.  (Attachments: ## 11 Exhibit
                                                          Exhibit 11 -- Email
                                                                        Email agreement,
                                                                                agreement, ## 22 Exhibit
                                                                                                 Exhibit 22 -- Email
                                                                                                               Email with
                                                                                                                     with stip,
                                                                                                                          stip, ##
                          3 Exhibit
                          3 Exhibit 33 -- Final
                                          Final stipulation,
                                                stipulation, ## 4
                                                                4 Exhibit
                                                                  Exhibit 44 -- May
                                                                                May 15
                                                                                    15 change)
                                                                                       change) (Schwalb,
                                                                                                 (Schwalb, Efrem)
                                                                                                               Efrem) (Entered:
                                                                                                                      (Entered:
                          05/17/2020)
                          05/17/2020)
  05/22/2020
  05/22/2020           36 RESPONSE
                       36  RESPONSE in      Opposition re
                                         in Opposition         16 MOTION
                                                           re 16   MOTION for  for Permanent
                                                                                   Permanent Injunction
                                                                                                 Injunction to  to Confirm
                                                                                                                   Confirm Order
                                                                                                                              Order ofof
                           Attachment in
                          Attachment       Aid of
                                        in Aid   of Arbitration
                                                    Arbitration issued
                                                                   issued by  Rabbi Dovid
                                                                          by Rabbi     Dovid Cohen
                                                                                               Cohen filed     by Ephraim
                                                                                                        filed by   Ephraim Kutner,
                                                                                                                              Kutner,
                           Jonathan Kutner.
                          Jonathan    Kutner. (Attachments:
                                               (Attachments: ## 11 Declaration
                                                                       Declaration 03-20-20
                                                                                     03-20-20 -- Ephraim
                                                                                                  Ephraim Kutner,
                                                                                                               Kutner, ## 22 Exhibit
                                                                                                                             Exhibit
                           Exh A
                          Exh   A -- 12-24-14
                                     12-24-14 Joint
                                                Joint Venture
                                                      Venture Agreement,
                                                                 Agreement, ## 33 Exhibit
                                                                                     Exhibit Exh
                                                                                              Exh B  B -- 02-25-18
                                                                                                          02-25-18 Rechnitz
                                                                                                                     Rechnitz email,
                                                                                                                                 email,
                           #4
                           # 4 Exhibit
                               Exhibit Exh
                                        Exh CC -- Weldler
                                                  Weldler LtrLtr to
                                                                 to Rabbi
                                                                     Rabbi Cohen,
                                                                            Cohen, ## 55 Exhibit
                                                                                           Exhibit Exh
                                                                                                     Exh D D -- 10-04-18    Weldler
                                                                                                                10-04-18 Weldler
                           email to
                           email to Cohen,
                                     Cohen, ## 66 Exhibit
                                                  Exhibit ExhExh EE -- 10-26-18
                                                                       10-26-18 Weldler
                                                                                  Weldler email
                                                                                             email toto Cohen,
                                                                                                        Cohen, ## 77 Exhibit
                                                                                                                      Exhibit Exh
                                                                                                                                Exh F F --
                           Weldler's Proposed
                           Weldler's  Proposed Arbitration
                                                  Arbitration Award,
                                                                Award, ## 8 8 Exhibit
                                                                              Exhibit Exh
                                                                                        Exh G-1
                                                                                              G-1 -- 10-29-18
                                                                                                      10-29-18 Weldler's
                                                                                                                  Weldler's email
                                                                                                                              email toto
                           Cohen, ## 9
                          Cohen,      9 Exhibit
                                        Exhibit Exh
                                                  Exh G-2
                                                       G-2 -- Weldler's
                                                               Weldler's Proposed
                                                                          Proposed Arbitration
                                                                                       Arbitration Award,
                                                                                                      Award, ## 1010 Exhibit
                                                                                                                     Exhibit Exh
                                                                                                                               Exh H H --
                           10-30-18 B'Kavod
                           10-30-18   B'Kavod Ha Ha Torah     Ltr, ## 11
                                                     Torah Ltr,          Exhibit Exh
                                                                      11 Exhibit  Exh II -- 11-01-18
                                                                                            11-01-18 Weldler's
                                                                                                        Weldler's email
                                                                                                                    email toto Cohen,
                                                                                                                               Cohen, ##
                           12 Exhibit
                           12  Exhibit Exh
                                       Exh JJ -- 11-05-18
                                                 11-05-18 Executed
                                                             Executed Arbitration
                                                                         Arbitration Award,
                                                                                       Award, ## 13    Exhibit Exh
                                                                                                   0 Exhibit      Exh KK --
                           Confidential Settlement
                          Confidential                 Communication, ## 14
                                         Settlement Communication,                 Exhibit Exh
                                                                              14 Exhibit     Exh L-1
                                                                                                  L-1 -- 02-17-20
                                                                                                          02-17-20 Weldler's
                                                                                                                      Weldler's email
                                                                                                                                  email
                           to Cohen,
                          to  Cohen, ## 15
                                        15 Exhibit
                                            Exhibit Exh
                                                      Exh L-2
                                                            L-2 -- Din
                                                                    Din Torah
                                                                         Torah -- Asks,
                                                                                  Asks, ## 16
                                                                                            16 Exhibit
                                                                                               Exhibit ExhExh M M -- Weldler's
                                                                                                                     Weldler's
                           Documents Creation
                          Documents     Creation Proof,
                                                    Proof, ## 17
                                                               17 Exhibit
                                                                   Exhibit Exh
                                                                            Exh N N -- 02-20-20
                                                                                       02-20-20 Cohen's
                                                                                                  Cohen's LtrLtr Directing
                                                                                                                  Directing
                           Appearance, ## 18
                          Appearance,      18 Exhibit
                                                Exhibit Exh
                                                         Exh 0O -- 03-09-20     Weldler's email
                                                                     03-09-20 Weldler's             to Cohen,
                                                                                             email to  Cohen, ## 19    Exhibit Exh
                                                                                                                    19 Exhibit   Exh P P
                          -- 03-20-20   Weldler's Proposed
                             03-20-20 Weldler's     Proposed Arbitration
                                                                Arbitration Award,
                                                                             Award, ## 20 20 Exhibit
                                                                                              Exhibit Exh
                                                                                                        Exh Q Q -- USPS
                                                                                                                   USPS Tracking
                                                                                                                           Tracking (of(of
                           del 11-08-18),
                           del 11-08-18), ## 21
                                             21 Exhibit
                                                  Exhibit Exh
                                                           Exh R  R -- 03-01-20
                                                                       03-01-20 Kutner
                                                                                  Kutner email
                                                                                            email to
                                                                                                  to Rechnitz,
                                                                                                       Rechnitz, ## 22
                                                                                                                     22 Exhibit
                                                                                                                        Exhibit ExhExh
                           S - 03-03-20  Kutner    email  to  Rechnitz,   # 23  Exhibit
                           S - 03-03-20 Kutner email to Rechnitz, # 23 Exhibit Exh T -    Exh   T -  03-03-20
                                                                                                     03-03-20    Weldler
                                                                                                                 Weldler    email
                                                                                                                            email  to
                                                                                                                                  to
                           Kutner, ## 24
                          Kutner,     24 Memorandum
                                         Memorandum in      in Opposition
                                                               Opposition Memorandum
                                                                             Memorandum of     of Law)
                                                                                                  Law) (Didora,
                                                                                                           (Didora, Matthew)
                                                                                                                     Matthew)
                           (Entered: 05/22/2020)
                          (Entered:   05/22/2020)
  05/22/2020
  05/22/2020           37 MOTION
                       37 MOTION to to Adjourn
                                       Adjourn Conference
                                                  Conference Hearing
                                                              Hearing for
                                                                       for one week in
                                                                           one week    order to
                                                                                    in order    allow Petitioner
                                                                                             to allow Petitioner an
                                                                                                                 an
                          opportunity to
                          opportunity     file opposition
                                      to file             papers to
                                               opposition papers to cross-motion by Shlomo
                                                                    cross-motion by          Yehuda Rechnitz.
                                                                                    Shlomo Yehuda    Rechnitz.
                          (Schwalb, Efrem)
                          (Schwalb, Efrem) (Entered:
                                               (Entered: 05/22/2020)
                                                         05/22/2020)
  05/22/2020
  05/22/2020           38 Letter
                       38 Letter to  advise the
                                 to advise  the Court that defendants
                                                Court that defendants have
                                                                      have consented
                                                                           consented to
                                                                                     to Petitioner's
                                                                                        Petitioner's request
                                                                                                     request to
                                                                                                             to
                          adjourn the
                          adjourn   the hearing
                                        hearing by
                                                by Shlomo
                                                   Shlomo Yehuda
                                                            Yehuda Rechnitz
                                                                   Rechnitz (Schwalb,
                                                                             (Schwalb, Efrem)
                                                                                        Efrem) (Entered:
                                                                                                (Entered: 05/22/2020)
                                                                                                          05/22/2020)
  05/22/2020
  05/22/2020                 ORDER granting
                             ORDER   granting 37
                                              37 Motion
                                                 Motion toto Adjourn
                                                             Adjourn Conference.
                                                                      Conference. Petitioner
                                                                                   Petitioner shall
                                                                                              shall respond
                                                                                                    respond to
                                                                                                             to 36
                                                                                                                36 the
                                                                                                                   the
                             Kutner defendants'
                             Kutner defendants' motion
                                                motion to
                                                       to vacate
                                                           vacate the
                                                                  the arbitration
                                                                      arbitration award
                                                                                  award by
                                                                                        by Friday,
                                                                                           Friday, May
                                                                                                    May 29,
                                                                                                         29, 2020.
                                                                                                             2020.

                             The telephonic
                             The  telephonic Show   Cause hearing
                                             Show Cause   hearing scheduled
                                                                  scheduled for  May 26,
                                                                             for May   26, 2020
                                                                                           2020 isis re-scheduled to
                                                                                                     re-scheduled to
                             Wednesday, June
                             Wednesday,    June 3,
                                                 3, 2020
                                                    2020 at 10:00 a.m.
                                                         at 10:00 a.m. The parties shall
                                                                       The parties  shall dial
                                                                                          dial into
                                                                                               into aa conference
                                                                                                       conference call
                                                                                                                  call with
                                                                                                                       with
                             the court
                             the       by dialing
                                 court by dialing 888-684-8852
                                                  888-684-8852 and
                                                                and entering  the following
                                                                    entering the  following access
                                                                                             access code:
                                                                                                      code: 1312089.
                                                                                                            1312089.


https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                                 8/11
                        Case 20-1978, Document 69, 12/14/2020, 2993537, Page15 of 206
                                                                          A-9
                                                                          A-9
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             Ordered by
                             Ordered by Judge
                                        Judge Kiyo
                                              Kiyo A.
                                                   A. Matsumoto
                                                      Matsumoto on
                                                                on 5/22/2020. (Mayer, Michael)
                                                                   5/22/2020. (Mayer, Michael) (Entered:
                                                                                               (Entered:
                             05/22/2020)
                             05/22/2020)
  05/22/2020
  05/22/2020           39 REPLY
                       39 REPLY in     Support re
                                   in Support    re 25 MOTION for
                                                    25 MOTION         Interpleader Deposit
                                                                  for Interpleader   Deposit (28
                                                                                             (28 U.S.C.
                                                                                                 U.S.C. Section   1335) filed
                                                                                                        Section 1335)    filed
                          by Greystone
                          by Greystone Funding
                                          Funding Corp..
                                                     Corp.. (Attachments:
                                                            (Attachments: ## 11 Exhibit
                                                                                 Exhibit Speyer
                                                                                         Speyer Reply
                                                                                                 Reply Dec.
                                                                                                       Dec. Ex.
                                                                                                             Ex. AA --
                          Rechnitz letter
                          Rechnitz          to Greystone
                                     letter to Greystone -- 3.16.2020,
                                                             3.16.2020, ## 22 Exhibit
                                                                              Exhibit Speyer  Reply Dec.
                                                                                      Speyer Reply  Dec. Ex.
                                                                                                          Ex. B
                                                                                                              B -- Time
                                                                                                                   Time
                          entries, # 3 Exhibit Speyer Reply Dec. Ex. C - Legal database charges, # 4 Exhibit Speyer
                          entries, # 3  Exhibit   Speyer Reply  Dec.  Ex.  C  - Legal database charges, # 4 Exhibit   Speyer
                          Reply Dec.
                          Reply  Dec. Ex.
                                        Ex. DD -- Speyer
                                                  Speyer email
                                                         email to
                                                                to Schwalb
                                                                   Schwalb -- 05.06.2020)
                                                                                05.06.2020) (Speyer,
                                                                                            (Speyer, Jay)
                                                                                                     Jay) (Entered:
                                                                                                          (Entered:
                          05/22/2020)
                          05/22/2020)
  05/22/2020
  05/22/2020           40 MEMORANDUM
                       40 MEMORANDUM in      in Support
                                                Support re 25 MOTION
                                                        re 25 MOTION forfor Interpleader Deposit (28
                                                                            Interpleader Deposit (28 U.S.C.
                                                                                                     U.S.C. Section
                                                                                                            Section
                          1335) filed
                          1335) filed by
                                      by Greystone
                                         Greystone Funding
                                                   Funding Corp..
                                                            Corp.. (Speyer,
                                                                   (Speyer, Jay)
                                                                            Jay) (Entered:
                                                                                 (Entered: 05/22/2020)
                                                                                           05/22/2020)
  05/29/2020
  05/29/2020           41 RESPONSE
                       41 RESPONSE in     Opposition re
                                       in Opposition     16 MOTION
                                                      re 16 MOTION for  for Permanent
                                                                            Permanent Injunction
                                                                                      Injunction to
                                                                                                 to Confirm
                                                                                                    Confirm Order  of
                                                                                                            Order of
                          Attachment in
                          Attachment     Aid of
                                      in Aid of Arbitration
                                                Arbitration filed by Shlomo
                                                            filed by          Yehuda Rechnitz.
                                                                     Shlomo Yehuda   Rechnitz. (Attachments:
                                                                                               (Attachments: ## 11
                          Affidavit Schwalb
                          Affidavit Schwalb Declaration,
                                             Declaration, ## 22 Exhibit
                                                                Exhibit Schwalb Decl. Ex.
                                                                        Schwalb Decl. Ex. 1)
                                                                                          1) (Schwalb,
                                                                                             (Schwalb, Efrem)
                                                                                                       Efrem)
                          (Entered: 05/29/2020)
                          (Entered: 05/29/2020)
  05/29/2020
  05/29/2020           42 EXHIBIT
                       42 EXHIBIT by by Shlomo Yehuda Rechnitz.
                                        Shlomo Yehuda Rechnitz. Related
                                                                Related document:
                                                                         document: 41
                                                                                    41 Response
                                                                                        Response inin Opposition
                                                                                                      Opposition to
                                                                                                                 to
                          Motion, filed
                          Motion,       by Shlomo
                                  filed by        Yehuda Rechnitz.
                                           Shlomo Yehuda  Rechnitz. (Attachments:
                                                                    (Attachments: ## 11 Affidavit
                                                                                        Affidavit Lipnitsky
                                                                                                  Lipnitsky
                          Declaration) (Schwalb,
                          Declaration) (Schwalb, Efrem)
                                                 Efrem) (Entered:
                                                        (Entered: 05/29/2020)
                                                                  05/29/2020)
  05/29/2020
  05/29/2020           43 EXHIBIT
                       43 EXHIBIT Weldler   Declaration by
                                    Weldler Declaration by Shlomo Yehuda Rechnitz.
                                                           Shlomo Yehuda Rechnitz. (Schwalb,
                                                                                   (Schwalb, Efrem)
                                                                                             Efrem) (Entered:
                                                                                                    (Entered:
                          05/29/2020)
                          05/29/2020)
  05/29/2020
  05/29/2020           44 EXHIBIT
                       44 EXHIBIT Weldler    Decl. Ex.
                                     Weldler Decl.  Ex. A
                                                        A by
                                                          by Shlomo  Yehuda Rechnitz.
                                                             Shlomo Yehuda  Rechnitz. Related
                                                                                      Related document:
                                                                                              document: 41
                                                                                                        41
                          Response in
                          Response     Opposition to
                                    in Opposition  to Motion,
                                                      Motion, filed
                                                              filed by
                                                                    by Shlomo
                                                                       Shlomo Yehuda
                                                                              Yehuda Rechnitz.
                                                                                      Rechnitz. (Schwalb,
                                                                                                (Schwalb, Efrem)
                                                                                                          Efrem)
                          (Entered: 05/29/2020)
                          (Entered: 05/29/2020)
  05/29/2020
  05/29/2020           45 EXHIBIT
                       45 EXHIBIT Weldler      Decl. Ex.
                                       Weldler Decl.  Ex. B
                                                          B by
                                                             by Shlomo      Yehuda Rechnitz.
                                                                 Shlomo Yehuda       Rechnitz. Related
                                                                                               Related document:
                                                                                                        document: 41
                                                                                                                   41
                          Response in
                          Response       Opposition to
                                      in Opposition  to Motion,
                                                        Motion, filed
                                                                  filed by
                                                                         by Shlomo
                                                                              Shlomo Yehuda
                                                                                      Yehuda Rechnitz.
                                                                                               Rechnitz. (Attachments:
                                                                                                          (Attachments: ## 11
                          Exhibit Weldler
                          Exhibit  Weldler Decl.
                                            Decl. Ex.
                                                  Ex. C,
                                                       C, ## 22 Exhibit
                                                                Exhibit Weldler
                                                                          Weldler Decl.
                                                                                   Decl. Ex.
                                                                                         Ex. D,
                                                                                             D, ## 33 Exhibit
                                                                                                      Exhibit Weldler
                                                                                                              Weldler Decl.
                                                                                                                      Decl.
                          Ex. E,
                          Ex. E, ## 44 Exhibit
                                       Exhibit Weldler
                                               Weldler Decl.
                                                        Decl. Ex.
                                                                Ex. F,
                                                                    F, ## 55 Exhibit
                                                                             Exhibit Weldler
                                                                                     Weldler Decl.
                                                                                             Decl. Ex.
                                                                                                     Ex. G)
                                                                                                         G) (Schwalb,
                                                                                                            (Schwalb, Efrem)
                                                                                                                      Efrem)
                          (Entered: 05/29/2020)
                          (Entered:   05/29/2020)
  05/29/2020
  05/29/2020           46 EXHIBIT
                       46 EXHIBIT Weldler       Decl. Ex.
                                       Weldler Decl.    Ex. HH byby Shlomo    Yehuda Rechnitz.
                                                                    Shlomo Yehuda       Rechnitz. Related
                                                                                                   Related document:
                                                                                                            document: 41   41
                          Response in
                          Response       Opposition to
                                      in Opposition    to Motion,
                                                          Motion, filed
                                                                     filed byby Shlomo
                                                                                Shlomo Yehuda
                                                                                         Yehuda Rechnitz.
                                                                                                  Rechnitz. (Attachments:
                                                                                                              (Attachments: ## 11
                          Exhibit Weldler
                          Exhibit   Weldler Decl.
                                              Decl. Ex.
                                                     Ex. I,
                                                         I, ## 22 Exhibit
                                                                  Exhibit Weldler
                                                                            Weldler Decl.
                                                                                     Decl. Ex.
                                                                                           Ex. J,
                                                                                               J, ## 33 Exhibit
                                                                                                        Exhibit Weldler
                                                                                                                 Weldler Decl.
                                                                                                                            Decl. Ex.
                                                                                                                                  Ex.
                          K, ## 44 Exhibit
                          K,       Exhibit Weldler
                                            Weldler Decl.
                                                      Decl. Ex.
                                                              Ex. L,
                                                                   L, ## 55 Exhibit
                                                                            Exhibit Weldler
                                                                                    Weldler Decl.
                                                                                             Decl. Ex.
                                                                                                    Ex. M,
                                                                                                         M, ## 66 Exhibit
                                                                                                                  Exhibit Weldler
                                                                                                                            Weldler
                          Decl. Ex.
                          Decl.   Ex. N,
                                      N, ## 77 Exhibit
                                               Exhibit Weldler
                                                       Weldler Decl.
                                                                   Decl. Ex.
                                                                           Ex. 0,
                                                                               O, ## 8
                                                                                     8 Exhibit
                                                                                       Exhibit Weldler
                                                                                               Weldler Decl.
                                                                                                         Decl. Ex.
                                                                                                                 Ex. P,
                                                                                                                     P, ## 9
                                                                                                                           9 Exhibit
                                                                                                                             Exhibit
                          Weldler Decl.
                          Weldler   Decl. Ex.
                                           Ex. Q,
                                                Q, ## 10 Exhibit Weldler
                                                      10 Exhibit    Weldler Decl.
                                                                               Decl. Ex.
                                                                                      Ex. R)
                                                                                          R) (Schwalb,
                                                                                             (Schwalb, Efrem)
                                                                                                         Efrem) (Entered:
                                                                                                                   (Entered:
                          05/29/2020)
                          05/29/2020)
  06/01/2020
  06/01/2020                 SCHEDULING ORDER:
                             SCHEDULING         ORDER: The       hearing scheduled
                                                            The hearing   scheduled for
                                                                                      for this
                                                                                          this Wednesday,
                                                                                               Wednesday, June
                                                                                                             June 3,
                                                                                                                  3, 2020
                                                                                                                     2020 at
                                                                                                                           at
                             10:00  a.m.  shall proceed   before  Judge  Matsumoto     by  video  conference.  Counsel
                             10:00 a.m. shall proceed before Judge Matsumoto by video conference. Counsel for all       for all
                             parties will
                             parties will receive
                                           receive aa link
                                                      link via
                                                           via email  to access
                                                               email to  access the
                                                                                 the video
                                                                                     video conference
                                                                                            conference inin advance
                                                                                                            advance of
                                                                                                                     of the
                                                                                                                        the
                             hearing. Counsel
                             hearing. Counsel shall     inform chambers
                                                 shall inform   chambers and
                                                                           and all
                                                                                all other
                                                                                    other parties,
                                                                                           parties, by
                                                                                                    by 3:00
                                                                                                       3:00 p.m.
                                                                                                            p.m. tomorrow,
                                                                                                                  tomorrow, June
                                                                                                                              June
                             2, 2020,
                             2,       of any
                                2020, of  any non-counsel
                                               non-counsel parties
                                                              parties who
                                                                      who will
                                                                            will address
                                                                                 address the
                                                                                          the court
                                                                                               court during
                                                                                                     during the
                                                                                                             the hearing.
                                                                                                                 hearing. Ordered
                                                                                                                          Ordered
                             by Judge
                             by  Judge Kiyo
                                       Kiyo A.A. Matsumoto
                                                  Matsumoto on  on 6/1/2020.  (Mayer, Michael)
                                                                   6/1/2020. (Mayer,    Michael) (Entered:
                                                                                                    (Entered: 06/01/2020)
                                                                                                               06/01/2020)
  06/03/2020
  06/03/2020                 Minute Entry
                             Minute   Entry for proceedings held
                                            for proceedings  held before
                                                                  before Judge
                                                                          Judge Kiyo
                                                                                Kiyo A.
                                                                                     A. Matsumoto:
                                                                                        Matsumoto: OnOn June
                                                                                                          June 3,
                                                                                                                3, 2020,
                                                                                                                   2020, the
                                                                                                                         the
                             parties appeared  before the court by  video conference to discuss the parties' pending
                             parties appeared before the court by video conference to discuss the parties' pending
                             motions. Appearance
                             motions.  Appearance for   Petitioner: Efrem
                                                    for Petitioner: Efrem Tobias
                                                                           Tobias Schwalb,  Esq. Appearance
                                                                                  Schwalb, Esq.  Appearance for    Ephraim
                                                                                                               for Ephraim
                             and Jonathan
                             and  Jonathan Kutner:
                                            Kutner: Matthew
                                                    Matthew Didora,
                                                               Didora, Esq.
                                                                       Esq. Appearance
                                                                            Appearance for  Greystone Funding
                                                                                        for Greystone  Funding Corp.:
                                                                                                                  Corp.: Jay
                                                                                                                         Jay
                             R. Speyer,
                             R. Speyer, Esq.
                                         Esq.

                             The parties
                             The parties presented
                                         presented their
                                                    their arguments
                                                          arguments regarding  16 Petitioner's
                                                                     regarding 16 Petitioner's Motion
                                                                                               Motion to
                                                                                                      to Confirm
                                                                                                         Confirm an
                                                                                                                 an
                             Order of
                             Order of Attachment
                                      Attachment in   Aid of
                                                   in Aid  of Arbitration,
                                                              Arbitration, 25
                                                                           25 Greystone  Funding's Motion
                                                                              Greystone Funding's  Motion for
                                                                                                          for
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?557715209774173-L_1_0-1                                                             9/11
                        Case 20-1978, Document 69, 12/14/2020, 2993537, Page16 of 206
                                                                       A-10
                                                                       A-10
11/5/2020
11/5/2020                                           Eastern District of New York - LIVE Database 1.5 (Revision 1.5.2)

                             Interpleader Deposit
                             Interpleader Deposit and
                                                   and Attorneys'
                                                        Attorneys' Fees,
                                                                    Fees, and
                                                                          and 36
                                                                              36 the
                                                                                 the Kutner
                                                                                     Kutner defendants'
                                                                                             defendants' Cross-Motion
                                                                                                          Cross-Motion to  to
                             Vacate an
                             Vacate  an Arbitration
                                        Arbitration Award.
                                                     Award. The   Court accepted
                                                             The Court  accepted the
                                                                                  the evidence  submitted by
                                                                                      evidence submitted   by the
                                                                                                               the parties
                                                                                                                    parties as
                                                                                                                            as
                             exhibits with
                             exhibits with their
                                           their various
                                                 various submissions.
                                                          submissions. Counsel
                                                                        Counsel for  Petitioner and
                                                                                 for Petitioner and counsel
                                                                                                     counsel for
                                                                                                             for the
                                                                                                                  the Kutner
                                                                                                                      Kutner
                             defendants confirmed
                             defendants  confirmed that
                                                     that they
                                                          they did
                                                               did not
                                                                   not have
                                                                       have additional
                                                                            additional evidence
                                                                                       evidence toto submit
                                                                                                     submit to
                                                                                                            to the
                                                                                                                the Court.
                                                                                                                    Court.
                             The Court
                             The  Court shall issue aa written
                                        shall issue    written decision
                                                               decision adjudicating
                                                                        adjudicating the
                                                                                     the parties'
                                                                                         parties' pending
                                                                                                  pending motions.
                                                                                                          motions.

                             Video Conference
                             Video Conference held
                                               held on
                                                    on 6/3/2020. (Court Reporter
                                                       6/3/2020. (Court Reporter Anthony
                                                                                 Anthony Mancuso.)
                                                                                         Mancuso.) (Mayer,
                                                                                                   (Mayer,
                             Michael) (Entered: 06/03/2020)
                             Michael) (Entered: 06/03/2020)
  06/08/2020
  06/08/2020           47 ORDER.
                       47 ORDER. For For the
                                         the reasons
                                             reasons contained
                                                      contained in
                                                                 in the
                                                                    the attached
                                                                        attached Memorandum
                                                                                 Memorandum and   and Order,
                                                                                                      Order, as
                                                                                                              as well
                                                                                                                 well as
                                                                                                                      as
                          those stated
                          those  stated on
                                        on the
                                           the record at the
                                               record at the hearing
                                                             hearing held
                                                                      held on
                                                                            on June
                                                                               June 3,
                                                                                    3, 2020,
                                                                                       2020, the
                                                                                              the court
                                                                                                  court GRANTS
                                                                                                        GRANTS 16  16
                          Petitioner's motion
                          Petitioner's motion to
                                               to confirm
                                                  confirm the
                                                           the order
                                                               order of
                                                                      of attachment
                                                                         attachment in
                                                                                     in aid
                                                                                        aid of
                                                                                            of arbitration,
                                                                                               arbitration, DENIES
                                                                                                            DENIES 36 36 the
                                                                                                                         the
                          Kutner defendants'
                          Kutner   defendants' motion
                                               motion to
                                                       to vacate
                                                          vacate the
                                                                  the underlying
                                                                      underlying arbitration
                                                                                  arbitration award,
                                                                                               award, and
                                                                                                      and GRANTS
                                                                                                            GRANTS IN IN
                          PART 25
                          PART    25 Greystone's
                                     Greystone's motion
                                                  motion for
                                                          for interpleader
                                                              interpleader deposit.
                                                                            deposit.

                             Greystone is
                             Greystone      dismissed from
                                         is dismissed          this action,
                                                        from this    action, except   to the
                                                                              except to  the extent
                                                                                              extent the
                                                                                                     the court may be
                                                                                                         court may   be called
                                                                                                                        called upon
                                                                                                                                 upon
                             to enforce
                             to          the payment
                                enforce the  payment of of the
                                                           the Greystone      Lawsuit settlement
                                                                Greystone Lawsuit       settlement to
                                                                                                    to Petitioner.
                                                                                                       Petitioner. Petitioner
                                                                                                                   Petitioner and
                                                                                                                                and
                             the Kutner
                             the Kutner defendants
                                          defendants have
                                                       have agreed
                                                              agreed that
                                                                       that they
                                                                            they may
                                                                                  may not
                                                                                        not commence
                                                                                             commence anyany new
                                                                                                              new proceedings
                                                                                                                   proceedings
                             against Greystone
                             against              for payment
                                      Greystone for   payment of  of the
                                                                      the Greystone
                                                                          Greystone Lawsuit
                                                                                       Lawsuit settlement
                                                                                                 settlement to
                                                                                                             to Petitioner,
                                                                                                                Petitioner, except
                                                                                                                             except to
                                                                                                                                     to
                             enforce the
                             enforce  the same.
                                           same. The
                                                 The parties
                                                       parties shall
                                                                shall hold
                                                                       hold Greystone
                                                                             Greystone harmless
                                                                                          harmless with
                                                                                                     with respect
                                                                                                          respect to
                                                                                                                   to the
                                                                                                                      the funds
                                                                                                                          funds from
                                                                                                                                  from
                             the Greystone
                             the Greystone Lawsuit
                                             Lawsuit settlement.
                                                        settlement. Greystone
                                                                       Greystone is   also awarded
                                                                                   is also awarded $13,063.54
                                                                                                      $13,063.54 in   attorneys' fees
                                                                                                                   in attorneys'  fees
                             and costs,
                             and  costs, which
                                         which it
                                                it may
                                                   may deduct
                                                         deduct from
                                                                  from the
                                                                         the Greystone
                                                                              Greystone Lawsuit
                                                                                          Lawsuit settlement
                                                                                                    settlement funds.   Because the
                                                                                                                funds. Because     the
                             court hereby
                             court hereby confirms
                                            confirms the
                                                       the arbitration
                                                           arbitration award
                                                                          award concerning     the Greystone
                                                                                  concerning the   Greystone Lawsuit,
                                                                                                               Lawsuit, itit is no
                                                                                                                             is no
                             longer necessary
                             longer  necessary for   Greystone to
                                                for Greystone     to deposit
                                                                      deposit the
                                                                               the funds
                                                                                   funds with
                                                                                           with the
                                                                                                 the Registry
                                                                                                     Registry of
                                                                                                               of the
                                                                                                                  the Court.
                                                                                                                      Court. Instead,
                                                                                                                               Instead,
                             Greystone is
                             Greystone      ordered to
                                         is ordered  to pay
                                                         pay the
                                                              the funds
                                                                   funds directly
                                                                           directly to
                                                                                    to Petitioner
                                                                                       Petitioner in
                                                                                                   in accordance
                                                                                                      accordance with
                                                                                                                   with the
                                                                                                                         the
                             arbitration award,
                             arbitration  award, as
                                                  as set
                                                     set forth
                                                         forth in   the attached
                                                                in the  attached Memorandum
                                                                                   Memorandum and   and Order.
                                                                                                         Order.

                             Because the
                             Because   the arbitration
                                           arbitration before
                                                       before Rabbi
                                                              Rabbi Cohen
                                                                      Cohen remains
                                                                             remains ongoing,
                                                                                      ongoing, the
                                                                                                the parties
                                                                                                    parties are
                                                                                                            are encouraged to
                                                                                                                encouraged to
                             submit any
                             submit  any future
                                          future disputes to him
                                                 disputes to him for
                                                                  for resolution.
                                                                      resolution. This
                                                                                  This court, however, will
                                                                                       court, however,  will retain
                                                                                                             retain
                             jurisdiction over
                             jurisdiction over enforcement
                                                enforcement ofof this
                                                                 this Order.
                                                                      Order.

                             The Clerk
                             The Clerk of
                                        of Court
                                           Court is
                                                  is respectfully
                                                     respectfully directed to terminate
                                                                  directed to  terminate Greystone
                                                                                         Greystone Funding
                                                                                                     Funding Corp.
                                                                                                             Corp. as
                                                                                                                   as aa
                             defendant, to
                             defendant, to enter
                                           enter judgment
                                                 judgment inin favor
                                                               favor of
                                                                      of Petitioner,
                                                                         Petitioner, and
                                                                                     and close
                                                                                         close this
                                                                                               this case.
                                                                                                    case.

                             Ordered by
                             Ordered by Judge
                                        Judge Kiyo
                                              Kiyo A.
                                                   A. Matsumoto
                                                      Matsumoto on
                                                                on 6/8/2020. (Mayer, Michael)
                                                                   6/8/2020. (Mayer, Michael) (Entered:
                                                                                              (Entered:
                             06/08/2020)
                             06/08/2020)
  06/15/2020
  06/15/2020           48 CLERK'S
                       48 CLERK'S JUDGMENT
                                       JUDGMENT that   that Petitioners
                                                             Petitioners motion
                                                                           motion toto confirm   the arbitration
                                                                                       confirm the   arbitration award
                                                                                                                 award and
                                                                                                                         and the
                                                                                                                              the
                          order of
                          order  of attachment
                                    attachment in in aid
                                                     aid of
                                                          of arbitration
                                                             arbitration is
                                                                          is granted;
                                                                             granted; that
                                                                                        that the
                                                                                             the Kutner
                                                                                                 Kutner defendants
                                                                                                          defendants motion
                                                                                                                      motion toto
                          vacate the
                          vacate  the underlying
                                       underlying arbitration
                                                    arbitration award
                                                                  award is   denied; that
                                                                          is denied;  that Greystones
                                                                                            Greystones motion
                                                                                                         motion for
                                                                                                                 for interpleader
                                                                                                                     interpleader
                          deposit is
                          deposit  is granted
                                      granted in   part; that
                                               in part;  that Greystone
                                                               Greystone is is dismissed
                                                                               dismissed from    this action,
                                                                                           from this  action, except
                                                                                                              except to
                                                                                                                      to the
                                                                                                                         the extent
                                                                                                                             extent
                          the court
                          the        may be
                              court may    be called  upon to
                                              called upon     to enforce
                                                                 enforce the
                                                                          the payment
                                                                               payment of of the
                                                                                             the Greystone
                                                                                                 Greystone Lawsuit
                                                                                                             Lawsuit settlement
                                                                                                                       settlement
                          to Petitioner;
                          to Petitioner; that
                                          that Greystone
                                               Greystone is     also awarded
                                                             is also  awarded $13,063.54
                                                                                $13,063.54 in in attorneys
                                                                                                 attorneys fees  and costs,
                                                                                                            fees and  costs, which
                                                                                                                             which
                          it may
                          it may deduct
                                  deduct from    the Greystone
                                           from the   Greystone Lawsuit
                                                                   Lawsuit settlement
                                                                              settlement funds;    that Greystone
                                                                                           funds; that  Greystone is
                                                                                                                   is ordered
                                                                                                                      ordered toto
                          pay the
                          pay  the funds   directly to
                                   funds directly   to Petitioner
                                                       Petitioner in in accordance
                                                                        accordance with
                                                                                      with the
                                                                                            the arbitration
                                                                                                arbitration award;
                                                                                                            award; and
                                                                                                                    and that
                                                                                                                         that
                          judgment is
                          judgment    is hereby
                                         hereby entered
                                                 entered in    favor of
                                                           in favor   of Petitioner.
                                                                         Petitioner. Signed
                                                                                      Signed byby Douglas
                                                                                                  Douglas C.C. Palmer,
                                                                                                               Palmer, Clerk
                                                                                                                         Clerk of
                                                                                                                                of
                          Court by
                          Court  by Jalitza
                                     Jalitza Poveda,
                                             Poveda, Deputy
                                                        Deputy Clerk
                                                                  Clerk on
                                                                         on 6/15/2020.    (Herrera, Isaiah)
                                                                             6/15/2020. (Herrera,             (Entered:
                                                                                                      Isaiah) (Entered:
                          06/15/2020)
                          06/15/2020)
  06/23/2020
  06/23/2020           49 NOTICE
                       49 NOTICE OF  OF APPEAL
                                        APPEAL as as to
                                                     to 48
                                                        48 Clerk's
                                                           Clerk's Judgment,,,
                                                                   Judgment,,, by
                                                                               by Ephraim
                                                                                  Ephraim Kutner,
                                                                                            Kutner, Jonathan
                                                                                                      Jonathan Kutner.
                                                                                                                Kutner.
                          Filing fee
                          Filing     $ 505.
                                 fee $ 505. Tracking
                                            Tracking Id:  ANYEDC- (Attachments:
                                                      Id: ANYEDC-    (Attachments: ## 11 Exhibit
                                                                                         Exhibit A,
                                                                                                 A, ## 22 Exhibit
                                                                                                          Exhibit B)
                                                                                                                  B)
                          (Marziliano, August)
                          (Marziliano,  August) Modified
                                                Modified onon 6/23/2020 (Marziliano, August).
                                                              6/23/2020 (Marziliano,  August). Modified
                                                                                                Modified on on 7/8/2020
                                                                                                               7/8/2020
                          (Marziliano, August).
                          (Marziliano,  August). (Entered:
                                                 (Entered: 06/23/2020)
                                                           06/23/2020)
  06/23/2020
  06/23/2020                 Electronic Index
                             Electronic       to Record
                                        Index to Record on
                                                         on Appeal
                                                            Appeal sent
                                                                    sent to
                                                                         to US
                                                                            US Court
                                                                               Court of
                                                                                      of Appeals.
                                                                                         Appeals. 49
                                                                                                   49 Notice
                                                                                                       Notice of
                                                                                                              of Appeal
                                                                                                                 Appeal
                             Documents are
                             Documents   are available
                                             available via
                                                       via Pacer.
                                                           Pacer. For
                                                                  For docket
                                                                      docket entries without aa hyperlink
                                                                             entries without    hyperlink or
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UNITED STATE DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
                                                                  X
SHLOMO YEHUDA RECHNITZ,                                               Case No.

                                   Petitioner/Plaintiff,              COMPLAINT AND PETITION
                                                                      TO CONFIRM ARBITRATION
        v.                                                            AWARD AND FOR AN ORDER
                                                                      OF ATTACHMENT IN AID OF
EPHRAIM KUTNER, JONATHAN KUTNER and                                   ARBITRATION
GREYSTONE FUNDING CORP.,

                                    Respondents/Defendants.
------------------------------------------------------------------X
                                                                  X
                                                                    (“Rechnitz”), by and through his
         Petitioner and Plaintiff Shlomo Yehuda Rechnitz ("Rechnitz"),

undersigned counsel, Koffsky Schwalb LLC, as and for his Complaint and Petition to confirm an

arbitration award
arbitration award against
                  against Defendants
                          Defendants Ephraim Kutner and
                                     Ephraim Kutner and Jonathan Kutner (the
                                                        Jonathan Kutner (the "Kutners"
                                                                             “Kutners” or
                                                                                       or

“Defendants”) and for an order of attachment in aid of arbitration, respectfully states and alleges:
"Defendants")

                                   NATURE OF THE PROCEEDING

        1.                                                             (the "Award")
                 This is an action (a) to confirm an arbitration award (the “Award”) pursuant to 9

U.S.C.A.
U. S.C.A. §§ 9 and 13 in favor of Rechnitz and against the Kutners, and to require the moneys that

                                  (“Greystone”) owes
defendant Greystone Funding Corp. ("Greystone") owes to
                                                     to the
                                                        the Kutners
                                                            Kutners to be paid directly to

Rechnitz as required by the Award; and (b) for an order pursuant to Rule 64 of the Federal Rules

of Civil Procedure and Articles 62 and 75 of New York's
                                                 York’s Civil Practice Law and Rules ("CPLR")
                                                                                     (“CPLR”)

in aid of arbitration attaching the moneys paid and to be paid by Greystone to the Kutners in

connection with a lawsuit between those parties so that the Award will not be rendered ineffectual.

Rechnitz brings related claims against the defendants in connection with their failure to transfer

such amounts to Rechnitz as the parties agreed and in accordance with the Award.

        2.       In 2013, the Kutners sought to borrow money from Rechnitz to fund a lawsuit

                                                 (the "Greystone
between them and their former employer Greystone (the “Greystone Lawsuit”),
                                                                 Lawsuit"), among other
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things. Rechnitz is a businessperson who is involved in a wide array of business and philanthropic

                   periodically assists
ventures. Rechnitz periodically assists others
                                        others by
                                               by lending
                                                  lending money
                                                          money for other people's
                                                                for other people’s businesses
                                                                                   businesses

without charging interest. Rechnitz agreed to loan the Kutners money to assist in funding their

lawsuit against Greystone,
lawsuit against Greystone, at
                           at Rechnitz's
                              Rechnitz’s discretion
                                         discretion (the
                                                    (the "Greystone
                                                         “Greystone Loan"),
                                                                    Loan”), provided that any

recovery from the lawsuit would first be used to repay the loan from Rechnitz, and Rechnitz would

receive 30 percent of any profits recovered in the Greystone Lawsuit.

       3.      Over the next several years, Rechnitz advanced more than $3 million dollars to the

Kutners to fund the Greystone Lawsuit. The Greystone Lawsuit was settled with Greystone for $8

million, with Greystone agreeing to make monthly payments of $150,000 commencing in May

2019. Rechnitz is owed a total of $4,399,976 in connection with the Greystone Loan, which

consists of $3,071,009 that he provided to the Kutners to assist them in funding the lawsuit against

Greystone, plus $1,328,967
Greystone, plus $1,328,967 representing
                           representing Rechnitz'
                                        Rechnitz’ss 30
                                                    30 percent
                                                       percent share
                                                               share of
                                                                     of the
                                                                        the amount
                                                                            amount recovered
                                                                                   recovered after
                                                                                             after

deducting legal expenses (which includes the $3,071,000 provided by Rechnitz plus $500,000 that

the Kutners claimed they spent). Additionally, Rechnitz is owed more than $7
                                                                          $7.66 million for other

loans that he advanced to the Kutners to assist them with one of their businesses.

       4.      Since May 2019, Greystone has paid the Kutners more than $1
                                                                        $1.4
                                                                           4 million, but none

of that money has been delivered to Rechnitz.

       5.      In 2018, the parties had disputes regarding the various loans provided by Rechnitz

to the Kutners including the Greystone Loan. Rechnitz was reasonably concerned that the Kutners

would not repay Rechnitz the money that he had loaned to them including the Greystone Loan.

The parties agreed to arbitrate their disputes before Rabbi Dovid Cohen, a Jewish legal authority

who resides in Brooklyn and was recommended by the Kutners.




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       6.      On August 14, 2018, the parties signed an arbitration agreement and appeared

before Rabbi Cohen regarding the Greystone Loan, among other disputes. Rabbi Cohen reserved

his decision regarding the Greystone Loan to allow the parties to engage in settlement discussions.

After many months of failed settlement negotiations, Rechnitz requested that Rabbi Cohen

reconvene the arbitration or issue a decision directing that all moneys to be received from

Greystone be paid directly to Rechnitz. By letter from their rabbinic lawyer to Rabbi Cohen, the

Kutners stated that they would not appear before Rabbi Cohen claiming that they never agreed to

arbitrate before him (just mediate). Second, they asserted that they had a binding settlement

agreement with Rechnitz already based on a couple of emails that they forwarded to Rabbi Cohen.

Therefore, they claimed there was nothing to arbitrate. Rechnitz responded that the parties had

entered into a binding arbitration agreement, that Rabbi Cohen had reserved decision on the

Greystone Loan dispute to allow for settlement discussions, and that the purported e-mail

          provided by
agreement provided by the
                      the Kutners'
                          Kutners’ rabbinic
                                   rabbinic lawyer was, on its face, not an agreement.

       7.      On March 11, 2020, Rabbi Cohen issued an arbitration award in favor of Rechnitz

(attached hereto as Exhibit 1) and ordered that:

               1. All amounts still owed by Greystone Funding shall be paid directly to
                  SYR [L[i.e.,
                           e., Rechnitz], including the $3,071,009 provided by SYR to fund
                  the lawsuit against Greystone, plus the $1,328,967 representing SYR's
                  30 percent share of the remaining amount recovered in that lawsuit.

               2. Any additional amounts from that lawsuit shall be paid to SYR for
                  repayment of amounts owing to SYR relating to other outstanding
                  amounts. SYR may contact Greystone Funding directly and direct
                  Greystone Funding to make all payments directly to SYR.

               3. The Kutners and all entities they control shall cooperate and not
                  interfere with the instructions to Greystone Funding to make all
                  payments relating to the Greystone Lawsuit directly to SYR.

               4. If requested by SYR, the Kutners shall execute any and all additional
                  documents that will allow SYR or his agent to control, manage and act



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                       on behalf of the Kutners in connection the Greystone Lawsuit
                       settlement.

        8.       By this action, Rechnitz seeks an order (a) confirming the Award; (b) directing

                          Rechnitz’s favor;
judgment to be entered in Rechnitz's favor; (c) requiring the Kutners to carry out the directions

ordered by Rabbi Cohen, (d) requiring Greystone to pay the amounts owed under the Greystone

Settlement directly to Rechnitz; (e) attaching the proceeds of any payments made or to be made

by Greystone to the Kutners in connection with the Greystone Settlement.

                                            PARTIES

        9.       Petitioner/Plaintiff Shlomo Yehuda Rechnitz is a citizen of California residing in

Los Angeles, California.

        10.      Respondent/Defendant Ephraim Kutner is a citizen of New York residing in

Lawrence, New York.

        11.      Respondent/Defendant Jonathan Kutner is a citizen of New York residing in

Lawrence, New York.

        12.      Respondent/Defendant Greystone Funding Corp. is a Delaware corporation with its

principal place of business in the State of New York.

                                  JURISDICTION AND VENUE

        13.      The subject matter jurisdiction of the court is based on 28 U.S.C.A. § 1332. The

amount in controversy exclusive of interest and costs, exceeds $75,000 and the parties are citzens

of different States.

        14.      This Court has personal jurisdiction over the defendants as each defendant resides

in New York, and New York is the principal place of business of each defendant.




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       15.      Venue is proper in this judicial district pursuant to 28 U.
                                                                         U.S.C.A.
                                                                            S.C.A. § 1391 because the

defendants resides in this District and a substantial portion of the events giving rise to the action,

including the signing of the contract to arbitrate and the arbitration occurred in this District.

                                   FACTUAL BACKGROUND

       16.      The Kutners are in the real estate financing business.

       17.      Rechnitz is a businessperson who is involved in a wide array of business and

                        Rechnitz periodically
philanthropic ventures. Rechnitz periodically assists
                                              assists others
                                                      others by
                                                             by lending money for
                                                                lending money for other
                                                                                  other people's
                                                                                        people’s

businesses without charging interest.

       18.      In 2013, the Kutners approached Rechnitz about making a loan to fund a lawsuit

against their former employer Greystone, as well as other loans relating to healthcare businesses

around the United States.

       19.      With respect to the Greystone Lawsuit, Rechnitz agreed to assist in funding the

lawsuit provided that (a) the money Rehnitz loaned be repaid before any money was distributed to

the Kutners, and (b) Rechnitz would receive 30 percent of any recovery after deducting the

                         (the "Greystone
expenses for the lawsuit (the “Greystone Loan
                                         Loan Agreement").
                                              Agreement”).

       20.      Pursuant to the Greystone Loan Agreement, Rechnitz loaned $3,071,009 to the

Kutners.

                            THE ARBITRATION AND THE AWARD

       21.      In 2018, the parties negotiated for several months to try to work out a resolution of

various disputes that had arisen relating to various business arrangements between the parties.

       22.      The parties are all Orthodox Jews. According to Jewish law, certain legal disputes

that cannot be resolved are to be presented before Beit Din or Jewish court to be decided by either

one or more Rabbinic judges. When the parties could not agree upon a resolution of their various




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disputes, they agreed to arbitrate their disputes before Rabbi Dovid Cohen, a prominent and well-

respected Rabbinic judge who lives in Brooklyn. Rabbi Cohen was suggested as an arbitrator by

the Kutners, and Rechnitz agreed.

       23.      On August 14, 2018, the parties appeared before Rabbi Cohen and signed an

agreement in which they submitted their disputes to Rabbi Cohen for adjudication. The arbitration

agreement states:
agreement states: "Shlomo
                  “Shlomo Yehuda Rechnitz (SYR) on his own, and as a partner in Harborview

Capital LLC and Jonathan and Ephraim Kutner (JEK) on their own, and as partners in the above

company, have
company, have come
              come to
                   to me
                      me to
                         to adjudicate
                            adjudicate aa dispute.
                                          dispute. They
                                                   They have
                                                        have agreed
                                                             agreed to
                                                                    to accept
                                                                       accept my
                                                                              my decision."
                                                                                 decision.” The
                                                                                            The

agreement, which is attached as Exhibit 2, is signed by Rabbi Cohen, Rechnitz and the Kutners.

       24.      At the arbitration, evidence was provided regarding various loans made by Rechnitz

to the Kutners including the Greystone Loan. Altogether, Rechnitz was owed more than $11

million in principal from loans that he provided to the Kutners, including the Greystone Loan.

       25.      Respondents did not dispute that Rechnitz provided this funding and was entitled

to a return of this money.

       26.      Rechnitz requested interim relief to ensure that interest payments being received by

the Kutners from certain healthcare business borrowers to whom the Kutners loaned some of the

money they had received from Rechnitz was placed in escrow and would be used to repay

                                                                       Rabbi Cohen's
Rechnitz. Rabbi Cohen granted this relief but the Kutners have ignored Rabbi Cohen’s order.

       27.                                   Respondents’ rabbinic advocate Yochanan
                On or about August 21, 2018, Respondents'

Bechhofer sent a letter to Rabbi Cohen (Exhibit 3 hereto) first advising him that when the Kutners

appeared before Rabbi Cohen at the August 14 arbitration, they thought they were appearing before

Rabbi Cohen only for a mediation, not an arbitration. Bechhofer further asserted that the Kutners

signed the
signed the arbitration
           arbitration agreement
                       agreement "so
                                 “so as
                                     as not
                                        not to
                                            to hamper
                                               hamper the
                                                      the flow of the
                                                          flow of the mediation."
                                                                      mediation.” Each of these




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statements is untrue. The parties agreed to select Rabbi Cohen to arbitrate, not mediate, their

disputes. The arbitration agreement makes clear that the Kutners knew and had agreed to arbitrate

before Rabbi Cohen.

       28.                Bechhofer’s letter
                Moreover, Bechhofer's        makes clear
                                      letter makes clear that
                                                         that although the Kutners claimed after

the hearing that they misunderstood the nature of the proceeding before Rabbi Cohen, the Kutners

were not disputing their freely manifested intent to participate in arbitration proceedings. Indeed,

at that time, the Kutners requested another hearing before Rabbi Cohen at which time they would

present "all
present “all of
             of our
                our evidence,
                    evidence, including documents, recordings and witnesses who will fly in to give

their testimony."
their testimony.” (Id.)

       29.                                                             to Bechhofer's
                By letter dated August 22, 2018, Rabbi Cohen responded to Bechhofer’s letter
                                                                                      letter

stating that
stating that he
             he "challenge[d]
                “challenge[d] the
                              the statement
                                  statement that
                                            that there
                                                 there was
                                                       was any
                                                           any hint
                                                               hint of
                                                                    of coercion
                                                                       coercion to sign an arbitration

agreement . . . Both sides were quite amenable when I asked what they preferred and it was

arbitration.” (See
arbitration." (See Exhibit 4 hereto). Among other things, Rabbi Cohen stated that the Kutners

“had been
"had been assured
          assured that
                  that we
                       we will
                          will all
                               all get together before
                                   get together before aa final decision is
                                                          final decision is rendered.”
                                                                            rendered."

       30.      In May 2019, the Greystone Lawsuit was settled with Greystone agreeing to pay $8

million to the Kutners over the course of several years. Since May 2019, the Kutners have been

receiving $150,000 per month from Greystone, but have not turned that money over to Rechnitz

in accordance with the Greystone Loan Agreement.

       31.      After the arbitration hearing, the parties engaged in settlement negotiation to try to

resolve all of their disputes. In the meantime, the Kutners refused to turn over all of the funds that

they were receiving from Greystone even though it is undisputed that aside from owing Rechnitz

more than $4 million in connection with the Greystone Loan, the Kutners owe many more millions

of dollars to Rechnitz.




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       32.      After many months of failed settlement negotiations, in February 2020, Rechnitz

requested that Rabbi Cohen summons the Kutners to appear before him so that they could have an

opportunity to
opportunity to provide
               provide their
                       their purported
                             purported "evidence,
                                       “evidence, including
                                                  including documents,
                                                            documents, recordings
                                                                       recordings and witnesses

who will
who will fly
         fly in to give
             in to give their
                        their testimony"
                              testimony” as
                                         as their
                                            their rabbinic
                                                  rabbinic lawyer had claimed
                                                           lawyer had claimed they
                                                                              they would
                                                                                   would do.
                                                                                         do.

       33.      However, the Kutners have refused to cooperate or respond regarding continuing

the arbitration proceeding. By letter from their rabbinic lawyer to Rabbi Cohen, the Kutners stated

that they would not appear before Rabbi Cohen repeating their claim that they never agreed to

arbitrate before him (just mediate) and that, in any event, they had a binding settlement agreement

with Rechnitz already based on a couple of emails that they forwarded to Rabbi Cohen and

therefore there was nothing to arbitrate.

       34.      Rechnitz responded that the parties had entered into a binding arbitration

agreement, that Rabbi Cohen had reserved decision on the Greystone Loan dispute to allow for

                                                      agreement provided
settlement discussions, and that the purported e-mail agreement provided by
                                                                         by the
                                                                            the Kutners'
                                                                                Kutners’ rabbinic
                                                                                         rabbinic

lawyer was, on its face, not an agreement.

       35.      Because the Kutners would not appear and present whatever evidence they believed

they had in defense of their claims, Rechnitz requested that Rabbi Cohen issue an award in

connection with the Greystone Loan finding that the Kutners owed the $3,071,009 provided by

                                                                                 Rechnitz’s 30
Rechnitz to fund the lawsuit against Greystone, plus the $1,328,967 representing Rechnitz's

percent share of the remaining amount recovered in that lawsuit. Rechnitz further requested that

any additional amounts received from Greystone should be paid to Rechnitz for repayment of

millions of dollars owed by the Kutners to Rechnitz in connection with other business dealings

that is the subject of a separate arbitration award that was issued by Rabbi Cohen against the




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Kutners. Finally, Rechnitz requested that the Kutners direct Greystone to make all future payments

directly to Rechnitz.

          36.     On March 11, 2020, Rabbi Cohen issued an arbitration award in favor of Rechnitz

as set forth in detail above. Rabbi Cohen ruled that all amounts Greystone owed to the Kutners

pursuant to the Greystone Lawsuit settlement should be paid directly to Rechnitz, and the Kutners

should cooperate and direct Greystone to pay such moneys to Rechnitz.

          37.     The Kutners have refused to cooperate with the decision of Rabbi Cohen.

Greystone was advised and provided with the Arbitration Award. The principals of Greystone are

also Orthodox Jews. On March 25, 2020, Rabbi Cohen issued another order directly at Greystone

requiring them to pay the monthly $150,000 payment directly to Rechnitz.

                                  FIRST CAUSE OF ACTION
                           (Confirmation of Arbitration Award Against
                             Ephraim Kutner and Jonathan Kutner)

          38.     Rechnitz repeats and realleges each of the prior allegations as if fully set forth

herein.

          39.     Rechnitz respectfully requests that this Court enter judgment as against the Kutners

confirming the Award and requiring Greystone to make all monthly payments directly to Rechnitz.

          40.     This Complaint and Petition is brought within one year after the delivery of the

aforesaid Award, and the Award has not been vacated or modified.

                                 SECOND CAUSE OF ACTION
                        (Ex Parte Attachment in Aid of Arbitration Against
                                     Respondents/Defendants)

          41.     Rechnitz repeats and realleges each of the prior allegations as if fully set forth

herein.




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         42.                                                              Rechnitz’s claims against
                 The parties agreed to arbitrate their disputes including Rechnitz's

 the Kutners regarding the Greystone Loan before Rabbi Dovid Cohen.

         43.     Accordingly, by the arbitration, Plaintiff/Petitioner is asserting a cause of action

 within the meaning of CPLR 7502(c) and 6212(a).

         44.                                               Respondents/Defendants’ property
                 This Court has personal jurisdiction over Respondents/Defendants'

 including the proceeds of the Greystone Lawsuit settlement.

         45.     As set forth herein, the memorandum of law and in the other papers filed herewith,

 Rechnitz has satisfied any burden that it has of showing that it is probable that it will succeed on

 the merits in the arbitration because the arbitrator has already issued the Award.

         46.     The Kutners asserted no counterclaims in the arbitration. Accordingly, the amount

 demanded from the defendants exceeds all counterclaims known to the plaintiff in accordance with

 CPLR 6212(a).

         47.     Petitioner seeks an Order of Attachment in aid of arbitration to ensure that the

 Award will be satisfied and effectual. The Kutners conduct to date demonstrates that they will not

 comply with the Award.

         48.     Accordingly,      an   Order   of     Attachment    should    be     issued   against

 Respondents/Defendants on the amounts paid to date, and to be paid by Greystone to the Kutners

 in connection with the Greystone Lawsuit settlement.

                                   THIRD CAUSE OF ACTION
                           (Money Had and Received Against All Defendants)

         49.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.

         50.     Rechnitz is the legal owner of the $150,000 in monthly payments that are owed by

 Greystone pursuant to the Greystone Lawsuit settlement.



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         51.     Defendants are diverting money belonging to Rechnitz.

         52.     Greystone is transferring money to the Kutners that legally belongs to Rechnitz.

         53.     Greystone has been made aware that its payments pursuant to the Greystone

 Lawsuit settlement should be made to Rechnitz.

         54.     Defendants have benefited from the receipt and/or diversion of the money

 belonging to Rechnitz.

         55.     Under principles of good conscience, such moneys should not be allowed to be

 retained by or transferred to the Kutners.

         56.     As aa direct
                 As    direct and
                              and proximate
                                  proximate result
                                            result of
                                                   of Defendants'
                                                      Defendants’ misconduct,
                                                                  misconduct, Rechnitz has and

 continues to incur damages in an amount to be determined at trial.

         57.     The Court should impose a constructive trust in favor of Rechnitz and against

 Defendants on all amounts previously transferred by Greystone to the Kutners, and amounts to be

 transferred by Greystone to the Kutners pursuant to the Greystone Lawsuit settlement.

                                 FOURTH CAUSE OF ACTION
                               (Conversion Against All Defendants)

         58.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.

         59.     Rechnitz is the legal owner of the $150,000 in monthly payments that are owed by

 Greystone pursuant to the Greystone Lawsuit settlement.

         60.     Greystone has been made aware that its payments pursuant to the Greystone

 Lawsuit settlement should be made to Rechnitz.

         61.     Greystone’s release
                 Greystone's release of
                                     of such
                                        such payment
                                             payment to
                                                     to the
                                                        the Kutners
                                                            Kutners constitutes conversion by
                                                                    constitutes conversion by each

 of the defendants.




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         62.       Rechnitz is therefore entitled to an order requiring Greystone to turnover the

 monthly $150,000 payments directly to Rechnitz.

                                   FIFTH CAUSE OF ACTION
                              (Breach of Contract Against the Kutners)

         63.       In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.

         64.       Rechnitz and the Kutners entered into an agreement whereby Rechnitz agreed to

 loan the
 loan the Kutners
          Kutners money
                  money to
                        to assist
                           assist in
                                  in funding
                                     funding their
                                             their lawsuit against Greystone,
                                                   lawsuit against Greystone, at
                                                                              at Rechnitz's
                                                                                 Rechnitz’s

                 “Greystone Loan"),
 discretion (the "Greystone Loan”), provided
                                    provided that
                                             that any
                                                  any recovery
                                                      recovery from
                                                               from the
                                                                    the lawsuit
                                                                        lawsuit would
                                                                                would first
                                                                                      first be
                                                                                            be used
                                                                                               used

 to repay the loan from Rechnitz, and Rechnitz would receive 30 percent of any profits recovered

 in the Greystone Lawsuit after deducting legal expenses.

         65.       Rechnitz complied with the terms of the agreement and loaned $3,071,009 to the

 Kutners for the Greystone Lawsuit.

         66.       The Greystone Lawsuit was settled for $8 million, but the Kutners have breached

 the agreement with Rechnitz by failing to repay the loan plus the 30 percent interest that Rechnitz

 is entitled to.

         67.       Rechnitz has been damaged to be determined at trial but not less than $4,399,976.

         68.       Greystone should be required to make the monthly payments pursuant to the

 Greystone Lawsuit settlement directly to Rechnitz.

                                    SIXTH CAUSE OF ACTION
                           (Breach of Fiduciary Duty Against the Kutners)

         69.       In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.




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         70.     The Kutners were partners with Rechnitz in connection with their pursuit and

 recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

 faith and loyalty.

         71.     By not paying the monthly payments received from Greystone to Rechnitz in

 connection with the Greystone Lawsuit settlement, the Kutners breached their fiduciary duty of

 good faith and loyalty to Rechnitz.

         72.     Rechnitz has been damaged to be determined at trial but not less than $4,399,976.

         73.     Greystone should be required to make the monthly payments pursuant to the

 Greystone Lawsuit settlement directly to Rechnitz.

                              SEVENTH CAUSE OF ACTION
               (Aiding and Abetting Breach of Fiduciary Duty Against Greystone)

         74.     In the alternative, Plaintiff repeats and realleges each of the prior allegations set

 forth as if fully set forth herein.

         75.     The Kutners were partners with Rechnitz in connection with their pursuit and

 recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

 faith and loyalty.

         76.     By not paying the monthly payments received from Greystone to Rechnitz in

 connection with the Greystone Lawsuit settlement, the Kutners breached their fiduciary duty of

 good faith and loyalty to Rechnitz.

         77.     Greystone was made aware of the agreement between the Kutner and Rechnitz

 relating to the Greystone Lawsuit.

         78.     Demand has been made on Greystone to transfer the monthly payments that it

 agreed to make pursuant to the settlement directly to Rechnitz.




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         79.     Greystone has refused to make such payments to Rechnitz, and instead continues

 to make such payments to the Kutners.

         80.     Greystone’s payments
                 Greystone's payments to
                                      to the
                                         the Kutners
                                             Kutners is
                                                     is substantially
                                                        substantially assisting
                                                                      assisting the
                                                                                the Kutners
                                                                                    Kutners in
                                                                                            in

 breaching their fiduciary duties to Rechnitz.

         81.     Greystone’s misconduct
                 Greystone's misconduct in making such
                                        in making such payments
                                                       payments is
                                                                is willful, and has caused caused

 significant harm to Rechnitz.

         82.                           Greystone’s tortious conduct, Plaintiff has suffered damages in
                 As a direct result of Greystone's

 an amount to be determined at trial, but not less than $4,399,976.

                                  EIGHTH CAUSE OF ACTION
                                 (Turnover Against All Defendants)

         83.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.

         84.     The Kutners have an interest in the $150,000 monthly payments that are owed by

 Greystone to them pursuant to the Greystone Lawsuit settlement.

         85.     Rechnitz’s right to those monthly payments is superior to the Kutners and
                 Rechnitz's

 Greystone.

         86.     Rechnitz is therefore entitled to an order requiring Greystone to turnover the

 monthly $150,000 payments directly to Rechnitz.

                                  NINTH CAUSE OF ACTION
                           (Constructive Trust Against All Defendants)

         87.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

 fully set forth herein.




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        88.     The Kutners were partners with Rechnitz in connection with their pursuit and

 recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

 faith and loyalty.

        89.     In reliance on the Kutners promise that it would repay Rechnitz for assisting in

 funding the Greystone Lawsuit, Rechnitz transfer more than $3 million to the Kutners.

        90.     The Kutners settled the Greystone Lawsuit and have received more than $1.4

 million from Greystone, and continue to receive payments of $150,000 per month.

        91.     The Kutners have been unjustly enriched their receipt of the settlement proceeds

 from Greystone without paying Rechnitz what he was promised.

        92.     Rechnitz is therefore entitled to a constructive trust on the moneys received by the

 Kutners from Greystone, as well as the $150,000 monthly payments to be paid by Greystone as

 part of the settlement.


        WHEREFORE, Petitioner respectfully requests that this Court grant this Petition and enter

 an Order: (a) confirming the Award; (b) directing judgment to be entered in Rechnitz's favor; (c)
                                                                             Rechnitz’s favor;

 directing Greystone to make all payments relating to the Greystone Lawsuit settlement directly to

 Rechnitz; (d) attaching all moneys paid and to be paid by Greystone to the Kutners or their

 affiliates in aid of arbitration (e) in the alternative, award damages on the second through eighth

 causes of action in an amount to be determined at trial, but not less than $4,399,976 and impose a

 constructive trust and attachment on the amounts received by the Kutners from Greystone to date,

 as well as the amounts to be paid by Greystone pursuant to the Greystone Lawsuit settlement, and

 (f) for such other further and different relief as this Court deems just and proper, together with

 Rechnitz’s reasonable
 Rechnitz's reasonable attorneys'
                       attorneys’ fees,
                                  fees, costs and expenses
                                        costs and          incurred in
                                                  expenses incurred    connection with
                                                                    in connection with this
                                                                                       this

 proceeding.



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 Dated: New York, New York
        March 30, 2020
                                           KOFFSKY
                                           KOFF SKY SCHWALB LLC



                                           By: _______________________
                                                  Efrem Schwalb
                                           349 Fifth Avenue, Suite 733
                                           New York, New York 10016
                                           (646) 553-1590

                                                     for Petitioner/Plaintiff
                                           Attorneysfor  Petitioner/Plaintiff




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  In the Matter of the Din Torah Arbitration Between

  Shlomo Yehuda Rechnitz
                                                          —(PROPOSBDt ARBITRATION
  and                                                      AWARD RELATING TO
                                                           GREYSTONE LAWSUIT JOINT
  Ephraim Kutner and Jonathan Kutner                       VENTURE DISPUTE



            On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"), on the one hand, and Ephraim

  Kutner and Jonathan Kutner (the "Kutners"), on the other hand, appeared before me to arbitrate

  various disputes relating to their business dealings that they had been discussing and trying to

 resolve for many months prior to their appearance. The parties signed an arbitration agreement

 which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

 by my decision. At that time several issues were discussed including, but not limited to, a

 dispute regarding the repayment of a loan provided by SYR to the Kutners in connection with a

 lawsuit between Greystone Funding Corp. and the Kutners (the "Greystone Lawsuit"), and a

 sharing agreement from any recovery for that lawsuit equal to 30 percent of the recovery from

 the lawsuit after subtracting the amount spent by SYR to finance the lawsuit.

        It was undisputed by the parties that SYR had provided $3,071,009.00 to fund the

 Greystone Lawsuit. SYR has provided information establishing that the Greystone Lawsuit was

 settled for $8 million, that SYR is owed $3,071,009 for financing the Kutners in that lawsuit,

 plus not less than $1,328,697 representing SYR's 30 percent share of the recovery from that

 lawsuit.



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         After more than a year of settlement negotiations that did not result in an agreement, SYR

  requested that the parties meet again with me for a decision on the items that were discussed at

  the first hearing in the arbitration. The Kutners have refused to attend a subsequent hearing and

  claimed that they did not submit the disputes to arbitration, only mediation, and that the parties

 settled all of their disputes. I have reviewed the documents submitted by the Kutners and find

 that on their face, there was no settlement of the parties' disputes. I also reject the argument by

 the Kutners that the dispute was only submitted to me for mediation, as it was made clear at the

 hearing that the parties were submitting their disputes to me for a legal adjudication, not

 mediation, and in fact, the Kutners were the party that selected me as the arbitrator in this matter

 and the document signed by the parties made clear that the parties were submitting their disputes

 to me for a decision.

         Accordingly, this is my decision regarding the Greysone Lawsuit dispute. I will issue a

 separate decision on the other outstanding disputes.

        IT IS HEREBY ORDERED AND ADJUDGED THAT:

         I.     All amounts still owed by Greystone Funding shall be paid directly to SYR,

 including the $3,071,009 provided by SYR to fund the lawsuit against Greystone, plus the

 $1,328,967 representing SYR's 30 percent share of the remaining amount recovered in that

 lawsuit. Any additional amounts from that lawsuit shall be paid to SYR for repayment of

 amounts owing to SYR relating to other outstanding amounts. SYR may contact Greystone

 Funding directly and direct Greystone Funding to make all payments directly to SYR.

        2.      The Kutners and all entities they control shall cooperate and not interfere with the

 instructions to Greystone Funding to make all payments relating to the Greystone Lawsuit

 directly to SYR.



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           3.        If requested by SYR, the Kutners shall execute any and all additional documents

  that will allow SYR or his agent to control, manage and act on behalf of the Kutners in

  connection the Greystone Lawsuit settlement.

           4.        This award constitutes a fmal award concerning the dispute regarding the

  Greystone Lawsuit, as well as constituting an award of injunctive relief issued to protect SYR's

  right to receive back the money that he provided to fund the Greystone Lawsuit, as well as his 30

  percent share of the profit from that lawsuit and other moneys that he is owed.

           5.        I retain jurisdiction concerning the Greystone Lawsuit dispute to the extent that

  the Kutners fail to follow this award or a Court decides not to confirm this award. Additionally,

  I retain jurisdiction concerning the parties' other business disputes.

  Dated: March 11, 2020
         Brooklyn, New York

                                                               Rabbi Dovid Cohen
  STATE OF NEW YORK)
                                          SS.:
  COUNTY OF KINGS)
             , IN/R
      On the      day of March, in the year 2020, before me, the undersigned, personally

  appeared Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to

  the individual whose name is subscribed within the arbitration award dated March 11, 2020 and

  acknowledged to me that he executed the same in his capacity, and that by his signature on the

  arbitration award Rabbi Dovid Cohen executed the arbitration award.




    otary Public

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    Qualified in Kings
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      Ill Complete Items 1, 2, and 3.                                                          A. Signature

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           EXHIBIT 2
       Case 20-1978, Document 69, 12/14/2020, 2993537, Page42 of 206
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           EXHIBIT 3
        Case 20-1978, Document 69, 12/14/2020, 2993537, Page44 of 206
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   This message is being sent via email to R' Shlomo Rechnitz and his CFO, David
   Weldler.

   My name is Yochanan Bechhofer and I am advising Ephraim and Yoni Kutner in
   regard to their dispute with the aforementioned party. I am writing this on their
   behalf.

   The Kutner brothers came into you last week with the understanding that it was to
   be a mediation and not an arbitration. They did not question signing the document
   that was placed before them so as not to hamper the flow of the mediation. They
   were surprised by the unannounced appearance of Mr. Rechnitz's CFO, as it was
   previously agreed that only Mr. Rechnitz would be in attendance. The goal of the
   meeting was to mediate in the presence of the Rav to bring a resolution to the
   dispute. However, since matters took a turn and we are now embroiled in an
   arbitration for which we were not prepared, we request another hearing in front of
   the Rav in the presence of Mr. Rechnitz and whoever he would like to bring.

   At this hearing, we will present all of our evidence, including documents,
   recordings and witnesses who will fly in to give their testimony. We are
   endeavoring to bring this matter to a swift resolution as quickly as possible. We
   feel that we can likely pull this all together as soon as Thursday, September 13th,
   the fourth of Tishrei, 5779.

   Due to the volume of evidence and testimony, we would ask to block a full day for
   us to present our material and allow Mr. Rechnitz to respond.

   Cc: R' Shlomo Rechnitz, Mr. David Weldler




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          Case 20-1978, Document 69, 12/14/2020, 2993537, Page45 of 206
                                     A-39
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           EXHIBIT 4
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JS 44 (Rev. 02/19)
                                                                         CIVIL COVER SHEET
The IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE. OFTHISFORM)


IM.)01,11)4(IATIVIEcHNITz                                                                                 DEFENDANTS
                                                                                                         EPHRAIM KUTNER, JONATHAN KUTNER and GREYSTONE
                                                                                                         FUNDING CORP.

    (b) County of Residence ofFirst Listed Plaintiff              LOS ANGELES, CA                          County of Residence of First Listed Defendant  NASSAU
                               (EXCEPTIN U.S PLAINTIFF CASES)                                                                     (IN US PLAINTIFF CASES ONLY)
                                                                                                           NOTE: INLAND CONDEMNATION CASES, USE.THE LOCATION OF
                                                                                                                   THE TRACT.OF LAND INVOLVED. .            • ;  '

                            agei:,14...dtdress. and Telephone Number)                                       Attorneys (IfKnown)
 KirScdFg;',`"gelfig`.
 349 FIFTH AVENUE, SUITE 733,NY, NY 10016
 646-553-1590

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One BoxforPlaintiff
                                                                                                       (For Diversity Cases Only)                                      and One Box for Defendant)
0 I    U.S. Government               0 3    Federal Question                                                                    PIE       DEF                                         PTF      DEF
          Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State         0 1       g I     Incorporated or Principal Place      0 4     CI 4
                                                                                                                                                    ofBusiness to This State

O 2 U.S. Government                  g 4    Diversity •                                           Citizen of Another State          g 2   0   2   Incorporated and Principal Place   0   5    CI 5
       Defendant                              (Indicate Citizenship ofParries in Item III)                                                           of Business In Another State-

                                                                                                  Citizen or Subject of a           0 3   0   3   Foreign Nation                     0   6    06
                                                                                                    Foreign Country
 IV. NATURE OF SUIT (Place cm "X" in One Box Only)
I.    " -'CONTRACT .--,...                         ,   t. • TORTS'       ,           ' . ::- ''   FORFEITU1RERENALTY                    • BANKRUPTCY '----            '.   OTHERSTATUTES               1
 0 110 Insurance                      PERSONAL.INJURY              PERSONAL INJURY              0 625 Drug Related Seizure        0 422 Appeal 28 USC 158             Cl 375 False Claims Act
 0 120 Marine                      0 310 Airplane               0 365 Personal Injury -                 of Property 21 USC 881 0 423 Withdrawal                       0 376 Qui Tam (31 USC
 0 130 Miller Act                  Cl 315 Airplane Product             Product Liability        0 690 Other                                28 USC 157                        3729(a))
 0 140 Negotiable Instrument               Liability            0 367 Health Care/                                                                                    0 400 State Reapportionment
 Cl 150 Recovery of Overpayment Cl 320 Assault, Libel &               Pharmaceutical                                              ,'"" PROPERTY RIGIITS ...-2: ,      0 410 Antitrust
         & Enforcement of Judgment         Slander                    Personal Injury                                             0 820 Copyrights                    CI 430 Banks and Banking
 Cl 151 Medicare Act               0 330 Federal Employers'           Product Liability                                           CI 830 Patent                       Cl 450 Commerce
 Cl 152 Recovery of Defaulted              Liability •          Cl 368 Asbestos Personal                                           Cl 840 Trademark                   0 460 Deportation.
         Student Loans             Cl 340 Marine                       Injury Product                                                                                 0 470 Racketeer Influenced and
         (Excludes Veterans)       Cl 345 Marine Product               Liability                   . — . ' LABOR '                F--, SOCIALSECURITY 1. -IL .               Corrupt Organizations
 Cl 153 Recovery of Overpayment            Liability             PERSONAL PROPERTY 0 710 Fair Labor Standards                      0 861 HIA (1395ff)                 0 480 Consumer Credit
         of Veteran's Benefits     0 350 Motor Vehicle          0 370 Other Fraud                       Act                        0 862 Black Lung (923)             CI 490 Cable/Sat TV
 0 160 Stockholders Suits          0 355 Motor Vehicle          0 371 Truth in Lending          Cl 720 Labor/Management            Cl 863 DIWC/D1WW (405(g))          0 850 Securities/Cotnmodities/
 0 190 Other Contract                     Product Liability     0 380 Other Personal                    Relations                  0 864 SS1D Title XVI                      Exchange
 0 195 Contract Product Liability 0 360 Other Personal                Property Damage           0 740 Railway Labor Act            Cl 865 RSI (405(g))                Cl 890 Other Statutory Actions
 Cl 196 Franchise                         Injury                0 385 Property Damage           0 751 Family and Medical                                              Cl 891 Agricultural Acts
                                   0 362 Personal Injury -             Product Liability                Leave Act                                                     Cl 893 Environmental Matters
                                          Medical Malpractice                                   0 790 Other Labor Litigation                                          Cl 895 Freedom ofInformation
I: ' • , -REALPROPERTY.' I          ' ••CPIIISRIGHT& ' '._..• - PRISONER PETTPIONS`' 0 791 Employee Retirement                         FEDERALTAXSUITS=                       Act
 Cl 210 Land Condemnation          0 440 Other Civil Rights        Habeas Corpus:                      Income Security Act         0 870 Taxes (U.S. Plaintiff        g 896 Arbitration
 0 220 Foreclosure                 0 441 Voting                 0 463 Alien Detainee •                                                     or Defendant)              0 899 Administrative Procedure
 O 230 Rent Lease & Ejectment      0 442 Employment             0 510 Motions to Vacate                                            CI 871 IRS—Third Party                    Act/Review or Appeal of
 Cl 240 Torts to Land              0 443 Housing/                      Sentence                                                            26 USC 7609                       Agency Decision
 0 245 Tort Product Liability             Accommodations        CI 530 General                                                                                        Cl 950 Constitutionality of
 O 290 All Other Real Property     0 445 Amer. W/Disabilities - CI 535 Death Penalty                    IMMIGRATION ,                                                        State Statutes
                                          Employment               Other:                       Cl 462 Naturalization Application
                                   O 446 Amer. w/Disabilities - 0 540 Mandamus & Other          Cl 465 Other Immigration
                                          Other                 0 550 Civil Rights                      Actions
                                   0 448 Education              0 555 Prison Condition
                                                                0 560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
 V. ORIGIN (Place an "X" it One Bar Only)
X I    Original          Cl 2 Removed from               0    3    Remanded from             Cl 4 Reinstated or      0      5 Transferred from    0 6 Multidistrict
       Proceeding             Sta e Court                          Appellate Court                Reopened                    Another District        Litigation
                                                                                                                              (specify)
                                        CdttjtAec U
                                                  ASo Civ41S
                                                           etgute under which you are filing (Do net citejurisdictional statutes unless diversify):

 VI. CAUSE OF ACTION
                       B6 igrgiersfcfiraiPttI0111 OffTgliration, Constructive Trust, Turnover, Aiding and Abetting Breach of Fiduciary Duty
 VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                       DEMANDS                       CHECK YES only if demanded in complaint:
      COMPLAINT:             UNDER RULE 23, F.R.Cv.P.                            7,000,000.00                JURY DEMAND:         Cl Yes    X No

 VIII. RELATED CASE(S)
                           (See instructions):
       IF ANY                                          JUDGE                                            DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
 03/30/2020                                                             /s/ Efrem Tobias Schwalb
 FOR OFFICE USE ONLY

   RECEIPT it                   AMOUNT                                     APPLYING IFP                                     JUDGE                         MAG. JUDGE
                       Case 20-1978, Document 69, 12/14/2020, 2993537, Page48 of 206
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                                                                                        A-42
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                                                                                    31
                                             CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for, compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration     El

I, Efrem Schwan,                                            , counsel for         Plaintiff Shlorqo Rechnitz       do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000. exclusive of interest and costs,

                        the complaint seeks Injunctive relief,

                        the matter Is otheiwise ineligible for the following reason

                                   DISCLOSURE STATEMENT - FEDERAL. RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

None



                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that 'A civil case is 'related'
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same Judge and magistrate judge." Rule 60.11 (b) provides that ''A civil Case shall not be
deemed `related' to another civil case merely because the civil case: (A) involves identical legal Issues, or (B) involves the same parties.' Rule 50.3.1 (c) further provides that
'Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be 'related' unless both cases are still
pending before the court.'

                                                           NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?              0      Yes        m     No

2.)         If you answered "no" above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?            0    Yes        0      No

            b) Did the events or omissions givin rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?         m     Yes              No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:

If your answer to question 2 (b) is "No," does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, inn interpleader uton, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?              Yes             • No
            (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                         BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                                             Yes                                               0           No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                 0           No




            I certify the accuracy of all information provided above.

            Signature:
                                                                                                                                                                       Last Modified. 11/27/2017
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                          X
 SHLOMO YEHUDA RECHNITZ,

                                Petitioner/Plaintiff,
                                                                 Case No. 20-cv-1607
        v.

 EPHRAIM KUTNER, JONATHAN KUTNER and                             ORDER TO SHOW CAUSE FOR
 GREYSTONE FUNDING CORP.,                                        ATTACHMENT IN AID OF
                                                                 ARBITRATION
                                Respondents/Defendants.
                                                      X

        Upon the annexed Declaration of Petitioner/Plaintiff Shlomo Yehuda Rechnitz, executed

 on March 30, 2020, and the exhibits attached thereto, the Declaration of Efrem Schwalb, Esq.,

 executed on March 30, 2020, the accompanying copy of the Complaint and Petition and exhibits

 attached thereto which seeks among other things, an ex parte order of attachment in aid of

 arbitration pursuant to Rule 64 of the Federal Rules of Civil Procedure and Articles 62 and 75 of

 the New York Civil Practice Law and Rules ("CPLR"), and the accompanying Memorandum of

 Law, wherein it appears that a cause of action for a money judgment in favor of Petitioner/Plaintiff

 Shlomo Yehuda Rechnitz and against Respondents/Defendants Ephraim Kutner and Jonathan

 Kutner (the "Kutners") for a minimum sum of $4,399,976.00, and that Petitioner/Plaintiff is

 entitled to recover that sum over all counterclaims known to it, plus costs and disbursements, and

 it being further shown by the Petition and supporting papers that the Petitioner/Plaintiff is entitled

 to an Order of Attachment against the amounts paid and to be paid by Greystone Funding Corp.

 ("Greystone") to the Kutners and/or their affiliates in connection with the settlement of the action

 between Greystone and the Kutners that was pending in New York State Court, Index No.

 651926/2013 (the "Greystone Action") pursuant to CPLR 6211(a), 6212(a) and 7502(c); and
            Case 20-1978, Document 69, 12/14/2020, 2993537, Page50 of 206
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                                                 A-44
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                Upon a showing by Petitioner/Plaintiff that the requirements for obtaining an

 attachment in aid of arbitration pursuant to CPLR §§ 6211(a), 6212(a) and 7502(c) are satisfied,

 specifically, (1) that there is a cause of action, to wit, the arbitration pending between

 Petitioner/Plaintiff and the Kutners; (2) that it is probable that Petitioner/Plaintiff will succeed on

 the merits; (3) that one or more grounds for attachment exist, to wit, that the arbitration award may

 be rendered ineffectual without an attachment in light of, inter alia, the Kutners' failure to make

 any payments of sums owed to Petitioner/Plaintiff and statements that they are "unable" to make

 any such payments, as represented by Petitioner/Plaintiff in writing and/or in the conference before

 the court on March 31, 2020; and (4) that the amount demanded from the respondent exceeds all

 counterclaims known to Petitioner/Plaintiff, it is

        ORDERED that an Order of Attachment be and the same hereby is granted; and it is further

        ORDERED that Petitioner/Plaintiff shall post a bond in the amount of $150,000 as security,

 within ten (10) business days of this Order, to be held in escrow by counsel for

 Respondent/Defendant Greystone Funding Corp.; and it is further

        ORDERED that the amount to be secured by this Order of Attachment shall be the amount

 remaining to be paid by Greystone to the Kutners pursuant to the settlement agreement between

 them relating to the Greystone Action but not less than $4,399,976.00; and it is further

        ORDERED that due to the exigencies of the COVID-19 pandemic and the restrictions

 regarding social distancing imposed by the Governor of New York and Mayor of New York City,

 the levy within this court's jurisdiction upon the moneys to be paid by Greystone to the Kutners

 or their affiliates including, but not limited to, the $150,000 payment that is due to be paid on April

 1, 2020, and future payments pursuant to a settlement agreement between Greystone and the

 Kutners, shall be effected by serving a copy of this Order by overnight mail and certified or




                                                   2
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 registered mail, return receipt requested on Greystone and both of the Kutners, and it is further

        ORDERED that Petitioner shall move by April 7, 2020 at 11:00 a.m. for an Order

 confirming this Order of Attachment; and it is further

        ORDERED that Respondents shall Show Cause in writing by Electronic Case Filing (ECF)

 by April 3, 2020 why the relief sought by Petitioner should not be granted; and it is further

        ORDERED that service of a copy of this Order and the papers upon which it is granted

 shall be made by email and overnight mail upon Defendants/Respondents or their legal

 representative(s) by April 1, 2020 at 2:00 p.m., with proof of service filed by counsel for

 Petitioner/Plaintiff by April 1, 2020 at 5:00 p.m., and shall be deemed good and sufficient service.

        SO ORDERED

 Dated: March 31, 2020
        Brooklyn, New York                               /s/
                                               HON. KIYO A. MATSUMOTO
                                               UNITED STATES DISTRICT JUDGE




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                                                                             111
JKOFFSKY SCHWALBLIc                                                     Efrem Schwalb
                                                                        eschwalb@koffskyschwalb.com

                                                                        349 Fifth Avenue, Suite 733
                                                                        New York, New York 10016
                                                                        T: 646.553.1590
                                                                        F: 646.553.1591
                                                                        www.koffskyschwalb.com



                                                       March 31, 2020
  Via ECF
  The Honorable Kiyo A. Matsumoto
  United States District Court, EDNY
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:    Rechnitz v. Kutner, et al.
                        Case No. 20-cv-1607-KAM-VMS

  Dear Judge Matsumoto:

          We represent defendants Petitioner/Plaintiff Shlomo Yehuda Rechnitz ("Rechnitz").
                                                                                 (“Rechnitz”). We
  are writing this letter motion to amend the Attachment Order that was filed by the Court this
  evening so that the Order is consistent with what we understood to be the Court's
                                                                              Court’s decision during
  the conference. During the conference, there was a discussion with the Court about the bond to
                                                                        Greystone’s $150,000
  be posted in connection with the attachment. It was mentioned that Greystone's
  payment scheduled for April 1 and future payments (which are attached pursuant to the Order)
                          Greystone’s law firm, Morrison Cohen, to be held in escrow, which would
  could be delivered to Greystone's
  diminish the need for a larger bond. Morrison Cohen agreed to receive such payments and hold
  them in escrow until further order of the Court or settlement of the action. However, Morrison
  Cohen would not be holding the attachment bond that Mr. Rechnitz is to post (which should be
  filed with the Court).

           Accordingly, Petitioner/Plaintiff requests that the Greystone payments to which the
  attachment order applies be held in escrow by the Morrison Cohen law firm while this action
  proceeds, and whatever bond is required to be posted by Mr. Rechnitz be filed with the Court as
  would normally be done. We believe that since the Greystone payments will be held in escrow,
  it is proper that the bond be set at $5,000 which was the amount set by the Court in the Mishkon
  case. See Order, attached as Exhibit 2 hereto.

          We have spoken to the Morrison Cohen law firm who consent to this request, but take no
  position regarding the amount of the bond. Attached as Exhibit 1 is a redline of a proposed
                 today’s Order
  amendment to today's   Order for the Court's
                               for the Court’s consideration.
                                               consideration.

         Thank you for your consideration and courtesies.

                                                       Respectfully submitted,



                                                       Efrem Schwalb
                                                       Counsel for
                                                                for Shlomo Yehuda Rechnitz
           Case 20-1978, Document 69, 12/14/2020, 2993537, Page53 of 206
                                      A-47
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■KOFFSKY SCHWALBLLC
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Case 1:20-cv-01607-KAM-VMS Document 11-1                            PageID #: 113




  UNITED STATE DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------X
                                                                    X
  SHLOMO YEHUDA RECHNITZ,

                                     Petitioner/Plaintiff,
                                                                        Case No. 20-cv-1607-KAM-VMS
          v.

  EPHRAIM KUTNER, JONATHAN KUTNER and                                   ORDER TO
                                                                        ORDER TO SHOW
                                                                                 SHOW CAUSE
                                                                                       CAUSE FOR
                                                                                              FOR
  GREYSTONE FUNDING CORP.,                                              ATTACHMENT IN
                                                                        ATTACHMENT     AID OF
                                                                                    IN AID OF
                                                                        ARBITRATION
                                                                        ARBITRATION
                                      Respondents/Defendants.
  ------------------------------------------------------------------X
                                                                    X

          Upon the annexed Declaration of Petitioner/Plaintiff Shlomo Yehuda Rechnitz, executed

  on March 30, 2020, and the exhibits attached thereto, the Declaration of Efrem Schwalb, Esq.,

  executed on March 30, 2020, the accompanying copy of the Complaint and Petition and exhibits

  attached thereto which seeks among other things, an ex parte
                                                         parte order of attachment in aid of

  arbitration pursuant to Rule 64 of the Federal Rules of Civil Procedure and Articles 62 and 75 of

  the New York Civil Practice Law and Rules
                              Law and Rules ("CPLR"),
                                            (“CPLR”), and the accompanying Memorandum of

  Law, wherein it appears that a cause of action for a money judgment in favor of Petitioner/Plaintiff

  Shlomo Yehuda Rechnitz and against Respondents/Defendants Ephraim Kutner and Jonathan

              “Kutners”) for
  Kutner (the "Kutners") for aa minimum
                                minimum sum
                                        sum of
                                            of $4,399,976.00,
                                               $4,399,976.00, and
                                                              and that
                                                                  that Petitioner/Plaintiff
                                                                       Petitioner/Plaintiff is
                                                                                            is

  entitled to recover that sum over all counterclaims known to it, plus costs and disbursements, and

  it being further shown by the Petition and supporting papers that the Petitioner/Plaintiff is entitled

  to an Order of Attachment against the amounts paid and to be paid by Greystone Funding Corp.

  (“Greystone”) to
  ("Greystone") to the
                   the Kutners
                       Kutners and/or
                               and/or their
                                      their affiliates
                                            affiliates in connection with
                                                       in connection with the
                                                                          the settlement
                                                                              settlement of
                                                                                         of the
                                                                                            the action
                                                                                                action

  between Greystone and the Kutners that was pending in New York State Court, Index No.

  651926/2013
  651926/2013 (the “Greystone Action")
              (the "Greystone Action”) pursuant to CPLR 6211(a), 6212(a) and 7502(c); and
           Case 20-1978, Document 69, 12/14/2020, 2993537, Page55 of 206
                                                A-49
                                                A-49
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                 Upon a showing by Petitioner/Plaintiff that the requirement for obtaining an

  attachment in aid of arbitration pursuant to CPLR §§ 6211(a), 6212(a) and 7502(c) are satisfied,

  specifically, (1) that there is a cause of action, to wit, the arbitration pending between

  Petitioner/Plaintiff and the Kutners; (2) that it is probable that Petitioner/Plaintiff will succeed on

  the merits; (3) that one or more grounds for attachment exist, to wit, that the arbitration award may

                                                                         the Kutners'
  be rendered ineffectual without an attachment in light of, inter alia, the Kutners’ failure to make
                                                                                      failure to make

  any payments
  any payments of
               of sums
                  sums owed
                       owed to
                            to Petitioner/Plaintiff
                               Petitioner/Plaintiff and
                                                    and statements
                                                        statements that
                                                                   that they
                                                                        they are
                                                                             are "unable"
                                                                                 “unable” to
                                                                                          to make
                                                                                             make

  any such payments, as represented by Petitioner/Plaintiff in writing and/or in the conference before

  the court on March 30, 2020; and (4) that the amount demanded from the respondent exceeds all

  counterclaims known to Petitioner/Plaintiff, it is

         ORDERED that an Order of Attachment be and the same hereby is granted; and it is further

         ORDERED that (a) with respect to all remaining settlement payments due from Greystone

  to the Kutners and/or their affiliates, including the payment scheduled to be received on April 1,

  2020, pursuant to the settlement agreement between those parties, Greystone shall place such

  payments, upon them becoming due or otherwise payable, into an escrow account held by

  Greystone’ss counsel
  Greystone'   counsel (subject to its standard law firm escrow agreement) pending further direction

  from the Court or a resolution between all of the parties; and (b) Petitioner/Plaintiff shall post a

  bond in the amount of $150,000$
                        $150,000$_____ as security, within ten (10) business days of this Orderr
                                                                                          Order, te
                                                                                                 to

  be held in escrow by counsel for Respondent/Defendant Greystone Funding Corp.;
  beheld                                                                  Corp.;; and it is further

         ORDERED that the amount to be secured by this Order of Attachment shall be the amount

  remaining to be paid by Greystone to the Kutners pursuant to the settlement agreement between

  them relating to the Greystone Action but not less than $4,399,976.00; and it is further

         ORDERED that due to the exigencies of the COVID-19 pandemic and the restrictions




                                                    2
             Case 20-1978, Document 69, 12/14/2020, 2993537, Page56 of 206
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                                                  A-50
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  regarding social distancing imposed by the Governor of New York and Mayor of New York City,

  the levy
  the levy within
           within this
                  this court's
                       court’s jurisdiction
                               jurisdiction upon
                                            upon the
                                                 the moneys
                                                     moneys to
                                                            to be
                                                               be paid
                                                                  paid by Greystone to the Kutners

  or their affiliates including, but not limited to, the $150,000 payment that is due to be paid on April

  1, 2020 and future payments pursuant to the settlement agreement between Greystone and the

  Kutners, shall be effected by serving a copy of this Order by overnight mail and certified or

  registered mail, return receipt requested on Greystone and both of the Kutners, and it further

         ORDERED that Petitioner shall move by April 7, 2020 at 11:00am for an Order confirming

  this Order of Attachment; and it is further

         ORDERED that Respondents shall Show Cause in writing by Electronic Case Filing (ECF)

  by April 3, 2020 why the relief sought by Peitioner should not be granted; and it is further

         ORDERED that service of a copy of this Order and the papers upon which it is granted

  shall be made by email and overnight mail upon Defendants/Respondents or their legal

  representative(s) by April 1, 2020 at 2:00 p.m., with proof of service filed by counsel for

  Petitioner/Plaintiff by April 1, 2020 at 5:00 p.m. and shall be deemed good and sufficient service.

         SO ORDERED

  Dated: March 31, 2020
         Brooklyn, New York                                           __________
                                                 HON KIYO A. MATSUMOTO
                                                 UNITED STATES DISTRICT JUDGE




                                                    3
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  UNITED STATE DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------X
                                                                    X
  SHLOMO YEHUDA RECHNITZ,

                                     Petitioner/Plaintiff,
                                                                        Case No. 20-cv-1607-KAM-VMS
          v.

  EPHRAIM KUTNER, JONATHAN KUTNER and                                   ORDER TO
                                                                        ORDER TO SHOW
                                                                                 SHOW CAUSE
                                                                                       CAUSE FOR
                                                                                              FOR
  GREYSTONE FUNDING CORP.,                                              ATTACHMENT IN
                                                                        ATTACHMENT     AID OF
                                                                                    IN AID OF
                                                                        ARBITRATION
                                                                        ARBITRATION
                                      Respondents/Defendants.
  ------------------------------------------------------------------X
                                                                    X

          Upon the annexed Declaration of Petitioner/Plaintiff Shlomo Yehuda Rechnitz, executed

  on March 30, 2020, and the exhibits attached thereto, the Declaration of Efrem Schwalb, Esq.,

  executed on March 30, 2020, the accompanying copy of the Complaint and Petition and exhibits

  attached thereto which seeks among other things, an ex parte
                                                         parte order of attachment in aid of

  arbitration pursuant to Rule 64 of the Federal Rules of Civil Procedure and Articles 62 and 75 of

  the New York Civil Practice Law and Rules
                              Law and Rules ("CPLR"),
                                            (“CPLR”), and the accompanying Memorandum of

  Law, wherein it appears that a cause of action for a money judgment in favor of Petitioner/Plaintiff

  Shlomo Yehuda Rechnitz and against Respondents/Defendants Ephraim Kutner and Jonathan

              “Kutners”) for
  Kutner (the "Kutners") for aa minimum
                                minimum sum
                                        sum of
                                            of $4,399,976.00,
                                               $4,399,976.00, and
                                                              and that
                                                                  that Petitioner/Plaintiff
                                                                       Petitioner/Plaintiff is
                                                                                            is

  entitled to recover that sum over all counterclaims known to it, plus costs and disbursements, and

  it being further shown by the Petition and supporting papers that the Petitioner/Plaintiff is entitled

  to an Order of Attachment against the amounts paid and to be paid by Greystone Funding Corp.

  (“Greystone”) to
  ("Greystone") to the
                   the Kutners
                       Kutners and/or
                               and/or their
                                      their affiliates
                                            affiliates in connection with
                                                       in connection with the
                                                                          the settlement
                                                                              settlement of
                                                                                         of the
                                                                                            the action
                                                                                                action

  between Greystone and the Kutners that was pending in New York State Court, Index No.

  651926/2013
  651926/2013 (the “Greystone Action")
              (the "Greystone Action”) pursuant to CPLR 6211(a), 6212(a) and 7502(c); and
               Case 20-1978, Document 69, 12/14/2020, 2993537, Page58 of 206
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                                                  A-52
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                   Upon a showing by Petitioner/Plaintiff that the requirement for obtaining an

  attachment in aid of arbitration pursuant to CPLR §§ 6211(a), 6212(a) and 7502(c) are satisfied,

  specifically, (1) that there is a cause of action, to wit, the arbitration pending between

  Petitioner/Plaintiff and the Kutners; (2) that it is probable that Petitioner/Plaintiff will succeed on

  the merits; (3) that one or more grounds for attachment exist, to wit, that the arbitration award may

                                                                         the Kutners'
  be rendered ineffectual without an attachment in light of, inter alia, the Kutners’ failure to make
                                                                                      failure to make

  any payments
  any payments of
               of sums
                  sums owed
                       owed to
                            to Petitioner/Plaintiff
                               Petitioner/Plaintiff and
                                                    and statements
                                                        statements that
                                                                   that they
                                                                        they are
                                                                             are "unable"
                                                                                 “unable” to
                                                                                          to make
                                                                                             make

  any such payments, as represented by Petitioner/Plaintiff in writing and/or in the conference before

  the court on March 30, 2020; and (4) that the amount demanded from the respondent exceeds all

  counterclaims known to Petitioner/Plaintiff, it is

            ORDERED that an Order of Attachment be and the same hereby is granted; and it is further

            ORDERED that (a) with respect to all remaining settlement payments due from Greystone

  to the Kutners and/or their affiliates, including the payment scheduled to be received on April 1,

  2020, pursuant to the settlement agreement between those parties, Greystone shall place such

  payments, upon them becoming due or otherwise payable, into an escrow account held by

  Greystone’s counsel
  Greystone's counsel (subject to its standard law firm escrow agreement) pending further direction

  from the Court or a resolution between all of the parties; and (b) Petitioner/Plaintiff shall post a

  bond in the amount of $_____
                        $      as security, within ten (10) business days of this Order; and it is

  further

            ORDERED that the amount to be secured by this Order of Attachment shall be the amount

  remaining to be paid by Greystone to the Kutners pursuant to the settlement agreement between

  them relating to the Greystone Action but not less than $4,399,976.00; and it is further

            ORDERED that due to the exigencies of the COVID-19 pandemic and the restrictions




                                                    2
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                                                  A-53
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  regarding social distancing imposed by the Governor of New York and Mayor of New York City,

  the levy
  the levy within
           within this
                  this court's
                       court’s jurisdiction
                               jurisdiction upon
                                            upon the
                                                 the moneys
                                                     moneys to
                                                            to be
                                                               be paid
                                                                  paid by Greystone to the Kutners

  or their affiliates including, but not limited to, the $150,000 payment that is due to be paid on April

  1, 2020 and future payments pursuant to the settlement agreement between Greystone and the

  Kutners, shall be effected by serving a copy of this Order by overnight mail and certified or

  registered mail, return receipt requested on Greystone and both of the Kutners, and it further

         ORDERED that Petitioner shall move by April 7, 2020 at 11:00am for an Order confirming

  this Order of Attachment; and it is further

         ORDERED that Respondents shall Show Cause in writing by Electronic Case Filing (ECF)

  by April 3, 2020 why the relief sought by Peitioner should not be granted; and it is further

         ORDERED that service of a copy of this Order and the papers upon which it is granted

  shall be made by email and overnight mail upon Defendants/Respondents or their legal

  representative(s) by April 1, 2020 at 2:00 p.m., with proof of service filed by counsel for

  Petitioner/Plaintiff by April 1, 2020 at 5:00 p.m. and shall be deemed good and sufficient service.

         SO ORDERED

  Dated: March 31, 2020
         Brooklyn, New York                                           __________
                                                 HON KIYO A. MATSUMOTO
                                                 UNITED STATES DISTRICT JUDGE




                                                    3
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                        X
 SHLOMO YEHUDA RECHNITZ,

                               Petitioner/Plaintiff,
                                                               Case No. 20-cv-1607
        v.

 EPHRAIM KUTNER, JONATHAN KUTNER and                           AMENDED ORDER TO SHOW
 GREYSTONE FUNDING CORP.,                                      CAUSE FOR ATTACHMENT IN
                                                               AID OF ARBITRATION
                               Respondents/Defendants.
                                                     X

        Upon the annexed Declaration of Petitioner/Plaintiff Shlomo Yehuda Rechnitz, executed

 on March 30, 2020, and the exhibits attached thereto, the Declaration of Efrem Schwalb, Esq.,

 executed on March 30, 2020, the accompanying copy of the Complaint and Petition and exhibits

 attached thereto which seeks among other things, an ex parte order of attachment in aid of

 arbitration pursuant to Rule 64 of the Federal Rules of Civil Procedure and Articles 62 and 75 of

 the New York Civil Practice Law and Rules ("CPLR"), and the accompanying Memorandum of

 Law, wherein it appears that a cause of action for a money judgment exists in favor of

 Petitioner/Plaintiff Shlomo Yehuda Rechnitz and against Respondents/Defendants Ephraim

 Kutner and Jonathan Kutner (the "Kutners") for a minimum sum of $4,399,976.00, and that

 Petitioner/Plaintiff is entitled to recover that sum over all counterclaims known to it, plus costs

 and disbursements, and it being further shown by the Petition and supporting papers that the

 Petitioner/Plaintiff is entitled to an Order of Attachment against the amounts paid and to be paid

 by Greystone Funding Corp. ("Greystone") to the Kutners and/or their affiliates in connection with

 the settlement of the action between Greystone and the Kutners that was pending in New York

 State Court, Index No. 651926/2013 (the "Greystone Action") pursuant to CPLR 6211(a), 6212(a)

 and 7502(c); and
             Case 20-1978, Document 69, 12/14/2020, 2993537, Page61 of 206
                                                 A-55
                                                 A-55
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                  Upon a showing by Petitioner/Plaintiff that the requirements for obtaining an

 attachment in aid of arbitration pursuant to CPLR §§ 6211(a), 6212(a) and 7502(c) are satisfied,

 specifically, (1) that there is a cause of action, to wit, the arbitration pending between

 Petitioner/Plaintiff and the Kutners; (2) that it is probable that Petitioner/Plaintiff will succeed on

 the merits; (3) that one or more grounds for attachment exist, to wit, that the arbitration award may

 be rendered ineffectual without an attachment in light of, inter alia, the Kutners' failure to make

 any payments of sums owed to Petitioner/Plaintiff and statements that they are "unable" to make

 any such payments, as represented by Petitioner/Plaintiff in writing and/or in the conference before

 the court on March 31, 2020; and (4) that the amount demanded from the respondent exceeds all

 counterclaims known to Petitioner/Plaintiff, it is

           ORDERED that an Order of Attachment be and the same hereby is granted; and it is further

           ORDERED that (a) with respect to all remaining settlement payments due from Greystone

 to the Kutners and/or their affiliates, including the payment scheduled to be received on April 1,

 2020, pursuant to the settlement agreement between those parties, Greystone shall place such

 payments, upon them becoming due or otherwise payable, into an escrow account held by

 Greystone's counsel (subject to its standard law firm escrow agreement) pending further direction

 from the Court or a resolution between all of the parties; and (b) Petitioner/Plaintiff shall post a

 bond in the amount of $10,000 as security, within ten (10) business days of this Order; and it is

 further

           ORDERED that the amount to be secured by this Order of Attachment shall be the amount

 remaining to be paid by Greystone to the Kutners pursuant to the settlement agreement between

 them relating to the Greystone Action but not less than $4,399,976.00; and it is further

           ORDERED that due to the exigencies of the COVID-19 pandemic and the restrictions




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            Case 20-1978, Document 69, 12/14/2020, 2993537, Page62 of 206
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 regarding social distancing imposed by the Governor of New York and Mayor of New York City,

 the levy within this court's jurisdiction upon the moneys to be paid by Greystone to the Kutners

 or their affiliates including, but not limited to, the $150,000 payment that is due to be paid on April

 1, 2020, and future payments pursuant to a settlement agreement between Greystone and the

 Kutners, shall be effected by serving a copy of this Order by overnight mail and certified or

 registered mail, return receipt requested on Greystone and both of the Kutners, and it is further

        ORDERED that Petitioner shall move by April 7, 2020 at 11:00 a.m. for an Order

 confirming this Order of Attachment; and it is further

        ORDERED that Respondents shall Show Cause in writing by Electronic Case Filing (ECF)

 by April 3, 2020 why the relief sought by Petitioner should not be granted; and it is further

        ORDERED that service of a copy of this Order and the papers upon which it is granted

 shall be made by email and overnight mail upon Defendants/Respondents or their legal

 representative(s) by April 1, 2020 at 3:00 p.m., with proof of service filed by counsel for

 Petitioner/Plaintiff by April 1, 2020 at 5:00 p.m., and shall be deemed good and sufficient service.

        SO ORDERED

 Dated: April 1, 2020
        Brooklyn, New York                                /s/
                                                HON. KIYO A. MATSUMOTO
                                                UNITED STATES DISTRICT JUDGE




                                                   3
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 UNITED STATE DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
                                                                   X
 SHLOMO YEHUDA RECHNITZ,

                                    Petitioner/Plaintiff,
                                                                       Case No. 20-cv-1607-KAM-VMS
         v.

 EPHRAIM KUTNER, JONATHAN KUTNER and                                   NOTICE OF
                                                                       NOTICE OF MOTION
                                                                                 MOTION TO
                                                                                        TO
 GREYSTONE FUNDING CORP.,                                              CONFIRM ATTACHMENT
                                                                       CONFIRM ATTACHMENT IN  AID
                                                                                           IN AID
                                                                       OF ARBITRATION
                                                                       OF ARBITRATION
                                     Respondents/Defendants.
 ------------------------------------------------------------------X
                                                                   X

         PLEASE TAKE NOTICE that pursuant to Rule 64 of the Federal Rules of Civil Procedure

 and Section
 and Section 6211(b) of the
             6211(b) of the New
                            New York
                                York Civil
                                     Civil Practice
                                           Practice Law and Rules
                                                    Law and Rules ("CPLR"),
                                                                  (“CPLR”), Petitioner/Plaintiff
                                                                            Petitioner/Plaintiff

 Shlomo Yehuda Rechnitz shall move pursuant to Court Order on April 24, 2020 at 11:00am, or as

 soon thereafter as counsel may be heard, before the Honorable Kiyo A. Matsumoto, U.S.D.J., at

 Room 6C South, the United States Courthouse, 225 Cadman Plaza East, Brooklyn, NY 11201, or

 by teleconference as set by the Court, for an Order to Confirm the Order of Attachment in Aid of

 Arbitration, issued by the Court and entered on April 1, 2020.

         PLEASE TAKE FURTHER NOTICE that in support of the Motion, Petitioner/Plaintiff

 shall rely upon this Notice of Motion, the Memorandum of Law
                                                          Law in
                                                              in Support of Petitioner/Plaintiff
                                                                 Support of Petitioner/Plaintiff’ss

 Motion to Confirm Order of Attachment, the Declaration of Shlomo Yehuda Rechnitz, executed

 on April 6, 2020, and the exhibits attached thereto, the Complaint and Petition in this action, and

 all pleadings and proceedings heretofore had herein.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Order of the Court, answering

 papers, if any, shall be filed and served no later than April 21, 2020.
         Case 20-1978, Document 69, 12/14/2020, 2993537, Page64 of 206
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Case 1:20-cv-01607-KAM-VMS Document 16 Filed 04/06/20 Page 2 of 2 PagelD
                                                                  PageID #: 130




 Dated: New York, New York
        April 6, 2020
                                          KOFFSKY
                                          KOFF SKY SCHWALB LLC



                                          By: _______________________
                                                 Efrem Schwalb
                                          349 Fifth Avenue, Suite 733
                                          New York, New York 10016
                                          (646) 553-1590

                                                    for Petitioner/Plaintiff
                                          Attorneysfor  Petitioner/Plaintiff




                                      2
               Case 20-1978, Document 69, 12/14/2020, 2993537, Page65 of 206
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  UNITED STATE DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------X
                                                                    X
  SHLOMO YEHUDA RECHNITZ,

                                     Petitioner/Plaintiff,
                                                                        Case No. 20-CV-1607-KAM-VMS
          v.
                                                                        DECLARATION OF
                                                                        DECLARATION  OF SHLOMO
                                                                                        SHLOMO
  EPHRAIM KUTNER, JONATHAN KUTNER and                                   YEHUDA RECHNITZ
                                                                        YEHUDA  RECHNITZ IN SUPPORT
                                                                                         IN SUPPORT
  GREYSTONE FUNDING CORP.,                                              OF MOTION
                                                                        OF MOTION TO
                                                                                  TO CONFIRM
                                                                                     CONFIRM
                                                                        ORDER OF
                                                                        ORDER OF ATTACHMENT
                                                                                 ATTACHMENT IN   AID
                                                                                              IN AID
                                      Respondents/Defendants.           OF ARBITRATION
                                                                        OF ARBITRATION
                                                                    x
  ------------------------------------------------------------------X


          I, SHLOMO YEHUDA RECHNITZ, declare under penalty of perjury, pursuant to 28

  U.S.C. § 1746, as follows:

          1.     I am the petitioner/plaintiff in this action. I submit this Declaration in support of

  Petitioner’s Motion to Confirm Order of Attachment pursuant to Rule 64 of the Federal Rules of
  Petitioner's

                  (“Rules”), and
  Civil Procedure ("Rules"), and Articles
                                 Articles 62 and 75
                                          62 and    of New York's
                                                 75 of     York’s Civil Practice Law and Rules

  (hereinafter "CPLR").1
  (hereinafter “CPLR”).1

          2.                                                            “Award”) that
                 This is an action to confirm an arbitration award (the "Award") that was
                                                                                      was issued
                                                                                          issued in
                                                                                                 in my
                                                                                                    my

  favor against
  favor against Ephraim Kutner and
                Ephraim Kutner and Jonathan Kutner ("Kutners"),
                                   Jonathan Kutner (“Kutners”), and
                                                                and to
                                                                    to direct
                                                                       direct defendant
                                                                              defendant Greystone
                                                                                        Greystone

  Funding Corp.
  Funding Corp. ("Greystone")
                (“Greystone”) to
                              to pay
                                 pay any
                                     any and
                                         and all
                                             all sums
                                                 sums due
                                                      due under
                                                          under the
                                                                the Greystone
                                                                    Greystone Settlement directly
                                                                              Settlement directly

  to me as required by the Award, and related claims. The Court previously granted an ex parte
                                                                                         parte

  order in aid of arbitration attaching the amounts due and owing under the Greystone Settlement in

  my favor and precluding Greystone from making any further payments to the Kutners pending

  payment in full of all amounts due and owing to me under the Award. As discussed below,


  ' All capitalized defined terms herein shall have the meanings given to them in the Complaint filed
  1

  herewith which is attached hereto as Exhibit A and which is incorporated in full herein by
  reference.
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  Plaintiff/Petitioner satisfies the requirements for an attachment under Rule 64, and CPLR Sections

  6211, 6212(a) and 7502(c).

      Greystone Lawsuit
  The Grevstone

         3.      Beginning in 2013, the Kutners borrowed money from me to fund a lawsuit between

  them and
  them and their
           their former employer Greystone
                 former employer Greystone (the
                                           (the "Greystone
                                                “Greystone Lawsuit"),
                                                           Lawsuit”), among
                                                                      among other
                                                                            other things.
                                                                                  things. I am

  a businessperson who is involved in a wide array of philanthropic ventures. I periodically assist

  others by
  others by lending money for
            lending money     other people's
                          for other people’s businesses
                                             businesses without
                                                        without charging
                                                                charging interest.
                                                                         interest. I agreed to loan

  the Kutners money to assist in funding their lawsuit against Greystone, at my discretion (the

  “Greystone Loan"),
  "Greystone Loan”), provided
                     provided that any recovery from the lawsuit would first be used to repay my

  loan and I would receive 30 percent of any profits recovered in the Greystone Lawsuit after

  deducting expenses.

         4.      Over the next several years, I loaned more than $3 million dollars to the Kutners to

  fund the Greystone Lawsuit. The Greystone Lawsuit was settled with Greystone for $8 million,

  with Greystone agreeing to make monthly payments of $150,000 commencing in May 2019. I am

  therefore owed a total of $4,399,976 in connection with the Greystone Loan, which consists of

  $3,071,009 that I provided to the Kutners to assist them in funding the lawsuit against Greystone,

  plus $1,328,967 representing my 30 percent share of the amount recovered after deducting legal

  expenses (which includes the $3,071,000 provided by me plus $500,000 that the Kutners claimed

  they spent).

         5.      The Kutners also owe me at least $12 million of additional moneys that I loaned to

  them. In total, I loaned approximately $20 million with the Kutners. Aside from the Greystone

  Loan, Rabbi Cohen ruled that the Kutners owe me more than $7.6
                                                            $7 6 million for other loans that I

  made to the Kutners to assist them with one of their businesses.          (See Exhibit D hereto).




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  Additionally, Rabbi Cohen has not yet ruled on another business dispute involving approximately

  $5 million in seed capital that I provided to the Kutners in connection with the founding of their

  company, in which I have made claims of approximately $15 million in damages.

         6.    Since May 2019, Greystone has paid the Kutners more than $1.4
                                                                        $1 4 million under the

  Greystone Settlement, but none of that money has been delivered to me. Greystone makes a

  monthly payment of $150,000 pursuant to its settlement with the Kutners.

         7.    Since Greystone started paying the money to the Kutners, I reached out to them to

  obtain the money that they have been receiving from Greystone. Defendant Ephraim Kutner stated

  to me on several occasions (including September, October and November of 2019) that they did

  not have the money to pay me, that they were in a poor financial situation and struggling, and that

  they were not intending to pay me the money due to me that they were receiving from Greystone

  because they could not afford to do so. To date, the Kutners have not transferred any of the funds

  they have received from Greystone. Consequently, the attachment order is necessary because the

  Award and further awards from Rabbi Cohen may be rendered ineffectual.

  The Arbitration

         8.    In 2018, the parties had disputes regarding the various loans that I provided to the

  Kutners including the Greystone Loan. I was reasonably concerned that the Kutners would not

  repay me the money that I had loaned and/or invested with them, including the Greystone Loan.

  The parties are all Orthodox Jews. According to Jewish law, certain legal disputes that cannot be

  resolved are to be presented before Beit Din or Jewish court to be decided by either one or more

  Rabbinic judges. I told the Kutners they could select any recognized Jewish legal authority as the

  arbitrator. They selected Rabbi Dovid Cohen, a recognized Jewish rabbinic authority, who resides

  in Brooklyn, as the sole arbitrator. I agreed to arbitrate our disputes before Rabbi Cohen.




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         9.    On August 14, 2018, we appeared before Rabbi Cohen and signed an agreement in

  which we submitted our disputes to Rabbi Cohen for adjudication. The arbitration agreement

  states: "Shlomo Yehuda Rechnitz (SYR) on his own, and as a partner in Harborview Capital LLC,

  and Jonathan and Ephraim Kutner (JEK) on their own, and as partners in the above company, have

  come to me to adjudicate a dispute. They have agreed to accept my decision." The agreement,

  which is attached as Exhibit 2 to the Complaint, was signed by Rabbi Cohen, the Kutners and me.

         10. At the arbitration, evidence was provided regarding various loans made by me to the

  Kutners, including the Greystone Loan. Altogether, I was owed more than $11 million in principal

  from loans that I provided to the Kutners, including the Greystone Loan. The Kutners did not

  dispute that I provided this funding and was entitled to a return of this money.

         11. Additionally, evidence was also presented to Rabbi Cohen regarding approximately

  $5 million in seed capital that I provided to them in connection with the Kutners starting their new

  business. I claim that the Kutners owed me more than $15 million in connection with that

  transaction, but, at a minimum, $5 million. Rabbi Cohen has not yet ruled on this dispute.

         12.   I requested interim relief to ensure that interest payments being received by the

  Kutners from certain healthcare business borrowers to whom the Kutners loaned some of the

  money they had received from me was placed in escrow and would be used to repay Rechnitz.

  Rabbi Cohen granted this relief but the Kutners have ignored Rabbi Cohen's order.

         13. On or about August 21, 2018, Respondents' rabbinic advocate Yochanan Bechhofer

  sent a letter to Rabbi Cohen (Exhibit 3 to the Complaint) first advising him that when the Kutners

  appeared before Rabbi Cohen at the August 14 arbitration, they thought they were appearing before

  Rabbi Cohen only for a mediation, not an arbitration. Bechhofer further asserted that the Kutners

  signed the arbitration agreement "so as not to hamper the flow of the mediation." Each of these




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  statements is untrue. The parties agreed to select Rabbi Cohen to arbitrate, not mediate, their

  disputes. The arbitration agreement makes clear that the Kutners knew and had agreed to arbitrate

  before Rabbi Cohen.

         14. Moreover, Bechhofer's letter makes clear that although the Kutners claimed after the

  hearing that they misunderstood the nature of the proceeding before Rabbi Cohen, the Kutners

  were not disputing their freely manifested intent to participate in arbitration proceedings. Indeed,

  at that time, the Kutners requested another hearing before Rabbi Cohen at which time they would

  present "all of our evidence, including documents, recordings and witnesses who will fly in to give

  their testimony." (Id.)

         15. By letter dated August 22, 2018, Rabbi Cohen responded to Bechhofer's letter stating

  that he "challenge[d] the statement that there was any hint of coercion to sign an arbitration

  agreement . . . Both sides were quite amenable when I asked what they preferred and it was

  arbitration." (See Exhibit 4 to the Complaint). Among other things, Rabbi Cohen stated that the

  Kutners "had been assured that we will all get together before a final decision is rendered."

         16.     In May 2019, the Greystone Lawsuit was settled with Greystone agreeing to pay $8

  million to the Kutners over the course of several years. Since May 2019, the Kutners have been

  receiving $150,000 per month from Greystone but have not turned that money over to me in

  accordance with the Greystone Loan Agreement.

         17.     It is clear from statements made to me by Ephraim Kutner that the order of attachment

  is needed to prevent the Award and other decisions of Rabbi Cohen from being rendered

  ineffectual.   Defendant Ephraim Kutner has stated to me on several occasions (including

  September, October and November of 2019) that the reason they have not transferred the

  Greystone Settlement money to me is because the Kutners did not have the money to pay me, that




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  they were in a poor financial situation and struggling, and that they did not intend to pay me the

  money due to me that they were receiving from Greystone because they could not afford to do so.

                                                                      Cohen’s $7
  Additionally, the order of attachment is necessary to prevent Rabbi Cohen's $7.6
                                                                                 6 million award

  regarding the mezzanine loans and any future award with respect to our other business dealings

  from being rendered ineffectual. Finally, Rabbi Cohen ruled that all payments from Greystone are

  to be made to me, and the Kutners did not direct Greystone to do so, which is conclusive proof

  that the Order of Attachment is needed to prevent the Award and any other awards from the

  arbitration from being rendered ineffectual. As discussed above, to date, the Kutners have not

  transferred any of the funds they have received from Greystone to me despite Rabbi Cohen's
                                                                                     Cohen’s

  ruling. Based on what Ephraim Kutner has told me, they do not have the money to do so.

          18. After the arbitration hearing, the parties engaged in settlement negotiation to try to

  resolve all of their disputes. In the meantime, the Kutners refused to turn over all of the funds that

  they were receiving from Greystone even though it is undisputed that aside from owing me more

  than $4 million in connection with the Greystone Loan, the Kutners owe me many more millions

  of dollars.

          19. After many months of failed settlement negotiations, in February 2020, I requested

  that Rabbi Cohen summons the Kutners to appear before him so that they could have an

  opportunity to provide their purported "evidence, including documents, recordings and witnesses

  who will fly in to give their testimony" as their rabbinic lawyer had claimed they would do.

          20. However, the Kutners have refused to cooperate or respond regarding continuing the

  arbitration proceeding. By letter from their rabbinic lawyer to Rabbi Cohen, the Kutners stated

  that they would not appear before Rabbi Cohen repeating their claim that they never agreed to

  arbitrate before him (just mediate) and that, in any event, they had a binding settlement agreement




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  with Rechnitz already based on a couple of emails that they forwarded to Rabbi Cohen and

  therefore there was nothing to arbitrate. (See Exhibit B hereto)

         21.        I responded that the parties had entered into a binding arbitration agreement, that

  Rabbi Cohen had reserved decision on the Greystone Loan dispute to allow for settlement

  discussions, and that the purported e-mail agreement provided by the Kutners' rabbinic lawyer

  was, on its face, not an agreement. (See Exhibit C hereto).

         22. Because the Kutners would not appear and present whatever evidence they believed

  they had in defense of their claims, I requested that Rabbi Cohen issue an award in connection

  with the Greystone Loan finding that the Kutners owed the $3,071,009 provided by Rechnitz to

  fund the lawsuit against Greystone, plus the $1,328,967 representing Rechnitz's 30 percent share

  of the remaining amount recovered in that lawsuit. I further requested that any additional amounts

  received from Greystone should be paid to me for repayment of millions of dollars owed by the

  Kutners to me in connection with other business dealings with the Kutners that are the subject of

  a separate arbitration award that was issued by Rabbi Cohen against the Kutners, as well as the

  continuing arbitration discussed above. Finally, I requested that the Kutners direct Greystone to

  make all future payments directly to me.

         23. On March 11, 2020, Rabbi Cohen issued the Award in my favor (attached to the

  Complaint as Exhibit 1) and ordered that:

               ••    All amounts still owed by Greystone Funding under the Greystone Settlement shall
                     be paid directly to SYR [i.e., Rechnitz], to (i) repay the $3,071,009 Greystone Loan
                     provided by SYR to fund the lawsuit against Greystone, (ii) pay the $1,328,967
                     representing SYR’s
                     representing  SYR's 3030 percent
                                              percent share
                                                       share of
                                                              of the
                                                                  the remaining
                                                                       remaining amount
                                                                                  amount recovered
                                                                                          recovered in
                                                                                                    in the
                                                                                                       the
                     Greystone Lawsuit after expenses, and (iii) repay other amounts due and owing to
                     SYR on other outstanding loans from SYR to the Kutners.

               ••    SYR may contact Greystone Funding directly, and direct Greystone Funding to
                     make all such payments directly to SYR.




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               •     The Kutners and all entities they control shall cooperate and not interfere with the
                     instructions to Greystone Funding to make all payments under the Greystone
                     Settlement directly to SYR.

               •    If requested by SYR, the Kutners shall execute any and all additional documents
                    that will allow SYR or his agent to control, manage and act on behalf of the Kutners
                    in connection the Greystone Settlement.

         24.       By this action, I seek, among other things, an order (a) confirming the Award; (b)

  directing judgment to be entered in Rechnitz's favor; (c) requiring the Kutners to carry out the

  directions ordered by Rabbi Cohen, and (d) requiring Greystone to pay the amounts owed under

  the Greystone Settlement directly to Rechnitz.

         25.       By this motion, I seek to confirm the Court's Order of Attachment in aid of arbitration

 attaching any and all amounts to be paid by Greystone to the Kutners under the Greystone

 Settlement and precluding the payment of such amounts to the Kutners pending payment in full of

 all amounts due and owing to Rechnitz under the Award and other awards in the arbitration.

                                              CONCLUSION

         26.       Based   upon    this Declaration,       the Complaint/Petition, the accompanying

 memorandum of law, and all prior pleading and proceedings herein, Plaintiff/Petitioner's motion

 to confirm the Court's Order of Attachment should be granted.

         I declare under the penalty of perjury under the laws of the United States of America that

 the foregoing is true and correct.

 Executed:          April 6, 2020
                    Los Angeles, California
                                                            SHLOMO YEHUDA% CHNITZ




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  UNITED STATE DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------X
                                                                    X
  SHLOMO YEHUDA RECHNITZ,                                               Case No.

                                     Petitioner/Plaintiff,              COMPLAINT AND PETITION
                                                                        TO CONFIRM ARBITRATION
          v.                                                            AWARD AND FOR AN ORDER
                                                                        OF ATTACHMENT IN AID OF
  EPHRAIM KUTNER, JONATHAN KUTNER and                                   ARBITRATION
  GREYSTONE FUNDING CORP.,

                                      Respondents/Defendants.
  ------------------------------------------------------------------X
                                                                    X
                                                                      (“Rechnitz”), by and through his
           Petitioner and Plaintiff Shlomo Yehuda Rechnitz ("Rechnitz"),

  undersigned counsel, Koffsky Schwalb LLC, as and for his Complaint and Petition to confirm an

  arbitration award
  arbitration award against
                    against Defendants
                            Defendants Ephraim Kutner and
                                       Ephraim Kutner and Jonathan Kutner (the
                                                          Jonathan Kutner (the "Kutners"
                                                                               “Kutners” or
                                                                                         or

  “Defendants”) and for an order of attachment in aid of arbitration, respectfully states and alleges:
  "Defendants")

                                     NATURE OF THE PROCEEDING

          1.                                                             (the "Award")
                   This is an action (a) to confirm an arbitration award (the “Award”) pursuant to 9

  U.S.C.A.
  U. S.C.A. §§ 9 and 13 in favor of Rechnitz and against the Kutners, and to require the moneys that

                                    (“Greystone”) owes
  defendant Greystone Funding Corp. ("Greystone") owes to
                                                       to the
                                                          the Kutners
                                                              Kutners to be paid directly to

  Rechnitz as required by the Award; and (b) for an order pursuant to Rule 64 of the Federal Rules

  of Civil Procedure and Articles 62 and 75 of New York's
                                                   York’s Civil Practice Law and Rules ("CPLR")
                                                                                       (“CPLR”)

  in aid of arbitration attaching the moneys paid and to be paid by Greystone to the Kutners in

  connection with a lawsuit between those parties so that the Award will not be rendered ineffectual.

  Rechnitz brings related claims against the defendants in connection with their failure to transfer

  such amounts to Rechnitz as the parties agreed and in accordance with the Award.

          2.       In 2013, the Kutners sought to borrow money from Rechnitz to fund a lawsuit

                                                   (the "Greystone
  between them and their former employer Greystone (the “Greystone Lawsuit”),
                                                                   Lawsuit"), among other
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  things. Rechnitz is a businessperson who is involved in a wide array of business and philanthropic

                     periodically assists
  ventures. Rechnitz periodically assists others
                                          others by
                                                 by lending money for
                                                    lending money for other
                                                                      other people's
                                                                            people’s businesses
                                                                                     businesses

  without charging interest. Rechnitz agreed to loan the Kutners money to assist in funding their

  lawsuit against
  lawsuit against Greystone,
                  Greystone, at
                             at Rechnitz's
                                Rechnitz’s discretion (the "Greystone
                                           discretion (the “Greystone Loan"),
                                                                      Loan”), provided that any

  recovery from the lawsuit would first be used to repay the loan from Rechnitz, and Rechnitz would

  receive 30 percent of any profits recovered in the Greystone Lawsuit.

         3.      Over the next several years, Rechnitz advanced more than $3 million dollars to the

  Kutners to fund the Greystone Lawsuit. The Greystone Lawsuit was settled with Greystone for $8

  million, with Greystone agreeing to make monthly payments of $150,000 commencing in May

  2019. Rechnitz is owed a total of $4,399,976 in connection with the Greystone Loan, which

  consists of $3,071,009 that he provided to the Kutners to assist them in funding the lawsuit against

  Greystone, plus
  Greystone, plus $1,328,967
                  $1,328,967 representing Rechnitz’s 30
                             representing Rechnitz's 30 percent
                                                        percent share
                                                                share of
                                                                      of the
                                                                         the amount
                                                                             amount recovered
                                                                                    recovered after
                                                                                              after

  deducting legal expenses (which includes the $3,071,000 provided by Rechnitz plus $500,000 that

  the Kutners claimed they spent). Additionally, Rechnitz is owed more than $7.6
                                                                            $7 6 million for other

  loans that he advanced to the Kutners to assist them with one of their businesses.

         4.      Since May 2019, Greystone has paid the Kutners more than $1.4
                                                                          $1 4 million, but none

  of that money has been delivered to Rechnitz.

         5.      In 2018, the parties had disputes regarding the various loans provided by Rechnitz

  to the Kutners including the Greystone Loan. Rechnitz was reasonably concerned that the Kutners

  would not repay Rechnitz the money that he had loaned to them including the Greystone Loan.

  The parties agreed to arbitrate their disputes before Rabbi Dovid Cohen, a Jewish legal authority

  who resides in Brooklyn and was recommended by the Kutners.




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         6.      On August 14, 2018, the parties signed an arbitration agreement and appeared

  before Rabbi Cohen regarding the Greystone Loan, among other disputes. Rabbi Cohen reserved

  his decision regarding the Greystone Loan to allow the parties to engage in settlement discussions.

  After many months of failed settlement negotiations, Rechnitz requested that Rabbi Cohen

  reconvene the arbitration or issue a decision directing that all moneys to be received from

  Greystone be paid directly to Rechnitz. By letter from their rabbinic lawyer to Rabbi Cohen, the

  Kutners stated that they would not appear before Rabbi Cohen claiming that they never agreed to

  arbitrate before him (just mediate). Second, they asserted that they had a binding settlement

  agreement with Rechnitz already based on a couple of emails that they forwarded to Rabbi Cohen.

  Therefore, they claimed there was nothing to arbitrate. Rechnitz responded that the parties had

  entered into a binding arbitration agreement, that Rabbi Cohen had reserved decision on the

  Greystone Loan dispute to allow for settlement discussions, and that the purported e-mail

            provided by
  agreement provided by the
                        the Kutners'
                            Kutners’ rabbinic
                                     rabbinic lawyer was, on its face, not an agreement.

         7.      On March 11, 2020, Rabbi Cohen issued an arbitration award in favor of Rechnitz

  (attached hereto as Exhibit 1) and ordered that:

                 1. All amounts still owed by Greystone Funding shall be paid directly to
                    SYR [L[i.e.,
                             e., Rechnitz], including the $3,071,009 provided by SYR to fund
                    the lawsuit against Greystone, plus the $1,328,967 representing SYR's
                    30 percent share of the remaining amount recovered in that lawsuit.

                 2. Any additional amounts from that lawsuit shall be paid to SYR for
                    repayment of amounts owing to SYR relating to other outstanding
                    amounts. SYR may contact Greystone Funding directly and direct
                    Greystone Funding to make all payments directly to SYR.

                 3. The Kutners and all entities they control shall cooperate and not
                    interfere with the instructions to Greystone Funding to make all
                    payments relating to the Greystone Lawsuit directly to SYR.

                 4. If requested by SYR, the Kutners shall execute any and all additional
                    documents that will allow SYR or his agent to control, manage and act



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                         on behalf of the Kutners in connection the Greystone Lawsuit
                         settlement.

          8.      By this action, Rechnitz seeks an order (a) confirming the Award; (b) directing

                            Rechnitz’s favor;
  judgment to be entered in Rechnitz's favor; (c) requiring the Kutners to carry out the directions

  ordered by Rabbi Cohen, (d) requiring Greystone to pay the amounts owed under the Greystone

  Settlement directly to Rechnitz; (e) attaching the proceeds of any payments made or to be made

  by Greystone to the Kutners in connection with the Greystone Settlement.

                                             PARTIES

          9.      Petitioner/Plaintiff Shlomo Yehuda Rechnitz is a citizen of California residing in

  Los Angeles, California.

          10.     Respondent/Defendant Ephraim Kutner is a citizen of New York residing in

  Lawrence, New York.

          11.     Respondent/Defendant Jonathan Kutner is a citizen of New York residing in

  Lawrence, New York.

          12.     Respondent/Defendant Greystone Funding Corp. is a Delaware corporation with its

  principal place of business in the State of New York.

                                    JURISDICTION AND VENUE

          13.     The subject matter jurisdiction of the court is based on 28 U.S.C.A. § 1332. The

  amount in controversy exclusive of interest and costs, exceeds $75,000 and the parties are citzens

  of different States.

          14.     This Court has personal jurisdiction over the defendants as each defendant resides

  in New York, and New York is the principal place of business of each defendant.




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         15.     Venue is proper in this judicial district pursuant to 28 U.
                                                                          U.S.C.A.
                                                                             S.C.A. § 1391 because the

  defendants resides in this District and a substantial portion of the events giving rise to the action,

  including the signing of the contract to arbitrate and the arbitration occurred in this District.

                                     FACTUAL BACKGROUND

         16.     The Kutners are in the real estate financing business.

         17.     Rechnitz is a businessperson who is involved in a wide array of business and

                          Rechnitz periodically
  philanthropic ventures. Rechnitz periodically assists
                                                assists others
                                                        others by
                                                               by lending money for
                                                                  lending money for other
                                                                                    other people's
                                                                                          people’s

  businesses without charging interest.

         18.     In 2013, the Kutners approached Rechnitz about making a loan to fund a lawsuit

  against their former employer Greystone, as well as other loans relating to healthcare businesses

  around the United States.

         19.     With respect to the Greystone Lawsuit, Rechnitz agreed to assist in funding the

  lawsuit provided that (a) the money Rehnitz loaned be repaid before any money was distributed to

  the Kutners, and (b) Rechnitz would receive 30 percent of any recovery after deducting the

                           (the "Greystone
  expenses for the lawsuit (the “Greystone Loan
                                           Loan Agreement").
                                                Agreement”).

         20.     Pursuant to the Greystone Loan Agreement, Rechnitz loaned $3,071,009 to the

  Kutners.

                              THE ARBITRATION AND THE AWARD

         21.     In 2018, the parties negotiated for several months to try to work out a resolution of

  various disputes that had arisen relating to various business arrangements between the parties.

         22.     The parties are all Orthodox Jews. According to Jewish law, certain legal disputes

  that cannot be resolved are to be presented before Beit Din or Jewish court to be decided by either

  one or more Rabbinic judges. When the parties could not agree upon a resolution of their various




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  disputes, they agreed to arbitrate their disputes before Rabbi Dovid Cohen, a prominent and well-

  respected Rabbinic judge who lives in Brooklyn. Rabbi Cohen was suggested as an arbitrator by

  the Kutners, and Rechnitz agreed.

         23.     On August 14, 2018, the parties appeared before Rabbi Cohen and signed an

  agreement in which they submitted their disputes to Rabbi Cohen for adjudication. The arbitration

  agreement states:
  agreement states: "Shlomo
                    “Shlomo Yehuda Rechnitz (SYR) on his own, and as a partner in Harborview

  Capital LLC and Jonathan and Ephraim Kutner (JEK) on their own, and as partners in the above

  company, have
  company, have come
                come to
                     to me
                        me to
                           to adjudicate
                              adjudicate aa dispute.
                                            dispute. They
                                                     They have agreed to
                                                          have agreed to accept
                                                                         accept my
                                                                                my decision."
                                                                                   decision.” The
                                                                                              The

  agreement, which is attached as Exhibit 2, is signed by Rabbi Cohen, Rechnitz and the Kutners.

         24.     At the arbitration, evidence was provided regarding various loans made by Rechnitz

  to the Kutners including the Greystone Loan. Altogether, Rechnitz was owed more than $11

  million in principal from loans that he provided to the Kutners, including the Greystone Loan.

         25.     Respondents did not dispute that Rechnitz provided this funding and was entitled

  to a return of this money.

         26.     Rechnitz requested interim relief to ensure that interest payments being received by

  the Kutners from certain healthcare business borrowers to whom the Kutners loaned some of the

  money they had received from Rechnitz was placed in escrow and would be used to repay

                                                                         Rabbi Cohen's
  Rechnitz. Rabbi Cohen granted this relief but the Kutners have ignored Rabbi Cohen’s order.

         27.                                  Respondents’ rabbinic advocate Yochanan
                 On or about August 21, 2018, Respondents'

  Bechhofer sent a letter to Rabbi Cohen (Exhibit 3 hereto) first advising him that when the Kutners

  appeared before Rabbi Cohen at the August 14 arbitration, they thought they were appearing before

  Rabbi Cohen only for a mediation, not an arbitration. Bechhofer further asserted that the Kutners

  signed the
  signed the arbitration
             arbitration agreement
                         agreement "so
                                   “so as
                                       as not
                                          not to
                                              to hamper
                                                 hamper the
                                                        the flow of the
                                                            flow of the mediation."
                                                                        mediation.” Each of these




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  statements is untrue. The parties agreed to select Rabbi Cohen to arbitrate, not mediate, their

  disputes. The arbitration agreement makes clear that the Kutners knew and had agreed to arbitrate

  before Rabbi Cohen.

         28.               Bechhofer’s letter
                 Moreover, Bechhofer's        makes clear
                                       letter makes clear that
                                                          that although the Kutners claimed after

  the hearing that they misunderstood the nature of the proceeding before Rabbi Cohen, the Kutners

  were not disputing their freely manifested intent to participate in arbitration proceedings. Indeed,

  at that time, the Kutners requested another hearing before Rabbi Cohen at which time they would

  present "all
  present “all of
               of our
                  our evidence,
                      evidence, including documents, recordings and witnesses who will fly in to give

  their testimony."
  their testimony.” (Id.)

         29.                                                            to Bechhofer's
                 By letter dated August 22, 2018, Rabbi Cohen responded to Bechhofer’s letter
                                                                                       letter

  stating that
  stating that he
               he "challenge[d]
                  “challenge[d] the
                                the statement
                                    statement that
                                              that there
                                                   there was
                                                         was any
                                                             any hint
                                                                 hint of
                                                                      of coercion
                                                                         coercion to sign an arbitration

  agreement . . . Both sides were quite amenable when I asked what they preferred and it was

  arbitration.” (See
  arbitration." (See Exhibit 4 hereto). Among other things, Rabbi Cohen stated that the Kutners

  “had been
  "had been assured
            assured that
                    that we
                         we will
                            will all
                                 all get
                                     get together
                                         together before
                                                  before aa final
                                                            final decision
                                                                  decision is
                                                                           is rendered.”
                                                                              rendered."

         30.     In May 2019, the Greystone Lawsuit was settled with Greystone agreeing to pay $8

  million to the Kutners over the course of several years. Since May 2019, the Kutners have been

  receiving $150,000 per month from Greystone, but have not turned that money over to Rechnitz

  in accordance with the Greystone Loan Agreement.

         31.     After the arbitration hearing, the parties engaged in settlement negotiation to try to

  resolve all of their disputes. In the meantime, the Kutners refused to turn over all of the funds that

  they were receiving from Greystone even though it is undisputed that aside from owing Rechnitz

  more than $4 million in connection with the Greystone Loan, the Kutners owe many more millions

  of dollars to Rechnitz.




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         32.     After many months of failed settlement negotiations, in February 2020, Rechnitz

  requested that Rabbi Cohen summons the Kutners to appear before him so that they could have an

  opportunity to
  opportunity to provide
                 provide their
                         their purported
                               purported "evidence,
                                         “evidence, including
                                                    including documents,
                                                              documents, recordings
                                                                         recordings and witnesses

  who will
  who will fly
           fly in to give
               in to give their
                          their testimony"
                                testimony” as
                                           as their
                                              their rabbinic
                                                    rabbinic lawyer had claimed
                                                             lawyer had claimed they
                                                                                they would
                                                                                     would do.
                                                                                           do.

         33.     However, the Kutners have refused to cooperate or respond regarding continuing

  the arbitration proceeding. By letter from their rabbinic lawyer to Rabbi Cohen, the Kutners stated

  that they would not appear before Rabbi Cohen repeating their claim that they never agreed to

  arbitrate before him (just mediate) and that, in any event, they had a binding settlement agreement

  with Rechnitz already based on a couple of emails that they forwarded to Rabbi Cohen and

  therefore there was nothing to arbitrate.

         34.     Rechnitz responded that the parties had entered into a binding arbitration

  agreement, that Rabbi Cohen had reserved decision on the Greystone Loan dispute to allow for

                                                        agreement provided
  settlement discussions, and that the purported e-mail agreement provided by
                                                                           by the
                                                                              the Kutners'
                                                                                  Kutners’ rabbinic
                                                                                           rabbinic

  lawyer was, on its face, not an agreement.

         35.     Because the Kutners would not appear and present whatever evidence they believed

  they had in defense of their claims, Rechnitz requested that Rabbi Cohen issue an award in

  connection with the Greystone Loan finding that the Kutners owed the $3,071,009 provided by

                                                                                   Rechnitz’s 30
  Rechnitz to fund the lawsuit against Greystone, plus the $1,328,967 representing Rechnitz's

  percent share of the remaining amount recovered in that lawsuit. Rechnitz further requested that

  any additional amounts received from Greystone should be paid to Rechnitz for repayment of

  millions of dollars owed by the Kutners to Rechnitz in connection with other business dealings

  that is the subject of a separate arbitration award that was issued by Rabbi Cohen against the




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  Kutners. Finally, Rechnitz requested that the Kutners direct Greystone to make all future payments

  directly to Rechnitz.

            36.   On March 11, 2020, Rabbi Cohen issued an arbitration award in favor of Rechnitz

  as set forth in detail above. Rabbi Cohen ruled that all amounts Greystone owed to the Kutners

  pursuant to the Greystone Lawsuit settlement should be paid directly to Rechnitz, and the Kutners

  should cooperate and direct Greystone to pay such moneys to Rechnitz.

            37.   The Kutners have refused to cooperate with the decision of Rabbi Cohen.

  Greystone was advised and provided with the Arbitration Award. The principals of Greystone are

  also Orthodox Jews. On March 25, 2020, Rabbi Cohen issued another order directly at Greystone

  requiring them to pay the monthly $150,000 payment directly to Rechnitz.

                                    FIRST CAUSE OF ACTION
                             (Confirmation of Arbitration Award Against
                               Ephraim Kutner and Jonathan Kutner)

            38.   Rechnitz repeats and realleges each of the prior allegations as if fully set forth

  herein.

            39.   Rechnitz respectfully requests that this Court enter judgment as against the Kutners

  confirming the Award and requiring Greystone to make all monthly payments directly to Rechnitz.

            40.   This Complaint and Petition is brought within one year after the delivery of the

  aforesaid Award, and the Award has not been vacated or modified.

                                   SECOND CAUSE OF ACTION
                          (Ex Parte Attachment in Aid of Arbitration Against
                                       Respondents/Defendants)

            41.   Rechnitz repeats and realleges each of the prior allegations as if fully set forth

  herein.




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           42.                                                              Rechnitz’s claims against
                   The parties agreed to arbitrate their disputes including Rechnitz's

   the Kutners regarding the Greystone Loan before Rabbi Dovid Cohen.

           43.     Accordingly, by the arbitration, Plaintiff/Petitioner is asserting a cause of action

   within the meaning of CPLR 7502(c) and 6212(a).

           44.                                               Respondents/Defendants’ property
                   This Court has personal jurisdiction over Respondents/Defendants'

   including the proceeds of the Greystone Lawsuit settlement.

           45.     As set forth herein, the memorandum of law and in the other papers filed herewith,

   Rechnitz has satisfied any burden that it has of showing that it is probable that it will succeed on

   the merits in the arbitration because the arbitrator has already issued the Award.

           46.     The Kutners asserted no counterclaims in the arbitration. Accordingly, the amount

   demanded from the defendants exceeds all counterclaims known to the plaintiff in accordance with

   CPLR 6212(a).

           47.     Petitioner seeks an Order of Attachment in aid of arbitration to ensure that the

   Award will be satisfied and effectual. The Kutners conduct to date demonstrates that they will not

   comply with the Award.

           48.     Accordingly,      an   Order   of     Attachment    should    be     issued   against

   Respondents/Defendants on the amounts paid to date, and to be paid by Greystone to the Kutners

   in connection with the Greystone Lawsuit settlement.

                                     THIRD CAUSE OF ACTION
                             (Money Had and Received Against All Defendants)

           49.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.

           50.     Rechnitz is the legal owner of the $150,000 in monthly payments that are owed by

   Greystone pursuant to the Greystone Lawsuit settlement.



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           51.     Defendants are diverting money belonging to Rechnitz.

           52.     Greystone is transferring money to the Kutners that legally belongs to Rechnitz.

           53.     Greystone has been made aware that its payments pursuant to the Greystone

   Lawsuit settlement should be made to Rechnitz.

           54.     Defendants have benefited from the receipt and/or diversion of the money

   belonging to Rechnitz.

           55.     Under principles of good conscience, such moneys should not be allowed to be

   retained by or transferred to the Kutners.

           56.     As aa direct
                   As    direct and
                                and proximate
                                    proximate result
                                              result of
                                                     of Defendants'
                                                        Defendants’ misconduct,
                                                                    misconduct, Rechnitz has and

   continues to incur damages in an amount to be determined at trial.

           57.     The Court should impose a constructive trust in favor of Rechnitz and against

   Defendants on all amounts previously transferred by Greystone to the Kutners, and amounts to be

   transferred by Greystone to the Kutners pursuant to the Greystone Lawsuit settlement.

                                   FOURTH CAUSE OF ACTION
                                 (Conversion Against All Defendants)

           58.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.

           59.     Rechnitz is the legal owner of the $150,000 in monthly payments that are owed by

   Greystone pursuant to the Greystone Lawsuit settlement.

           60.     Greystone has been made aware that its payments pursuant to the Greystone

   Lawsuit settlement should be made to Rechnitz.

           61.     Greystone’s release
                   Greystone's release of
                                       of such
                                          such payment
                                               payment to
                                                       to the
                                                          the Kutners
                                                              Kutners constitutes conversion by
                                                                      constitutes conversion by each

   of the defendants.




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           62.       Rechnitz is therefore entitled to an order requiring Greystone to turnover the

   monthly $150,000 payments directly to Rechnitz.

                                     FIFTH CAUSE OF ACTION
                                (Breach of Contract Against the Kutners)

           63.       In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.

           64.       Rechnitz and the Kutners entered into an agreement whereby Rechnitz agreed to

   loan the
   loan the Kutners
            Kutners money
                    money to
                          to assist
                             assist in
                                    in funding
                                       funding their
                                               their lawsuit against Greystone,
                                                     lawsuit against Greystone, at
                                                                                at Rechnitz's
                                                                                   Rechnitz’s

                   “Greystone Loan"),
   discretion (the "Greystone Loan”), provided
                                      provided that
                                               that any
                                                    any recovery
                                                        recovery from
                                                                 from the
                                                                      the lawsuit
                                                                          lawsuit would
                                                                                  would first
                                                                                        first be
                                                                                              be used
                                                                                                 used

   to repay the loan from Rechnitz, and Rechnitz would receive 30 percent of any profits recovered

   in the Greystone Lawsuit after deducting legal expenses.

           65.       Rechnitz complied with the terms of the agreement and loaned $3,071,009 to the

   Kutners for the Greystone Lawsuit.

           66.       The Greystone Lawsuit was settled for $8 million, but the Kutners have breached

   the agreement with Rechnitz by failing to repay the loan plus the 30 percent interest that Rechnitz

   is entitled to.

           67.       Rechnitz has been damaged to be determined at trial but not less than $4,399,976.

           68.       Greystone should be required to make the monthly payments pursuant to the

   Greystone Lawsuit settlement directly to Rechnitz.

                                      SIXTH CAUSE OF ACTION
                             (Breach of Fiduciary Duty Against the Kutners)

           69.       In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.




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           70.     The Kutners were partners with Rechnitz in connection with their pursuit and

   recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

   faith and loyalty.

           71.     By not paying the monthly payments received from Greystone to Rechnitz in

   connection with the Greystone Lawsuit settlement, the Kutners breached their fiduciary duty of

   good faith and loyalty to Rechnitz.

           72.     Rechnitz has been damaged to be determined at trial but not less than $4,399,976.

           73.     Greystone should be required to make the monthly payments pursuant to the

   Greystone Lawsuit settlement directly to Rechnitz.

                                SEVENTH CAUSE OF ACTION
                 (Aiding and Abetting Breach of Fiduciary Duty Against Greystone)

           74.     In the alternative, Plaintiff repeats and realleges each of the prior allegations set

   forth as if fully set forth herein.

           75.     The Kutners were partners with Rechnitz in connection with their pursuit and

   recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

   faith and loyalty.

           76.     By not paying the monthly payments received from Greystone to Rechnitz in

   connection with the Greystone Lawsuit settlement, the Kutners breached their fiduciary duty of

   good faith and loyalty to Rechnitz.

           77.     Greystone was made aware of the agreement between the Kutner and Rechnitz

   relating to the Greystone Lawsuit.

           78.     Demand has been made on Greystone to transfer the monthly payments that it

   agreed to make pursuant to the settlement directly to Rechnitz.




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           79.     Greystone has refused to make such payments to Rechnitz, and instead continues

   to make such payments to the Kutners.

           80.     Greystone’s payments
                   Greystone's payments to
                                        to the
                                           the Kutners
                                               Kutners is
                                                       is substantially
                                                          substantially assisting
                                                                        assisting the
                                                                                  the Kutners
                                                                                      Kutners in
                                                                                              in

   breaching their fiduciary duties to Rechnitz.

           81.     Greystone’s misconduct
                   Greystone's misconduct in making such
                                          in making such payments
                                                         payments is
                                                                  is willful, and has caused caused

   significant harm to Rechnitz.

           82.                           Greystone’s tortious conduct, Plaintiff has suffered damages in
                   As a direct result of Greystone's

   an amount to be determined at trial, but not less than $4,399,976.

                                    EIGHTH CAUSE OF ACTION
                                   (Turnover Against All Defendants)

           83.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.

           84.     The Kutners have an interest in the $150,000 monthly payments that are owed by

   Greystone to them pursuant to the Greystone Lawsuit settlement.

           85.     Rechnitz’s right to those monthly payments is superior to the Kutners and
                   Rechnitz's

   Greystone.

           86.     Rechnitz is therefore entitled to an order requiring Greystone to turnover the

   monthly $150,000 payments directly to Rechnitz.

                                    NINTH CAUSE OF ACTION
                             (Constructive Trust Against All Defendants)

           87.     In the alternative, Rechnitz repeats and realleges each of the prior allegations as if

   fully set forth herein.




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          88.     The Kutners were partners with Rechnitz in connection with their pursuit and

   recovery from the Greystone Lawsuit. As partners, the Kutners owed Rechnitz a fiduciary of good

   faith and loyalty.

          89.     In reliance on the Kutners promise that it would repay Rechnitz for assisting in

   funding the Greystone Lawsuit, Rechnitz transfer more than $3 million to the Kutners.

          90.     The Kutners settled the Greystone Lawsuit and have received more than $1.4

   million from Greystone, and continue to receive payments of $150,000 per month.

          91.     The Kutners have been unjustly enriched their receipt of the settlement proceeds

   from Greystone without paying Rechnitz what he was promised.

          92.     Rechnitz is therefore entitled to a constructive trust on the moneys received by the

   Kutners from Greystone, as well as the $150,000 monthly payments to be paid by Greystone as

   part of the settlement.


          WHEREFORE, Petitioner respectfully requests that this Court grant this Petition and enter

   an Order: (a) confirming the Award; (b) directing judgment to be entered in Rechnitz's favor; (c)
                                                                               Rechnitz’s favor;

   directing Greystone to make all payments relating to the Greystone Lawsuit settlement directly to

   Rechnitz; (d) attaching all moneys paid and to be paid by Greystone to the Kutners or their

   affiliates in aid of arbitration (e) in the alternative, award damages on the second through eighth

   causes of action in an amount to be determined at trial, but not less than $4,399,976 and impose a

   constructive trust and attachment on the amounts received by the Kutners from Greystone to date,

   as well as the amounts to be paid by Greystone pursuant to the Greystone Lawsuit settlement, and

   (f) for such other further and different relief as this Court deems just and proper, together with

   Rechnitz’s reasonable
   Rechnitz's reasonable attorneys'
                         attorneys’ fees,
                                    fees, costs and expenses
                                          costs and          incurred in
                                                    expenses incurred    connection with
                                                                      in connection with this
                                                                                         this

   proceeding.



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   Dated: New York, New York
          March 30, 2020
                                             KOFFSKY
                                             KOFF SKY SCHWALB LLC



                                             By: _______________________
                                                    Efrem Schwalb
                                             349 Fifth Avenue, Suite 733
                                             New York, New York 10016
                                             (646) 553-1590

                                                       for Petitioner/Plaintiff
                                             Attorneysfor  Petitioner/Plaintiff




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    r33)5 tnia arbnla
    pow WO

    In the Matter of the Din Torah Arbitration Between

    Shlomo Yehuda Rechnitz
                                                            —(PROPOSBDt ARBITRATION
    and                                                      AWARD RELATING TO
                                                             GREYSTONE LAWSUIT JOINT
    Ephraim Kutner and Jonathan Kutner                       VENTURE DISPUTE



              On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"), on the one hand, and Ephraim

   Kutner and Jonathan Kutner (the "Kutners"), on the other hand, appeared before me to arbitrate

   various disputes relating to their business dealings that they had been discussing and trying to

   resolve for many months prior to their appearance. The parties signed an arbitration agreement

   which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

   by my decision. At that time several issues were discussed including, but not limited to, a

   dispute regarding the repayment of a loan provided by SYR to the Kutners in connection with a

   lawsuit between Greystone Funding Corp. and the Kutners (the "Greystone Lawsuit"), and a

   sharing agreement from any recovery for that lawsuit equal to 30 percent of the recovery from

   the lawsuit after subtracting the amount spent by SYR to finance the lawsuit.

          It was undisputed by the parties that SYR had provided $3,071,009.00 to fund the

   Greystone Lawsuit. SYR has provided information establishing that the Greystone Lawsuit was

   settled for $8 million, that SYR is owed $3,071,009 for financing the Kutners in that lawsuit,

   plus not less than $1,328,697 representing SYR's 30 percent share of the recovery from that

   lawsuit.



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           After more than a year of settlement negotiations that did not result in an agreement, SYR

   requested that the parties meet again with me for a decision on the items that were discussed at

   the first hearing in the arbitration. The Kutners have refused to attend a subsequent hearing and

   claimed that they did not submit the disputes to arbitration, only mediation, and that the parties

   settled all of their disputes. I have reviewed the documents submitted by the Kutners and find

   that on their face, there was no settlement of the parties' disputes. I also reject the argument by

   the Kutners that the dispute was only submitted to me for mediation, as it was made clear at the

   hearing that the parties were submitting their disputes to me for a legal adjudication, not

   mediation, and in fact, the Kutners were the party that selected me as the arbitrator in this matter

   and the document signed by the parties made clear that the parties were submitting their disputes

   to me for a decision.

          Accordingly, this is my decision regarding the Greysone Lawsuit dispute. I will issue a

   separate decision on the other outstanding disputes.

          IT IS HEREBY ORDERED AND ADJUDGED THAT:

          I.      All amounts still owed by Greystone Funding shall be paid directly to SYR,

   including the $3,071,009 provided by SYR to fund the lawsuit against Greystone, plus the

   $1,328,967 representing SYR's 30 percent share of the remaining amount recovered in that

   lawsuit. Any additional amounts from that lawsuit shall be paid to SYR for repayment of

   amounts owing to SYR relating to other outstanding amounts. SYR may contact Greystone

   Funding directly and direct Greystone Funding to make all payments directly to SYR.

          2.     The Kutners and all entities they control shall cooperate and not interfere with the

   instructions to Greystone Funding to make all payments relating to the Greystone Lawsuit

   directly to SYR.



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              3.       If requested by SYR, the Kutners shall execute any and all additional documents

    that will allow SYR or his agent to control, manage and act on behalf of the Kutners in

    connection the Greystone Lawsuit settlement.

             4.        This award constitutes a fmal award concerning the dispute regarding the

    Greystone Lawsuit, as well as constituting an award of injunctive relief issued to protect SYR's

    right to receive back the money that he provided to fund the Greystone Lawsuit, as well as his 30

    percent share of the profit from that lawsuit and other moneys that he is owed.

             5.        I retain jurisdiction concerning the Greystone Lawsuit dispute to the extent that

    the Kutners fail to follow this award or a Court decides not to confirm this award. Additionally,

    I retain jurisdiction concerning the parties' other business disputes.

    Dated: March 11, 2020
           Brooklyn, New York

                                                                 Rabbi Dovid Cohen
    STATE OF NEW YORK)
                                            SS.:
    COUNTY OF KINGS)
               , IN/R
        On the      day of March, in the year 2020, before me, the undersigned, personally

    appeared Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to

    the individual whose name is subscribed within the arbitration award dated March 11, 2020 and

    acknowledged to me that he executed the same in his capacity, and that by his signature on the

    arbitration award Rabbi Dovid Cohen executed the arbitration award.




      otary Public

                 KORSINSKY
      MICHAEL                  Yost
         Public, State oi Nein
  Notary      021(060335;66        1.1)..
         No.             County
      Qualified in Kings
              EXpl f8S Nov. 25, 20
  Commission
                                                       3
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  SENDER: COMPLETE THIS SECTION                         COMPLETE THIS SECTION ON DELIVERY

  • Complete items 1, 2, and 3.                          A. Signature
                                                                                                           ❑ Agent
  • Print your name and address on the reverse           X
    so that we can return the card to you.                                                                 0 Addressee
                                                         B. Received by (Printed Name)                 C. Date of Delivery
  • Attach this card to the back of the mallpiece,
    or on the front If space permits.
  1. Article Addressed to:                               D. Is delivery address different from Item 1? 0 Yes
                                                            If YES, enterdelivery address below:       0 No
         0343                     1C-C°
    3
              Ge~lnaJt.



                                                       3. Service Type                             ❑ Priority Mall Express®
        11!!10119114021 1311711!1111!111 11111
                           41                42
                                                       0 Adult Signature
                                                       O Adult Signature Restricted Delivery
                                                       0 Certified Malls
                                                                                                   0 Registered Mairn
                                                                                                   0 Registered Mall Restricted
                                                                                                     Delivery
                                                       0 Certified Mall Restricted Delivery        0 Return Receipt far
                                                       0 Collect on Delivery                         Merchandise
                                                       ❑ Collect on Delivery Restricted Delivery   0 Signature Confirmation'
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             EXHIBIT 3
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     This message is being sent via email to R Shlomo Rechnitz and his CFO, David
     Weldler.

     My name is Yochanan Bechhofer and I am advising Ephraim and Yoni Kutner in
     regard to their dispute with the aforementioned party. I am writing this on their
     behalf.

     The Kutner brothers came into you last week with the understanding that it was to
     be a mediation and not an arbitration. They did not question signing the document
     that was placed before them so as not to hamper the flow of the mediation. They
     were surprised by the unannounced appearance of Mr. Rechnitz's CFO, as it was
     previously agreed that only Mr. Rechnitz would be in attendance. The goal of the
     meeting was to mediate in the presence of the Rav to bring a resolution to the
     dispute. However, since matters took a turn and we are now embroiled in an
     arbitration for which we were not prepared, we request another hearing in front of
     the Rav in the presence of Mr. Rechnitz and whoever he would like to bring.

     At this hearing, we will present all of our evidence, including documents,
     recordings and witnesses who will fly in to give their testimony. We are
     endeavoring to bring this matter to a swift resolution as quickly as possible. We
     feel that we can likely pull this all together as soon as Thursday, September 13th,
     the fourth of Tishrei, 5779.

     Due to the volume of evidence and testimony, we would ask to block a full day for
     us to present our material and allow Mr. Rechnitz to respond.

     Cc: R' Shlomo Rechnitz, Mr. David Weldler




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        My name is Yochanan Bechhofer and I represent Mr. Ephraim Kutner and Mr. Yonasan Kutner
        (referred to in this letter as “my
                                       "my clients”).
                                           clients").

        On behalf of my clients I wish to bring to the honored Rabbi's
                                                               Rabbi’s attention that the dispute
        between my clients and Mister Rechnitz for which they appeared before from the honored
        Rabbi in the summer of 2018 has long since been resolved.

        In the fall of 2018, an agreement was reached between the parties ( see attached “article   1”)
                                                                                           "article 1")
        that would settle the dispute once and for all. This agreement was not only put in writing in an
        email that is legally binding but it has already been implemented in good faith and at great
        expense to my clients.

        Amongst the items of the agreement that were implemented already was to pay Mr. Gershon
        Beigelison at great expense to my clients, which they did already long ago and already paid him
               Rechnitz’s request an entire annual salary.
        at Mr. Rechnitz's

        The initial dispute has been resolved and the current dispute is over the terms and conditions of
        an agreement that was wholly agreed to by both sides (see attached “Article
                                                                                "Article 2”)
                                                                                         2") and is in stages
        of implementation already. Should we seek an arbitration from the honored Rabbi, it would
        require a new arbitration agreement, since it is not the issue for which we signed an arbitration
        agreement for in the past.

        At this time, we are not asking for a new arbitration by the honored Rabbi, but rather we ask
        Mr. Rechnitz to come back to the negotiating table. We are confident that just as we reached
        this agreement and lived in peace and harmony for over a year, so also we will surely work out
        whatever disagreements there are regarding this agreement at this time.

        We wish the honored Rabbi a Chodesh Tov and a freilichen Purim
        Sincerely,
        Yochanan
       lied       Meir Rezewie
           ta.a.. 704y.:ft Bechhofer
        Yochanan Meir Bechhofer
        on Behalf of Ephraim and Yonasan Kutner
        CC Reb Shlomo Yehuda Rechnitz
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                                            Article 1
                                            Articlel
                 Summary of agreement arrived at in the fall of 2018
                    Mr. Rechnitz's responses in capital letters

  On Dec 2, 2018, at 6:23 PM, Ephraim Kutner <ekutner@harborviewcp.com> wrote:

  Shlomo,
  We sincerely appreciate you taking the time to sit with us and come to a peaceful
  resolution. I'm
  resolution. I’m sorry
                  sorry it
                         it took
                            took so
                                 so long
                                    long to
                                         to get
                                            get you
                                                you this
                                                    this email.
                                                         email.
  I woke up with a pinched nerve last Monday and have been out flat on my back all
  week. Here
  week.  Here are
                are the
                    the points
                        points we   agreed to
                                we agreed   to and
                                               and please
                                                   please let
                                                          let me know if I've
                                                                         I’ve left anything off
  or misrepresented any points of our discussion.

  -lawsuit - we agreed to try and take advantage of where we are at in our litigation and
  after Matt tried reaching out to Scharff with no response Yoni met with Steve on
  Tuesday afternoon and told him we would accept 8.5mm. Steve responded with another
  lowball offer last night and I will send you that in a separate email. We have court
  tomorrow and will continue to press. ADDITIONALLY, THE KUTNERS WILL MAKE
  THEMSELVES AVAILABLE AND DO EVERYTHING IN THEIR POWER TO HELP
  RECHNITZ WITH THE LAWSUIT.

  Of course we will

  NEED TO MAKE A QUICK DEADLINE, OTHERWISE YOU CAN PRESS FOREVER.
  A

  We have a court date tomorrow and another one in two weeks. We feel the judge will
                                                                 than Steve's
  continue to push for a settlement and his numbers were more than    Steve’s and
                                                                              and the
                                                                                  the
  judge said
  judge said he
             he can
                can push  Scharff so
                    push Scharff  so why
                                     why respond
                                          respond to
                                                  to Steve's
                                                     Steve’s offer
                                                             offer quickly
                                                                   quickly

  -mezz loans- will assign over the PG on the Tillers/Hartman loan to you personally, all
  payoff notices will include escrow instructions into a mutually accessible escrow account
  where SY will take the original principal amount of the loan. ALL interest payments, exit
  fees and financing origination fees stay in Harborview Funding but any additional
  monies made on the exit loan gets split and your half goes towards your initial personal
  loan of 2.9mm (this is instead of CLAT) until all that principal is paid and anything above
  that amount in the form of additional fees or monies made on the exit loan stays in
  Harborview. There will be no Glenner or other Mezz loan guarantees provided by
  Harborview.
  THE ACCOUNT WILL BE IN MY NAME AND THE INSTRUCTIONS ON THE LETTER
  WILL BE THE ONLY PLACE THE ACCOUNT NUMBER APPEARS.

  How do we then disperse the funds over and above the original principal loan amount
  as you said you wanted none of that interest and exit fee money?
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                                             A-98

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  ANY ADDITIONAL LOAN PROCEEDS, HUD FEES, ORIGINATION OR BREAKUP
  FEES FIRST GOES AS A PREFERENCE TO SHLOMO RECHNITZ TO PAY OFF THE
  INITIAL PERSONAL LOAN OF $2.9 MILLION DOLLARS.

  This isn’t
  This        what we
        isn't what we discussed
                      discussed as we were looking for an alternative to the CLAT issue
  and the CLAT was something that would take 20 or 30 years to pay off as opposed to
  this structure where it should take less than 3 years with us splitting the income off of
  the exit loans as we have real internal expenses to process the loans and use First
  American

       for one
  -60k for one year
               year to
                    to Jake’s cousin whom
                       Jake's cousin whom we
                                          we are
                                             are meeting
                                                 meeting with
                                                         with on
                                                              on Tuesday
                                                                 Tuesday and Yoni
  spoke to this week a few times

  -100k/ year engagement fee for 2 years to you for speaking at our annual Healthcare
  conference

      “doesn’t want
  -SY "doesn't want anything
                    anything else
                             else at
                                  at all"
                                     all”

  -SY will send a letter to Reb Dovid Cohen as per our discussion that we will review prior
  to sending

  -SY will continue to remain a client of Harborview in good faith and there will be a
  maximum of 4 1/2 points (including both origination and trade fees) made on all future
  HUD loans done for SY by Harborview
  THIS IS NOT A CONDITION. (JUST REMEMBER HOW YOU FELT WHEN STEVE
  TRIED TO PAY YOU OFF LIKE THAT).

  Not a condition just a point you wanted me to make mention of
  - HARBORVIEW WILL IMMEDIATELY BEGIN WORKING ON RAISING SHLOMO'S
                                                                SHLOMO’S
  HUD CREDIT LINE TO $500,000,000

  Happy to do so- who will be running point on your end- Alan Ma?

  - RECHNITZ WILL MAKE EVERY ATTEMPT TO ATTEND THE KUTNER WEDDING
  TO DISPEL ANY RUMORS THAT THERE WE HAVE SOME DISAGREEMENT.

  Very much
  Very much appreciated
            appreciated but
                        but please don’t feel
                            please don't feel any
                                              any pressure
                                                  pressure to
                                                           to do
                                                              do so
                                                                 so

  - THERE WILL BE A CONFIDENTIALITY AGREEMENT AND A NON DISPARAGING
  AGREEMENT.

  I have the one that was included in the original settlement/ resolution agreement that I
  will forward to you

  - THE KUTNERS WILL HAVE TO SIT DOWN WITH WELDLER AND WORK OUT
  THEIR DIFFERENCES.
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  If you say so we are happy to do so

                                              I’ve made any mistakes.
  Please confirm via email and let me know if I've          mistakes. Thanks
                                                                      Thanks again and
  wishing you a freilichin Chanukah.

  Ephraim

  Ephraim Kutner
  Harborview Capital Partners
  335 Central Avenue
  Lawrence |1 NY |1 11559
  516.453.9402 I| direct
  516.453.94001| main
  516.453.9400
  516.453.9414 I| fax
           harborviewcp.com
  ekutner@harborviewcp.com
  ekutner
  www.harborviewcp.com
                                       Case 20-1978, Document 69, 12/14/2020, 2993537, Page106 of 206
                                                                                           A-100
                                                                                           A-100

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          Article 2
Ephraim Kutner and Shlomo Rechnitz reaffirming their commitments they made a year earlier

On top is Shlomo Rechnitz replying to the message initiated by Ephraim Kutner which is on the bottom
From: Shlomo Rechnitz <shlomohealthaumail.com>
                        <shlomohealth@gmail.com>
Date: November 3, 2019 at 11:10:43 AM PST
                   <ekutner@harborviewcp.com>
To: Ephraim Kutner <ekutneraharborviewco.com>
                    <jkutner@harborviewcp.com>
Cc: Jonathan Kutner <ikutneraharborviewco.com>
Subject: Re: Calculation

 Ephraim,
I’m  not going
I'm not  going back   on my
                back on   my word   at all.
                              word at  all. You
                                            You yourself
                                                 yourself admitted
                                                           admitted that
                                                                     that we
                                                                          we still
                                                                              still need  to work
                                                                                    need to  work on
                                                                                                   on the lawsuit.
                                                                                                      the lawsuit.
Throughout this
Throughout    this process,   you’ve shlepped
                   process, you've   shlepped itit so  long so
                                                    so long so every
                                                                every meeting
                                                                       meeting oror phone call you got even more out of me.
Take a
Take   a step
         step back
              back and
                     and look
                          look what
                                what I've
                                     I’ve given   up already.
                                           given up  already. Anybody
                                                               Anybody you
                                                                         you ask
                                                                              ask who     will be
                                                                                    who will      honest with
                                                                                               be honest with you
                                                                                                              you will  tell you
                                                                                                                   will tell you that
                                                                                                                                 that this
                                                                                                                                      this resolution
                                                                                                                                           resolution is crazy lopsided.
The only
The   only part left out
           part left out is
                         is the
                            the lawsuit money and
                                lawsuit money     and I've
                                                      I’ve made
                                                           made upup my
                                                                      my mind on what I want (which still keeps the deal crazy lopsided).
 Sitting and talking again will make no difference.      Let’s just
                                             difference. Let's just get
                                                                    get this
                                                                        this over
                                                                             over with   in a
                                                                                    with in    somewhat Bakovideke
                                                                                            a somewhat    Bakovideke outcome
                                                                                                                        outcome forfor me.
                                                                                                                                       me.

Sent from my iPad

On Oct 30, 2019, at 12:03 PM, Ephraim Kutner <ekutneraharborviewco.com>
                                             <ekutner@harborviewcp.com> wrote:

 Shlomo,
We agreed on a settlement and shook hands in your house and you said that you wanted to write a letter to Reb Dovid
                            settlement before
 letting him know of the settlement            my daughter's
                                        before my  daughter’s chasunah.
                                                                 chasunah. The
                                                                            The only
                                                                                 only outstanding issue at
                                                                                      outstanding issue at that
                                                                                                           that time
                                                                                                                time was
                                                                                                                     was the
                                                                                                                         the Greystone
                                                                                                                             Greystone lawsuit.
                                                                                                                                       lawsuit.
 I will send you your emails and our communication again to remind you.
 Now you are going back on that agreement and asking to go back to Reb Dovid Cohn.
I’m
I'm not following you and your email at all. Yoni andand II will
                                                            will be
                                                                  be in
                                                                     in LA
                                                                        LA next
                                                                           next week  Tuesday and
                                                                                week Tuesday   and Wednesday
                                                                                                    Wednesday
 and would very much like to come and talk to you
 as II said
 as    said last
             last week
                  week but if you
                       but if you don't
                                  don’t want
                                        want to
                                             to or
                                                or don’t have the
                                                   don't have    the time
                                                                     time then
                                                                          then so
                                                                               so be it.
                                                                                  be it.
             a shame
 It is truly a shame that
                      that you
                           you can't
                                can’t do
                                      do what
                                         what we
                                               we both  said and
                                                   both said and agreed
                                                                    agreed what
                                                                            what we
                                                                                 we would  do.
                                                                                     would do.
We have been paying your cousin and brother in law as we said we would do and living up to our end of our agreement.
Like I said, I will resend you our email correspondence to see if it clarifies things for you.
Mazel Tov on your new grandson and wishing you and your family only continued simchos and tons of nachas IYH.

Ephraim Kutner
Harborview Capital Partners
335 Central Avenue
Lawrence |1 NY |1 11559
516.453.9402 I| direct
516.453.9400 |1 main
516.453.9414 I| fax
ekutner@harborviewcp.com
ekutneraharborviewco.com
www.harborviewcp.com
www.harborviewco.com
      •
               ReplyForward
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Efrem Schwalb
Efrem Schwalb

From:
From:             davidzweldler@gmail.com
                  davidzweldler@gmail.com
Sent:
Sent:             Monday,  March 9,
                  Monday, March    9, 2020
                                      2020 10:19 AM
                                           10:19 AM
To:
To:               evenshesiya@gmail.com
                  evenshesiya@gmail.com
Subject:
Subject:          Fwd: Din
                  Fwd: Din Torah
                           Torah between    Shlomo Yehuda
                                  between Shlomo    Yehuda Rechnitz
                                                           Rechnitz v.
                                                                    v. Ephraim
                                                                       Ephraim Kutner
                                                                               Kutner and
                                                                                      and Jonathan
                                                                                          Jonathan Kutner
                                                                                                   Kutner
Attachments:
Attachments:      Proposed Arbitration
                  Proposed  Arbitration Din
                                        Din Torah
                                             Torah Award.pdf
                                                   Award.pdf




Sent from my iPhone

Begin forwarded message:

       From: davidzweldler@gmail.com
       Date: March 9, 2020 at 9:19:11
                              9:19:11 AM EDT
       To: Rabbi Dovid Cohen <leahtrenkcohen@gmail.com>
       Cc: Efraim Kutner <ekutner@harborviewcp.com>, Jonathan Kutner <jkutner@harborviewcp.com>,
       Shlomo Yehuda Rechnitz <shlomohealth@gmail.com>
       Subject: Fwd: Din Torah between Shlomo Yehuda Rechnitz v. Ephraim Kutner and Jonathan Kutner




               Dear Rabbi Cohen,
               I am writing to you on behalf of Shlomo Yehuda Rechnitz to ask that
               the Rav issue a written award concerning the dispute between Mr.
               Rechnitz and Ephraim Kutner and Jonathan Kutner (the “Kutners”)
                                                                         "Kutners")
               relating to certain mezzanine loans that Mr. Rechnitz funded
               (“Mezzanine Loans"),
               ("Mezzanine   Loans”), as well as proceeds from a lawsuit against
               Greystone Funding that Mr. Rechnitz funded on behalf of the
               Kutners (the “Greystone   Lawsuit”) which was previously discussed
                             "Greystone Lawsuit")
               with Rav Cohen that entitled Mr. Rechnitz to the return of the
               expenses he funded, as well as 30 percent of the Kutners’
                                                                  Kutners' recovery
               above the expenses.
               As the Rav will recall, more than a year ago, the Rav ruled, among
               other things, that the Kutners and the entities they control must
               direct the Mezzanine Loans borrowers to make payments directly to
               Mr. Rechnitz, with the interest payments to be held in escrow until
               Mr. Rechnitz is repaid in full, and to inform the Mezzanine Loans
               borrowers that Mr. Rechnitz or his agent was authorized to act on
               behalf of the lender of the Mezzanine Loans. The Kutners failed to
                                                        11
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        send out such letters. The Ray
                                     Rav retained jurisdiction over the
        Mezzanine Loans matter in the event the Kutners did not abide by
            Rav’s ruling. Concerning the Mezzanine Loans dispute, we are
        the Ray's
        asking the Rav
                    Ray to issues an order allowing Mr. Rechnitz to direct the
        Mezzanine Loans borrowers to repay the Mezzanine Loans directly
        to SYR and for the interest that is repaid to be held in a separate
        account controlled by SYR where it shall remain until SYR is fully
        repaid for the moneys he advanced relating to the Mezzanine
        Loans. Attached is a spreadsheet showing that Mr. Rechnitz is owed
        $7,617,750 relating to the Mezzanine Loans, which represents the
        current principal balance of the Mezzanine Loans.
        Additionally, there is no dispute that the Greystone
        Lawsuit was settled for $8 million. Mr. Rechnitz is owed
        $3,071,009 that was provided to the Kutners to finance
        their lawsuit against Greystone Funding, plus
        $1,328,697 representing SYR's
                                   SYR’s 30 percent share of the
        recovery over the expenses from that
        lawsuit. Greystone has been providing $150,000 per
        month to the Kutners (to date, the Kutners have
        received in excess of $1.4 million of which nothing has
        been transferred to Mr. Rechnitz) and we ask that the
        Rav issue an award directing that all of that money
        Ray
        moving forward to be paid directly to Mr. Rechnitz to
        cover the millions that he is owed by the Kutners with
        respect to the Greystone Lawsuit, as well as other
        amounts that are owing.
        You have attempted to meet with all parties, but the Kutners have
        made it clear that they do not intend to appear before RayRav
        Cohen. Their response is that they never agreed to arbitrate these
        disputes and the parties have settled the matter and, therefore,
        there is no basis to Ray
                             Rav Cohen to adjudicate anything. The RayRav has
        already ruled that the Kutners agreed to arbitrate these disputes
        before Ray
                Rav Cohen, and it is Mr. Rechnitz's
                                         Rechnitz’s position that the Ray
                                                                      Rav
        should reject this argument once again. The Kutners signed a
        binding agreement to arbitrate these disputes, and the Mezzanine
        Loans, Greystone Lawsuit and other business disputes were all
        addressed at the hearing that took place in August 2018. They have
        refused to abide by the Ray's
                                 Rav’s decisions to date. Moreover, the
        documents submitted by the Kutners to Ray  Rav Cohen on their face
        demonstrate that there was and has been no settlement of the
        parties’
        parties' disputes. To the extent that Ray
                                               Rav Cohen requires further
                                          2
                                          2
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        submissions on that issue, we can show months of discussions
        following the two emails submitted by the Kutners showing that the
        parties have never come to an agreement, and the emails
        themselves indicate that there was no agreement, just negotiations
        which have continued for an extended period of time.
                               Rechnitz’s position, we have attached a
        If the Rav accepts Mr. Rechnitz's
        proposed award that we would ask the Rav to sign which will allow
        Mr. Rechnitz to secure some of the multi-millions
                                            multi‐millions of dollars he is
        owed by the Kutners. In addition, we will be making a further
        submission concerning other amounts that are owing to Mr.
        Rechnitz that were discussed at the prior arbitration hearing.
        Sincerely,
        David Weldler




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                                         3
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    Fails 11M), rbmin
    paw mil ,rovilm

   In the Matter of the Din Torah Arbitration Between

   Shlomo Yehuda Rechnitz
                                                          ....42140P-438E7D1 ARBITRATION
   and                                                        AWARD RELATING TO
                                                              MEZZANINE LOAN DISPUTE
   Ephraim Kutner and Jonathan Kutner



          On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"), on the one hand, and Ephraim

   Kutner and Jonathan Kutner (the "Kutners"), on the other hand, appeared before me to arbitrate

   various disputes relating to their business dealings that they had been discussing and trying to

   resolve for many months prior to their appearance. The parties signed an arbitration agreement

   which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

   by my decision. At that time several issues were discussed including, but not limited to, a

   dispute regarding the repayment of certain mezzanine loans that were made using the money of

   SYR ("Mezzanine Loans," see Exhibit 2).

          It was undisputed by the parties that SYR had provided millions of dollars to fund the

   Mezzanine Loans.       SYR has provided updated information establishing that he is owed

   $7,617,750 relating to the Mezzanine Loans, which represents the current principal balance of

   the Mezzanine Loans.

          I previously issued an oral and written ruling requiring the Kutners to send a letter

   irrevocably directing the Mezzanine Loans borrowers to repay the Mezzanine Loans directly to

   SYR and for the interest that is repaid to be held in a separate account controlled by SYR where

   it shall remain until SYR is fully repaid for the moneys SYR advanced relating to the Mezzanine
                                                  1
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   Loans. I retained jurisdiction over the Mezzanine Loans dispute in the event the Kutners failed

   to comply with my ruling, as well as the other disputes that the parties discussed with me at the

   arbitration hearing.

          After more than a year of settlement negotiations that did not result in an agreement, SYR

   requested that the parties meet again with me for a decision on the items that were discussed at

   the first hearing in the arbitration, including the Mezzanine Loans dispute which has not been

   finally resolved. The Kutners have refused to attend a subsequent hearing and claimed that they

   did not submit the disputes to arbitration, only mediation, and that the parties settled all of their

   disputes. I have reviewed the documents submitted by the Kutners and find that on their face,

   there was no settlement of the parties' disputes. I also reject the argument by the Kutners that

   the dispute was only submitted to me for mediation, as it was made clear at the hearing that the

   parties were submitting their disputes to me for a legal adjudication, not mediation, and in fact,

   the Kutners were the party that selected me as the arbitrator in this matter and the document

   signed by the parties made clear that the parties were submitting their disputes to me for a

   decision.

          Accordingly, this is my decision regarding the Mezzanine Loans dispute. I will issue a

   separate decision on the other outstanding disputes.

          IT IS HEREBY ORDERED AND ADJUDGED THAT:

          1.      The Mezzanine Loans borrowers shall be directed to repay their loans directly to

   SYR, including the interest payments that are made. As the Kutners have not sent the letter

   previously directed for them to send to the Mezzanine Loans borrowers, SYR may send letters to

   the Mezzanine Loans borrowers directing them to pay all amounts directly to SYR.




                                                     2
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          2.     The Kutners shall respond to all questions from SYR or his agents regarding the

   Mezzanine Loans, and turn over to SYR all documents relating to the Mezzanine Loans

   including the Mezzanine Loans agreements.

          3.     All funds received by the Kutners or any entities controlled by the Kutners

   including Harborview Capital Funding LLC from the Mezzanine Loan borrowers or their agents

   shall be immediately turned over to SYR.

          4.     SYR shall receive all loan repayments relating to the Mezzanine Loans and will

   place the principal in one account to be used to repay SYR for the moneys he provided to fund

   the Mezzanine Loans, and the interest in another account where it shall remain until SYR is fully

   repaid for the moneys he advanced to fund the Mezzanine Loans.

          5.     The Kutners and all entities they control shall cooperate and not interfere with the

   instructions to the Mezzanine Loan borrowers to make all loan payments directly to SYR.

          6.     The Kutners may not modify or extend the terms of the Mezzanine Loans unless

   expressly authorized in writing by Shlomo Yehuda Rechnitz's representative Mr. David WeIdler.

          7.     If requested by SYR, the Kutners shall execute any and all additional documents

   that will allow SYR or his agent to control, manage and act on behalf of the lender in connection

   with the Mezzanine Loans.

          8.     This award constitutes a final award concerning the dispute regarding the

   Mezzanine Loans, as well as constituting an award of injunctive relief issued to protect SYR's

   right to receive back the money that he loaned which both parties agreed constitutes all of the

   capital that was raised to fund the Mezzanine Loans.




                                                  3
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               9.       I retain jurisdiction concerning the Mezzanine Loans dispute to the extent that the

      Kutners fail to follow this award or a Court decides not to confirm this award. Additionally, I

      retain jurisdiction concerning the parties' other business disputes.

      Dated: March 11, 2020
             Brooklyn, New York
                                                                    ee-e.,Pkid
                                                                   Rabbi Dovid Cohen
      STATE OF NEW YORK)
                                       ss..
      COUNTY OF KINGS)
                 n
          On the I day of March, in the year 2020, before me, the undersigned, personally

      appeared Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to

      the individual whose name is subscribed within the arbitration award dated March 11, 2020 and

      acknowledged to me that he executed the same in his capacity, and that by his signature on the

      arbitration award, Rabbi Dovid Cohen executed the arbitration award.




                KORSINSKY
     MICHAEL                 York
                State of New
 Notary Public,
            02K06083965
        No.             County    PM
    Qualified in Kings
                     Nov. 25, 20
Commission  expires




                                                         4
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            EXHIBIT 2
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             gii

            HI
             SSS




              SS




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            515 51

                     1 1
                     Z.




             X33
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UNITED
UNITED STATES              DISTRICT COURT
              STATES DISTRICT             COURT
EASTERN
EASTERN DISTRICTDISTRICT OF     OF NEW
                                     NEW YORKYORK
----------------------------------------------------------------------x
                                                                      x
SHLOMO
SHLOMO YEHUDA  YEHUDA RECHNITZ,
                             RECHNITZ,                                    Docket No.
                                                                          Docket No. 20-cv-1607 (KAM)(VMS)
                                                                                     20-cv-1607 (KAM)(VMS)

                          Plaintiff,
                          Plaintiff,                                      DECLARATION OF
                                                                          DECLARATION OF
                                                                          EPHRAIM
                                                                          EPHRAIM KUTNER
                                                                                  KUTNER
                   -against-
                   -against-

EPHRAIM  KUTNER, JONATHAN
EPHRAIM KUTNER,  JONATHAN KUTNER
                          KUTNER
and
and GREYSTONE
    GREYSTONE FUNDING
              FUNDING CORP.,
                      CORP.,

                         Defendants.
                         Defendants.
----------------------------------------------------------------------x
                                                                      x
GREYSTONE
GREYSTONE FUNDING    FUNDING CORP.,  CORP.,

                          Counterclaimant/Cross-
                          Counterclaimant/Cross-
                          Claimant   and Third-Party
                          Claimant and   Third-Party
                          Plaintiff,
                          Plaintiff,

                  -against-
                  -against-

SHLOMO YEHUDA RECHNITZ,
SHLOMO YEHUDA RECHNITZ,

                          Counterclaim
                          Counterclaim Defendant,
                                       Defendant,

                  -and-
                  -and-

EPHRAIM KUTNER and
EPHRAIM KUTNER and JONATHAN
                   JONATHAN KUTNER,
                            KUTNER,

                          Cross-Claim
                          Cross-Claim Defendants,
                                      Defendants,

                  -and-
                  -and-

HARBORVIEW
HARBORVIEW CAPITAL   PARTNERS, LLC
             CAPITAL PARTNERS, LLC
and
and CLARITY
    CLARITY CAPITAL
            CAPITAL PARTNERS
                    PARTNERS LLC,
                             LLC,

                         Third-Party      Defendants.
                         Third-Party Defendants.
----------------------------------------------------------------------x
                                                                      x

             EPHRAIM
             EPHRAIM KUTNER,
                     KUTNER, declares
                             declares under the penalty
                                      under the         of perjury
                                                penalty of perjury the following to
                                                                   the following to

   be true
   be      and correct
      true and correct pursuant to 28
                       pursuant to 28 USC
                                      USC §§ 1746:
                                             1746:

             1.
             1.        II am
                          am an
                             an individual
                                individual defendant in this
                                           defendant in this matter.
                                                             matter.

             2.
             2.        II submit
                          submit this
                                 this declaration
                                      declaration in opposition to
                                                  in opposition to (i)
                                                                   (i) plaintiff’s application to
                                                                       plaintiffs application  to

   confirm an
   confirm    arbitration award
           an arbitration award dated March 11,
                                dated March 11, 2020, issued by
                                                2020, issued by Rabbi Dovid Cohen
                                                                Rabbi Dovid Cohen
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  and
  and plaintiff’s
      plaintiff's motion
                  motion for an order
                         for an order to
                                      to attachment
                                         attachment and
                                                    and (ii) in support
                                                        (ii) in support of
                                                                        of my and
                                                                           my and

  Jonathan Kutner's
  Jonathan Kutner’s cross-motion
                    cross-motion to
                                 to vacate
                                    vacate the arbitration award
                                           the arbitration award and        the ex
                                                                     vacate the
                                                                 and vacate     ex

  parte order
  parte order of
              of attachment.
                 attachment.

  Background
  Background of Kutner-Rechnitz Relationship
             of Kutner-Rechnitz Relationship

        3.
        3.       II have
                    have known
                         known petitioner-plaintiff,
                               petitioner-plaintiff, Shlomo
                                                     Shlomo Rechnitz, for at
                                                            Rechnitz, for at least
                                                                             least fifteen
                                                                                   fifteen

  years. II first
  years.    first met
                  met him while II was
                      him while    was working
                                       working as
                                               as a
                                                  a loan
                                                    loan originator
                                                         originator for
                                                                    for Greystone
                                                                        Greystone

  Funding
  Funding Corporation – an
          Corporation — an approved
                           approved HUD lender.
                                    HUD lender.

        4.
        4.       II worked
                    worked with
                           with Rechnitz
                                Rechnitz to secure financing
                                         to secure financing that facilitated Rechnitz’s
                                                             that facilitated Rechnitz's

  purchase of his
  purchase of his first
                  first nursing
                        nursing home.
                                home.

        5.
        5.       Over the
                 Over the years, we helped
                          years, we helped Rechnitz secure nearly
                                           Rechnitz secure nearly $1 billion in
                                                                  $1 billion in bank
                                                                                bank

  and HUD
  and     financing to
      HUD financing to acquire
                       acquire nursing
                               nursing homes
                                       homes throughout
                                             throughout the
                                                        the State of California.
                                                            State of California.

  Our relationship
  Our relationship expanded over time
                   expanded over      to include
                                 time to include more
                                                 more than
                                                      than just loans. Indeed,
                                                           just loans. Indeed,

  Rechnitz played
  Rechnitz        an instrumental
           played an instrumental role in my
                                  role in my decision
                                             decision to leave Greystone
                                                      to leave           and
                                                               Greystone and

  ultimately sue the
  ultimately sue the company for commissions
                     company for commissions II was owed.
                                                was owed.

  Rechnitz
  Rechnitz and
           and II Enter
                  Enter Into
                        Into a
                             a Joint
                               Joint Venture
                                     Venture to
                                             to Fund
                                                Fund the
                                                     the Greystone
                                                         Greystone Lawsuit
                                                                   Lawsuit

        6.
        6.       Rechnitz invested
                 Rechnitz          in my
                          invested in    lawsuit against
                                      my lawsuit against Greystone that was
                                                         Greystone that was pending
                                                                            pending

  in the Supreme
  in the Supreme Court of the
                 Court of the State of New
                              State of     York, Kutner
                                       New York, Kutner v.
                                                        v. Greystone
                                                           Greystone Funding
                                                                     Funding

  Corporation
  Corporation,, Index
                Index No. 652210/2013.
                      No. 652210/2013.

        7.
        7.       The terms
                 The terms of
                           of that investment were
                              that investment were reduced
                                                   reduced to writing. On
                                                           to writing. On December
                                                                          December

  24,
  24, 2014,
      2014, Grove-Let,
            Grove-Let, LLC, and entity
                       LLC, and        controlled by
                                entity controlled by Rechnitz,
                                                     Rechnitz, and
                                                               and II entered into a
                                                                      entered into a

  Strategic
  Strategic Legal
            Legal Partners Joint Venture
                  Partners Joint Venture Agreement.
                                         Agreement. (Exh. A) The
                                                    (Exh. A)     stated purpose
                                                             The stated         of
                                                                        purpose of




                                              2
                                              2
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  the venture was
  the venture was to
                  to "conduct
                     “conduct certain
                              certain business
                                      business activities,
                                               activities, including but not
                                                           including but     limited to
                                                                         not limited to

  lawsuit funding” and
  lawsuit funding" and activities incidental thereto.
                       activities incidental thereto.

          8.
          8.       Between January 1,
                   Between January 1, 2013 and December
                                      2013 and December 22,
                                                        22, 2014, the parties
                                                            2014, the parties to
                                                                              to the
                                                                                 the

  venture agreement
  venture agreement were
                    were me and Grove-Let;
                         me and Grove-Let; however, beginning on
                                           however, beginning on December
                                                                 December 24,
                                                                          24,

  2014,
  2014, II was
           was replaced by an
               replaced by an entity
                              entity II controlled,
                                        controlled, Strategic Legal Partners,
                                                    Strategic Legal Partners, LLC.
                                                                              LLC.

          9.
          9.       Rechnitz signed
                   Rechnitz signed the
                                   the agreement only as
                                       agreement only as managing
                                                         managing member of Grove-
                                                                  member of Grove-

  Let,
  Let, and
       and II signed
              signed twice: in my
                     twice: in    individual capacity
                               my individual capacity and
                                                      and as
                                                          as manager of Strategic
                                                             manager of Strategic Legal
                                                                                  Legal

  Partners.
  Partners.

          10.
          10.      Under the
                   Under     agreement, Grove-Let
                         the agreement, Grove-Let was
                                                  was required
                                                      required to “facilitate and/or
                                                               to "facilitate and/or

  make capital contributions
  make capital contributions to
                             to the Venture of
                                the Venture of cash
                                               cash in
                                                    in amounts
                                                       amounts sufficient
                                                               sufficient to
                                                                          to meet
                                                                             meet the
                                                                                  the

  ongoing legal
  ongoing legal fees of the
                fees of     Venture .. .. .. on
                        the Venture          on a capital call
                                                a capital call basis
                                                               basis as
                                                                     as directed by the
                                                                        directed by the

  Manager.” (Exh.
  Manager."       A, Section
            (Exh. A, Section 2(A)(a)).
                             2(A)(a)). II was
                                          was the only manager
                                              the only         of the
                                                       manager of                Id. at
                                                                      venture. ((Id.
                                                                  the venture.       at

  § 3).
  § 3).

          11.
          11.     My contribution
                  My contribution to
                                  to the venture was
                                     the venture     all of
                                                 was all of my “right, title
                                                            my "right,       and interest
                                                                       title and interest

  to
  to that certain cause
     that certain cause of
                        of action
                           action against
                                  against Greystone
                                          Greystone Funding
                                                    Funding Corporation.”   Id. at
                                                            Corporation." ((Id. at

  § 2(A)(b)).
  § 2(A)(b)).

          12.
          12.      Provided Rechnitz honored
                   Provided Rechnitz honored his obligation to
                                             his obligation to fund
                                                               fund the
                                                                    the lawsuit as II
                                                                        lawsuit as

  requested,
  requested, profits from the
             profits from     venture were
                          the venture were to be distributed
                                           to be             “first to
                                                 distributed "first to Grove in an
                                                                       Grove in an

  amount equal
  amount equal to
               to the
                  the Expenses,
                      Expenses, and thereafter, 30%
                                and thereafter,     to Grove
                                                30% to       and 70%
                                                       Grove and 70% to
                                                                     to [Kutner]”.
                                                                        [Kutner]".

  (Id. at
  (Id.    § 2(C)).
       at § 2(C)).

          13.
          13.      The venture agreement
                   The venture agreement states
                                         states that it shall
                                                that it shall only
                                                              only be
                                                                   be modified in a
                                                                      modified in a

  writing signed by
  writing signed by the
                    the party
                        party to be bound.
                              to be          Id. at
                                    bound. ((Id. at §
                                                    § 14(c)).
                                                      14(c)).



                                                3
                                                3
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  Rechnitz
  Rechnitz Invests in My
           Invests in My Mezzanine
                         Mezzanine Lending
                                   Lending Business
                                           Business

           14.
           14.    Upon leaving
                  Upon leaving Greystone,
                               Greystone, II started
                                             started my own businesses
                                                     my own businesses with
                                                                       with my brother
                                                                            my brother

  Jonathan: Harborview
  Jonathan: Harborview Capital
                       Capital Partners, which served
                               Partners, which served as
                                                      as a
                                                         a consultant for clients
                                                           consultant for clients

  seeking to
  seeking    obtain bridge
          to obtain bridge and
                           and HUD financing, and
                               HUD financing, and Harborview
                                                  Harborview Capital
                                                             Capital Funding,
                                                                     Funding,

  which served
  which served as
               as a
                  a mezzanine
                    mezzanine lender.
                              lender. Rechnitz loaned me
                                      Rechnitz loaned me and
                                                         and the consulting
                                                             the consulting

  business money
  business money to
                 to get started, 1 and
                    get started,1  and he
                                       he also
                                          also provided
                                               provided the capital for
                                                        the capital for the
                                                                        the mezzanine
                                                                            mezzanine

  loans.
  loans.

           15.
           15.    For the mezzanine
                  For the mezzanine loans,
                                    loans, we
                                           we would send a
                                              would send   summary of
                                                         a summary of the
                                                                      the proposed
                                                                          proposed

  borrower’s business
  borrower's business and
                      and qualifications
                          qualifications and the loan
                                         and the loan terms
                                                      terms to
                                                            to Rechnitz for his
                                                               Rechnitz for his

  review.
  review. If
          If he
             he approved
                approved the
                         the terms of the
                             terms of the deal,
                                          deal, Rechnitz would fund
                                                Rechnitz would fund the loan.
                                                                    the loan.

  Harborview
  Harborview Capital would earn
             Capital would earn an origination fee
                                an origination fee at
                                                   at closing
                                                      closing and
                                                              and thereafter collect
                                                                  thereafter collect

  all interest
  all interest payments and the
               payments and the balloon
                                balloon payment
                                        payment for the principal.
                                                for the principal. Harborview
                                                                   Harborview

  Capital would then
  Capital would then forward
                     forward the
                             the principal
                                 principal to
                                           to Rechnitz.
                                              Rechnitz.

           16.
           16.    Rechnitz is
                  Rechnitz    fond of
                           is fond of publicly stating that
                                      publicly stating that he
                                                            he does
                                                               does not charge interest
                                                                    not charge interest for
                                                                                        for

  loans
  loans he
        he makes.
           makes. But
                  But he
                      he does
                         does earn a return
                              earn a        in other
                                     return in other ways.
                                                     ways. His “fee” for
                                                           His "fee" for providing
                                                                         providing

  the
  the loan was one
      loan was one half of the
                   half of     consulting fee
                           the consulting fee Harborview
                                              Harborview Capital
                                                         Capital earned once the
                                                                 earned once the

  mezzanine loan was
  mezzanine loan was replaced with HUD
                     replaced with HUD financing.
                                       financing. Harborview
                                                  Harborview Capital would keep
                                                             Capital would keep

  the other half
  the other      of the
            half of the consulting
                        consulting fee
                                   fee along with the
                                       along with the interest
                                                      interest on
                                                               on the loan (less
                                                                  the loan (less amounts
                                                                                 amounts

  owed to
  owed    other loan
       to other loan participants).
                     participants).

           17.
           17.    This agreement
                  This agreement was
                                 was never
                                     never reduced
                                           reduced to writing.
                                                   to writing.




     These loans
  11 These       have since
           loans have since been
                            been re-paid in full.
                                 re-paid in full.

                                                     4
                                                     4
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        18.
        18.    In total,
               In total, Rechnitz
                         Rechnitz funded
                                  funded eight
                                         eight loans,
                                               loans, totaling
                                                      totaling $11.5
                                                               $11.5 million in
                                                                     million in

  principal. Today, $3.9
  principal. Today, $3.9 million of those
                         million of those loans
                                          loans have been repaid
                                                have been        to Rechnitz,
                                                          repaid to Rechnitz, and the
                                                                              and the

  remainder
  remainder are
            are either
                either not
                       not yet
                           yet due or are
                               due or     in default.
                                      are in default.

  Rechnitz Attempts to
  Rechnitz Attempts to Extort Me for
                       Extort Me for Millions
                                     Millions of
                                              of Dollars
                                                 Dollars

        19.
        19.    In the
               In the fall
                      fall of
                           of 2017,
                              2017, Harborview’s consulting business,
                                    Harborview's consulting business, Harborview
                                                                      Harborview

  Capital
  Capital Partners, closed on
          Partners, closed on an
                              an approximately
                                 approximately $200
                                               $200 million
                                                    million portfolio of Rechnitz’s
                                                            portfolio of Rechnitz's

  nursing
  nursing homes.
          homes.

        20.
        20.    Rechnitz’s chief
               Rechnitz's chief financial officer, David
                                financial officer, David Weldler,
                                                         Weldler, told
                                                                  told me
                                                                       me that
                                                                          that Rechnitz
                                                                               Rechnitz

  “went beserk"
  "went beserk” and “off the
                and "off the deep
                             deep end” when he
                                  end" when    learned how
                                            he learned how much
                                                           much Harborview
                                                                Harborview

  Capital
  Capital Partners
          Partners earned on that
                   earned on that transaction.
                                  transaction.

        21.
        21.    Rechnitz thereafter
               Rechnitz thereafter demanded
                                   demanded that we kick
                                            that we      back a
                                                    kick back a portion of the
                                                                portion of     fee
                                                                           the fee

  we
  we earned on the
     earned on the transaction
                   transaction to
                               to him – which
                                  him — which is
                                              is prohibited by HUD
                                                 prohibited by HUD guidelines.
                                                                   guidelines.

        22.
        22.    When II refused
               When            to give
                       refused to give him a prohibited
                                       him a prohibited kickback,
                                                        kickback, Rechnitz sent me
                                                                  Rechnitz sent me an
                                                                                   an

  email on February
  email on February 25,
                    25, 2018, threatening to
                        2018, threatening to tell
                                             tell everyone “who fucked
                                                  everyone "who fucked who” and
                                                                       who" and

  promising
  promising to
            to do “EVERYTHING in
               do "EVERYTHING in [his]
                                 [his] power,
                                       power, within
                                              within [his]
                                                     [his] legal
                                                           legal rights,
                                                                 rights, to
                                                                         to expose
                                                                            expose

  who [I
  who    am] to
      [I am] to not only every
                not only every person
                               person [he
                                      [he knew], but also
                                          knew], but also to
                                                          to everybody
                                                             everybody who
                                                                       who [knew
                                                                           [knew

  him]”
  him]" unless
        unless II capitulated
                  capitulated to
                              to his various demands,
                                 his various          which included
                                             demands, which included repaying
                                                                     repaying him
                                                                              him

  immediately all
  immediately all the
                  the money
                      money he
                            he had loaned me
                               had loaned    and my
                                          me and    businesses. Rechnitz
                                                 my businesses. Rechnitz

  promised that "[w]hatever
  promised that “[w]hatever the
                            the fall out will
                                fall out will be
                                              be (and it will
                                                 (and it will be
                                                              be fast)"
                                                                 fast)” from
                                                                        from his
                                                                             his

  campaign against
  campaign against me “will put
                   me "will     [me] right
                            put [me]       back in
                                     right back in the
                                                   the gutter with the
                                                       gutter with     shitty name
                                                                   the shitty name

  and reputation
  and reputation you
                 you deserve.
                     deserve. II will
                                 will not let you
                                      not let     out of
                                              you out of my
                                                         my mind
                                                            mind every
                                                                 every morning
                                                                       morning till
                                                                               till II

  feel that
  feel that everyone
            everyone knows
                     knows who you are."
                           who you are.” Rechnitz
                                         Rechnitz concludes
                                                  concludes his
                                                            his email by stating
                                                                email by stating



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                                             5
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  “[y]ou’re the
  "[ylou're the first
                first person
                      person ever
                             ever to
                                  to take
                                     take me over the
                                          me over the barrel,
                                                      barrel, and
                                                              and boy
                                                                  boy are
                                                                      are you
                                                                          you going
                                                                              going to
                                                                                    to

  feel it.” (Exh.
  feel it." (Exh. B)
                  B)

         23.
         23.    II was taken aback
                   was taken aback by
                                   by Rechnitz’s
                                      Rechnitz's email because Jewish
                                                 email because Jewish law (as well
                                                                      law (as well as
                                                                                   as

  New York and
  New York and federal law) prohibits
               federal law)           Jews from
                            prohibits Jews      blackmailing each
                                           from blackmailing      other.
                                                             each other.

         24.
         24.    My brother
                My brother and
                           and II raised this email
                                  raised this       with Rabbi
                                              email with Rabbi Cohen, who knew
                                                               Cohen, who knew

  Rechnitz’s father. Rabbi
  Rechnitz's father. Rabbi Cohen
                           Cohen told
                                 told us
                                      us to bring Rechnitz
                                         to bring          to him
                                                  Rechnitz to     so that
                                                              him so that he could
                                                                          he could

  chastise
  chastise him
           him for attempting to
               for attempting to extort
                                 extort us.
                                        us.

  The Arbitration Agreement
  The Arbitration Agreement

         25.
         25.    That is
                That is why
                        why my brother and
                            my brother and II appeared
                                              appeared before
                                                       before Rabbi
                                                              Rabbi Cohen on August
                                                                    Cohen on August

  14, 2018.
  14,       We met
      2018. We met in
                   in the
                      the dining
                          dining room of the
                                 room of the Rabbi’s
                                             Rabbi's house in Brooklyn.
                                                     house in           My brother
                                                              Brooklyn. My brother

  and
  and II were
         were there
              there alone;
                    alone; however,
                           however, Rechnitz appeared with
                                    Rechnitz appeared with his chief financial
                                                           his chief           officer,
                                                                     financial officer,

  David Weldler. We
  David Weldler. We were
                    were not aware that
                         not aware      Mr. Weldler
                                   that Mr. Weldler would
                                                    would be
                                                          be attending, and
                                                             attending, and

  certainly
  certainly had
            had no
                no reason
                   reason to
                          to expect
                             expect his
                                    his presence
                                        presence given our understanding
                                                 given our               of the
                                                           understanding of the

  limited
  limited purpose of the
          purpose of the meeting.
                         meeting. We therefore objected
                                  We therefore objected to
                                                        to WeIdler's
                                                           Weldler’s presence, but
                                                                     presence, but

  Rechnitz
  Rechnitz insisted
           insisted that
                    that he
                         he remain.
                            remain.

         26.
         26.   As the
               As the meeting
                      meeting unfolded, Weldler raised
                              unfolded, Weldler        the mezzanine
                                                raised the mezzanine lending
                                                                     lending

  business with
  business with the Rabbi. Apparently,
                the Rabbi. Apparently, Rechnitz was no
                                       Rechnitz was    longer satisfied
                                                    no longer satisfied with
                                                                        with the
                                                                             the

  terms we had
  terms we     agreed to
           had agreed    and now
                      to and     wanted to
                             now wanted to own
                                           own half of the
                                               half of     company. As
                                                       the company. As a
                                                                       a 50%
                                                                         50%

  owner, Rechnitz
  owner,          would share
         Rechnitz would share in
                              in the origination fee
                                 the origination     and interest
                                                 fee and interest earned by
                                                                  earned by

  Harborview
  Harborview Capital in addition
             Capital in addition to
                                 to the consulting fee.
                                    the consulting fee.




                                              6
                                              6
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        27.
        27.    My brother
               My brother and
                          and II objected
                                 objected to
                                          to Rechnitz changing the
                                             Rechnitz changing the terms of our
                                                                   terms of our

  agreement
  agreement and seeking to
            and seeking to gain an ownership
                           gain an ownership interest
                                             interest in
                                                      in the
                                                         the mezzanine lending
                                                             mezzanine lending

  business.
  business.

        28.
        28.    Rechnitz insisted
               Rechnitz insisted that
                                 that Rabbi
                                      Rabbi Cohen
                                            Cohen arbitrate
                                                  arbitrate his
                                                            his entitlement
                                                                entitlement to
                                                                            to an
                                                                               an

  ownership interest
  ownership interest in
                     in the
                        the mezzanine lending business,
                            mezzanine lending business, Harborview
                                                        Harborview Capital
                                                                   Capital

  Funding.
  Funding.

        29.
        29.    My brother
               My brother and
                          and II were
                                 were presented with a
                                      presented with a handwritten
                                                       handwritten document to sign
                                                                   document to sign

  obligating us
  obligating    to arbitrate
             us to           before Rabbi
                   arbitrate before Rabbi Cohen.
                                          Cohen. That
                                                 That agreement is dated
                                                      agreement is       August 14,
                                                                   dated August 14,

  2018, and
  2018, and is attached as
            is attached as Exhibit
                           Exhibit 2
                                   2 to
                                     to the
                                        the petition-complaint.
                                            petition-complaint.

        30.
        30.    That agreement
               That agreement states
                              states that “Rechnitz .. .. .. on
                                     that "Rechnitz          on his own, and
                                                                his own,     as a
                                                                         and as a partner
                                                                                  partner

  in
  in Harborview
     Harborview Capital
                Capital LLC and Jonathan
                        LLC and Jonathan and
                                         and Ephraim Kutner .. .. .. on
                                             Ephraim Kutner          on their
                                                                        their own,
                                                                              own,

  and as partners
  and as          in the
         partners in     above company,
                     the above company, have
                                        have come
                                             come to
                                                  to me
                                                     me to adjudicate a
                                                        to adjudicate a dispute
                                                                        dispute..

  They
  They have agreed to
       have agreed    accept my
                   to accept my decision.”
                                decision." (emphasis
                                           (emphasis added).
                                                     added).

        31.
        31.    During the
               During the meeting in Rabbi
                          meeting in Rabbi Cohen’s
                                           Cohen's dining
                                                   dining room, Weldler read
                                                          room, Weldler      some
                                                                        read some

  figures off the
  figures off the documents
                  documents that
                            that he
                                 he had brought with
                                    had brought with him, but no
                                                     him, but no documents were
                                                                 documents were

  provided
  provided to
           to Rabbi
              Rabbi Cohen to review.
                    Cohen to review.

        32.
        32.    We were
               We were admittedly
                       admittedly unprepared
                                  unprepared for this discussion,
                                             for this             as we
                                                      discussion, as we did
                                                                        did not
                                                                            not

  know when we
  know when    appeared on
            we appeared on August
                           August 14
                                  14 that the mezzanine
                                     that the           lending business
                                              mezzanine lending business would
                                                                         would

  be
  be presented
     presented to
               to Rabbi
                  Rabbi Cohen
                        Cohen that
                              that day. The only
                                   day. The only topic
                                                 topic we
                                                       we thought was being
                                                          thought was being

  discussed
  discussed was
            was Rechnitz’s blackmail email.
                Rechnitz's blackmail email.

        33.
        33.    At the
               At the conclusion,
                      conclusion, Rabbi
                                  Rabbi Cohen
                                        Cohen ruled
                                              ruled that
                                                    that the
                                                         the mezzanine loans should
                                                             mezzanine loans should

  be
  be repaid by the
     repaid by the borrowers
                   borrowers directly
                             directly to
                                      to Rechnitz and that
                                         Rechnitz and that we should provide
                                                           we should         Victor
                                                                     provide Victor



                                             7
                                             7
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  (Yaakov) Lupnitzky, a
  (Yaakov) Lupnitzky, a forensic
                        forensic accountant,
                                 accountant, with all of
                                             with all of the books and
                                                         the books and records of the
                                                                       records of the

  mezzanine lending business.
  mezzanine lending business.

        34.
        34.      Following
                 Following the August 14
                           the August 14 meeting, we instructed
                                         meeting, we instructed our
                                                                our Rabbi, Yochanan
                                                                    Rabbi, Yochanan

  Bechhofer, to request
  Bechhofer, to         additional hearing
                request additional hearing dates so that
                                           dates so that we
                                                         we could
                                                            could present all of
                                                                  present all of our
                                                                                 our

  evidence
  evidence and fly in
           and fly in witnesses
                      witnesses to
                                to give
                                   give testimony.
                                        testimony. (Petition/Complaint – Exh.
                                                   (Petition/Complaint — Exh. 3).
                                                                              3).

        35.
        35.      In response,
                 In           Rabbi Cohen
                    response, Rabbi       wrote that
                                    Cohen wrote that he
                                                     he had “already assured
                                                        had "already assured the
                                                                             the

  Kutners that
  Kutners      we shall
          that we shall all
                        all get
                            get together before a
                                together before a final
                                                  final decision is rendered.”
                                                        decision is rendered."

  (Petition/Complaint —
  (Petition/Complaint – Exh.
                        Exh. 4).
                             4). But that is
                                 But that is not what happened
                                             not what          at all.
                                                      happened at all. No
                                                                       No additional
                                                                          additional

  hearings
  hearings were
           were ever
                ever held. We were
                     held. We were never
                                   never given
                                         given an opportunity to
                                               an opportunity to present
                                                                 present

  documentary
  documentary evidence or present
              evidence or present witnesses before Rabbi
                                  witnesses before Rabbi Cohen
                                                         Cohen issued
                                                               issued his
                                                                      his ruling on
                                                                          ruling on

  November
  November 5,
           5, 2018.
              2018.

  All Subsequent
  All Subsequent Correspondence
                 Correspondence with
                                with Rabbi
                                     Rabbi Cohen
                                           Cohen
  Focused
  Focused on
          on the Mezzanine Lending
             the Mezzanine Lending Business
                                   Business

        36.
        36.      In the
                 In the days
                        days and weeks following
                             and weeks following the August 14
                                                 the August 14 meeting, all
                                                               meeting, all

  correspondence from Rechnitz
  correspondence from Rechnitz to
                               to Rabbi
                                  Rabbi Cohen
                                        Cohen focused only on
                                              focused only on the
                                                              the mezzanine
                                                                  mezzanine loans
                                                                            loans

  that
  that were
       were discussed
            discussed with
                      with Rabbi
                           Rabbi Cohen.
                                 Cohen. For
                                        For example, on August
                                            example, on August 20,
                                                               20, just
                                                                   just two
                                                                        two days
                                                                            days

  after appearing before
  after appearing before Rabbi
                         Rabbi Cohen, Weldler requested
                               Cohen, Welder  requested a
                                                        a modification of the
                                                          modification of the Rabbi’s
                                                                              Rabbi's

  “pesak,” which
  "pesak," which directed
                 directed the Kutners to
                          the Kutners    instruct the
                                      to instruct the mezzanine borrowers to
                                                      mezzanine borrowers to repay
                                                                             repay

  the
  the loans
      loans directly to a
            directly to a Rechnitz
                          Rechnitz entity,
                                   entity, to also include
                                           to also include a
                                                           a prohibition
                                                             prohibition preventing
                                                                         preventing the
                                                                                    the

  Kutners
  Kutners from sending a
          from sending a subsequent
                         subsequent letter altering or
                                    letter altering or withdrawing
                                                       withdrawing that
                                                                   that direction.
                                                                        direction.

  (Exh.
  (Exh. C)
        C)

        37.
        37.      On
                 On October
                    October 4,
                            4, 2018, Weldler again
                               2018, Weldler       wrote to
                                             again wrote to Rabbi
                                                            Rabbi Cohen on behalf
                                                                  Cohen on behalf of
                                                                                  of

  Rechnitz
  Rechnitz as follows: "In
           as follows: “In as
                           as much
                              much as
                                   as we
                                      we have
                                         have heard
                                              heard nothing
                                                    nothing from
                                                            from Efraim Kutner
                                                                 Efraim Kutner

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  with
  with regard
       regard to
              to the
                 the PSAK of Rabbi
                     PSAK of Rabbi Cohen, as it
                                   Cohen, as it related
                                                related to: 1) drafting
                                                        to: 1)          and executing
                                                               drafting and executing

  documents instructing the
  documents instructing the mezzanine borrowers to
                            mezzanine borrowers to repay
                                                   repay the outstanding loans,
                                                         the outstanding loans,

  when
  when due,
       due, directly to a
            directly to a Rechnitz owned entity[,]
                          Rechnitz owned entity[,] 2)
                                                   2) providing financial statements[,]
                                                      providing financial statements[,]

  3)
  3) providing information to
     providing information    the forensic
                           to the          accountant (to
                                  forensic accountant (to the best of
                                                          the best of my
                                                                      my knowledge
                                                                         knowledge

  this
  this has
       has not been done)[.]
           not been done)[.] Please suggest the
                             Please suggest the next steps we
                                                next steps    should take
                                                           we should take to
                                                                          to enforce
                                                                             enforce

  the
  the existing
      existing PSAK. It has
               PSAK. It     been suggested
                        has been suggested that
                                           that we
                                                we hire an attorney
                                                   hire an attorney to
                                                                    to present
                                                                       present the
                                                                               the

  binding arbitration
  binding arbitration ruling
                      ruling to
                             to a court for
                                a court for enforcement.”
                                            enforcement." (Exh. D)
                                                          (Exh. D)

        38.
        38.    A few
               A few weeks later, Weldler
                     weeks later, Weldler again
                                          again wrote
                                                wrote to
                                                      to Rabbi
                                                         Rabbi Cohen on behalf
                                                               Cohen on behalf of
                                                                               of

  Rechnitz
  Rechnitz and
           and requested
               requested that
                         that the
                              the Rabbi “issue a
                                  Rabbi "issue a final
                                                 final written
                                                       written award
                                                               award concerning
                                                                     concerning the
                                                                                the

  dispute between Mr.
  dispute between Mr. Rechnitz
                      Rechnitz and
                               and Ephraim and Jonathan
                                   Ephraim and Jonathan Kutner
                                                        Kutner relating
                                                               relating to
                                                                        to

  certain
  certain mezzanine loans that
          mezzanine loans that Mr.
                               Mr. Rechnitz funded (“Mezzanine
                                   Rechnitz funded ("Mezzanine Loans”).”
                                                               Loans")." (Exh.
                                                                         (Exh. E)
                                                                               E)

  In this correspondence,
  In this correspondence, Welder
                          Weldler summarized
                                  summarized the
                                             the events of the
                                                 events of the August
                                                               August 14,
                                                                      14, 2018
                                                                          2018

  arbitration as follows:
  arbitration as          “the Rav
                 follows: "the Rav ruled, among other
                                   ruled, among other things, that the
                                                      things, that the Kutners and
                                                                       Kutners and

  the
  the entities
      entities they control must
               they control must direct the Mezzanine
                                 direct the Mezzanine Loans borrowers to
                                                      Loans borrowers to make
                                                                         make

  payments
  payments directly to Mr.
           directly to Mr. Rechnitz, with the
                           Rechnitz, with     interest payments
                                          the interest payments to be held
                                                                to be      in escrow
                                                                      held in escrow

  until Mr. Rechnitz
  until Mr.          is repaid
            Rechnitz is        in full,
                        repaid in full, and
                                        and to inform the
                                            to inform     Mezzanine Loans
                                                      the Mezzanine       borrowers
                                                                    Loans borrowers

  that Mr. Rechnitz
  that Mr.          or his
           Rechnitz or     agent is
                       his agent is authorized
                                    authorized to
                                               to act on behalf
                                                  act on behalf of
                                                                of the
                                                                   the lender
                                                                       lender of
                                                                              of the
                                                                                 the

  Mezzanine Loans.”
  Mezzanine         Weldler included
            Loans." Welder  included with
                                     with that
                                          that email a proposed
                                               email a          arbitration award
                                                       proposed arbitration award

  for
  for Rabbi
      Rabbi Cohen
            Cohen to
                  to execute.
                     execute. (Exh.
                              (Exh. F)
                                    F)

        39.
        39.    Weldler subsequently
               Weldler subsequently sent
                                    sent a
                                         a revised
                                           revised proposed award on
                                                   proposed award on October
                                                                     October 29,
                                                                             29,

  2018.
  2018. (Exh.
        (Exh. G)
              G)




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          40.
          40.     In
                  In response
                     response to
                              to that second proposed
                                 that second          order, we
                                             proposed order, we objected
                                                                objected to the issuance
                                                                         to the issuance

   of any
   of any order
          order without
                without a
                        a new
                          new hearing
                              hearing date at which
                                      date at which they could present
                                                    they could         witnesses and
                                                               present witnesses and

   documentary
   documentary evidence – just
               evidence —      as Rabbi
                          just as Rabbi Cohen “assured” us
                                        Cohen "assured"    would happen.
                                                        us would happen. (Exh.
                                                                         (Exh. H)
                                                                               H)

          41.
          41.     But
                  But Rechnitz objected to
                      Rechnitz objected to any continued hearing.
                                           any continued hearing. In
                                                                  In another
                                                                     another

   correspondence from Weldler
   correspondence from Weldler on
                               on November 1, 2018,
                                  November 1, 2018, Rechnitz claimed that
                                                    Rechnitz claimed      “Rabbi
                                                                     that "Rabbi

   Cohen
   Cohen already
         already heard testimony and
                 heard testimony and ruled based upon
                                     ruled based upon the testimony that
                                                      the testimony that was
                                                                         was

   presented at the
   presented at the hearing
                    hearing that Mr. Rechnitz
                            that Mr. Rechnitz is owed $8,967,750,
                                              is owed             which represented
                                                      $8,967,750, which represented

   the
   the principal balance of
       principal balance of the
                            the mezzanine loans at
                                mezzanine loans at the
                                                   the time of the
                                                       time of the hearing.”
                                                                   hearing." (Exh.
                                                                             (Exh. I).
                                                                                   I).22

          42.
          42.     On
                  On November
                     November 5,
                              5, 2018,
                                 2018, Rabbi
                                       Rabbi Cohen
                                             Cohen issued
                                                   issued his
                                                          his written
                                                              written decision on the
                                                                      decision on the

   mezzanine loan dispute,
   mezzanine loan dispute, without
                           without ever
                                   ever reconvening the parties
                                        reconvening the parties and accepting
                                                                and accepting

   additional
   additional evidence
              evidence from
                       from us as he
                            us as he promised
                                     promised he
                                              he would.
                                                 would. (Exh. J).
                                                        (Exh. J).

          43.
          43.     This
                  This decision was nearly
                       decision was        a verbatim
                                    nearly a verbatim duplicate of the
                                                      duplicate of the proposed order
                                                                       proposed order

   sent by
   sent by Rechnitz.
           Rechnitz. The
                     The only
                         only changes
                              changes were
                                      were a
                                           a misspelling of Kutner's
                                             misspelling of Kutner’s name on page
                                                                     name on      1
                                                                             page 1

   and
   and the addition of
       the addition of a
                       a notary block. Substantively,
                         notary block. Substantively, the
                                                      the Rabbi adopted in
                                                          Rabbi adopted in whole
                                                                           whole cloth
                                                                                 cloth

   the conclusions advanced
   the conclusions          by Rechnitz.
                   advanced by             Compare Exh.
                               Rechnitz. ((Compare Exh. G
                                                        G to
                                                          to Exh. J).
                                                             Exh. J).

          44.
          44.     In the
                  In the order,
                         order, Rabbi
                                Rabbi Cohen
                                      Cohen ruled
                                            ruled that all principal
                                                  that all           and interest
                                                           principal and interest

   payments should be
   payments should be paid by the
                      paid by     borrowers directly
                              the borrowers directly into accounts controlled
                                                     into accounts controlled by
                                                                              by

   Rechnitz.
   Rechnitz.

          45.
          45.     While the
                  While the order
                            order concludes
                                  concludes that
                                            that Rabbi
                                                 Rabbi Cohen
                                                       Cohen retains
                                                             retains jurisdiction
                                                                     jurisdiction

   “concerning the
   "concerning     other business
               the other business disputes between the
                                  disputes between the parties,”
                                                       parties," it
                                                                 it does
                                                                    does not identify
                                                                         not identify

   what those
   what       other disputes
        those other          were or
                    disputes were or related
                                     related to.
                                             to.



   2 We do
   2 We do not
           not agree with this
               agree with this description
                               description of
                                           of Rabbi
                                              Rabbi Cohen’s
                                                    Cohen's ruling on August
                                                            ruling on August 14.
                                                                             14.

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          46.
          46.    But we never
                 But we       agreed to
                        never agreed    arbitrate multiple
                                     to arbitrate multiple disputes with Rechnitz.
                                                           disputes with Rechnitz. The
                                                                                   The

   arbitration agreement is
   arbitration agreement is very
                            very clear
                                 clear that
                                       that that
                                            that the
                                                 the parties
                                                     parties agreed to arbitrate
                                                             agreed to           a single
                                                                       arbitrate a single

   “dispute” —
   "dispute" – not
               not disputes as Rechnitz
                   disputes as Rechnitz now claims.
                                        now claims.

          47.
          47.    The only
                 The only dispute
                          dispute that we agreed
                                  that we agreed to
                                                 to arbitrate on August
                                                    arbitrate on August 14,
                                                                        14, 2018,
                                                                            2018,

   related
   related to the mezzanine
           to the mezzanine lending business, and
                            lending business, and Rabbi
                                                  Rabbi Cohen issued his
                                                        Cohen issued his decision on
                                                                         decision on

   that
   that dispute in the
        dispute in the November
                       November 5 award.
                                5 award.

   The
   The Greystone
       Greystone Lawsuit
                 Lawsuit Settled
                         Settled

          48.
          48.    In May 2019,
                 In May 2019, II finally
                                 finally settled
                                         settled the lawsuit against
                                                 the lawsuit against Greystone after
                                                                     Greystone after

   nearly six years
   nearly six       of litigating.
              years of litigating.

          49.
          49.    The terms of
                 The terms of that settlement are
                              that settlement are confidential.
                                                  confidential.

          50.
          50.    Rechnitz
                 Rechnitz was intimately involved
                          was intimately involved in
                                                  in the settlement negotiations.
                                                     the settlement negotiations. He
                                                                                  He

   came to New
   came to     York on
           New York on April
                       April 11,
                             11, 2019,
                                 2019, to attend a
                                       to attend a meeting we had
                                                   meeting we     with Steve
                                                              had with Steve

   Rosenberg,
   Rosenberg, the
              the principal owner of
                  principal owner of Greystone.
                                     Greystone. Rechnitz led the
                                                Rechnitz led the negotiations.
                                                                 negotiations.

          51.
          51.    The only reason
                 The only        we agreed
                          reason we agreed to
                                           to the settlement sum
                                              the settlement sum obtained
                                                                 obtained by
                                                                          by Rechnitz
                                                                             Rechnitz

   is because he
   is because he had
                 had agreed
                     agreed to
                            to amend
                               amend the
                                     the joint venture agreement
                                         joint venture agreement and
                                                                 and limit
                                                                     limit his share
                                                                           his share

   of the
   of the proceeds
          proceeds to a flat
                   to a flat fee of $3
                             fee of $3 million.
                                       million.

          52.
          52.    My brother
                 My brother and
                            and II made clear to
                                   made clear to Rechnitz
                                                 Rechnitz that we did
                                                          that we did not
                                                                      not have
                                                                          have $3
                                                                               $3

   million available to
   million available to pay
                        pay Rechnitz in one
                            Rechnitz in one lump sum, so
                                            lump sum, so his share necessarily
                                                         his share necessarily had
                                                                               had to
                                                                                   to

   come out of
   come out of the settlement installment
               the settlement installment payments
                                          payments that
                                                   that Rechnitz
                                                        Rechnitz himself
                                                                 himself proposed.
                                                                         proposed.

          53.
          53.    In July
                 In July 2019,
                         2019, Weldler
                               Weldler sent
                                       sent us a proposed
                                            us a          settlement agreement
                                                 proposed settlement agreement in
                                                                               in

   which he
   which he proposed that all
            proposed that all monthly
                              monthly payments be first
                                      payments be first allocated
                                                        allocated to
                                                                  to Rechnitz’s
                                                                     Rechnitz's $3
                                                                                $3




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   million worth of
   million worth of principal and subsequent
                    principal and subsequent payments split one-third
                                             payments split one-third to Rechnitz and
                                                                      to Rechnitz and

   two-thirds
   two-thirds to
              to me and Jonathan.
                 me and Jonathan. (Exh. K)
                                  (Exh. K)

         54.
         54.      This
                  This proposed settlement also
                       proposed settlement      addressed ongoing
                                           also addressed ongoing aspects
                                                                  aspects of
                                                                          of the
                                                                             the

   mezzanine lending business.
   mezzanine lending business.

         55.
         55.      But
                  But this
                      this proposal was never
                           proposal was       accepted or
                                        never accepted or finalized.
                                                          finalized.

   Rechnitz
   Rechnitz Demands
            Demands that Rabbi Cohen
                    that Rabbi Cohen Rule
                                     Rule on
                                          on the
                                             the Greystone Litigation Investment
                                                 Greystone Litigation Investment

         56.
         56.      On
                  On February
                     February 27,
                              27, 2020, Rechnitz, writing
                                  2020, Rechnitz, writing through
                                                          through his
                                                                  his representative
                                                                      representative

    Weldler, requested
    WeIdler, requested that
                       that Rabbi
                            Rabbi Cohen
                                  Cohen reconvene
                                        reconvene the
                                                  the parties to pass
                                                      parties to      on all
                                                                 pass on all

    remaining issues that
    remaining issues that he
                          he had been asked
                             had been asked to arbitrate. (Exh.
                                            to arbitrate. (Exh. L). Weldler attached
                                                                L). Welder  attached

    to that email
    to that       a list
            email a      of the
                    list of     supposed items
                            the supposed items that
                                               that he claimed had
                                                    he claimed     been provided
                                                               had been provided to
                                                                                 to

    Rabbi
    Rabbi Cohen
          Cohen at
                at the start of
                   the start of the
                                the arbitration,
                                    arbitration, which included the
                                                 which included the Greystone litigation
                                                                    Greystone litigation

    investment.
    investment.

         57.
         57.      II had
                     had never seen this
                         never seen this list before Weldler's
                                         list before Weldler’s February
                                                               February 27
                                                                        27 email.
                                                                           email.

         58.
         58.      The
                  The document itself proves
                      document itself proves that it could
                                             that it could not
                                                           not have been given
                                                               have been given to
                                                                               to Rabbi
                                                                                  Rabbi

    Cohen at the
    Cohen at     start of
             the start of the
                          the proceedings on August
                              proceedings on August 14
                                                    14 as Weldler claimed.
                                                       as Welder  claimed. The
                                                                           The

    document information shows
    document information shows that it was
                               that it     created on
                                       was created on August
                                                      August 20,
                                                             20, 2018 – six
                                                                 2018 — six days
                                                                            days

    after the
    after     arbitration agreement
          the arbitration           was signed.
                          agreement was           See Exh.
                                        signed. ((See      M (a
                                                      Exh. M    copy of
                                                             (a copy of the
                                                                        the email and
                                                                            email and

    attachment in
    attachment in native format will
                  native format      be provided
                                will be provided to
                                                 to the
                                                    the Court
                                                        Court upon
                                                              upon request)).
                                                                   request)).

         59.
         59.      Nevertheless, on February
                  Nevertheless, on February 20,
                                            20, 2020,
                                                2020, Rabbi
                                                      Rabbi Cohen
                                                            Cohen directed
                                                                  directed the
                                                                           the parties
                                                                               parties

    to appear before
    to appear before him “to complete
                     him "to complete the
                                      the arbitration” on March
                                          arbitration" on March 1,
                                                                1, 2020, at 4:00
                                                                   2020, at 4:00 p.m.
                                                                                 p.m.

    (Exh.
    (Exh. N).
          N).




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         60.
         60.    We objected to
                We objected to the
                               the hearing before Rabbi
                                   hearing before Rabbi Cohen, as we
                                                        Cohen, as we had
                                                                     had not
                                                                         not agreed
                                                                             agreed

    to arbitrate any
    to arbitrate any dispute other than
                     dispute other than the
                                        the mezzanine loans before
                                            mezzanine loans before him
                                                                   him and in our
                                                                       and in our

    opinion we
    opinion we had
               had no
                   no disputes with Rechnitz
                      disputes with          at the
                                    Rechnitz at the time because we
                                                    time because we had
                                                                    had previously
                                                                        previously

    resolved all of
    resolved all of our
                    our issues.
                        issues. Nor would we
                                Nor would we have agreed at
                                             have agreed at that
                                                            that time
                                                                 time to arbitrate
                                                                      to arbitrate

    anything else
    anything      before him
             else before     after he
                         him after he failed to schedule
                                      failed to schedule the
                                                         the continued
                                                             continued hearing on the
                                                                       hearing on the

    mezzanine loans as
    mezzanine loans as promised and adopted
                       promised and adopted Rechnitz’s
                                            Rechnitz's proposed
                                                       proposed arbitration award
                                                                arbitration award

    without a
    without   single substantive
            a single substantive alteration.
                                 alteration.

         61.
         61.    On March 9,
                On March    Weldler again
                         9, Welder  again wrote
                                          wrote to
                                                to Rabbi
                                                   Rabbi Cohen
                                                         Cohen requesting that the
                                                               requesting that the

    Rabbi issue yet
    Rabbi issue yet another written award
                    another written       concerning the
                                    award concerning the mezzanine loan dispute
                                                         mezzanine loan         as
                                                                        dispute as

    well as
    well as the
            the proceeds
                proceeds from
                         from the
                              the Greystone settlement. (Exh.
                                  Greystone settlement. (Exh. O)
                                                              0) Once again, Welder
                                                                 Once again, Weldler

    provided a draft
    provided a       arbitration award
               draft arbitration award Rechnitz
                                       Rechnitz wanted
                                                wanted the
                                                       the Rabbi
                                                           Rabbi to sign. (Exh.
                                                                 to sign. (Exh. P)
                                                                                P)

         62.
         62.    And just
                And      as in
                    just as in the
                               the past,
                                   past, Rabbi
                                         Rabbi Cohen signed that
                                               Cohen signed      order in
                                                            that order in whole
                                                                          whole cloth
                                                                                cloth

    on March
    on March 11,
             11, without
                 without any
                         any further
                             further hearing or evidence.
                                     hearing or             Compare Exh.
                                                evidence. ((Compare Exh. P
                                                                         P to
                                                                           to Exh. 1
                                                                              Exh. 1

    to the Petition/Complaint)
    to the                     Incredibly, Rabbi
           Petition/Complaint) Incredibly, Rabbi Cohen issued this
                                                 Cohen issued this ruling
                                                                   ruling without
                                                                          without ever
                                                                                  ever

    hearing
    hearing from the parties
            from the         on the
                     parties on the issue of the
                                    issue of the Greystone
                                                 Greystone litigation venture.
                                                           litigation venture.

         63.
         63.    This order
                This order too
                           too purports
                               purports to
                                        to reserve
                                           reserve jurisdiction
                                                   jurisdiction to
                                                                to Rabbi
                                                                   Rabbi Cohen over the
                                                                         Cohen over the

    parties’ other, unspecified
    parties' other,             business disputes.
                    unspecified business disputes.

         64.
         64.    II did
                   did not
                       not receive
                           receive this March 11
                                   this March 11 award
                                                 award until it was
                                                       until it     attached as
                                                                was attached as an
                                                                                an

    exhibit
    exhibit to Rechnitz’s motion
            to Rechnitz's motion to confirm. That
                                 to confirm. That was
                                                  was the first time
                                                      the first time II saw
                                                                        saw the
                                                                            the award.
                                                                                award.

         65.
         65.    The certified
                The certified mail
                              mail receipts attached as
                                   receipts attached as Exhibit 1 to
                                                        Exhibit 1    the petition-
                                                                  to the petition-

    complaint do
    complaint do not
                 not relate
                     relate to
                            to the March 2020
                               the March      arbitration award.
                                         2020 arbitration award. Tracking
                                                                 Tracking the
                                                                          the

    numbers on the
    numbers on     certified mail
               the certified mail receipts addressed to
                                  receipts addressed    the Kutners
                                                     to the Kutners using
                                                                    using the
                                                                          the United
                                                                              United



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    States
    States Postal
           Postal Service’s
                  Service's tracking function, available
                            tracking function,           at
                                               available at

    https://tools.usps.com/go/TrackConfirmAction_input,
    https://tools.usps.com/go/TrackConfirmActioninput, reveals
                                                        reveals that the packages
                                                                that the packages

    were all
    were all delivered on November
             delivered on          8, 2018,
                          November 8, 2018, making
                                            making it impossible to
                                                   it impossible    be the
                                                                 to be the receipts for
                                                                           receipts for

    the March 2020
    the March      award. (Exh.
              2020 award. (Exh. Q)
                                Q)

   The
   The Greystone
       Greystone Litigation  Investment Could
                  Litigation Investment  Could Not
                                               Not Have
                                                   Have
   Been
   Been Part
        Part of
             of the August 2018
                the August       Arbitration with
                            2018 Arbitration      Rabbi Cohen
                                             with Rabbi Cohen

         66.
         66.    II feel
                   feel that
                        that Rechnitz is deliberately
                             Rechnitz is deliberately attempting
                                                      attempting to
                                                                 to exploit
                                                                    exploit the lack of
                                                                            the lack of

    specificity in
    specificity    the arbitration
                in the arbitration agreement
                                   agreement and
                                             and the catchall retention
                                                 the catchall           of jurisdiction
                                                              retention of jurisdiction

    provisions
    provisions (which
               (which II understand are not
                         understand are not enforceable
                                            enforceable against
                                                        against me in the
                                                                me in     absence of
                                                                      the absence of a
                                                                                     a

    clear agreement
    clear agreement to arbitrate) contained
                    to arbitrate) contained in
                                            in the orders that
                                               the orders that he
                                                               he drafts in order
                                                                  drafts in order to
                                                                                  to

    obtain quick
    obtain       and favorable
           quick and favorable decisions in any
                               decisions in any dispute
                                                dispute that
                                                        that may
                                                             may ever arise between
                                                                 ever arise between

    us, simply by
    us, simply by claiming
                  claiming that
                           that the issue "was
                                the issue “was discussed” on August
                                               discussed" on August 14.
                                                                    14.

         67.
         67.    Rechnitz
                Rechnitz now attempts to
                         now attempts    confirm that
                                      to confirm that March
                                                      March 11
                                                            11 arbitration
                                                               arbitration award,
                                                                           award,

    and in
    and in doing so argues
           doing so argues that
                           that his
                                his investment
                                    investment in
                                               in the
                                                  the Greystone
                                                      Greystone litigation was part
                                                                litigation was      of
                                                                               part of

    the August 14
    the August 14 arbitration.
                  arbitration.

         68.
         68.    That was
                That was simply
                         simply not
                                not the case —
                                    the case – as
                                               as the correspondence above
                                                  the correspondence above shows.
                                                                           shows.

         69.
         69.    Indeed, it
                Indeed, it was temporarily impossible
                           was temporarily impossible for
                                                      for the
                                                          the Greystone
                                                              Greystone litigation
                                                                        litigation

   investment to
   investment to have been the
                 have been the subject
                               subject of
                                       of the
                                          the arbitration because there
                                              arbitration because there was
                                                                        was no
                                                                            no dispute
                                                                               dispute

   between me
   between    and Rechnitz
           me and Rechnitz concerning
                           concerning the litigation in
                                      the litigation in August
                                                        August of
                                                               of 2018 when the
                                                                  2018 when the

   arbitration agreement
   arbitration agreement was
                         was signed.
                             signed. Notably,
                                     Notably, Rechnitz
                                              Rechnitz never identifies the
                                                       never identifies the nature of
                                                                            nature of

   the dispute
   the         that was
       dispute that     supposedly submitted
                    was supposedly submitted to
                                             to Rabbi
                                                Rabbi Cohen.
                                                      Cohen.

         70.
         70.    In August
                In August of
                          of 2018,
                             2018, the
                                   the Greystone case was
                                       Greystone case was nowhere
                                                          nowhere near
                                                                  near resolution.
                                                                       resolution.

   Document discovery
   Document           was ongoing;
            discovery was ongoing; not a single
                                   not a single deposition
                                                deposition had been conducted.
                                                           had been conducted.

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                                             14
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   Rather, the parties
   Rather, the parties were
                       were deeply involved in
                            deeply involved    a dispute
                                            in a dispute concerning
                                                         concerning the scope of
                                                                    the scope of

   document
   document production, which led
            production, which     Justice Ramos
                              led Justice Ramos to schedule an
                                                to schedule an evidentiary
                                                               evidentiary hearing
                                                                           hearing

   to
   to resolve that issue.
      resolve that        That hearing
                   issue. That         was originally
                               hearing was originally to
                                                      to take
                                                         take place in October
                                                              place in October 2018 but
                                                                               2018 but

   was
   was eventually
       eventually pushed back to
                  pushed back    December 2018.
                              to December 2018. In August, there
                                                In August,       were no
                                                           there were no

   settlement discussions
   settlement discussions taking
                          taking place between the
                                 place between the parties,
                                                   parties, and
                                                            and the case was
                                                                the case was far
                                                                             far from
                                                                                 from

   resolution.
   resolution.

         71.
         71.     Rechnitz oftentimes expressed
                 Rechnitz oftentimes expressed his frustration over
                                               his frustration over the
                                                                    the pace of the
                                                                        pace of     case,
                                                                                the case,

   given
   given that
         that pursuant
              pursuant to the terms
                       to the       of the
                              terms of     venture agreement,
                                       the venture agreement, he was only
                                                              he was only to be repaid
                                                                          to be repaid

   once the
   once the case concluded and
            case concluded     only if
                           and only if we
                                       we were
                                          were successful,
                                               successful, but
                                                           but the speed of
                                                               the speed of the case
                                                                            the case

   was
   was not a dispute
       not a         capable of
             dispute capable of being
                                being resolved by Rabbi
                                      resolved by Rabbi Cohen.
                                                        Cohen.

         72.
         72.     We did
                 We did not begin having
                        not begin        settlement discussions
                                  having settlement discussions with
                                                                with Greystone
                                                                     Greystone until
                                                                               until

   the evidentiary
   the evidentiary hearing in December
                   hearing in December 2018 – four
                                       2018 — four months
                                                   months after
                                                          after the
                                                                the arbitration
                                                                    arbitration

   agreement was
   agreement     signed. Those
             was signed. Those discussions fizzled because
                               discussions fizzled because Greystone
                                                           Greystone kept
                                                                     kept low-
                                                                          low-

   balling us.
   balling us.

         73.
         73.     The Greystone
                 The           case did
                     Greystone case did not settle until
                                        not settle       May 2019.
                                                   until May 2019.

         74.
         74.     The dispute
                 The         over the
                     dispute over the Greystone settlement did
                                      Greystone settlement did not
                                                               not arise
                                                                   arise until
                                                                         until then,
                                                                               then,

   nearly a year
   nearly a year after
                 after we sat in
                       we sat in Rabbi
                                 Rabbi Cohen’s living room,
                                       Cohen's living room, making it impossible
                                                            making it impossible for
                                                                                 for the
                                                                                     the

   dispute
   dispute to
           to have been given
              have been given to
                              to Rabbi
                                 Rabbi Cohen in August
                                       Cohen in August 2018.
                                                       2018.

   Rechnitz’s
   Rechnitz's Share, If Any,
              Share, If Any, of
                             of the
                                the Greystone
                                    Greystone Settlement is Uncertain
                                              Settlement is Uncertain

         75.
         75.     Rechnitz
                 Rechnitz claims in his
                          claims in his motion to confirm
                                        motion to confirm the
                                                          the order
                                                              order of
                                                                    of attachment
                                                                       attachment that
                                                                                  that II

   represented
   represented to
               to him
                  him that we did
                      that we did not
                                  not have
                                      have money
                                           money to
                                                 to repay
                                                    repay him,
                                                          him, that we were
                                                               that we were in
                                                                            in poor
                                                                               poor




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   financial condition and
   financial condition and struggling
                           struggling and
                                      and that we did
                                          that we did not intend to
                                                      not intend to pay
                                                                    pay him are
                                                                        him are

   absolutely false.
   absolutely false.

         76.
         76.      II never
                     never refused
                           refused to
                                   to pay Rechnitz altogether.
                                      pay Rechnitz altogether. While
                                                               While II did say that
                                                                        did say that II did
                                                                                        did

   not
   not have
       have the
            the $3
                $3 million available to
                   million available to pay
                                        pay him in one
                                            him in one lump
                                                       lump sum,
                                                            sum, II always
                                                                    always proposed
                                                                           proposed

   that we
   that    share each
        we share      installment payment
                 each installment payment until
                                          until Rechnitz
                                                Rechnitz received
                                                         received his
                                                                  his $3
                                                                      $3 million.
                                                                         million.

         77.
         77.     As recently
                 As          as March
                    recently as March 2020,
                                      2020, II wrote
                                               wrote to
                                                     to Rechnitz and told
                                                        Rechnitz and told him that II had
                                                                          him that    had

   been trying
   been        to reach
        trying to reach Greystone to make
                        Greystone to      arrangements so
                                     make arrangements so that one-half of
                                                          that one-half of each
                                                                           each

   settlement payment
   settlement         would go
              payment would go directly
                               directly to an account
                                        to an account designated
                                                      designated by
                                                                 by Rechnitz.
                                                                    Rechnitz. (Exh.
                                                                              (Exh.

   R)
   R)

         78.
         78.      On March
                  On March 3,
                           3, II reported
                                 reported to
                                          to Rechnitz
                                             Rechnitz that
                                                      that Greystone
                                                           Greystone agreed and asked
                                                                     agreed and asked

   him
   him to
       to provide wiring instructions
          provide wiring instructions for
                                      for the
                                          the account
                                              account he would accept
                                                      he would accept the
                                                                      the deposits into.
                                                                          deposits into.

   (Exh. S)
   (Exh. 5)

         79.
         79.      But Weldler simply
                  But Weldler simply responded
                                     responded that
                                               that Rechnitz
                                                    Rechnitz does
                                                             does not agree to
                                                                  not agree to this.
                                                                               this.

   (Exh. T)
   (Exh. T) Six
            Six days later, Weldler
                days later, Weldler requested that Rabbi
                                    requested that Rabbi Cohen issue the
                                                         Cohen issue the second
                                                                         second

   arbitration award.
   arbitration award.

         80.
         80.      II remain willing to
                     remain willing to pay
                                       pay Rechnitz what he
                                           Rechnitz what    is owed,
                                                         he is owed, but
                                                                     but that
                                                                         that amount
                                                                              amount is
                                                                                     is

   far from
   far      certain because
       from certain because Rechnitz breached the
                            Rechnitz breached the terms of the
                                                  terms of the joint venture
                                                               joint venture

   agreement. Rechnitz
   agreement.          failed to
              Rechnitz failed    fund litigation
                              to fund litigation expenses,
                                                 expenses, as
                                                           as required by the
                                                              required by     venture
                                                                          the venture

   agreement and
   agreement     as II requested
             and as              as manager
                       requested as         of the
                                    manager of the venture.
                                                   venture.

         81.
         81.     After II switched
                 After    switched counsel
                                   counsel from
                                           from Dechert
                                                Dechert LLP
                                                        LLP to Abrams Fensterman,
                                                            to Abrams Fensterman,

   Dechert was
   Dechert was owed
               owed a
                    a substantial
                      substantial balance.
                                  balance. In order to
                                           In order to secure
                                                       secure the
                                                              the transition of the
                                                                  transition of the file
                                                                                    file

   to my
   to my new
         new counsel,
             counsel, Rechnitz
                      Rechnitz negotiated a settlement
                               negotiated a settlement with
                                                       with Dechert
                                                            Dechert in
                                                                    in November
                                                                       November



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   2016; whereby, the
   2016; whereby,     sum of
                  the sum of $276,102 was to
                             $276,102 was    be paid
                                          to be      over time
                                                paid over time to satisfy the
                                                               to satisfy the

   outstanding invoices.
   outstanding invoices.

         82.
         82.    II was
                   was not involved in
                       not involved in the
                                       the negotations of this
                                           negotations of      settlement agreement;
                                                          this settlement agreement;

   although,
   although, II remained liable for
                remained liable for the amounts owed.
                                    the amounts owed.

         83.
         83.    In June 2018,
                In June 2018, Rechnitz stopped paying
                              Rechnitz stopped paying Dechert, leaving me
                                                      Dechert, leaving    on the
                                                                       me on the

   hook to personally
   hook to            fund the
           personally fund the remainder of the
                               remainder of the payments.
                                                payments. Furthermore, other than
                                                          Furthermore, other than

   the
   the initial
       initial retainer to Abrams
               retainer to Abrams Fensterman,
                                  Fensterman, Rechnitz
                                              Rechnitz refused
                                                       refused to
                                                               to pay
                                                                  pay any of that
                                                                      any of that

   firm’s invoices, despite
   firm's invoices, despite my
                            my repeated
                               repeated requests.
                                        requests.

         84.
         84.    As a
                As a result, Jonathan and
                     result, Jonathan and II paid
                                             paid $465,000 out of
                                                  $465,000 out of our
                                                                  our own
                                                                      own funds
                                                                          funds to
                                                                                to pay
                                                                                   pay

   for the costs
   for the costs of
                 of the
                    the Greystone
                        Greystone litigation.
                                  litigation.

         85.
         85.    Rechnitz’s
                Rechnitz's refusal
                           refusal to
                                   to pay
                                      pay Dechert
                                          Dechert and Abrams Fensterman
                                                  and Abrams            constitute
                                                             Fensterman constitute

   material breaches of
   material breaches of the venture agreement.
                        the venture agreement.

         86.
         86.    Even
                Even if
                     if II had agreed to
                           had agreed    submit a
                                      to submit a dispute concerning the
                                                  dispute concerning the Greystone
                                                                         Greystone

   litigation investment to
   litigation investment to Rabbi
                            Rabbi Cohen,
                                  Cohen, he
                                         he never conducted a
                                            never conducted a hearing, so II was
                                                              hearing, so    was never
                                                                                 never

   afforded an opportunity
   afforded an opportunity to
                           to present
                              present these breaches as
                                      these breaches as an offset to
                                                        an offset to whatever
                                                                     whatever money
                                                                              money

   Rechnitz
   Rechnitz might be entitled
            might be entitled to.
                              to.

         87.
         87.    But of course
                But of course II did
                                 did not agree to
                                     not agree to arbitrate
                                                  arbitrate the
                                                            the Greystone
                                                                Greystone litigation
                                                                          litigation

   investment.
   investment. For
               For that
                   that reason, the March
                        reason, the March 2020
                                          2020 arbitration
                                               arbitration award
                                                           award must be vacated.
                                                                 must be vacated.

         88.
         88.    Once vacated, if
                Once vacated, if Rechnitz and II are
                                 Rechnitz and    are unable
                                                     unable to
                                                            to work out our
                                                               work out our differences
                                                                            differences

   and litigation ensues,
   and litigation ensues, II intend
                             intend to
                                    to raise
                                       raise his breaches of
                                             his breaches of the venture agreement
                                                             the venture agreement as a
                                                                                   as a

   defense
   defense to
           to Rechnitz’s claims for
              Rechnitz's claims for any
                                    any portion of the
                                        portion of the net
                                                       net recovery or as
                                                           recovery or as counterclaims.
                                                                          counterclaims.




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          (1)111.1usion

                 89.            I therefore respectfully ask that the Court deny Rechnitis motion to

         confirm the Nlarch I I arbitration award and vacate that award along with the ex

         party order of attachment. We simply never au.reed to arbitrate any dispute

         concerning the funding of the (lrevstone lawsuit. so Rabbi Cohen did not have any

         authority to issue the Nlarch 11 award.

                 I declare under penalt,             iwriury that the foregoing is true and correct:




                                                                'IMAM KUTNER

         AFFIRMED TO BEFORE ME
         TIIIS24`DAY OF MAY. 2020

            "

         Notary Public


                                                             BABA 1. .30LINGER
                                                      NOTARY PUSL1C, STATE OF NEW
                                                                                     YORK
                                                         Registrator No. 01 006296451
                                                          Qualified in Nassau County
                                                      Commission Expires February 3.2022




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                                     STRATEGIC LEGAL PARTNERS
                                                     PARTNERS

                                      JOINT VENTURE AGREEMENT
                                                    AGREEMENT

                      STRATEGIC LEGAL PARTNERS,
                                      PARTNERS, LLC AND
                                                    AND GROVE-LET,
                                                        GROVE-LET, LLC
                                                                   LLC

                                      Agreement (this
                   This Joint Venture Agreement  (this"Agreement")
                                                       "Agreement") executed
                                                                    executedthis
                                                                             this .)day
                                                                                   _"day of
      December, 2014, memorializes the oral agreement between
                                                      between Ephraim
                                                              Ephraim Kutner
                                                                      Kutner and
                                                                             and Grove-Let,
                                                                                 Grove-Let,
      LLC ("Grove"), a California Limited Liability Company and is effective as of the 1' day of
                                                                                       1' day of
      January, 2013, said Ephraim and Grove  together shall
                                      Grove together  shall be
                                                            be hereinafter
                                                               hereinafter referred
                                                                            referred to
                                                                                      to as
                                                                                         asthe
                                                                                            the
      "Parties" from January 1, 2013 until December 22, 2014. As
                                                              Asof
                                                                 ofDecember
                                                                   December22, 2014,this
                                                                            22,2014, this
      Agreement is entered into by and between Strategic Legal
                                       between Strategic Legal Partners,
                                                               Partners, LLC,
                                                                         LLC, aa Delaware
                                                                                 DelawareLimited
                                                                                          Limited
      Liability Company ("Strategic") and Grove,
                        ("Strategic") and Grove, said
                                                 said Strategic
                                                      Strategic and
                                                                andGrove
                                                                    Grove together
                                                                           togetherhereinafter
                                                                                    hereinafter
                         "Parties" from
      referred to as the "Parties" from December
                                        December 22,
                                                 22, 2014
                                                     2014 forward.
                                                           forward.

                   WHEREAS, the Parties
                                Parties have
                                        have agreed
                                             agreed to
                                                     to enter
                                                        enter into
                                                               intoaajoint
                                                                      jointventure      conductcertain
                                                                            venturetotoconduct  certain
                                             limited to lawsuit funding,
      business activities, including but not limited            funding, and
                                                                         and to
                                                                             to undertake
                                                                                undertake all
                                                                                          all activities
                                                                                              activities
      incidental thereto and to conduct
                                conduct such
                                        such other
                                             other activities
                                                   activitiesas
                                                              asare
                                                                arepermitted
                                                                    permittedby
                                                                              bythe
                                                                                 thelaws
                                                                                     lawsofofthe
                                                                                              theState
                                                                                                  State
      of New York.
             York.

                   IN CONSIDERATION of the premises and the mutual covenants
                                                                   covenants contained
                                                                             contained in
                                                                                       in this
                                                                                          this
      Agreement, and other good and valuable
                                    valuable consideration (the receipt
                                             consideration (the  receipt and
                                                                         and sufficiency
                                                                             sufficiencyof
                                                                                         ofwhich
                                                                                           whichisis
      acknowledged by each
                      each of
                           of the
                               the parties),
                                   parties),the
                                             theparties
                                                 partiesagree
                                                         agreeasasfollows:
                                                                   follows:

                   Section 1.    Formation, Name, Business and Address.
                                                               Address. The
                                                                        TheParties
                                                                            Partiesdo
                                                                                   do hereby
                                                                                      hereby form
                                                                                             form
      a Joint Venture
              Venture (the "Venture") named Strategic Legal Partners. The
                                                                      Theaddress
                                                                          addressof
                                                                                  ofthe
                                                                                     theVenture
                                                                                        Venture
      shall be do
               c/o Ephraim Kutner, 335 Central Avenue, Lawrence,
                                                       Lawrence, NY
                                                                 NY 11559.
                                                                    11559.

                   Section 2.    Capital Contributions,
                                         Contributions Distributions
                                                        Distributions and
                                                                      and Expenses.
                                                                          Expenses.

                   A. Capital Contributions:
                              Contributions:
                          a. Grove
                              Groveshall
                                    shallfacilitate
                                          facilitatefunding
                                                     fundingand/or
                                                             and/ormake
                                                                    makecapital
                                                                         capitalcontributions
                                                                                 contributionstotothe
                                                                                                   the
                                Venture of cash in amounts
                                                   amounts sufficient to
                                                                      to meet
                                                                         meet the
                                                                               the ongoing
                                                                                   ongoing legal
                                                                                            legal fees
                                                                                                   feesof
                                                                                                        of
                                the Venture
                                    Venture (the
                                            (the "Expenses"). Such contributions
                                                 "Expenses"). Such  contributions shall be
                                                                                        be made
                                                                                           made on
                                                                                                on aa
                                capital call basis
                                             basis as
                                                   as directed
                                                      directed by
                                                               by the
                                                                   the Manager.
                                                                       Manager.




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                          b. Ephraim
                              Ephraimshall
                                      shallcontribute
                                            contributeall
                                                       allofofits
                                                                itsright,
                                                                    right,title
                                                                           titleand
                                                                                 andinterest
                                                                                     interesttotothat
                                                                                                  thatcertain
                                                                                                       certain
                              cause of action against Greystone Funding Corporation filed on [fill in
                                                                                                   in
                              details].
                      Expenses. All
                   B. Expenses. All tax
                                     taxdeductions
                                         deductions relating
                                                     relating to
                                                               to the
                                                                   the Expenses
                                                                        Expenses shall
                                                                                  shall be
                                                                                         beallocated
                                                                                            allocated
                      Solely to Grove.
                   C. Distributions: Any
                                     Any profits
                                         profitsof
                                                 ofthe
                                                    theVenture
                                                       Ventureshall
                                                               shall be
                                                                     be distributed,  first to
                                                                        distributed, first   toGrove
                                                                                               Grove in
                                                                                                      in
                      an amount equal to the
                                          the Expenses,
                                              Expenses, and
                                                        and thereafter,  30% to
                                                             thereafter, 30%  to Grove
                                                                                 Grove and
                                                                                        and70%
                                                                                            70%toto
                      Strategic.
                      Strategic.

                   Section
                   Section 3.  Manager.Ephraim
                           3. Manager.   Ephraim Kutnershall
                                               Kutner    shallserve
                                                                serveasasmanager
                                                                          manager(the
                                                                                  (the"Manager")
                                                                                       "Manager")of
                                                                                                  of
     the Venture. The
                  TheManager
                      Managershall
                              shallmaintain
                                   maintainphysical
                                            physicalpossession  ofthe
                                                     possessionof  thebooks
                                                                       booksand
                                                                             andrecords
                                                                                 recordsofofthe
                                                                                             the
     Venture, shall give such notices
                              notices to
                                      to the
                                         the Parties
                                             Parties as
                                                     as may
                                                        may be
                                                            be required  by law
                                                                required by  lawor
                                                                                 ordeemed
                                                                                    deemedadvisable,
                                                                                           advisable,
     and shall perform all of
                           of the
                              the necessary
                                  necessaryfunctions
                                            functionsof
                                                      ofthe
                                                         theVenture.
                                                             Venture.

                   Section 4.
                   Section 4. Meetings.
                               Meetings.Meetings
                                         Meetingsbetween
                                                   betweenthe   Partiestotothe
                                                            theParties       theVenture
                                                                                 Ventureshall
                                                                                         shallbe
                                                                                               beheld
                                                                                                  held
     from time
     from time to time, but not less
                                 less frequently                 Specialmeetings
                                      frequently than annually. Special meetingsmay
                                                                                 maybe
                                                                                     becalled
                                                                                        calledby
                                                                                               by
     either Party upon two weeks'
                           weeks' notice,
                                  notice, unless
                                          unless the
                                                  the Manager
                                                      Manager determines
                                                              determines that
                                                                          that less
                                                                                less than
                                                                                      than two
                                                                                            two weeks'
                                                                                                weeks'
     notice is reasonable and practicable.
                          and practicable.

                   Section
                   Section5.5. Fiscal
                                FiscalYear.
                                       Year.The
                                             Thefiscal
                                                   fiscalyear
                                                           yearand    taxableyear
                                                                 andtaxable   yearofofthe
                                                                                        theVenture
                                                                                            Ventureshall
                                                                                                    shall
     terminate on the last day of
                               of December
                                  December in
                                            in each
                                               each year orsuch
                                                    year or suchother
                                                                othertime
                                                                      timeas
                                                                           asrequired
                                                                              requiredby
                                                                                       bylaw
                                                                                          lawororasas
     the Parties may from time to time determine.
                                       determine.

                   Section 6.
                   Section     CapitalAccounts.
                           6. Capital  Accounts.A Acapital
                                                     capitalaccount
                                                              accountshall
                                                                      shallbebemaintained
                                                                                maintainedfor
                                                                                           foreach
                                                                                               eachof
                                                                                                    of
     the Parties in accordance
     the            accordance with
                               with section
                                    section 1.704-1(b)     1.704-2 of the
                                            1.704-1(b) and 1.704-2     the U.S.
                                                                           U.S.Department
                                                                                Department of
                                                                                            of
      Treasury regulations.

                   Section 7.
                   Section     AllocationofofTax
                           7. Allocation      TaxLosses.
                                                  Losses.Profits
                                                           Profitsand
                                                                   andlosses
                                                                        lossesofofthe
                                                                                    theVenture
                                                                                        Ventureshall
                                                                                                shallbe
                                                                                                      be
     allocated
     allocated among                   manner that
               among the Parties in aa manner  that as
                                                    as closely
                                                        closely as
                                                                 as possible
                                                                     possiblegives
                                                                              giveseconomic  effect to
                                                                                    economiceffect   to
     the provisions of this Agreement.

                                Booksand
                   Section8.8. Books
                   Section            andRecords.
                                          Records. Adequate   accountingrecords
                                                    Adequateaccounting   recordsofofall
                                                                                     allVenture
                                                                                         Venture
      investments shall
      investments  shall be
                         be kept
                            kept and             be open
                                 and these shall be open to
                                                          to inspection  by any
                                                              inspection by any of
                                                                                 ofthe
                                                                                    theParties
                                                                                        Partiesatatall
                                                                                                    all
      reasonable  times. The
      reasonable times.  The Venture  shall maintain
                             Venture shall  maintain its
                                                      its accounting  records on the
                                                           accounting records     the cash
                                                                                      cash basis
                                                                                            basis of
                                                                                                  of
      accounting. The
      accounting.     Venture'sauditors
                  The Venture's auditors shall   prepare such
                                          shall prepare   suchaccounts       accordance with
                                                               accounts ininaccordance  with the
                                                                                              the

                                                                                                                 2.
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      instructions of the Manager. Upon
                                   Uponthe
                                        therequest
                                            requestof
                                                    ofaaParty,
                                                         Party,aacomplete
                                                                  completeaccounting
                                                                           accountingofofthe
                                                                                          theaffairs
                                                                                              affairs
      of the Venture shall
                     shall be
                           be furnished
                               furnishedto
                                         toeach
                                            eachParty.
                                                 Party.

                   Section 9.
                   Section 9. Restriction
                               RestrictionononParties.
                                               Parties.NoNo
                                                          Party,
                                                            Party,without
                                                                   withoutthe
                                                                            theconsent
                                                                                consentofofthe
                                                                                            theManager,
                                                                                                Manager,
      shall:
      shall:

                          (a)   Sell, assign, pledge or create aa security
                                                                  security interest
                                                                            interest in
                                                                                      in his
                                                                                         his or
                                                                                             orits
                                                                                                itsinterest
                                                                                                    interestin
                                                                                                             in
      the Venture;
          Venture;

                          (b)   Borrow or lend money
                                Borrow         money on
                                                     on behalf
                                                         behalf of
                                                                ofthe  Venture,ororpurchase
                                                                   theVenture,      purchaseany
                                                                                             any
      security
      security or
               or bond or make any other
                                   other investment
                                          investment on behalf
                                                        behalf of
                                                               of the
                                                                   the Venture
                                                                       Venture except
                                                                                except for
                                                                                        for cash
                                                                                             cash in
                                                                                                   in
      full;

                          (c)   Assign, transfer, pledge,
                                Assign, transfer, pledge, compromise
                                                          compromise or release any claim
                                                                     or release     claim of
                                                                                           ofthe
                                                                                              the
      Venture, arbitrate, or consent to
                                     to the arbitration
                                            arbitration of,
                                                        of, any
                                                            any dispute
                                                                dispute or
                                                                        orcontroversy
                                                                           controversyon
                                                                                       onbehalf
                                                                                          behalfof
                                                                                                 ofthe
                                                                                                    the
      Venture;

                          (d)   Use the name, credit or property,
                                                        property, of
                                                                  of the
                                                                     the Venture
                                                                         Venture for
                                                                                  for any
                                                                                      any purpose
                                                                                          purposeother
                                                                                                  other
                            purpose; or
      than a proper Venture purpose; or

                          (e)   Act in any manner that is detrimental to
                                                                      to the
                                                                          the Venture
                                                                              Venture investments.
                                                                                       investments.

                   Section 10.
                   Section 10. Additional
                               Additional Parties.
                                          Parties. Additional
                                                    Additional persons
                                                                persons may
                                                                        may be
                                                                             beadmitted   asParties
                                                                                admitted as  Parties
      only with the unanimous consent of
                                      of all Parties.
                                             Parties.

                   Section 11.  PartialDistributions.
                           11. Partial  Distributions.Upon
                                                       Uponunanimous
                                                            unanimousconsent
                                                                      consentof
                                                                              ofthe
                                                                                 theParties,
                                                                                     Parties,aaParty
                                                                                               Party
      may
      may at any time
                  time on
                       on not
                           not less
                                lessthan
                                     thantwo
                                          twoweeks'
                                              weeks'prior
                                                     priornotice
                                                           noticetotothe
                                                                       theother
                                                                            otherParty
                                                                                  PartyororParties
                                                                                            Parties
      withdraw
      withdraw all
               all or                 the capital
                   or any portion of the  capital account
                                                  account of
                                                          of such
                                                              such Party,
                                                                    Party, provided
                                                                            provided that
                                                                                     that no
                                                                                          no Party's
                                                                                              Party's
      capital account shall be reduced to
                                       to an
                                          an amount
                                             amount less
                                                     less than
                                                           than such
                                                                such Party's
                                                                     Party'sinitial
                                                                             initialcapital  contribution
                                                                                     capitalcontribution
      plus such Party's share
                        share of
                              of the
                                  the debts
                                       debts and
                                              andliabilities
                                                  liabilities of
                                                              ofthe Venture.Such
                                                                 theVenture. Suchwithdrawal
                                                                                  withdrawalmay
                                                                                             maybebe
      out of the
      out    the cash
                 cash or
                       orcash
                          cashequivalents
                               equivalentson  handororany
                                           onhand      anyparticular
                                                           particularinvestment
                                                                       investmentofofthe
                                                                                       theVenture,
                                                                                           Venture,
      proportionate to such Party's
      proportionate to      Party's interest
                                     interest in
                                               in the
                                                   theVenture,  provided that
                                                      Venture, provided   thatsuch
                                                                               suchinvestment
                                                                                    investmentmay
                                                                                              maybe
                                                                                                  be
      divided and distributed in kind.

                   Section
                   Section 12.  Terminationand
                           12. Termination  andLiquidation.
                                               Liquidation.



                                                                                                                  3.
                                                                                                                  3.

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                          (a)   The Venture shall not be dissolved
                                                         dissolved by the
                                                                      the admission of aa new
                                                                          admission of    new Party,
                                                                                              Party,
      the death, disability or insolvency
                               insolvency of
                                          of aa Party,   anyassignment
                                                 Party, any  assignmentor
                                                                        orcharging
                                                                           chargingofofan  interesttotoa a
                                                                                        aninterest
      permitted lender or
                       or the giving                                                               To
                              giving by any Party of a notice purporting to dissolve the Venture. To
      the fullest extent permitted
                         permitted by
                                   by law,
                                       law,each
                                            eachParty
                                                 Partyhereby  irrevocablywaives
                                                       herebyirrevocably  waivesany
                                                                                 anyright
                                                                                      rightsuch
                                                                                            suchParty
                                                                                                 Party
      may have to give any
                       any notice
                           notice dissolving
                                  dissolving or
                                              orotherwise
                                                 otherwiseterminating
                                                           terminatingthe  Ventureand
                                                                       theVenture  andagrees
                                                                                       agreesthat
                                                                                              that
      such Party shall not apply to any
                                    any court
                                        court seeking
                                              seeking to
                                                       to dissolve
                                                          dissolveor  otherwisewind
                                                                   orotherwise windup
                                                                                    upthe
                                                                                       theaffairs
                                                                                           affairsofof
      the Venture.
          Venture.

                          (b) The Venture shall be
                          (b)                   be dissolved on
                                                             on the
                                                                 the first
                                                                      first to
                                                                             to occur
                                                                                occurof
                                                                                      ofthe  following:
                                                                                         thefollowing:
                             written agreement
      (x) upon the unanimous written agreementof
                                               ofthe
                                                  theParties;
                                                      Parties;(y)  uponthe
                                                               (y)upon  thehappening
                                                                            happeningofofany
                                                                                          anyevent
                                                                                              event
      that makes it unlawful
                    unlawful for the business
                                     business of the Venture to be
                                                 the Venture    be carried
                                                                   carried on
                                                                           on or  for the
                                                                              or for   theParties
                                                                                           Partiestoto
      carry it on in partnership;
                     partnership; or
                                  or (z)  uponDecember
                                      (z)upon December31,
                                                       31,2050.
                                                           2050.

                          (c)   Upon the dissolution
                                Upon     dissolution of the
                                                         the Venture
                                                             Venture pursuant
                                                                      pursuant to  section12(b),
                                                                                tosection  12(b),and
                                                                                                  and
      notwithstanding the
      notwithstanding  the dissolution,
                           dissolution, the
                                        the business of the
                                                         the Venture
                                                             Venture shall
                                                                      shallcontinue
                                                                            continuetotobebeoperated
                                                                                             operated
      pursuant to this Agreement so far as may
      pursuant                             may be
                                               be necessary
                                                  necessary to
                                                             to wind
                                                                wind up
                                                                      upthe
                                                                         theaffairs
                                                                             affairsofofthe
                                                                                         theVenture
                                                                                             Venture
      and to complete
      and     complete transactions  begun but
                        transactions begun but unfinished at the time
                                               unfinished at      time of
                                                                        ofdissolution,
                                                                           dissolution, but
                                                                                         but not
                                                                                              not
      otherwise, and any authority which, pursuant
                                          pursuant to
                                                   to this
                                                       this Agreement,
                                                            Agreement, aa Party
                                                                          Party may
                                                                                mayhave
                                                                                    haveto
                                                                                         tobind
                                                                                            bindthe
                                                                                                 the
      Venture shall continue
      Venture shall continue (except in the case
                                            case of
                                                 ofaaParty
                                                      Partywho
                                                            whoisisbankrupt
                                                                    bankruptororinsolvent)
                                                                                  insolvent)and
                                                                                             andthe
                                                                                                  the
      other rights and
      other rights and obligations
                        obligations of
                                    of the
                                        theParties
                                            Partiesunder
                                                    underthis
                                                           thisAgreement
                                                                 Agreementshall
                                                                            shallcontinue,
                                                                                   continue,
                          dissolution, for
      notwithstanding the dissolution, for such
                                           such limited
                                                 limited purposes.
                                                         purposes.

                          (d)   Upon
                                Upon the dissolution
                                         dissolution of the
                                                         the Venture
                                                             Venture pursuant
                                                                      pursuant to
                                                                                to section
                                                                                    section 12(b),
                                                                                             12(b),the
                                                                                                    the
      Parties shall
      Parties       promptly wind
              shall promptly         the affairs
                             wind up the  affairs of
                                                  of the
                                                      theVenture
                                                          Ventureby
                                                                  bydischarging
                                                                     discharging all
                                                                                  alldebts
                                                                                      debtsand
                                                                                            and
      liabilities of the Venture and in
                                      in accordance
                                         accordance with
                                                    with Section
                                                         Section 2,by
                                                                 2,bydistributing
                                                                      distributingall
                                                                                   allinvestments
                                                                                       investmentsand
                                                                                                   and
      remaining assets, in cash or in kind or partly
                                              partly in
                                                      in cash
                                                         cash and
                                                              and partly
                                                                  partly in
                                                                          in kind,
                                                                              kind, to
                                                                                     tothe
                                                                                        theParties
                                                                                            Partiesor
                                                                                                    ortheir
                                                                                                       their
      representatives. Each investment
      representatives. Each  investment which
                                        which can
                                              can be
                                                  be distributed
                                                      distributed to
                                                                   to the
                                                                       theParties
                                                                           Parties ininkind
                                                                                        kindshall
                                                                                             shallbe
                                                                                                   beso
                                                                                                      so
      distributed, unless otherwise unanimously
                                    unanimously agreed
                                                agreed by
                                                       by the
                                                           the Parties.
                                                               Parties.

                          (e)   This Agreement shall terminate on the
                                                                  the completion
                                                                      completion of
                                                                                 of the
                                                                                     the winding-up
                                                                                         winding-up
      of the affairs of
                     of the
                        the Venture
                            Venture pursuant
                                    pursuantto
                                             tosection
                                                section12(d).
                                                        12(d).




                                                                                                               4.
                                                                                                               4.

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                          (f)                      this Agreement
                                The termination of this           shall not
                                                        Agreement shall      affect or
                                                                        not affect      prejudiceany
                                                                                     orprejudice  any
                                       accrued or arisen
      rights or obligations which have accrued                  this Agreement
                                                         under this
                                                  arisen under                        to the
                                                                               prior to
                                                                     Agreement prior           time of
                                                                                          the time   of
      termination and such rights and obligations
                           rights and             shall survive
                                      obligationsshall          thetermination.
                                                        survivethe  termination.

                                Notices.Any
                   Section 13. Notices.      noticewhich
                                         Anynotice                         permittedtotobe
                                                              requiredororpermitted
                                                    whichisisrequired                       givenunder
                                                                                         begiven  under
      this Agreement to any Party shall
           Agreement to                 be in
                                  shall be     writing and
                                            in writing       signed by
                                                        and signed      oron
                                                                     byor                 theperson
                                                                              behalfofofthe
                                                                           onbehalf           person
      giving such notice and shall
             such notice     shall be
                                    be deemed
                                        deemed to
                                                tohave
                                                   havebeen
                                                        beengiven
                                                             givenwhen
                                                                   whendelivered
                                                                        deliveredbybypersonal
                                                                                      personal
      delivery or mail,
      delivery or               by registered
                        mailed by
                  mail, mailed                                mail,postage
                                                    certifiedmail,
                                    registered ororcertified                          returnreceipt
                                                                            prepaid,return
                                                                    postageprepaid,           receipt
      requested and addressed to the
      requested                   the intended              Party atatthe
                                                 recipient Party
                                       intended recipient                  appropriateaddress
                                                                       theappropriate          setforth
                                                                                       addressset   forth
      below (or at such other addressas
                        other address      partymay
                                      asaaparty             bynotice
                                                    specifyby
                                                mayspecify                          thisprovision):
                                                                      pursuanttotothis
                                                               noticepursuant            provision):

                   Section      GeneralProvisions.
                   Section 14. General  Provisions.

                          (a)   Each of the
                                Each     the provisions
                                              provisions contained      this Agreement
                                                                    in this
                                                         contained in                       distinct and
                                                                             Agreement isisdistinct   and
      severable
      severable and
                and a declaration
                      declaration of              orunenforceability
                                      invalidity or
                                  of invalidity                       ofany
                                                     unenforceability of          provisionororpart
                                                                             suchprovision
                                                                         anysuch                part
                         of competent
      thereof by a court of                          shall not
                                        jurisdiction shall
                             competent jurisdiction                    thevalidity
                                                               affect the
                                                           not affect                  enforceability of
                                                                                    orenforceability
                                                                           validityor                  of
                                   Tothe
      any other provision hereof. To             permittedby
                                          extentpermitted
                                      theextent                           law,the
                                                              applicablelaw,
                                                           byapplicable                     waiveany
                                                                                    partieswaive
                                                                                theparties        any
      provision of law which renders
      provision              renders any
                                     any provision    thisAgreement
                                                   ofthis
                                         provision of                invalid or
                                                          Agreement invalid      unenforceable inin
                                                                              orunenforceable
      any respect.
          respect.

                          (b)   This Agreement constitutes the entire
                                               constitutes the         agreement between
                                                               entire agreement            theparties
                                                                                  between the  parties
      pertaining to the subject matterof
                        subject matter    thisAgreement.
                                       ofthis Agreement.

                          (c)   Except as expressly
                                Except              provided in
                                          expressly provided          Agreement, no
                                                                 this Agreement,
                                                             in this                  amendment or
                                                                                  no amendment   or
      waiver of this Agreement shall
                               shall be
                                     be binding
                                        bindingunless  executedininwriting
                                                unlessexecuted                    partytotobebebound
                                                                              theparty
                                                                           bythe
                                                                   writingby                    bound
      thereby. No
               Nowaiver
                  waiverof
                         ofany
                            anyprovision      thisAgreement
                                provisionofofthis                  constitute,aawaiver
                                                             shallconstitute,
                                                   Agreementshall                           anyother
                                                                                 waiverofofany  other
      provision
      provision nor       any waiver
                nor shall any waiver of
                                     ofany
                                        anyprovision                     constitutea acontinuing
                                                               Agreementconstitute
                                                          thisAgreement
                                            provisionofofthis                          continuing
                                        provided.
                              expressly provided.
      waiver unless otherwise expressly

                          (d)   This Agreement
                                     Agreement shall be governed
                                                        governed by
                                                                 by and   construed ininaccordance
                                                                     and construed       accordance
      with the laws of
                    of New
                       New York
                           York applicable
                                applicabletherein.
                                           therein.

                          (e)   This Agreement shall inure to the benefit of and
                                                                  benefit of      bebinding
                                                                             and be          uponthe
                                                                                     bindingupon  the
      parties hereto and their
                         their respective
                               respective successors
                                          successorsand
                                                     andlegal
                                                         legalpersonal
                                                               personalrepresentatives.
                                                                        representatives.



                                                                                                            5.

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                        (f) This Agreement
                              This Agreementmay
                                             maybebeexecuted
                                                     executedinintwo
                                                                  twoorormore
                                                                          morecounterparts
                                                                               counterpartsand/or
                                                                                            and/or
      by facsimile signatures, each of
      by                            of which
                                       which shall
                                              shall be
                                                     bedeemed
                                                        deemedan
                                                               anoriginal
                                                                  originaldocument,
                                                                           document,and
                                                                                     andtogether
                                                                                          together
      which shall be deemed
                     deemed one
                            one and
                                and the
                                     the same
                                         sameinstrument.
                                              instrument.

                             {Remainder of
                             {Remainder ofPage
                                           Page Intentionally
                                                 IntentionallyLeft
                                                               LeftBlank}
                                                                    Blank}




                                                                                                     6.

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              IN WITNESS WHEREOF, the
                                  the parties
                                      parties hereto
                                              hereto have executed this
                                                     have executed  thisAgreement asof
                                                                        Agreement as ofthe
                                                                                        the

      date and year first above written.
                          above written.

                                                PARTIES:
                                                PARTIES:

                                                                          LLC
                                                Strategic Legal Partners, LLC




                                                    . Ephraim Kutner
                                                Its: Manager
                                                      Manager


                                                Grove-Let, LLC




                                                By:    \tINcON,■ Q-ecnAtit
                                                BY: \fl\c'o          Uri"-VI,
                                                Its: ‘tac\o, csls, -s vu0-494,,
                                                Its: Vtac\a(              ;ast4.,




                                               logaim Kutner




                                                                                              7.
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             On Feb 25, 2018, at 2:05 PM, Shlomo Rechnitz
             <shlomohealth@gmail.com> wrote:


                  Efram,
                  You are evading me over and over. When you were here
                  last, you left one hour to spare for a discussion that
                  would take a minimum of a few hours. When you left,
                                                     you’d come back here
                  you specifically assured me that you'd
                  on the way back from one of your tropical locations. I
                  specifically asked you if there was ANY reason you
                  wouldn’t be able to meet. You assured me that you'd
                  wouldn't                                             you’d be
                  here. Then I got some bullshit text about traffic.
                  THE GAMES END NOW.
                  You’re a psychopath when it comes to spending money.
                  You're
                  You have absolutely no discipline and are clearly headed
                  to financial ruin. You don't
                                          don’t know how to keep your
                  word. You lie, and then justify it in your head with
                  skewed reasoning. More and more people are telling me
                  that you renegotiated with them at the last minute. (I can
                                                          can’t recall one
                  relate to that). As a matter of fact, I can't
                  person mentioning to me that they enjoyed doing
                  business with you. Everyone who deals with you has a
                  complaint about you by the time the deal is over.
                  You keep insisting that you don't want to be a Kafui Tov.
                  You are the epitome, exhibit A of a Kafui Tov. First,
                  Steve Rosenberg took you out of the gutter, gave you a
                  semblance of a life and you just end up suing him   him. Now
                  that I know who you are, I don’t
                                               don't believe for one second
                                                  That’s why it's
                  that your case has any merit. That's          it’s 5 years and
                  you got nowhere.
                  I don't
                    don’t doubt for a second that you believe he screwed
                  you. You simply have a twisted, skewed, warped way if
                  thinking when it comes to money that you transact. Then
                  I come and take you out of the gutter, to the point that
                  you needed money to eat. And now this. You should be
                  ashamed of the negative light you put on your wife and
                  kids. You want to screw up your own life, nobody can
                  stop you, but who gives you the right to screw up theirs?
                  o
                  0
                  As I might have told you, I started a new campaign
                          “no more fucking
                  called "no        flicking Shlomo”.
                                             Shlomo".
                  I’m
                  I'm not Steve Rosenberg
                                  Rosenberg. I think I command a little more
                  respect than Steve Rosenberg. Everybody knows I'm      I’m an
                  easy going, flexible and generous person, so if I have a
                  major problem with someone, everybody will know who
                  fucked
                  flicked who without even having to look into the story.
                  If you don't
                          don’t work out a deal with Weldler, to give me
                  what’s legally mine, every penny you stole from me, by
                  what's
                  10:00 PM TONIGHT (EST), I will do EVERYTHING in
          Case 20-1978, Document 69, 12/14/2020, 2993537, Page145 of 206
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                 my power, within my legal rights, to expose who you are
                 to not only every person I know, but also to everybody
                 who knows me. Whatever fall out will be (and it will be
                 fast), will put you right back in the gutter with the shitty
                 name and reputation you deserve. I will not let you out of
                 my mind every morning till I feel that everyone knows
                 who you are. And I doubt very strongly that you're
                                                                you’re going
                 to find another Steve Rosenberg or Shlomo Rechnitz.
                 The deal that I offered you before is completely off the
                        You’ll pay every dollar you owe!! plus all my
                 table. You'll
                 attorneys fees, plus everything you slipped into different
                 categories to fool me plus late pay interest charges.
                                    You’re the first person ever to take me
                 Congratulations. You're
                 over the barrel, and boy are you going to feel it.

                  Sent from my iPad
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                                                                                                                                    Case 1:20-cv-01607-KAM-VMS Document 36-4 Filed 05/22/20
                                                                    Dovid Welder

                                                                 210 South tike Drive

                                                                Lakiewoocl, New Jersey

                     RE: Rechnitz vs Kutner



                     Dear itz Obi Cohen



                     As per Rabbi Cohen's r>es-alf, our attorney is pre paring the nedlrectiOn letter, instructing the mesa ni ne
                     borrowers to repay their loans directhi to a Rechnitz entity. This letter must be sent by Kutner
                     {herb° rview) to the borrowers.

                      We Must pUt in language that prevents Kutner from sending a subsequent letter redirecting the funds
                     to somewhere else, as this can not be done without Rechnit,es permission. Could Rabbi Cohen propose
                     some language that would this enforceable?

                     I am also including in this fax a Lopy of the email f sent to Efrain Kutner requesting the financial
                     statements as per Rabbi Cohen's pet*.




                                                                                                                                                                                                                        A-140
                     Respectfulty: yours,

                     Davit We Idler on behalf of Shlomo Reehnitz

                     212 203 1988




                                                                                                                                                                  6Zt7 :# CllaBud I JD T abed
                                                                                                                                                                                            Page 1 of 1 PageID #: 429
                Case 20-1978, Document 69, 12/14/2020, 2993537, Page147 of 206
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                                           A-141
                                                                    PageID #: 430
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   --------------------


   Begin forwarded message:


           From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
           Date: October 4, 2018 at 11:34:05 AM EDT
           To: "leahtrenkcohen@gmail.com" <leahtrenkcohen@gmail.com>, Ephraim
           Kutner <ekutner@harborviewcp.com>
           Cc: Shlomo Rechnitz <shlomohealth@gmail.com>
           Subject: KUTNER-RECHNITZ
            Case 20-1978, Document 69, 12/14/2020, 2993537, Page148 of 206
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                                                                    PageID #: 431
                                                                              431



        ﻿

                DEAR
                DEAR RABBI COHEN,
                     RABBI COHEN,



               INASMUCH AS
               INASMUCH  AS WE
                            WE HAVE
                                HAVE HEARD
                                     HEARD NOTHING
                                            NOTHING FROM
                                                      FROM EFRAIM
                                                           EFRAIM KUTNER
                                                                  KUTNER WITH
                                                                         WITH
        REGARD TO THE
        REGARD TO THE PSAK
                      PSAK OF
                           OF RABBI
                              RABBI COHEN, AS IT
                                    COHEN, AS IT RELATED TO:
                                                 RELATED TO:

               1.
               1. DRAFTING AND EXECUTING
                  DRAFTING AND  EXECUTING DOCUMENTS
                                           DOCUMENTS INSTRUCTING  THE MEZZANINE
                                                      INSTRUCTING THE MEZZANINE
                  BOROWERS
                  BOROWERS TOTO REPAY THE OUTSTANDING
                                REPAY THE OUTSTANDING LOANS,
                                                       LOANS, WHEN
                                                              WHEN DUE,
                                                                   DUE, DIRECTLY TO
                                                                        DIRECTLY TO
                  A RECHNITZ
                  A RECHNITZ OWNED
                              OWNED ENTITY
                                     ENTITY
               2.
               2. PROVIDING
                  PROVIDING FINANCIAL  STATEMENTS
                             FINANCIAL STATEMENTS
               3.
               3. PROVIDING
                  PROVIDING INFORMATION   TO THE
                             INFORMATION TO  THE FORENSIC ACCOUNTANT (TO
                                                 FORENSIC ACCOUNTANT      THE BEST
                                                                      (TO THE BEST
                  OF
                  OF MY
                     MY KNOWLEDGE   THIS HAS
                        KNOWLEDGE THIS   HAS NOT
                                             NOT BEEN
                                                 BEEN DONE)
                                                      DONE)

               PLEASE SUGGEST THE
               PLEASE SUGGEST   THE NEXT  STEPS WE
                                     NEXT STEPS    SHOULD TAKE
                                                WE SHOULD   TAKE TO
                                                                 TO ENFORCE  THE
                                                                    ENFORCE THE
               EXISTING
               EXISTING PSAK. IT HAS
                        PSAK. IT HAS BEEN  SUGGESTED THAT
                                      BEEN SUGGESTED   THAT WE
                                                            WE HIRE AN ATTORNEY
                                                               HIRE AN  ATTORNEY TO
                                                                                 TO
               PRESENT  THE BINDING
               PRESENT THE            ARBITRATION RULING
                            BINDING ARBITRATION           TO A
                                                  RULING TO  A COURT
                                                               COURT FOR
                                                                      FOR
               ENFORCEMENT.
               ENFORCEMENT. IS    THIS APPROPRIATE?
                               IS THIS APPROPRIATE? IS THERE ANOTHER
                                                    IS THERE ANOTHER APPROACH?
                                                                       APPROACH?

               IF
               IF POSSIBLE
                  POSSIBLE PLEASE
                           PLEASE HAVE THE RESPONSE
                                  HAVE THE            SENT TO
                                             RESPONSE SENT TO MY EMAIL ADDRESS
                                                              MY EMAIL ADDRESS -–
               DAVIDZWELDLER@GMAIL
               DAVIDZWELDLER@GMAIL AS  AS II DO
                                             DO NOT
                                                NOT HAVE ACCESS TO
                                                    HAVE ACCESS TO A
                                                                   A FAX
                                                                     FAX MACHINE.
                                                                         MACHINE.

               RESPECTFULLY YOURS,
               RESPECTFULLY YOURS,

               DAVID WELDLER (FOR
               DAVID WELDLER      SHLOMO RECHNITZ)
                             (FOR SHLOMO RECHNITZ)
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   Begin forwarded message:


           From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
           Date: October 26, 2018 at 12:11:50 PM EDT
           To: "leahtrenkcohen@gmail.com" <leahtrenkcohen@gmail.com>, Shlomo
           Rechnitz <shlomohealth@gmail.com>
            Case 20-1978, Document 69, 12/14/2020, 2993537, Page150 of 206
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        Cc: Ephraim Kutner <ekutner@harborviewcp.com>, Jonathan Kutner
        <jkutner@harborviewcp.com>
        Subject: FW: Comments to letter, order and letter to Rabbi Cohen


        ﻿


        Dear Rabbi Cohen,
        Dear Rabbi Cohen,

        II am
           am writing
                writing to to you
                              you onon behalf
                                        behalf of   Shlomo Yehuda
                                                 of Shlomo     Yehuda Rechnitz
                                                                          Rechnitz to to ask  that the
                                                                                         ask that  the Rav
                                                                                                         Ray issue
                                                                                                              issue aa
         final
         final written award concerning the dispute between Mr. Rechnitz and Ephraim and
                written    award    concerning     the   dispute   between      Mr.  Rechnitz   and  Ephraim      and
         Jonathan Kutner
        Jonathan                relating to
                       Kutner relating      to certain   mezzanine loans
                                               certain mezzanine        loans that
                                                                                that Mr.
                                                                                      Mr. Rechnitz
                                                                                           Rechnitz funded
                                                                                                      funded
         (“Mezzanine Loans”).
        ("Mezzanine         Loans"). As As the
                                            the Rav
                                                 Ray is  aware, at
                                                      is aware,       the arbitration
                                                                   at the   arbitration hearing
                                                                                          hearing on    August 14,
                                                                                                    on August     14,
         2018,
         2018, thethe Rav
                       Ray ruled,     among other
                             ruled, among              things, that
                                               other things,     that the
                                                                       the Kutners
                                                                             Kutners and    the entities
                                                                                       and the              they control
                                                                                                 entities they     control
         must    direct   the  Mezzanine      Loans   borrowers      to  make    payments
         must direct the Mezzanine Loans borrowers to make payments directly to Mr.           directly  to Mr.
         Rechnitz,
         Rechnitz, with       the interest
                       with the    interest payments
                                              payments to   to be  held in
                                                               be held    in escrow
                                                                              escrow until
                                                                                       until Mr.
                                                                                             Mr. Rechnitz
                                                                                                  Rechnitz is is repaid
                                                                                                                 repaid in
                                                                                                                         in
         full,
         full, and
               and toto inform
                         inform thethe Mezzanine
                                        Mezzanine LoansLoans borrowers
                                                                borrowers that that Mr.
                                                                                     Mr. Rechnitz
                                                                                         Rechnitz or    his agent
                                                                                                    or his   agent isis
         authorized
         authorized to   to act
                             act on
                                 on behalf
                                      behalf of   the lender
                                               of the  lender of of the
                                                                    the Mezzanine
                                                                         Mezzanine Loans.        The Kutners
                                                                                        Loans. The     Kutners have
                                                                                                                  have
         failed   to send    out  such   letter  and   no  information      has  been   provided
         failed to send out such letter and no information has been provided to Mr. Rechnitz       to  Mr.   Rechnitz
         regarding
         regarding the the loans     since February
                             loans since    February 2018.
                                                        2018. We  We have
                                                                       have attached
                                                                               attached aa proposed
                                                                                            proposed award        that we
                                                                                                         award that     we
         would
         would ask      the Rav
                   ask the         to sign
                              Ray to   sign after  allowing aa minimum
                                             after allowing      minimum of     of 5
                                                                                   5 days
                                                                                     days for  the Kutners
                                                                                           for the  Kutners to to
         comment
         comment on         the proposed
                       on the    proposed award.
                                              award. We  We are
                                                              are providing
                                                                   providing notice      to the
                                                                                 notice to  the Kutners
                                                                                                 Kutners and      their
                                                                                                            and their
         Rabbinic     advocate     so  that  they  may    comment      on   the  proposed
         Rabbinic advocate so that they may comment on the proposed award. By this letter,    award.    By this  letter,
         we
         we ask    that the
              ask that    the Kutners      respond to
                               Kutners respond       to the
                                                         the proposed
                                                               proposed award.
                                                                            award. Mr. Mr. Rechnitz
                                                                                           Rechnitz reserves
                                                                                                       reserves hishis
         right to
        right    to respond
                    respond to  to any
                                    any comments
                                          comments that that the
                                                              the Kutners
                                                                   Kutners may may have.
                                                                                     have. We
                                                                                            We expect
                                                                                                 expect to to confirm
                                                                                                               confirm
         the signed
        the    signed award
                         award inin court
                                     court and    seek aa court’s
                                             and seek       court's assistance
                                                                     assistance so     that the
                                                                                    so that  the Rav’s   ruling is
                                                                                                 Ray's ruling    is
         followed     and   Mr.  Rechnitz’s     interest   in the  loans
         followed and Mr. Rechnitz's interest in the loans is protected.   is protected.

        Sincerely,
        Sincerely,

        David Weldler
        David Weldler
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                                               A-145

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  In the Matter of the Din Torah Arbitration Between

  Shlomo Yehuda Rechnitz
                                                              [PROPOSED] ARBITRATION
  and                                                         AWARD RELATING TO
                                                              MEZZANINE LOAN DISPUTE
  Ephraim Kutner and Jonathan Kutner



         On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"),
                                                    (“SYR”), on the one hand, and Ephraim

  Kutner and Jonathan Kutner (the "Kutners"),
                                  “Kutners”), on the other hand, appeared before me to arbitrate

  various disputes relating to their business dealings that they had been discussing and trying to

  resolve for many months prior to their appearance. The parties signed an arbitration agreement

  which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

  by my decision. The first discrete issue that the parties presented to me for a ruling related to

  certain mezzanine loans that were made using the money of SYR ("Mezzanine
                                                                (“Mezzanine Loans”).
                                                                            Loans"). The

  Mezzanine Loans consist of the loans attached as Exhibit 2 which is the most recent update sent

  by the Kutners to SYR concerning the outstanding loans.

         It was undisputed by the parties that SYR had provided millions of dollars to fund the

  Mezzanine Loans and that SYR was owed $8,967,750 relating to those loans, which represented

  the principal balance of the Mezzanine Loans at the time of the hearing.

         At the arbitration, I issued an oral ruling requiring the Kutners to send a letter irrevocably

  directing the Mezzanine Loans borrowers to repay the Mezzanine Loans directly to SYR and for

  the interest that is repaid to be held in a separate account controlled by SYR where it shall remain

  until SYR is fully repaid for the moneys he advanced relating to the Mezzanine Loans.

         This is my written award concerning the Mezzanine Loans dispute.
              Case 20-1978, Document 69, 12/14/2020, 2993537, Page152 of 206
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                                               A-146

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         IT
         IT IS HEREBY ORDERED AND ADJUDGED THAT:

         1.      The Mezzanine Loans borrowers shall be directed to repay their loans directly to

  SYR, including the interest payments that are made. The letter attached as Exhibit 3 shall be sent

  to the Mezzanine Loans borrowers by the Kutners. In the event that the Mezzanine Loans

  borrowers require other instructions to begin making payments directly to SYR, the Kutners will

  do what is needed to make sure that the moneys are paid directly to SYR.

         2.      The Kutners shall respond to all questions from SYR or his agents regarding the

  Mezzanine Loans, and turn over to SYR all documents relating to the Mezzanine Loans including

  the Mezzanine Loans agreements.

         3.      All funds received by the Kutners or any entities controlled by the Kutners

  including Harborview Capital Funding LLC from the Mezzanine Loan borrowers or their agents

  shall be immediately turned over to SYR.

         4.      SYR shall receive all loan repayments relating to the Mezzanine Loans and will

  place the principal in one account to be used to repay SYR for the moneys he provided to fund the

  Mezzanine Loans, and the interest in another account where it shall remain until SYR is fully

  repaid for the moneys he advanced to fund the Mezzanine Loans.

         5.      The Kutners and all entities they control shall cooperate and not interfere with the

  instructions to the Mezzanine Loan borrowers to make all loan payments directly to SYR.

         6.      If requested by SYR, the Kutners shall execute any and all additional documents

  that will allow SYR or his agent to control, manage and act on behalf of the lender in connection

  with the Mezzanine Loans.

         7.      This award constitutes a final award concerning the dispute regarding the

  Mezzanine Loans, as well as constituting an award of injunctive relief issued to protect SYR’s
                                                                                           SYR's
              Case 20-1978, Document 69, 12/14/2020, 2993537, Page153 of 206
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                                               A-147

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  right to receive back the money that he loaned which both parties agreed constitutes all of the

  capital that was raised to fund the Mezzanine Loans.

         8.      I retain jurisdiction concerning the Mezzanine Loans dispute to the extent that the

  Kutners fail to follow this award or a Court decides not to confirm this award. Additionally, I

  retain jurisdiction concerning the other business disputes between the parties.

  Dated: October __,, 2018
         Brooklyn, New York
                                                       ___________________________
                                                            Rabbi Dovid Cohen
              Case 20-1978, Document 69, 12/14/2020, 2993537, Page154 of 206
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  L Ow




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   Begin forwarded message:


          From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
          Date: October 29, 2018 at 5:31:55 PM EDT
          To: "leahtrenkcohen@gmail.com" <leahtrenkcohen@gmail.com>, Ephraim
          Kutner <ekutner@harborviewcp.com>
          Cc: Shlomo Rechnitz <shlomohealth@gmail.com>
          Subject: FW: Proposed Arbitration Award


          ﻿
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                                              A-149

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                                                                    PageID #: 438


        Dear Rabbi Cohen,

        I am resubmitting the documentation (see attached) to include some
        additional exhibits requested by our attorney. If there are no changes, our
        attorney will coordinate a notary public. Please let us know.

        Thank you
        David Weldler for Shlomo Rechnitz
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                                                 A-150
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 ritc rzt ,i,trprn
                                                                                        'c          117

   In the Matter of the Din Torah Arbitration Between

   Shlomo Yehuda Rechnitz
                                                                [PROPOSED] ARBITRATION
   and                                                          AWARD RELATING TO
                                                                MEZZANINE LOAN DISPUTE
   Ephraim Kutner and Jonathan Kutner



          On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"), on the one hand, and Ephraim

   Kutner and Jonathan Kutner (the "Kutners"), on the other hand, appeared before me to arbitrate

   various disputes relating to their business dealings that they had been discussing and trying to

   resolve for many months prior to their appearance. The parties signed an arbitration agreement

   which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

   by my decision. The first discrete issue that the parties presented to me for a ruling related to

   certain mezzanine loans that were made using the money of SYR ("Mezzanine Loans"). The

   Mezzanine Loans consist of the loans attached as Exhibit 2 which is the most recent update sent

   by the Kutners to SYR concerning the outstanding loans.

           It was undisputed by the parties that SYR had provided millions of dollars to fund the

   Mezzanine Loans and that SYR was owed $8,967,750 relating to those loans, which represented

   the principal balance of the Mezzanine Loans at the time of the hearing.

           At the arbitration, 1 issued an oral ruling requiring the Kuttners to send a letter irrevocably

   directing the Mezzanine Loans borrowers to repay the Mezzanine Loans directly to SYR and for

   the interest that is repaid to be held in a separate account controlled by SYR where it shall remain

    until SYR is fully repaid for the moneys he advanced relating to the Mezzanine Loans.

           This is my written award concerning the Mezzanine Loans dispute.
        Case 20-1978, Document 69, 12/14/2020, 2993537, Page157 of 206
                                                A-151
                                                A-151
Case 1:20-cv-01607-KAM-VMS Document 36-9 Filed 05/22/20 Page 2 of 9 PagelD
                                                                    PageID #: 440




          IT IS HEREBY ORDERED AND ADJUDGED THAT:

          I.      The Mezzanine Loans borrowers shall be directed to repay their loans directly to

   SYR, including the interest payments that are made. The letter attached as Exhibit 3 shall be sent

   to the Mezzanine Loans borrowers by the Kutners. In the event that the Mezzanine Loans

   borrowers require other instructions to begin making payments directly to SYR, the Kutners will

   do what is needed to make sure that the moneys are paid directly to SYR.

          2.      The Kutners shall respond to all questions from SYR or his agents regarding the

   Mezzanine Loans, and turn over to SYR all documents relating to the Mezzanine Loans including

   the Mezzanine Loans agreements.

          3.      All funds received by the Kutners or any entities controlled by the Kutners

   including Harborview Capital Funding LLC from the Mezzanine Loan borrowers or their agents

   shall be immediately turned over to SYR.

          4.      SYR shall receive all loan repayments relating to the Mezzanine Loans and will

   place the principal in one account to be used to repay SYR for the moneys he provided to fund the

   Mezzanine Loans, and the interest in another account where it shall remain until SYR is fully

   repaid for the moneys he advanced to fund the Mezzanine Loans.

          5.      The Kutners and all entities they control shall cooperate and not interfere with the

   instructions to the Mezzanine Loan borrowers to make all loan payments directly to SYR.

          6.      If requested by SYR, the Kutners shall execute any and all additional documents

   that will allow SYR or his agent to control, manage and act on behalf of the lender in connection

   with the Mezzanine Loans.

           7.     This award constitutes a final award concerning the dispute regarding the

   Mezzanine Loans, as well as constituting an award of injunctive relief issued to protect SYR's
        Case 20-1978, Document 69, 12/14/2020, 2993537, Page158 of 206
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                                                 A-152
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                                                                    PageID #: 441
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   right to receive back the money that he loaned which both parties agreed constitutes all of the

   capital that was raised to fund the Mezzanine Loans.

          8.       I retain jurisdiction concerning the Mezzanine Loans dispute to the extent that the

   Kutners fail to follow this award or a Court decides not to confirm this award. Additionally, I

   retain jurisdiction concerning the other business disputes between the parties.

   Dated: October , 2018
          Brooklyn, New York

                                                               Rabbi Dovid Cohen

   STATE OF NEW YORK)
                                  ss.:
   COUNTY OF KINGS)

          On the       day of October, in the year 2018, before me, the undersigned, personally

   appeared Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to the

   individual whose name is subscribed within the arbitration award dated October ,         2018 and

   acknowledged to me that he executed the same in his capacity, and that by his signature on the

   arbitration award, Rabbi Dovid Cohen executed the arbitration award.




   Notary Public
       Case 20-1978, Document 69, 12/14/2020, 2993537, Page159 of 206
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             EXHIBIT 1
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                                     A-155
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             EXHIBIT 2
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                                                                                                                                                                                                                         Case 1:20-cv-01607-KAM-VMS Document 36-9 Filed 05/22/20 Page 7 of 9 PageID #: 445
                                                                                    Secondary,
                  Senior                        Participant Name (Primary;          Participant                                                                         First Mortgage First Mortgage   First Mortgage
Project Name      tender        Loan Amount     Secondarvl                          Interest      Maturity Date   Monthly Payments   Locations         Status          Initial Balance Maturity         Recourse
Symphony of       the                                                     ..
Oswego            PrivateBank       1,350,000          Shlorno Rechititz;                              1/1/2019 $         13500.09 Oswego County, FL   Current         5   10,800,000        1/1/2019
Bethany           MinnWest            302,500          Shionicy Rechnitz; NA                           3/2/2018 5          3,025.00 Minneapolis, MN    Current         5    2,420,000         3/2/2020 Recourse
WestGate Tier 1   S&T           S    693,750           Shlorno Rechnitz; NA .                         5/21/2017 $          6,937.50 Rochester, NY      Past Maturity   $    4,125,000        5/21/2020 Recourse
WestGate Tier 2   S&T                462,500           Shlomo Rechnitz; NA . •                        5/22/2017 $          13,093.70 Rochester, NY     Past Maturity   See Above        See Above      Recourse
CareRite -
Courtyard                                                             .        ..
Gardens           5th Third     $   1,200,000          ShlotnaiechnItz;                                9/1/2020 $         13,000.00 Jupiter, FL         urrent         See Below             5/1/2020 Recourse
CareRight
Accentla          5th Third     $   2,659,000                     David 81Orider                       9/1/2020 5         29,913.75 Tampa, FL           urrent         S   39,900,000        5/1/2020 Recourse


Legends SNF Port 5&T            $   2,300,000    ShIomo Rethniti WT9quity(MM)                          4/1/2019 $         23,000.00 Ohio                urrent         5 18,400,000          5/1/2020 Recourse




                                                                                                                                                                                                                                                                                                             A-156
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          Via Email and Overnight Mail

                       , 2018

          BORROWER NAME

          AND CONTACT INFORMATION



          Dear Borrower,

          By this letter you are hereby authorized and directed to make payments due and owing on
   your outstanding loan to Harborview Funding, LLC by wire transfer to the following bank
   accounts:

          For payments of principal:

          For payments of interest:

          (these two accounts are referred to as the "Accounts")

          This letter shall be your good and sufficient irrevocable authorization and direction for
   making such payments to the Accounts. Neither this authorization and direction nor the terms of
   loan and or payment schedule may be modified or revoked unless expressly authorized in writing
   by Mr. David Weldler. Mr. Weldler's contact information is davidzweldlea,gmail.com. Mr.
   Weldler is authorized to act on behalf of the lender of your loan.

          Please contact me should you have any questions.

          Sincerely,



          Ephraim Kutner for Harboview Funding, LLC
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                                                          A-159
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                                                                                                                    non s":
                                                                                                         17"3111711 limn ti"D

                                                                                                             10/30/2018

                                                             r:ir 71=
                                                             TV'             S1 ti"
                                                                      p" -rt Z1
                                                                  71M71p"irr    N"trInI)   intip "Irr
                                                                                   17'71U ;Tip          171 -= iiN111171-D7
                                                                                                                      "rnn7


                                     Rav well. We
       We hope this letter Finds the Rav       We have been waiting
                                                  have been waiting patiently
                                                                    patiently for
                                                                              for the
                                                                                   the Rav
                                                                                       Rav to  announce when
                                                                                            to announce when the
                                                                                                              the
       next "Diyun"      be.
            "Diyun" will be.


       As we wrote to the Ray             the other
                          Rav and copied the  other side
                                                    side on
                                                         on August
                                                            August 21"
                                                                    21st (that
                                                                         (thatletter
                                                                               letterisisappended
                                                                                          appendedbelow),
                                                                                                    below),we
                                                                                                            wedispute
                                                                                                                 dispute
       all of Mr. Rechnitz's claims and we
                  Rechnitz's claims and    have
                                        we have  proof to our stance in  documents,     email, text messages, recorded
                                                                        documents, email, text messages,       recorded
       conversations, and above all witnesses who will come in to testify.


       We wrote there (see below)
                            below) that
                                   that we
                                        we could
                                           could arrange
                                                  arrange for
                                                           forthe
                                                               thewitnesses
                                                                  witnessestotocome
                                                                                comeininasassoon
                                                                                             soonasasSeptember
                                                                                                      September13t  13thh
                                Gedaliah). This
       (the day following Tzom Gedaliah).   Thisletter
                                                 letterwas
                                                       wasshared
                                                            sharedwith  Mr.Rechnitz
                                                                   withMr.  Rechnitzand
                                                                                      andMr.Mr.Weldler
                                                                                                Weldlerasasisisplainly
                                                                                                                plainly
       obvious.


       We are waiting for the Ray
                               Rav to
                                    to announce
                                       announce when
                                                  when the
                                                        thenext
                                                            next "Diyun"
                                                                 "Diyun"will   be.We
                                                                         willbe.    Weneed
                                                                                        neednonomore
                                                                                                 morethan
                                                                                                       thanten
                                                                                                             tendays
                                                                                                                 days
                            materials and notify
       notice to gather our materials     notify our
                                                 our witnesses,
                                                     witnesses, assuming
                                                                assumingthat
                                                                         that their
                                                                               theirtravel
                                                                                     travelschedule
                                                                                            scheduleallows.
                                                                                                     allows.


            Weldler's actions
       Mr. Weldler's    actions of
                                of dictating
                                   dictating to
                                             to the
                                                the Ray
                                                    Rav what
                                                        what his Psak should be and how to write it are totally out
                                                             his Psak                                           out of
       line in all circumstances.
                   circumstances.


       However, in our situation itit isis totally out
                                                     outof
                                                         of place
                                                             place as
                                                                   as he knows that
                                                                      he knows  that a "Diyun" is pending
                                                                                                  pending where we
                                                                                                                we will
                                                                                                                   will
       bring witnesses and proofs
                           proofs toto refute
                                         refute all
                                                 all of
                                                     of his and Mr.
                                                        his and  Mr. Rechnitz's
                                                                      Rechnitz'sclaims.
                                                                                 claims.


       We await the Rav's announcement for
                                       for when
                                           when the
                                                the next "Diyun will
                                                    next "Diyun" will be.
                                                                      be.


       B'Kavod HaTorah
               HaTorah




I' J 71 10                 r-ci pp
            C- `1:1* -1 2 ‘Cci
         q) Ce•                 HA
       CC.
       CC. David Weldler
           Shlomo Yehuda Rechnitz
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                                           A-160
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   --------------------


   Begin forwarded message:


           From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
           Date: November 1, 2018 at 9:14:56 AM EDT
           To: "leahtrenkcohen@gmail.com" <leahtrenkcohen@gmail.com>, Ephraim
           Kutner <ekutner@harborviewcp.com>, Jonathan Kutner
           <jkutner@harborviewcp.com>
           Cc: Shlomo Yehuda Rechnitz <shlomohealth@gmail.com>
           Subject: Fwd: Letter to Rav Dovid Cohen
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                                                     A-161

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        ﻿


              Dear Rabbi Cohen,
              Dear Rabbi Cohen,

              II write
                 write on
                       on behalf
                           behalf of  Shlomo Yehuda
                                   of Shlomo   Yehuda Rechnitz
                                                         Rechnitz in    response to
                                                                     in response  to the
                                                                                     the letter
                                                                                          letter of
                                                                                                 of
               Ephraim
               Ephraim Kutner, Jonathan Kutner and Rabbi Bechhoffer dated October 30,
                          Kutner,  Jonathan   Kutner   and  Rabbi   Bechhoffer   dated  October    30,
               2018.
               2018. Mr.
                       Mr. Rechnitz
                            Rechnitz objects   to the
                                       objects to the Kutners’     request to
                                                        Kutners' request    to hold
                                                                               hold another
                                                                                     another
               hearing on
               hearing      an issue
                         on an         that Rabbi
                                issue that  Rabbi Cohen
                                                  Cohen already
                                                            already decided
                                                                       decided on  August 14.
                                                                               on August    14.
               Rabbi
               Rabbi Cohen
                      Cohen already     heard testimony
                               already heard   testimony and      ruled based
                                                            and ruled    based upon   the
                                                                                upon the
              testimony that was presented at the hearing that Mr. Rechnitz is
               testimony   that  was  presented   at the   hearing    that Mr. Rechnitz  is owed
                                                                                            owed
               $8,967,750,
               $8,967,750, which
                              which represented
                                     represented thethe principal
                                                         principal balance    of the
                                                                     balance of  the mezzanine
                                                                                     mezzanine
               loans
               loans at  the time
                      at the  time of  the hearing,
                                    of the           that the
                                           hearing, that   the loan
                                                                loan documents     should be
                                                                       documents should     be
               turned over
              turned    over to
                              to Mr.
                                 Mr. Rechnitz,
                                     Rechnitz, and    that the
                                                 and that   the borrowers    should be
                                                                 borrowers should     be directed
                                                                                         directed toto
               deal  directly  with Mr.  Rechnitz  or  his representative.     Notably, the
               deal directly with Mr. Rechnitz or his representative. Notably, the Kutners   Kutners
               do not dispute
               do not            that Rabbi
                        dispute that   Rabbi Cohen
                                             Cohen already
                                                     already so so decided
                                                                    decided at  the hearing,
                                                                             at the hearing, or   that
                                                                                               or that
               they have
              they   have not
                           not followed    that psak
                                followed that         to date.
                                                psak to   date.

              We,  therefore, respectfully
              We, therefore,               request once
                              respectfully request once again  that Rabbi
                                                         again that         Cohen sign
                                                                     Rabbi Cohen   sign and
                                                                                        and
              notarize the
              notarize the proposed
                           proposed award
                                      award requiring  the Kutners
                                             requiring the          to follow
                                                           Kutners to  follow Rabbi
                                                                              Rabbi
              Cohen’s psak
              Cohen's       (which they
                       psak (which they thus
                                         thus far
                                              far have
                                                  have not
                                                        not done in any
                                                            done in      respect), so
                                                                    any respect),  so that
                                                                                      that
              the award
              the award can
                         can be
                             be confirmed   in court.
                                 confirmed in  court.

              Thank you
              Thank you


        David Weldler on behalf of Shlomo Rechnitz
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                                                   A-162
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          'ma rwrn
      pnw    oltypiin

        In the Matter of the Din Torah Arbitration Between

        Shlomo Yehuda Rechnitz
                                                                    1P-R44POSFIE8-ARBITRATION
        and                                                         AWARD RELATING TO
                                                                    MEZZANINE LOAN DISPUTE
        Ephraim Kutner and Jonathan Kutner



               On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"), on the one hand, and Ephraim

        Kutner and Jonathan Kutner (the "Kutners"), on the other hand, appeared before me to arbitrate

        various disputes relating to their business dealings that they had been discussing and trying to

        resolve for many months prior to their appearance. The parties signed an arbitration agreement

        which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

        by my decision. The first discrete issue that the parties presented to me for a ruling related to

        certain mezzanine loans that were made using the money of SYR ("Mezzanine Loans"). The

        Mezzanine Loans consist of the loans attached as Exhibit 2 which is the most recent update sent

        by the Kutners to SYR concerning the outstanding loans.

                It was undisputed by the parties that SYR had provided millions of dollars to fund the

        Mezzanine Loans and that SYR was owed $8,967,750 relating to those loans, which represented

        the principal balance of the Mezzanine Loans at the time of the hearing.

                At the arbitration, I issued an oral ruling requiring the Kuttners to send a letter irrevocably

         directing the Mezzanine Loans borrowers to repay the Mezzanine Loans directly to SYR and for

         the interest that is repaid to be held in a separate account controlled by SYR where it shall remain

         until SYR is fully repaid for the moneys he advanced relating to the Mezzanine Loans.

                This is my written award concerning the Mezzanine Loans dispute.
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              IT IS HEREBY ORDERED AND ADJUDGED THAT:

              1.     The Mezzanine Loans borrowers shall be directed to repay their loans directly to

       SYR, including the interest payments that are made. The letter attached as Exhibit 3 shall be sent

       to the Mezzanine Loans borrowers by the Kutners. In the event that the Mezzanine Loans

       borrowers require other instructions to begin making payments directly to SYR, the Kutners will

       do what is needed to make sure that the moneys are paid directly to SYR.

              2.      The Kutners shall respond to all questions from SYR or his agents regarding the

       Mezzanine Loans, and turn over to SYR all documents relating to the Mezzanine Loans including

       the Mezzanine Loans agreements.

              3.      All funds received by the Kutners or any entities controlled by the Kutners

       including Harborview Capital Funding LLC from the Mezzanine Loan borrowers or their agents

       shall be immediately turned over to SYR.

               4.     SYR shall receive all loan repayments relating to the Mezzanine Loans and will

        place the principal in one account to be used to repay SYR for the moneys he provided to fund the

        Mezzanine Loans, and the interest in another account where it shall remain until SYR is fully

        repaid for the moneys he advanced to fund the Mezzanine Loans.

               5.     The Kutners and all entities they control shall cooperate and not interfere with the

        instructions to the Mezzanine Loan borrowers to make all loan payments directly to SYR.

               6.      If requested by SYR, the Kutners shall execute any and all additional documents

        that will allow SYR or his agent to control, manage and act on behalf of the lender in connection

        with the Mezzanine Loans.

               7.      This award constitutes a final award concerning the dispute regarding the

        Mezzanine Loans, as well as constituting an award of injunctive relief issued to protect SYR's
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       right to receive back the money that he loaned which both parties agreed constitutes all of the

       capital that was raised to fund the Mezzanine Loans.

              8.        I retain jurisdiction concerning the Mezzanine Loans dispute to the extent that the

       Kutners fail to follow this award or a Court decides not to confirm this award. Additionally, I

       retain jurisdiction concerning the other business disputes between the parties.
               Is,r0 reAreeho

       Dated: Getaber ..f 2018
              Brooklyn, New York

                                                                    Rabbi Dovid Cohen

       STATE OF NEW YORK)
                                         SS.
       COUNTY OF KINGS)
                                       tiove.m e r
              On the            day of QateisEr, in the year 2018, before me, the undersigned, personally

       appeared Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to the
                                                                                Novi b-er
       individual whose name is subscribed within the arbitration award dated Qatar& 2018 and

       acknowledged to me that he executed the same in his capacity, and that by his signature on the

       arbitration award, Rabbi Dovid Cohen executed the arbitration award.




         otary Public
                                         MIS
                              NANO s        0INveltek
                        1101ARY PUBLIC.
                                No oioAssgrais
                             Clueffed In Op Cm*
                                             4.20 AA
                         Oxorkolon Mae Dna
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               Mu mil
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             Via Email and Overnight Mail

                           , 201 8

             BORROWER NAME

             AND CONTACT INFORMATION



              Dear Borrower,

              By this letter you are hereby authorized and directed to make payments due and owing on
       your outstanding loan to Harborview Funding, LLC by wire transfer to the following bank
       accounts:

              For payments of principal:

              For payments of interest

              (these two accounts are referred to as the "Accounts")

              This letter shall be your good and sufficient irrevocable authorization and direction for
       making such payments to the Accounts. Neither this authorization and direction nor the terms of
       loan and or payment schedule may be modified or revoked unless expressly authorized in writing
       by Mr. David Weldler. Mr. Weldler's contact information is davidzweldler@gmail.com. Mr.
       Weldler is authorized to act on behalf of the lender of your loan.

              Please contact me should you have any questions.

              Sincerely,



              Ephraim Kutner for Harboview Funding, LLC
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                                CONFIDENTIAL SETTLEMENT
                                CONFIDENTIAL SETTLEMENT COMMUNICATION
                                                        COMMUNICATION



  The following
  The following terms
                terms represent
                      represent what
                                what we are prepared
                                     we are          to accept
                                            prepared to        in order
                                                        accept in       facilitate the
                                                                  order facilitate the repayment
                                                                                       repayment of
                                                                                                 of all
                                                                                                    all
  outstanding loans.
  outstanding loans.

  In order
  In       to put
     order to     things in
              put things    the proper
                         in the proper perspective,
                                       perspective, we
                                                    we would
                                                       would like to lay
                                                             like to lay out some historical
                                                                         out some            facts.
                                                                                  historical facts.

           1. $1,000,000
           1. $1,000,000 personal
                         personal loan
                                  loan interest free loan
                                       interest free loan to
                                                          to E.
                                                             E. Kutner
                                                                Kutner —
                                                                       – was to be
                                                                         was to    repaid within
                                                                                be repaid        12 months
                                                                                          within 12 months

           2.
           2. $20,000,000  in loans
              $20,000,000 in  loans —
                                    – interest
                                      interest free
                                                free -- that
                                                        that enabled you to
                                                             enabled you to
                 a.  Build your
                 a. Build   your business
                                 business
                 b.  Facilitate mezzanine
                 b. Facilitate               loans
                                mezzanine loans
                 c.  Pursue lawsuit
                 c. Pursue    lawsuit with
                                      with Greystone
                                            Greystone
                 d.  Draw substantial
                  d. Draw   substantial salaries
                                         salaries

           3. The following
           3. The following is
                             is an  attempt to
                                an attempt   to quantify  the benefits
                                                quantify the            that Kutner
                                                               benefits that Kutner has
                                                                                    has yielded
                                                                                        yielded in
                                                                                                in comparison
                                                                                                   comparison
              to where
              to where we   stand today.
                         we stand   today.
                  a.   Monies taken
                  a. Monies     taken out
                                       out 2016
                                            2016 —– Q2
                                                    Q2 2017
                                                        2017 —– EE Kutner
                                                                   Kutner $$ 3,201,000
                                                                              3,201,000
                  b.   Monies taken
                  b. Monies     taken out
                                       out 2016
                                            2016 -- Q2
                                                    Q2 2017
                                                        2017 JJ Kutner
                                                                   Kutner $$ 1,161,883
                                                                              1,161,883
                  c.   Projected profit
                  c. Projected    profit— – balance
                                            balance 2017
                                                     2017                  $18,000,000
                                                                           $18,000,000
                  d.   Projected Profit
                  d. Projected    Profit —– 2018  (unknown)
                                            2018 (unknown)                 $$ 5,000,000
                                                                              5,000,000
                  e.
                  e. Charitable
                       Charitable donations
                                    donations -- through
                                                 through Q2Q2 2017
                                                               2017        $  1,557,486
                                                                            $ 1,557,486
                  f. Charitable
                  f.   Charitable donations
                                    donations Q2
                                               Q2 2017-2018     (unknown) $$ 4,000,000
                                                   2017-2018 (unknown)        4,000,000
                  g.   Benefits  to other  family  members
                  g. Benefits to other family members
                  h.   Interest income
                  h. Interest             from mezz
                                income from     mezz loans
                                                      loans in
                                                            in excess
                                                               excess of
                                                                       of $  1,000,000 per
                                                                           $ 1,000,000  per annum
                                                                                            annum
                  i. vacations
                  i.   vacations on
                                  on books
                                      books of
                                             of company    (est)
                                                company (est)              $$ 500,000
                                                                               500,000

           4. Pesak issued
           4. Pesak issued by Rabbi Dovid
                           by Rabbi   Dovid Cohen    mandating
                                              Cohen mandating
                 a.   Direct payment
                  a. Direct  payment by by borrowers
                                           borrowers to to rechnitz
                                                           rechnitz
                 b.   Set aside
                  b. Set        of all
                          aside of all mezz
                                       mezz interest   to ensure
                                              interest to        repayment of
                                                          ensure repayment of principle
                                                                              principle
                 c.   No modification
                  c. No   modification ofof loans  (extension etc)
                                            loans (extension   etc)

  Too date
  Too date there
           there has
                 has been
                     been no
                          no adherence
                             adherence to
                                       to the
                                          the pesak.
                                              pesak.




                                              SR —YTR
                                              SR –YTR Current
                                                      Current Status
                                                              Status

      1.
      1.   Outstanding
           Outstanding principle
                       principle as
                                 as of July 2019
                                    of July  2019 $9,263,960  (net of
                                                  $9,263,960 (net     all repayments)
                                                                   of all repayments)
      2.
      2.   Other
           Other exposure
                  exposure Glenner
                           Glenner loan
                                    loan -- $5,000,000
                                            $5,000,000
      3.
      3.   Fully exposed
           Fully exposed on
                         on mezz  loans (Kutner
                            mezz loans           not willing
                                        (Kutner not          to participate
                                                     willing to              in losses
                                                                participate in         if any)
                                                                                losses if any)
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                                             Proposed terms
                                             Proposed terms of
                                                            of Settlement
                                                               Settlement

        1. Adherence
        1. Adherence to to Rabbi
                            Rabbi Cohen's
                                   Cohen’s pesak,
                                            pesak, except
                                                    except as   to interest
                                                             as to           set aside,
                                                                   interest set  aside, which
                                                                                         which will
                                                                                                will be
                                                                                                     be limited
                                                                                                        limited toto
           loans
           loans past the original
                 past the   original due
                                      due date
                                           date
        2. Legal settlement
        2. Legal settlement —   – all
                                  all monthly
                                      monthly payments
                                               payments (150K
                                                          (150K per   month) allocated
                                                                  per month)               to repayment
                                                                                allocated to  repayment of   of 3
                                                                                                                3
           million dollars of principle. Thereafter 1/3 to Rechnitz — 2/3 to Kutner. Can be facilitated by
           million dollars   of principle. Thereafter  1/3  to Rechnitz   – 2/3 to  Kutner.  Can be   facilitated  by
           either
           either direct
                  direct pay
                          pay byby Greystone
                                   Greystone toto Rechnitz
                                                  Rechnitz or  signed confession
                                                            or signed  confession of    judgements and
                                                                                     of judgements     and personal
                                                                                                            personal
           guarantee ensuring
           guarantee   ensuring payment
                                   payment toto Rechnitz
                                                Rechnitz immediately
                                                          immediately upon       receipt by
                                                                          upon receipt       Kutner from
                                                                                          by Kutner  from
           Greystone
           Greystone
        3. Payment of
        3. Payment       all exit
                     of all       fees, additional
                             exit fees,            loan proceeds,
                                        additional loan proceeds, hudhud origination    fees or
                                                                           origination fees  or any
                                                                                                any other
                                                                                                     other monies
                                                                                                             monies
           earned
           earned by  Harborview from
                   by Harborview      from mezz
                                            mezz related
                                                  related loans.   The first
                                                           loans. The  first 2.9  million earned,
                                                                             2.9 million  earned, first
                                                                                                   first monies
                                                                                                         monies outout
           to be
           to be repaid
                 repaid toto Rechnitz.
                              Rechnitz.
        4. Letter
        4. Letter to
                  to R'
                     R’ Cohen
                        Cohen
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   Begin forwarded message:


           From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
           Date: February 17, 2020 at 6:16:14 PM EST
           To: "leahtrenkcohen@gmail.com" <leahtrenkcohen@gmail.com>
           Cc: Ephraim Kutner <ekutner@harborviewcp.com>, Shlomo Yehuda Rechnitz
           <shlomohealth@gmail.com>
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        Subject: Din Torah continuation


        ﻿
            CAUTION: External Email


        Dear Rabbi Cohen,
        Dear Rabbi Cohen,

        At the
        At the request   of Shlomo
                request of  Shlomo Yehuda
                                    Yehuda Rechnitz,
                                             Rechnitz, II would
                                                          would like  to ask
                                                                 like to ask Rabbi
                                                                              Rabbi Cohen
                                                                                    Cohen toto
        reconvene
        reconvene thethe din torah in
                         din torah in order  to achieve
                                      order to  achieve aa resolution/psak
                                                           resolution/psak on    the balance
                                                                              on the balance of   the
                                                                                               of the
        items  that Rabbi
        items that         Cohen has
                    Rabbi Cohen   has yet
                                       yet to
                                           to pasken
                                              pasken on.
                                                      on. II attach
                                                             attach hereto    the copy
                                                                     hereto the        of the
                                                                                  copy of the different
                                                                                               different
        issues  that were
        issues that        to be
                     were to  be covered
                                 covered by   the din
                                          by the      torah. This
                                                  din torah.  This had
                                                                    had been
                                                                        been provided   to Rabbi
                                                                               provided to  Rabbi
        Cohen
        Cohen and    to the
                 and to the forensic
                            forensic accountant
                                     accountant at   the onset
                                                  at the         of the
                                                          onset of  the din  torah.
                                                                         din torah.

        II can
           can be reached at
               be reached at 212
                             212 203 1388.
                                 203 1388.

        Efraim
        Efraim Kutner
               Kutner can
                      can be
                          be reached
                             reached at
                                     at 646
                                        646 209 1025. His
                                            209 1025. His email
                                                          email address
                                                                address is
                                                                        is
        ekutner@harborviewcp.com
        ekutner@harborviewcp.com

        We
        We would
           would make
                 make ourselves
                      ourselves available
                                available as
                                          as soon as Rabbi
                                             soon as Rabbi Cohen
                                                           Cohen could schedule the
                                                                 could schedule the
        meeting.
        meeting.

        Thank you
        Thank you

        Dovid
        Dovid Weldler for Shlomo
              Weldler for Shlomo Yehuda
                                 Yehuda Rechnitz.
                                        Rechnitz.
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                                                Din Torah
                                                Din Torah —– Asks
                                                             Asks



     1. Direct
     1. Direct payment
               payment ofof mezzanine
                            mezzanine loans to Shlomo—
                                      loans to Shlomo – granted
                                                        granted
     2. Production of
     2. Production    financial statements
                   of financial statements —
                                           – granted
                                             granted

  Next items
  Next items for
             for determination/asks
                 determination/asks

     1.
     1.   Confidentiality
          Confidentiality
     2.
     2.   Pro-rata share
          Pro-rata share of  mezzanine losses
                          of mezzanine   losses ifif any
                                                     any
     3.
     3.   Pro-rata share
          Pro-rata share of
                          of Glenner
                             Glenner losses,  if any
                                      losses, if any
     4.
     4.   Beneficial ownership
          Beneficial ownership ofof CLAT  (charitable fund
                                    CLAT (charitable     fund —– funded
                                                                 funded from
                                                                        from business
                                                                              business proceeds)
                                                                                        proceeds)
     5.
     5.   Quantification  of pro-rata
          Quantification of           share of
                             pro-rata share  of income
                                                 income —  – and
                                                             and payment   thereof, if
                                                                  payment thereof,  if any
                                                                                       any
     6.
     6.   Quantification  of value
          Quantification of  value of
                                   of business
                                      business andand establish
                                                       establish buy-out  value
                                                                  buy-out value
     7.
     7.   Ensure that
          Ensure that they
                       they can  not just
                            can not  just close
                                          close down     this business
                                                 down this    business and
                                                                       and reopen
                                                                           reopen in
                                                                                   in another  name
                                                                                       another name
     8.
     8.   Control
          Control of lawsuit —
                  of lawsuit  – based
                                based upon
                                       upon 44 million    funded
                                               million funded
     9.
     9.   DESTRUCTION OF
          DESTRUCTION         ILLEGAL RECORDINGS
                          OF ILLEGAL   RECORDINGS (AFTER         RABBI COHEN
                                                        (AFTER RABBI   COHEN HAS
                                                                               HAS HEARD
                                                                                    HEARD THEM
                                                                                            THEM IF
                                                                                                  IF HE IS SO
                                                                                                     HE IS SO
          INCLINED)
          INCLINED)
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  L

        From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
        Date: March 9, 2020 at 9:19:51 AM EDT
        To: Rabbi Dovid Cohen <leahtrenkcohen@gmail.com>
        Cc: Ephraim Kutner <ekutner@harborviewcp.com>, Jonathan Kutner
        <jkutner@harborviewcp.com>, Shlomo Yehuda Rechnitz
        <shlomohealth@gmail.com>
        Subject: Fwd: Din Torah between Shlomo Yehuda Rechnitz v. Ephraim
        Kutner and Jonathan Kutner


        ﻿
            CAUTION: External Email




                ﻿

                    Dear Rabbi
                    Dear  Rabbi Cohen,
                                  Cohen,
                    II am
                       am writing
                          writing to  you on
                                   to you on behalf  of Shlomo
                                              behalf of  Shlomo Yehuda
                                                                Yehuda Rechnitz
                                                                        Rechnitz
                    to ask
                    to      that the
                        ask that the Rav
                                      Ray issue
                                          issue aa written
                                                   written award
                                                           award concerning
                                                                  concerning the
                                                                             the
                    dispute
                     dispute between
                              between Mr.
                                        Mr. Rechnitz
                                             Rechnitz and   Ephraim Kutner
                                                       and Ephraim  Kutner and
                                                                           and
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               Jonathan Kutner
               Jonathan      Kutner (the (the “Kutners”)
                                               "Kutners") relatingrelating to  to certain
                                                                                   certain
               mezzanine loans
               mezzanine        loans that
                                         that Mr.
                                                Mr. Rechnitz         funded (“Mezzanine
                                                       Rechnitz funded            ("Mezzanine
               Loans”),
               Loans"), as as well
                                 well asas proceeds
                                           proceeds from  from aa lawsuit
                                                                      lawsuit against
                                                                                   against
               Greystone Funding
               Greystone       Funding that that Mr.Mr. Rechnitz
                                                          Rechnitz fundedfunded on    on behalf
                                                                                          behalf
               of the
               of the Kutners
                       Kutners (the   (the “Greystone
                                            "Greystone Lawsuit”)
                                                               Lawsuit") which  which was was
               previously
               previously discussed
                               discussed with with Rav Ray Cohen
                                                            Cohen that  that entitled
                                                                                entitled Mr. Mr.
               Rechnitz to
               Rechnitz     to the     return of
                                 the return       of the
                                                     the expenses
                                                           expenses he      he funded,
                                                                                 funded, as  as
               well
               well as
                     as 30
                         30 percent
                              percent of   of the
                                               the Kutners’
                                                     Kutners' recovery
                                                                    recovery above above the the
               expenses.
               expenses.
               As the
               As  the Rav
                       Ray will will recall,   more than
                                      recall, more       than aa year
                                                                    year ago,
                                                                            ago, thethe Rav
                                                                                          Ray
               ruled, among
               ruled,  among other  other things,
                                             things, that
                                                        that thethe Kutners
                                                                      Kutners and   and the
                                                                                          the
               entities
               entities they
                          they control
                                  control mustmust direct
                                                       direct the the Mezzanine
                                                                        Mezzanine Loans   Loans
               borrowers
               borrowers to     to make
                                    make payments
                                            payments directly
                                                            directly to   to Mr.
                                                                              Mr. Rechnitz,
                                                                                     Rechnitz,
               with
               with the
                     the interest
                           interest payments
                                         payments to     to be
                                                             be held
                                                                   held in in escrow
                                                                              escrow until until
               Mr.
               Mr. Rechnitz
                    Rechnitz is    is repaid
                                       repaid in    full, and
                                                 in full,  and to  to inform
                                                                       inform the  the
               Mezzanine
               Mezzanine Loans   Loans borrowers
                                          borrowers that  that Mr. Mr. Rechnitz
                                                                         Rechnitz or    or his
                                                                                            his
               agent
               agent was
                      was authorized
                               authorized to     to act
                                                    act onon behalf
                                                               behalf of   of the    lender of
                                                                               the lender      of
               the Mezzanine
               the  Mezzanine Loans.   Loans. The The Kutners
                                                        Kutners failed
                                                                     failed to      send out
                                                                                to send     out
               such letters.
               such  letters. The  The Rav      retained jurisdiction
                                          Ray retained       jurisdiction over           the
                                                                                  over the
               Mezzanine
               Mezzanine Loans   Loans matter
                                          matter in  in the
                                                         the event
                                                               event the the Kutners
                                                                                Kutners did did
               not abide
               not  abide by      the Rav’s
                              by the     Ray's ruling.
                                                  ruling. Concerning
                                                            Concerning the       the
               Mezzanine
               Mezzanine Loans   Loans dispute,
                                          dispute, we  we are
                                                            are asking
                                                                   asking the the RavRay toto
               issues
               issues an     order allowing
                       an order        allowing Mr.       Rechnitz to
                                                    Mr. Rechnitz          to direct
                                                                              direct thethe
               Mezzanine
               Mezzanine Loans   Loans borrowers
                                          borrowers to    to repay
                                                               repay the the Mezzanine
                                                                                Mezzanine
               Loans
               Loans directly
                       directly to   to SYR
                                         SYR and
                                              and for for the
                                                           the interest
                                                                  interest thatthat is is repaid
                                                                                          repaid
               to be
               to be held
                      held in  in aa separate
                                      separate account            controlled by
                                                    account controlled             by SYR
                                                                                        SYR
               where
               where it it shall
                           shall remain        until SYR
                                    remain until        SYR is    fully repaid
                                                             is fully    repaid for  for the
                                                                                          the
               moneys he
               moneys      he advanced
                                 advanced relating
                                               relating to  to the
                                                                 the Mezzanine
                                                                        Mezzanine Loans.  Loans.
               Attached is
               Attached      is aa spreadsheet
                                   spreadsheet showing showing that  that Mr.Mr. Rechnitz
                                                                                    Rechnitz is  is
               owed $7,617,750
               owed   $7,617,750 relating relating to      the Mezzanine
                                                       to the     Mezzanine Loans,  Loans,
               which
               which represents
                       represents the     the current
                                                current principal
                                                            principal balance
                                                                            balance of   of the
                                                                                            the
               Mezzanine
               Mezzanine Loans.  Loans.
               Additionally, there
               Additionally,      there is is no
                                              no dispute
                                                    dispute that that the
                                                                        the
               Greystone Lawsuit
               Greystone       Lawsuit was was settled
                                                   settled forfor $8$8
               million. Mr.
               million.    Mr. Rechnitz
                                  Rechnitz is      owed $3,071,009
                                                is owed     $3,071,009
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               that was
               that was provided
                           provided to   to thethe Kutners
                                                    Kutners to       finance
                                                                 to finance
               their lawsuit
               their lawsuit against         Greystone Funding,
                                against Greystone             Funding,
               plus
               plus $1,328,697        representing SYR's
                    $1,328,697 representing                SYR’s 30  30
               percent
               percent share
                          share of of the     recovery over
                                       the recovery         over thethe
               expenses
               expenses fromfrom that
                                    that lawsuit.
                                            lawsuit. Greystone
                                                         Greystone has    has
               been
               been providing
                      providing $150,000
                                     $150,000 per          month to
                                                     per month        to the
                                                                          the
               Kutners   (to date,
               Kutners (to    date, the the Kutners
                                               Kutners havehave received
                                                                   received
               in
               in excess
                  excess ofof $1.4
                               $1.4 million
                                       million of  of which
                                                      which nothing
                                                                 nothing
               has
               has been    transferred to
                   been transferred            to Mr.    Rechnitz) and
                                                   Mr. Rechnitz)        and
               we
               we ask
                   ask that
                        that the
                               the Rav
                                     Ray issue
                                            issue an an award
                                                         award
               directing   that all
               directing that      all of
                                       of that     money moving
                                           that money         moving
               forward to
               forward    to be
                              be paid
                                   paid directly
                                          directly to  to Mr.     Rechnitz
                                                           Mr. Rechnitz
               to cover
               to cover the     millions that
                          the millions        that hehe is
                                                         is owed
                                                             owed by  by the
                                                                           the
               Kutners
               Kutners with      respect to
                         with respect             the Greystone
                                               to the   Greystone
               Lawsuit,
               Lawsuit, asas well
                              well as    other amounts
                                      as other      amounts that  that are
                                                                         are
               owing.
               owing.
               You have
               You  have attempted
                            attempted to          meet with
                                              to meet     with allall parties,
                                                                       parties, but
                                                                                  but the
                                                                                        the
               Kutners
               Kutners have
                         have mademade it   it clear
                                                clear that    they do
                                                       that they           not intend
                                                                      do not    intend to to
               appear
               appear before
                        before Rav  Ray Cohen.
                                          Cohen. Their Their response
                                                                response is   is that
                                                                                 that they
                                                                                        they
               never agreed
               never   agreed to  to arbitrate
                                      arbitrate thesethese disputes
                                                               disputes and and the
                                                                                  the parties
                                                                                        parties
               have settled
               have  settled thethe matter
                                       matter and, and, therefore,
                                                          therefore, there there isis no
                                                                                      no basis
                                                                                          basis
               to Rav
               to Ray Cohen
                       Cohen to   to adjudicate
                                      adjudicate anything.
                                                        anything. The   The Rav
                                                                              Ray has
                                                                                    has
               already
               already ruled
                         ruled that      the Kutners
                                  that the      Kutners agreed
                                                             agreed to  to arbitrate
                                                                            arbitrate these
                                                                                         these
               disputes
               disputes before
                           before Rav Ray Cohen,
                                             Cohen, and and it it is
                                                                  is Mr.
                                                                     Mr. Rechnitz’s
                                                                            Rechnitz's
               position   that the
               position that     the Rav       should reject
                                       Ray should                  this argument
                                                         reject this     argument once  once
               again.   The Kutners
               again. The     Kutners signed
                                           signed aa binding
                                                         binding agreement
                                                                      agreement to    to
               arbitrate
               arbitrate these
                           these disputes,
                                     disputes, and  and the
                                                          the Mezzanine
                                                                 Mezzanine Loans,Loans,
               Greystone Lawsuit
               Greystone     Lawsuit and          other business
                                          and other        business disputes
                                                                         disputes were
                                                                                     were allall
               addressed
               addressed at  at the
                                 the hearing
                                       hearing that         took place
                                                    that took       place inin August
                                                                               August
               2018.   They have
               2018. They      have refused
                                        refused to   to abide
                                                         abide by      the Rav’s
                                                                   by the    Ray's decisions
                                                                                     decisions
               to date.
               to date. Moreover,
                           Moreover, the    the documents
                                                   documents submitted
                                                                     submitted by   by the
                                                                                        the
               Kutners
               Kutners toto Rav
                             Ray Cohen
                                    Cohen on    on their     face demonstrate
                                                    their face      demonstrate that   that
               there was
               there  was andand hashas been
                                          been no  no settlement
                                                       settlement of     of the
                                                                             the parties’
                                                                                  parties'
               disputes.
               disputes. To To the
                                 the extent
                                       extent that that Rav
                                                         Ray Cohen
                                                                Cohen requires
                                                                           requires further
                                                                                       further
               submissions on
               submissions           that issue,
                                on that      issue, wewe cancan show       months of
                                                                  show months         of
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               discussions   following the
               discussions following     the two
                                             two emails   submitted by
                                                  emails submitted        the
                                                                       by the
               Kutners   showing that
               Kutners showing     that the
                                         the parties
                                             parties have
                                                      have never    come to
                                                            never come    to an
                                                                             an
               agreement,
               agreement, and and the
                                  the emails
                                       emails themselves
                                               themselves indicate
                                                             indicate that
                                                                       that
               there
               there was
                      was no
                           no agreement,     just negotiations
                               agreement, just    negotiations which
                                                                  which have
                                                                         have
               continued
               continued forfor an
                                an extended
                                   extended period     of time.
                                               period of  time.
               If the
               If the Rav
                      Rav accepts
                           accepts Mr.
                                    Mr. Rechnitz’s
                                          Rechnitz's position,
                                                      position, we   have
                                                                 we have
               attached
               attached aa proposed
                             proposed award
                                        award that
                                                that we
                                                      we would
                                                          would ask
                                                                  ask the
                                                                      the Rav
                                                                          Rav
               to
               to sign
                   sign which
                        which will
                               will allow
                                    allow Mr.
                                           Mr. Rechnitz   to secure
                                                Rechnitz to  secure some
                                                                      some of
                                                                            of
               the  multi-millions of
               the multi-millions   of dollars  he is
                                        dollars he is owed
                                                      owed byby the
                                                                 the Kutners.
                                                                     Kutners.
               In addition,
               In  addition, we
                              we will
                                 will be
                                      be making
                                          making aa further
                                                     further submission
                                                              submission
               concerning    other amounts
               concerning other                that are
                                    amounts that    are owing
                                                         owing toto Mr.
                                                                    Mr.
               Rechnitz   that were
               Rechnitz that   were discussed
                                      discussed at   the prior
                                                  at the prior arbitration
                                                                arbitration
               hearing.
               hearing.
               Sincerely,
               Sincerely,
               David
               David Weldler
                       WeIdler       
             Case 20-1978, Document 69, 12/14/2020, 2993537, Page188 of 206
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                                               A-182

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  In the Matter of the Din Torah Arbitration Between

  Shlomo Yehuda Rechnitz
                                                             [PROPOSED] ARBITRATION
  and                                                        AWARD RELATING TO
                                                             MEZZANINE LOAN AND JOINT
  Ephraim Kutner and Jonathan Kuthe mner                     VENTURE DISPUTE



                                    Yehuda Rechnitz
         On August 14, 2018, Shlomo Yehuda Rechnitz ("SYR"),
                                                    (“SYR”), on
                                                             on the
                                                                the one
                                                                    one hand,
                                                                        hand, and
                                                                              and Ephraim
                                                                                  Ephraim

  Kutner and
  Kutner and Jonathan Kutner (the
             Jonathan Kutner (the "Kutners"),
                                  “Kutners”), on
                                              on the
                                                 the other
                                                     other hand,
                                                           hand, appeared
                                                                 appeared before
                                                                          before me
                                                                                 me to
                                                                                    to arbitrate
                                                                                       arbitrate

  various disputes relating to their business dealings that they had been discussing and trying to

  resolve for many months prior to their appearance. The parties signed an arbitration agreement

  which is attached as Exhibit 1 to this decision and award pursuant to which they agreed to abide

  by my decision. At that time several issues were discussed including, but not limited to, a dispute

  regarding (a) the repayment of certain mezzanine loans that were made using the money of SYR

  (“Mezzanine Loans,”
  ("Mezzanine Loans," see Exhibit 2); and (b) the repayment of a loan provided by SYR to the

  Kutners in connection with a lawsuit between Greystone Funding Corp. and the Kutners (the

  “Greystone Lawsuit"),
  "Greystone Lawsuit”), and
                        and aa sharing
                               sharing agreement
                                       agreement from any recovery
                                                 from any recovery for
                                                                   for that
                                                                       that lawsuit
                                                                            lawsuit equal to 30

  percent of the recovery from the lawsuit after subtracting the amount spent by SYR to finance the

  lawsuit.

         It was undisputed by the parties that SYR had provided millions of dollars to fund the

  Mezzanine Loans and the Greystone Lawsuit. SYR has provided updated information establishing

  that he is owed $7,617,750 relating to the Mezzanine Loans, which represents the current principal

  balance of the Mezzanine Loans. Additionally, SYR has provided information establishing that

  the Greystone Lawsuit was settled for $8 million, that SYR is owed $3,071,009 for financing the
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  Kutners in that lawsuit, plus not less than $1,328,697 representing
                                                         representing SYR’s 30 percent
                                                                      SYR's 30 percent share
                                                                                       share of
                                                                                             of the
                                                                                                the

  recovery from that lawsuit.

         I previously issued an oral and written ruling requiring the Kutners to send a letter

  irrevocably directing the Mezzanine Loans borrowers to repay the Mezzanine Loans directly to

  SYR and for the interest that is repaid to be held in a separate account controlled by SYR where it

  shall remain until SYR is fully repaid for the moneys SYR advanced relating to the Mezzanine

  Loans. I retained jurisdiction over the Mezzanine Loans dispute in the event the Kutners failed to

  comply with my ruling, as well as the other disputes that the parties discussed with me at the

  arbitration hearing.

         After more than a year of settlement negotiations that did not result in an agreement, SYR

  requested that the parties meet again with me for a decision on the items that were discussed at the

  first hearing in the arbitration, including the Mezzanine Loans dispute which has not been finally

  resolved. The Kutners have refused to attend a subsequent hearing and claimed that they did not

  submit the disputes to arbitration, only mediation, and that the parties settled all of their disputes.

  I have reviewed the documents submitted by the Kutners and find that on their face, there was no

  settlement of
  settlement of the
                the parties'
                    parties’ disputes.
                             disputes. I also reject the argument by the Kutners that the dispute was

  only submitted to me for mediation, as it was made clear at the hearing that the parties were

  submitting their disputes to me for a legal adjudication, not mediation, and in fact, the Kutners

  were the party that selected me as the arbitrator in this matter and the document signed by the

  parties made clear that the parties were submitting their disputes to me for a decision.
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         Accordingly, this is my decision regarding the Mezzanine Loans and Greysone Lawsuit

  disputes. I will issue a separate decision on the other outstanding disputes.

         IT IS HEREBY ORDERED AND ADJUDGED THAT:

         1.      The Mezzanine Loans borrowers shall be directed to repay their loans directly to

  SYR, including the interest payments that are made. As the Kutners have not sent the letter

  previously directed for them to send to the Mezzanine Loans borrowers, SYR may send letters to

  the Mezzanine Loans borrowers directing them to pay all amounts directly to SYR.

         2.      The Kutners shall respond to all questions from SYR or his agents regarding the

  Mezzanine Loans, and turn over to SYR all documents relating to the Mezzanine Loans including

  the Mezzanine Loans agreements.

         3.      All funds received by the Kutners or any entities controlled by the Kutners

  including Harborview Capital Funding LLC from the Mezzanine Loan borrowers or their agents

  shall be immediately turned over to SYR.

         4.      SYR shall receive all loan repayments relating to the Mezzanine Loans and will

  place the principal in one account to be used to repay SYR for the moneys he provided to fund the

  Mezzanine Loans, and the interest in another account where it shall remain until SYR is fully

  repaid for the moneys he advanced to fund the Mezzanine Loans.

         5.      All amounts still owed by Greystone Funding shall be paid directly to SYR,

  including the $3,071,009 provided by SYR to fund the lawsuit against Greystone, plus the

             representing SYR’s
  $1,328,967 representing       30 percent
                          SYR's 30 percent share
                                           share of
                                                 of the
                                                    the remaining amount recovered
                                                        remaining amount recovered in that
                                                                                   in that

  lawsuit. Any additional amounts from that lawsuit shall be paid to SYR for repayment of amounts

  owing to SYR relating to other outstanding amounts. SYR may contact Greystone Funding

  directly and direct Greystone Funding to make all payments directly to SYR.
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         6.       The Kutners and all entities they control shall cooperate and not interfere with the

  instructions to the Mezzanine Loan borrowers to make all loan payments directly to SYR.

         7.       The Kutners may not modify or extend the terms of the Mezzanine Loans unless

  expressly authorized in writing by Shlomo Yehuda Rechnitz's
                                     Shlomo Yehuda Rechnitz’s representative
                                                              representative Mr. David Weldler.

         8.       The Kutners and all entities they control shall cooperate and not interfere with the

  instructions to Greystone Funding to make all payments relating to the Greystone Lawsuit directly

  to SYR.

         9.       If requested by SYR, the Kutners shall execute any and all additional documents

  that will allow SYR or his agent to control, manage and act on behalf of the lender in connection

  with the Mezzanine Loans or the Kutners in connection the Greystone Lawsuit settlement.

         10.      This award constitutes a final award concerning the dispute regarding the

  Mezzanine Loans and Greystone Lawsuit, as well as constituting an award of injunctive relief

  issued to
  issued to protect
            protect SYR’s right to
                    SYR's right to receive
                                   receive back
                                           back the
                                                the money
                                                    money that
                                                          that he
                                                               he loaned which both
                                                                  loaned which both parties
                                                                                    parties agreed
                                                                                            agreed

  constitutes all of the capital that was raised to fund the Mezzanine Loans, as well as the recovery

  on the Greystone Lawsuit.
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         11.      I retain jurisdiction concerning the Mezzanine Loans and Greystone Lawsuit

  dispute to the extent that the Kutners fail to follow this award or a Court decides not to confirm

                                                                 parties’ other
  this award. Additionally, I retain jurisdiction concerning the parties' other business disputes.

  Dated: March __,, 2020
         Brooklyn, New York
                                                        ___________________________
                                                             Rabbi Dovid Cohen
  STATE OF NEW YORK)
                                ss.:
                                ss..
  COUNTY OF KINGS)

         On the __ day of March, in the year 2020, before me, the undersigned, personally appeared

  Rabbi Dovid Cohen, personally known to me on the basis of satisfactory evidence to the individual

  whose name is subscribed within the arbitration award dated March _, 2020 and acknowledged to

  me that he executed the same in his capacity, and that by his signature on the arbitration award,

  Rabbi Dovid Cohen executed the arbitration award.



  _______________________
  Notary Public
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           EXHIBIT 2
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                                                                                                       Secondary
                                                                                                       Secondary                                                                                                                                            Latest
                                                                                                                                                                                                                                                            Latest
                   Senior
                   Senior                                                                             Participant
                                                                                                      Participant                                                                                       First Mortgage
                                                                                                                                                                                                        First Mortgage   First Mortgage
                                                                                                                                                                                                                         First      NAL   First Mortgage
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                                                                                                                                                                                                                                                            Financials                                                      Latest T12
                                                                                                                                                                                                                                                                                                                            Latest T12
Project Name
Project Name       Lender
                   Lender       Loan Amount
                                Loan Amount     Interest Rate
                                                Interest Rate   Participant Name
                                                                Participant Name (Primary.
                                                                                 (Primary; Secondary)
                                                                                           Secondary) Interest
                                                                                                      Interest      Maturity Date
                                                                                                                    Maturity Date    Monthly Payments
                                                                                                                                     Monthly Payments    Locations
                                                                                                                                                         Locations        Bed Counts
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                                                                                                                                                                                       Status          Initial Balance
                                                                                                                                                                                                       Initial Balance   Maturity
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Bethany
Bethany            MinnWest
                   MinnWest     $
                                $    302,500
                                     302,500         12%
                                                     12%                Shlomo Rechnitz;
                                                                        Shlomo Rechnitz; NA
                                                                                         NA                  n/a
                                                                                                             n/a            3/2/18
                                                                                                                            3/2/18   $$        3,025.00 Minneapolis,
                                                                                                                                               3,025.00 Minneapolis, MN
                                                                                                                                                                     MN        66
                                                                                                                                                                               66      Current
                                                                                                                                                                                       Current         $$ 2,420,000
                                                                                                                                                                                                            2,420,000          3/2/20
                                                                                                                                                                                                                               3/2/20 Recourse
                                                                                                                                                                                                                                      Recourse                  11/30/17
                                                                                                                                                                                                                                                                11/30/17   $$        3,022,018 $$ 3,851,655
                                                                                                                                                                                                                                                                                     3,022,018               $ (829,638)
                                                                                                                                                                                                                                                                                                   3,851,655 $    (829,638)        64.3%
                                                                                                                                                                                                                                                                                                                                   64.3%
WestGate Tier 1
WestGateller  1    S&T
                   S&T          $
                                $    693,750
                                     693,750         12%
                                                     12%                Shlomo Rechnitz;
                                                                        Shlomo Rechnitz; NA
                                                                                         NA                  n/a
                                                                                                             n/a           5/21/17
                                                                                                                           5/21/17   $$        6,937.50 Rochester,
                                                                                                                                               6,937.50 Rochester, NY
                                                                                                                                                                   NY         124
                                                                                                                                                                              124      Past Maturity
                                                                                                                                                                                       Past Maturity   $$ 4,125,000
                                                                                                                                                                                                            4,125,000         5/21/20
                                                                                                                                                                                                                              5/21/20 Recourse
                                                                                                                                                                                                                                      Recourse                  11/30/17
                                                                                                                                                                                                                                                                11/30/17   $$        8,829,796 $$ 8,334,416
                                                                                                                                                                                                                                                                                     8,829,796               $
                                                                                                                                                                                                                                                                                                   8,334,416 $     495,380
                                                                                                                                                                                                                                                                                                                   495,380         79.7%
                                                                                                                                                                                                                                                                                                                                   79.7%
WestGate 'Der
WestGate Tier 22   S&T
                   S&T          $
                                $    462,500
                                     462,500         21%
                                                     21%                Shlomo Rechnitz;
                                                                        Shlomo Rechnitz; NA
                                                                                         NA                  n/a
                                                                                                             n/a           5/22/17
                                                                                                                           5/22/17   $$        8,093.75 Rochester,
                                                                                                                                               8,093.75 Rochester, NY
                                                                                                                                                                   NY         124
                                                                                                                                                                              124      Past Maturity
                                                                                                                                                                                       Past Maturity   See Above
                                                                                                                                                                                                       See Above      See Above
                                                                                                                                                                                                                      See Above       Recourse
                                                                                                                                                                                                                                      Recourse              See Above
                                                                                                                                                                                                                                                            See Above      See Above
                                                                                                                                                                                                                                                                           See Above           See Above
                                                                                                                                                                                                                                                                                               See Above     See Above
                                                                                                                                                                                                                                                                                                             See Above      See Above
                                                                                                                                                                                                                                                                                                                            See Above

CareRite --
CareRite
Courtyard Gardens
Courtyard   Gardens 5th
                    5th Third
                        Third   $
                                $   1,200,000
                                    1,200,000        12%
                                                     12%                Shlomo Rechnitz;
                                                                        Shlomo Rechnitz; NA
                                                                                         NA                  n/a
                                                                                                             n/a            9/1/20
                                                                                                                            9/1/20 $
                                                                                                                                   $          13,000.00 Jupiter,
                                                                                                                                              13,000.00 Jupiter, FL
                                                                                                                                                                 FL           104
                                                                                                                                                                              104      Current
                                                                                                                                                                                       Current         See Below
                                                                                                                                                                                                       See Below                  5/1/20
                                                                                                                                                                                                                                  5/1/20 Recourse
                                                                                                                                                                                                                                         Recourse               11/30/17 $$
                                                                                                                                                                                                                                                                11/30/17           12,296,332
                                                                                                                                                                                                                                                                                   12,296,332   $$ 11,443,748
                                                                                                                                                                                                                                                                                                   11,443,748 $
                                                                                                                                                                                                                                                                                                              $   852,584
                                                                                                                                                                                                                                                                                                                  852,584          92.6%
                                                                                                                                                                                                                                                                                                                                   92.6%

CareRight Accenti
CareRight Accentiaa 5th
                    5th Third
                        Third   $
                                $   2,659,000
                                    2,659,000        13%
                                                     13%           Shlomo Rechnitz;
                                                                   Shlomo Rechnitz; David
                                                                                    David Blonder
                                                                                          Blonder           7.50%
                                                                                                            7.50%           9/1/20
                                                                                                                            9/1/20 $$         29,913.75 Tampa, FL
                                                                                                                                              29,913.75 Tampa, FL             266
                                                                                                                                                                              266      Current
                                                                                                                                                                                       Current         $$ 39,900,000
                                                                                                                                                                                                          39,900,000              5/1/20
                                                                                                                                                                                                                                  5/1/20 Recourse
                                                                                                                                                                                                                                         Recourse               11/30/17 $$
                                                                                                                                                                                                                                                                11/30/17           22,658,615
                                                                                                                                                                                                                                                                                   22,658,615 $$ 18,206,489
                                                                                                                                                                                                                                                                                                 18,206,489   $ 4,452,126
                                                                                                                                                                                                                                                                                                              $ 4,452,126          84.5%
                                                                                                                                                                                                                                                                                                                                   84.5%
Legends SNF Port
Legends SNF Port S&TS&T         $
                                $   2,300,000
                                    2,300,000        13%
                                                     13%           Shlomo Rechnitz;
                                                                   Shlomo Rechnitz; HT
                                                                                    HT Equity (MM)
                                                                                       Equity (MM)          7.00%
                                                                                                            7.00%           4/1/19 $$
                                                                                                                            4/1/19            23,000.00
                                                                                                                                              23,000.00 Ohio
                                                                                                                                                        Ohio                  252
                                                                                                                                                                              252      Current
                                                                                                                                                                                       Current         $$ 18,400,000
                                                                                                                                                                                                          18,400,000              5/1/20
                                                                                                                                                                                                                                  5/1/20 Recourse
                                                                                                                                                                                                                                         Recourse               12/31/17 $$
                                                                                                                                                                                                                                                                12/31/17           16,199,121 $$ 15,000,117
                                                                                                                                                                                                                                                                                   16,199,121    15,000,117   $ 1,199,004
                                                                                                                                                                                                                                                                                                              $ 1,199,004          80.4%
                                                                                                                                                                                                                                                                                                                                   80.4%


                                $
                                $   7,617,750
                                    7,617,750
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             On
             On Mar
                Mar 1,
                    1, 2020, at 1:35
                       2020, at 1:35 PM,
                                     PM, Ephraim
                                         Ephraim Kutner
                                                 Kutner
             <ekutner@harborviewcp.com>    wrote:
             <ekutner@harborviewcp.com> wrote:

             ﻿ Shlomo,
               Shlomo,
              We    have had
              We have       had several
                                 several conversations
                                           conversations with with Moshe,
                                                                     Moshe, whom     I’ve copied
                                                                             whom I've     copied on    this
                                                                                                    on this
              email,
              email, as as we   have tried
                            we have    tried to
                                              to get
                                                 get in  touch with
                                                      in touch         Steve to
                                                                  with Steve  to request    that half
                                                                                 request that          of
                                                                                                  half of
              the remaining
             the    remaining monies
                                  monies be     sent to
                                            be sent    to you
                                                          you each    month directly
                                                                each month    directly from
                                                                                        from Greystone.
                                                                                               Greystone.
              It is
             It  is my
                    my intention
                         intention toto go   to his
                                         go to   his office  if I'm
                                                     office if  I’m not
                                                                     not able
                                                                         able to
                                                                              to get
                                                                                 get thru
                                                                                      thru to
                                                                                            to him
                                                                                                him by
                                                                                                     by
              the end
             the    end of   the day
                          of the        tomorrow. We
                                  day tomorrow.       We very
                                                            very much
                                                                  much want    to resolve
                                                                         want to             this last
                                                                                  resolve this    last
              outstanding
              outstanding issue of the lawsuit per our written communication with each
                               issue  of  the  lawsuit   per  our   written communication       with   each
              other
              other regarding
                       regarding ourour written    settlement agreement.
                                          written settlement       agreement. II will  let you
                                                                                  will let you know
                                                                                                know as as
              soon as
             soon     as II speak
                            speak to
                                   to him.
                                       him. David,
                                             David, can     you please
                                                      can you            send the
                                                                  please send  the information
                                                                                   information as      to
                                                                                                    as to
              where
              where you you would
                              would like   the monies
                                      like the   monies sent?
                                                           sent? Thank
                                                                   Thank you.
                                                                          you.



             Ephraim Kutner
             Ephraim Kutner
             Harborview Capital
             Harborview             Partners
                           Capital Partners
             335 Central Avenue
             335 Central Avenue
             Lawrence
             Lawrence I NY |I 11559
                      |  NY   11559
             516.453.9402
             516.453.9402 |I direct
                             direct
             516.453.9400
             516.453.9400 |I main
                             main
             516.453.9414
             516.453.9414 |I fax
                             fax
             ekutner@harborviewcp.com
             ekutner@harborviewcp.com
             www.harborviewcp.com
             www.harborviewcp.com




             NOTICE:   This e-mail
             NOTICE: This   e-mail and
                                    and anyany attachments
                                                attachments contain
                                                                  contain confidential
                                                                            confidential
             information   that may
             information that   may be be legally
                                            legally privileged.
                                                    privileged. If If you
                                                                      you are  not
                                                                           are not
             the intended
             the            recipient, you
                 intended recipient,      you must
                                               must notnot review,
                                                             review, retransmit,
                                                                      retransmit,
             print,
             print, copy,
                    copy, use
                          use or
                              or disseminate
                                  disseminate it.  it. Please    immediately notify
                                                       Please immediately       notify
             me
             me by   return e-mail
                 by return  e-mail and
                                     and delete     it. If
                                            delete it.  If this
                                                           this e-mail
                                                                e-mail contains
                                                                        contains aa
             forwarded
             forwarded e-mail
                         e-mail or
                                 or is
                                     is aa reply  to aa prior
                                           reply to     prior email,   the contents
                                                                email, the  contents
             may not
             may  not have
                       have been
                             been produced
                                   produced by        the sender
                                                  by the    sender and    therefore II am
                                                                     and therefore     am
             not responsible
             not responsible for   its contents.
                               for its  contents.
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Case 1:20-cv-01607-KAM-VMS Document 36-21                            PageID #: 485


             This notice
             This  notice isis automatically
                               automatically appended
                                                 appended to  to each
                                                                 each e-mail.   It is
                                                                        e-mail. It is
             the recipient's
             the  recipient's responsibility
                                 responsibility to to take
                                                      take measures
                                                            measures to to ensure
                                                                           ensure
             that this
             that  this e-mail
                         e-mail is   virus free,
                                  is virus  free, and
                                                  and II take
                                                         take no
                                                               no responsibility
                                                                  responsibility for
                                                                                   for
             any
             any loss   or damage
                  loss or   damage arising
                                        arising in  any way
                                                in any  way from    its use.
                                                             from its   use.
             --------------------
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                                                        A-197
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                                                                     PageID #: 486




        From: Ephraim
        From:  Ephraim Kutner  <ekutner@harborviewcp.com>
                       Kutner <ekutner@harborviewcp.com>
        Sent: Tuesday,
        Sent: Tuesday, March
                       March 3,
                              3, 2020 1:44 PM
                                 2020 1:44 PM
        To: Shlomo
        To: Shlomo Rechnitz
                    Rechnitz <shlomohealth@gmail.com>;
                             <shlomohealth@gmail.com>; David
                                                          David Weldler
                                                                Weldler
        <davidzweldler@gmail.com>; Jonathan
        <davidzweldler@gmail.com>;    Jonathan Kutner <jkutner@harborviewcp.com>
                                               Kutner <jkutner@harborviewcp.com>
        Cc: Moshe
        Cc: Moshe Mendlowitz   <moshe@gffinancial.com>
                   Mendlowitz <moshe@gffinancial.com>
        Subject: Re:
        Subject: Re: Lawsuit
                     Lawsuit

        Shlomo,
        Shlomo,
        Greystone
        Greystone has
                  has confirmed
                       confirmed and
                                 and II just
                                        just need the wiring
                                             need the wiring instructions to give
                                                             instructions to give them.
                                                                                  them. David,
                                                                                        David,
        please send. Thank
        please send. Thank you.
                           you.

        Ephraim Kutner
        Ephraim Kutner
        Harborview Capital
        Harborview    Capital Partners
                                Partners
        335 Central Avenue
        335 Central Avenue
        Lawrence
        Lawrence |I NY
                    NY |I 11559
                          11559
        516.453.9402
        516.453.9402 |I direct
                         direct
        516.453.9400
        516.453.9400 |I main
                         main
        516.453.9414
        516.453.9414 |I fax
                         fax
        ekutner@harborviewcp.com
        ekutner@harborviewcp.com
        www.harborviewcp.com
        www.harborviewcp.com




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                               and anyany attachments
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                                                             contain confidential
                                                                       confidential
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        information that may be legally privileged. If you are not    are not
        the intended
        the intended recipient,
                       recipient, youyou must
                                          must notnot review,
                                                        review, retransmit,
                                                                  retransmit,
        print,
        print, copy,
               copy, use
                     use or
                         or disseminate
                             disseminate it.  it. Please    immediately notify
                                                  Please immediately       notify
        me by
        me      return e-mail
            by return  e-mail and
                                and delete     it. If
                                       delete it.  If this
                                                      this e-mail
                                                           e-mail contains
                                                                    contains aa
        forwarded   e-mail or
        forwarded e-mail    or is
                                is aa reply  to aa prior
                                      reply to     prior email,    the contents
                                                           email, the  contents
        may not
        may  not have
                  have been
                        been produced
                              produced by        the sender
                                             by the    sender andand therefore
                                                                     therefore II am
                                                                                  am
        not responsible
        not responsible for   its contents.
                          for its  contents.

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            Case 20-1978, Document 69, 12/14/2020, 2993537, Page204 of 206
                                                       A-198
                                                       A-198
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                                                                     PageID #: 487


        the recipient's
        the                responsibility to
             recipient's responsibility       to take
                                                 take measures
                                                       measures toto ensure
                                                                     ensure
        that this
        that  this e-mail
                    e-mail is   virus free,
                             is virus  free, and
                                             and II take
                                                    take no responsibility for
                                                         no responsibility for
        any
        any loss
             loss or
                   or damage
                       damage arising
                                   arising in  any way
                                           in any  way from   its use.
                                                        from its  use.
        --------------------
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                                        A-199
Case 1:20-cv-01607-KAM-VMS Document 36-23 Filed 05/22/20 Page 1 of 2 PagelD
                                                                     PageID #: 488




   Begin
   Begin forwarded message:


        From: "davidzweldler@gmail.com" <davidzweldler@gmail.com>
        Date: March 3, 2020 at 5:29:32 PM EST
        To: Ephraim Kutner <ekutner@harborviewcp.com>, Shlomo Rechnitz
        <shlomohealth@gmail.com>, Jonathan Kutner <jkutner@harborviewcp.com>
                               <moshe@gffinancial.com>
        Cc: Moshe Mendlowitz <moshe@gffmancial.com>
        Subject: RE: Lawsuit
              Case 20-1978, Document 69, 12/14/2020, 2993537, Page206 of 206
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                                                        A-200
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                                                                     PageID #: 489



        ﻿
            CAUTION: External Email


        We have not
        We have not and
                    and do not agree
                        do not agree with this.
                                     with this.

        David Weldler
        David Weldler



        From: Ephraim
        From:  Ephraim Kutner  <ekutner@harborviewcp.com>
                       Kutner <ekutner@harborviewcp.com>
        Sent: Tuesday,
        Sent: Tuesday, March
                       March 3,
                              3, 2020 1:44 PM
                                 2020 1:44 PM
        To: Shlomo
        To: Shlomo Rechnitz
                    Rechnitz <shlomohealth@gmail.com>;
                             <shlomohealth@gmail.com>; David
                                                          David Weldler
                                                                Weldler
        <davidzweldler@gmail.com>; Jonathan
        <davidzweldler@gmail.com>;    Jonathan Kutner <jkutner@harborviewcp.com>
                                               Kutner <jkutner@harborviewcp.com>
        Cc: Moshe
        Cc: Moshe Mendlowitz   <moshe@gffinancial.com>
                   Mendlowitz <moshe@gffinancial.com>
        Subject: Re:
        Subject: Re: Lawsuit
                     Lawsuit

        Shlomo,
        Shlomo,
        Greystone
        Greystone has
                  has confirmed
                       confirmed and
                                 and II just
                                        just need the wiring
                                             need the wiring instructions to give
                                                             instructions to give them.
                                                                                  them. David,
                                                                                        David,
        please send. Thank
        please send. Thank you.
                           you.

        Ephraim Kutner
        Ephraim Kutner
        Harborview Capital
        Harborview    Capital Partners
                                Partners
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        335 Central Avenue
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        Lawrence |I NY
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                          11559
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        516.453.9402 |I direct
                         direct
        516.453.9400
        516.453.9400 |I main
                         main
        516.453.9414
        516.453.9414 |I fax
                         fax
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        ekutner@harborviewcp.com
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        information that may be legally privileged. If you are not    are not
        the intended
        the intended recipient,
                       recipient, youyou must
                                          must notnot review,
                                                        review, retransmit,
                                                                  retransmit,
        print,
        print, copy,
               copy, use
                     use or
                         or disseminate
                             disseminate it.  it. Please    immediately notify
                                                  Please immediately       notify
        me by
        me      return e-mail
            by return  e-mail and
                                and delete     it. If
                                       delete it.  If this
                                                      this e-mail
                                                           e-mail contains
                                                                    contains aa
        forwarded   e-mail or
        forwarded e-mail    or is
                                is aa reply  to aa prior
                                      reply to     prior email,    the contents
                                                           email, the  contents
        may not
        may  not have
                  have been
                        been produced
                              produced by        the sender
                                             by the    sender andand therefore
                                                                     therefore II am
                                                                                  am
        not responsible
        not responsible for   its contents.
                          for its  contents.

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                       automatically appended to each
                                     appended to      e-mail. It
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